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1                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA
2

3    JOSEPH LEWIS JR., ET AL                 : CIVIL ACTION

4    VERSUS                                  : NO. 15-318-SDD

5    BURL CAIN, ET AL                        : HON. SHELLY D. DICK

6                                            : JUNE 14, 2022

7    ==============================================================
                                 DAY 7
8                             BENCH TRIAL
     ==============================================================
9

10                          A P P E A R A N C E S

11   FOR THE PLAINTIFFS:

12       THE PROMISE OF JUSTICE INITIATIVE
         BY: MERCEDES MONTAGNES, ESQ.
13            NISHI KUMAR, ESQ.
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24

25
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1    FOR THE DEFENDANTS:

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4             ALLENA W. MCCAIN, ESQ.
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              JOHN C. CONINE, JR., ESQ.
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         BATON ROUGE, LOUISIANA 70802
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20               REPORTED BY: GINA DELATTE-RICHARD,CCR
     ______________________________________________________________
21                      UNITED STATES COURTHOUSE
                           777 FLORIDA STREET
22                    BATON ROUGE, LOUISIANA 70801
                             (225) 389-3564
23

24        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY USING
                  COMPUTER-AIDED TRANSCRIPTION SOFTWARE
25
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1                                 I   N   D   E   X

2    DEFENDANT'S WITNESSES:

3        CYNTHIA PARK

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1                                 (JUNE 14, 2022)

2                       (CALL TO THE ORDER OF COURT)

3               THE COURT:    GOOD MORNING.       BE SEATED.

4               ARE THE DEFENDANTS READY TO PROCEED?

5               MR. ARCHEY:       WE ARE, YOUR HONOR.

6               BUT, FIRST, I'D LIKE TO -- JUST, I GUESS, A

7    HOUSEKEEPING MATTER.     MR. ROBERT, HIS FATHER FELL THIS

8    MORNING, SO HE'S OUT TAKING CARE OF THAT.           HE DOESN'T THINK

9    IT'S TOO, TOO BAD, BUT I DON'T KNOW WHEN HE'S GOING TO BE HERE

10   TODAY.   AND IT'S GOING TO BE OKAY; OUR PRESENTATION WON'T BE

11   AFFECTED FOR TODAY.

12              THE COURT:    I'M SORRY TO HEAR THAT.        GIVE HIM OUR

13   WELL WISHES.

14              I THOUGHT Y'ALL HAD RESTED?

15              MS. MONTAGNES:      YOUR HONOR, WE HAVE.       I WAS JUST --

16              THE COURT:    OH, YOU NEED IT FOR THE TIME?          OKAY.

17   THANK YOU. GO AHEAD.

18              MS. MONTAGNES:      -- GIVING YOU THE TIME.       I CAN

19   SWITCH IT OFF TO THE DEFENDANTS IF YOU WOULD PREFER.

20              THE COURT:    NO.    TELL US THE TIME.

21              MS. MONTAGNES:      OKAY.   YESTERDAY, MONDAY, JUNE 13TH,

22   THE PLAINTIFFS USED TWO HOURS AND 37 MINUTES OF THEIR TIME,

23   BRINGING THEM TO A TOTAL OF 17 HOURS AND 51 MINUTES.

24              THE DEFENDANTS USED 1 HOUR AND 34 MINUTES OF THEIR

25   TIME, BRINGING US TO A TOTAL OF 10 HOURS AND 7 MINUTES.
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1               THE COURT:    OKAY.    Y'ALL HAVE DONE A GOOD JOB THUS

2    FAR.   I'M SORRY THAT WE HAVEN'T HAD AS MUCH TIME ON THE CLOCK

3    AS I HAD HOPED.    OKAY.      THANK YOU.

4               YOU MAY CALL YOUR FIRST WITNESS.

5               THAT'S NOT THE TIME?

6               MS. MCCAIN:       I DON'T BELIEVE THAT'S THE TIME, YOUR

7    HONOR.   I MAY HAVE AN ADDITION MISCALCULATION, BUT --

8               MS. MONTAGNES:      SORRY, YOUR HONOR.      THERE WAS AN

9    ERROR IN ADDITION.     SO THE DEFENDANTS' TOTAL TIME IS 9 HOURS

10   AND 54 MINUTES AND THE PLAINTIFFS' TOTAL TIME IS 7 (SIC) HOURS

11   AND 53 MINUTES.

12              THE COURT:    17:53?

13              MS. MONTAGNES:      YES.

14              THE COURT:    ALL RIGHT.     IF YOU ALL WOULD KINDLY --

15   WE ALL KNOW EACH OTHER NOW, BUT IF YOU WOULD KINDLY MAKE AN

16   APPEARANCE WHEN YOU FIRST APPEAR SO THAT THE COURT REPORTER

17   CAN BE ON THE SAME PAGE.

18              YOUR FIRST WITNESS.

19              MR. CODY:    GOOD MORNING, YOUR HONOR.         JEFF CODY FOR

20   THE DEFENDANTS AND WE WILL BE CALLING CINDY PARK TO THE STAND.

21              (WHEREUPON, CYNTHIA PARK, HAVING BEEN DULY SWORN,

22   TESTIFIED AS FOLLOWS.)

23              THE COURT:    ONCE YOU GET SEATED IF YOU WOULD STATE

24   AND SPELL YOUR NAME, FULL NAME, FIRST AND LAST NAME, FOR THE

25   RECORD, PLEASE.
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1               THE WITNESS:      CYNTHIA PARK, C-Y-N-T-H-I-A, P-A-R-K.

2               THE COURT:    THANK YOU, MS. PARK.

3               GO AHEAD, MR. CODY.

4    DIRECT EXAMINATION

5    BY MR. CODY:

6          Q    GOOD MORNING, MS. PARK.      COULD YOU PLEASE TELL THE

7    COURT WHERE YOU'RE EMPLOYED?

8          A    LOUISIANA STATE PENITENTIARY.

9          Q    AND IN WHAT CAPACITY ARE YOU EMPLOYED THERE?

10         A    I'M A NURSE PRACTITIONER.

11         Q    AND LET'S GO INTO YOUR EDUCATIONAL BACKGROUND.

12   COULD YOU EXPLAIN YOUR EDUCATION?

13         A    I HAVE A MASTER'S IN NURSING AND I AM AN ACUTE CARE

14   AND AN ADULT NURSE PRACTITIONER.

15         Q    AND ABOUT HOW LONG AGO -- DID YOU GET YOUR RN DEGREE

16   BEFORE BECOMING A NURSE PRACTITIONER?

17         A    I GOT MY RN DEGREE -- I'M NOT SURE WHAT YEAR, BUT

18   PROBABLY AROUND 1988.

19         Q    OKAY.   AND ABOUT HOW LONG AGO DID YOU BECOME A NURSE

20   PRACTITIONER?

21         A    A LITTLE OVER 15 YEARS AGO.

22         Q    OKAY.   AND BEFORE COMING TO LSP -- WELL, FIRST OFF,

23   HOW LONG HAVE YOU WORKED AT LSP?

24         A    A LITTLE OVER SEVEN YEARS.

25         Q    LET'S GO THROUGH YOUR EMPLOYMENT HISTORY BEFORE
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1    THAT.     WHERE DID YOU WORK IMMEDIATELY BEFORE LSP?

2          A     I WORKED AS -- IN -- AT THE BATON ROUGE GENERAL IN

3    CICU.

4          Q     HOW LONG?

5          A     FOR ABOUT 25 YEARS.

6          Q     OKAY.   AND DID YOU HAVE ANY OTHER CORRECTIONS

7    EXPERIENCE BEFORE LSP?

8          A     I WORKED AT ELAYN HUNT CORRECTIONAL CENTER AS A

9    REGISTERED NURSE AND THEN I LATER BECAME A NURSE PRACTITIONER

10   AND WORKED AS A NURSE PRACTITIONER AT LSP -- AT ELAYN HUNT

11   CORRECTIONAL CENTER.

12         Q     HAVE YOU WORKED IN ANY OTHER CORRECTIONAL SETTINGS

13   BESIDES ELAYN HUNT AND LSP?

14         A     I HAVE WORKED WHEN THEY HAD NEEDED ME.         THERE WAS A

15   PERIOD WHEN I WORKED FOR LCIW BECAUSE THEY WERE SHORT A

16   PROVIDER, AND I ALSO WORKED FOR DIXON CORRECTIONAL INSTITUTE.

17         Q     AND HAVE YOU WORKED IN CORRECTIONAL HEALTH FOR

18   ABOUT, WOULD YOU SAY, ABOUT 25 YEARS THEN?

19         A     TWENTY-FIVE YEARS, YES, SIR.

20         Q     WHY DID YOU COME TO WORK AT LSP?

21         A     INITIALLY I HAD TRANSFERRED BECAUSE MY HUSBAND WORKS

22   AT RAPIDES IN THE EMERGENCY DEPARTMENT AND IT WOULD BE LESS OF

23   A DRIVE FOR HIM TO COMMUTE TO WORK.

24         Q     DO YOU ALSO LIVE AT ANGOLA?

25         A     I DO.   I LIVE AT ANGOLA.
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1          Q     HOW LONG HAVE YOU LIVED THERE?

2          A     THE ENTIRE TIME THAT I'VE WORKED THERE.         SO ABOUT A

3    LITTLE OVER SEVEN YEARS.

4          Q     NOW YOU MENTIONED EARLIER YOU'RE LICENSED AS AN RN

5    AND YOU'RE ALSO LICENSED AS A NURSE PRACTITIONER?

6          A     YES, SIR.

7          Q     HAVE YOU EVER HAD ANY DISCIPLINE ON EITHER OF YOUR

8    LICENSES?

9          A     NO, SIR.

10         Q     OKAY.   COULD YOU PRETTY MUCH WORK AS A NURSE

11   PRACTITIONER WHEREVER YOU WANT?

12         A     I COULD.

13         Q     WHY DO YOU CHOOSE TO WORK WITH INMATES WHEN YOU

14   COULD WORK JUST ABOUT ANYWHERE?

15         A     FOR ME THE JOB IS ABOUT IMPROVING THE QUALITY OF

16   LIFE BY HELPING TREAT MEDICAL PROBLEMS.         AND I FOUND THAT WHEN

17   I STARTED IN DOC, WHICH I STARTED INITIALLY AS A PART-TIME

18   JOB, THAT I ENJOYED TAKING CARE OF THE PATIENTS THERE.

19         Q     NOW AT THE TIME OF OUR TRIAL IN 2018 WERE YOU THE

20   ONLY NURSE PRACTITIONER EMPLOYED AT ANGOLA?

21         A     YES, SIR.

22         Q     AND HAS THAT CHANGED NOW?

23         A     NOW THERE'S A NUMBER OF NURSE PRACTITIONERS.

24   THERE'S SEVEN NURSE PRACTITIONERS TOTAL THAT DO THE MEDICAL

25   SIDE AND THERE'S ONE NURSE PRACTITIONER THAT IS A MENTAL
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1    HEALTH NURSE PRACTITIONER.

2          Q    I JUST WANT TO MAKE SURE -- YOU SAID THE NUMBER AND

3    I JUST WANT TO MAKE SURE.       HOW MANY NURSE PRACTITIONERS WORK

4    THE MEDICAL SIDE, INCLUDING YOURSELF?

5          A    SEVEN.

6          Q    SEVEN, OKAY.      AND WHAT SORT OF BACKGROUND DO THESE

7    OTHER NURSE PRACTITIONERS HAVE?

8          A    SO JENNY, SHE'S -- SHE HAS A SURGICAL O.R.

9    BACKGROUND WITH URGENT CARE BACKGROUND.          KYLE, HE'S AN

10   ORTHOPAEDIC NURSE PRACTITIONER IN THE PAST AND HE ALSO HAS AN

11   EXTENSIVE INTENSIVE CARE BACKGROUND.         JEREMY HAS WORKED

12   CHRONIC -- LIKE PRIMARY CARE CLINICS EXTENSIVELY AND HE ALSO

13   HAS A WOUND CARE SPECIALTY THAT HE DOES, AND HE ALSO WORKS AT

14   URGENT CARE ALSO.

15              ROBERT HAS WORKED IN EMERGENCY ROOMS AND HE ALSO HAS

16   AN OCCUPATIONAL HEALTH BACKGROUND.          AND BILL, WHO'S OUR NEW

17   NURSE PRACTITIONER, HE WORKS -- HAS WORKED PRIMARILY IN

18   CARDIOLOGY DOES -- ALSO HAS WORKED IN URGENT CARE.             AND

19   MS. TELLY -- TONYA STELLY IS THE MENTAL HEALTH NURSE

20   PRACTITIONER AND SHE HAS AN EXTENSIVE CORRECTIONAL BACKGROUND

21   ALSO.

22         Q    AND, AGAIN, NURSE STELLY IS NOT IN THE MEDICAL SIDE

23   CORRECT; SHE'S --

24         A    NO.   SHE IS THE PSYCHIATRIC SIDE.

25         Q    WHAT ABOUT MIKE WALLIS?
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1          A     OH, YEAH.    MIKE WALLIS IS A NURSE PRACTITIONER THAT

2     WORKS WITH ME ON THE WEEKENDS.       HE HAS AN EXTENSIVE BACKGROUND

3     ALSO.    HE DOES -- HE'S BEEN A PARAMEDIC FOR MANY YEARS, HAS

4     WORKED IN A NUMBER OF EMERGENCY ROOMS AND A NUMBER OF URGENT

5     CARES.

6          Q     IF I DIDN'T GET INTO THIS BEFORE I APOLOGIZE, BUT

7     WHAT IS YOUR BACKGROUND?

8          A     MY BACKGROUND IS -- I HAVE DONE A LOT OF

9     CORRECTIONAL NURSING.       I HAVE DONE DRUG AND SUBSTANCE ABUSE.

10    I HAVE DONE EMERGENCY ROOM.       AND I HAVE ALSO A NUMBER OF YEARS

11    WORKING IN AN INTENSIVE CARE UNIT AS A REGISTERED NURSE.

12         Q     AND YOU'RE CURRENTLY THE MOST SENIOR NURSE

13    PRACTITIONER AT LSP?

14         A     YES, SIR.

15         Q     AND WHAT ARE YOUR CURRENT RESPONSIBILITIES AT LSP?

16         A     I NOW WORK WEEKENDS.      I DO FRIDAY, SATURDAY, SUNDAY;

17    TWO 13-HOUR SHIFTS AND ONE 14-HOUR SHIFT.

18               ON FRIDAYS WHEN I COME IN I DO ROUNDS IN THE NURSING

19    UNIT 1 AND ASSESS THE ACUTE CARE PATIENTS.          ON FRIDAYS I WILL

20    DO CLINICS, SEE THE PRIMARY CARE PATIENTS OR I WILL HAVE

21    CLINICS WHERE I SEE THE HIV PATIENTS.         AND I ALSO HAVE CLINICS

22    ON SOME OF THOSE DAYS WHERE I WOULD SEE THE HEPATITIS C

23    TREATMENT AND EITHER DISCUSS WITH THEM TREATMENT OR DISCUSS

24    WITH THEM THE SUCCESS OF THEIR TREATMENT.

25               ON SATURDAYS I THEN ROUND IN THE NURSING UNITS.            ON
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1     EVERY OTHER WEEK I WILL ASSESS THE NURSING UNIT 2 PATIENTS AND

2     I WORK THE ACUTE TREATMENT UNIT AND SEE ANY EMERGENCIES THAT

3     COME IN.   IN ADDITION TO THAT, I WILL PULL -- REVIEW A LOT OF

4     THE ABNORMAL LAB WORK, RE-ORDER MEDICATIONS AND THINGS LIKE

5     THAT.

6          Q     AND I APOLOGIZE IF YOU SAID THIS AND I MISSED IT,

7     BUT DO YOU ALSO TAKE A SHIFT AS AN RN AT LSP?

8          A     I DO.   RECENTLY, BECAUSE THERE'S BEEN A SHORTAGE, ON

9     MY DAYS OFF I WILL WORK AS A REGISTERED NURSE IN EITHER

10    NURSING UNIT 1 OR NURSING UNIT 2.

11         Q     ABOUT HOW OFTEN DO YOU DO THAT?

12         A     MAYBE THREE TIMES EVERY TWO WEEKS; THREE OR FOUR

13    TIMES EVERY TWO WEEKS.

14         Q     AND IS THAT HELPING A BIT WITH THE NURSING SHORTAGE?

15         A     YES.

16         Q     AND ON YOUR WEEKEND SHIFTS THAT YOU MENTIONED,

17    FRIDAY THROUGH SUNDAY, YOU'RE ESSENTIALLY ASSIGNED TO THE ATU?

18         A     YES.

19         Q     OKAY.   HOW IS THE ATU STAFFED PRESENTLY?

20         A     THERE'S CURRENTLY A REGISTERED NURSE STAFFING THE

21    ATU AND THEY ALSO HAVE AN EMS -- USUALLY IT'S A BASIC EMS THAT

22    WORKS TO ASSIST THAT PERSON.      SOMETIMES IF THERE'S NO BASIC

23    IT'S A PARAMEDIC THAT'S THERE.

24         Q     AND JUST TO CLARIFY, SO IS THE ATU CURRENTLY STAFFED

25    BY AN RN 24/7?
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1          A     IT'S STAFFED 24/7.

2          Q     IS THIS A CHANGE, DO YOU KNOW, FROM HOW THINGS WERE

3     IN 2016?

4          A     YES.   PREVIOUSLY IN 2016 THEY HAD A PARAMEDIC AND AN

5     EMS BASIC RUNNING THE A -- ACUTE TREATMENT UNIT.

6          Q     YOU MENTIONED EARLIER ABOUT HOW YOU STAFF THE ATU ON

7     THE WEEKENDS; DOES ANYBODY HELP YOU WITH THAT?

8          A     SO MIKE WAL- -- I WORK THE DAY SHIFT AND MIKE

9     WALLIS, ANOTHER NP, COMES IN AND WORKS THE NIGHT SHIFT.              SO HE

10    COMES IN -- I WORK FROM 5:00 IN THE MORNING TO SIX AND HE

11    COMES IN AT SIX AND WORKS UNTIL FIVE -- 6:00 IN THE MORNING.

12         Q     AND THIS IS PHYSICALLY PRESENT IN THE ATU OR IS THIS

13    ON CALL FOR THE ATU?

14         A     SO FOR MIKE, MIKE STAYS IN THE ATU AND THEN HE WILL

15    LEAVE THE ATU IF THERE'S ANY EMERGENCIES IN THE NURSING UNITS.

16    I -- I WILL BE IN THE NURSING -- I COULD BE IN THE NURSING

17    UNITS EVALUATING PATIENTS OR ASSESSING PATIENTS.          ANY PATIENTS

18    THAT WERE DISCHARGED FROM THE HOSPITAL THE NIGHT BEFORE, I

19    WILL GO AND EVALUATE THEM AND I TAKE CARE OF THE NURSING UNITS

20    THROUGHOUT THE DAY WHENEVER THERE'S ANY ISSUES, AND THEN FOR

21    THE MOST PART I WORK THE ATU.      A LOT OF TIMES I'M DOING

22    PAPERWORK IN MY OFFICE, WHICH IS A FEW SECONDS WALK AWAY FROM

23    THE ATU, IF THERE'S NO PATIENTS.

24         Q     WHAT IS THE STAFF COVERAGE LIKE FOR THE ATU MONDAY

25    THROUGH THURSDAY?
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1            A    MONDAY THROUGH THURSDAY, AGAIN, THERE'S THE

2     REGISTERED NURSES AND THE EMS TEAM ARE WORKING IN THERE.

3     DURING THE DAY SHIFT FROM SEVEN -- 7:30 TO 4 THERE IS A NURSE

4     PRACTITIONER THAT IS ASSIGNED TO THAT AREA.           FROM 4:30 TO 7:30

5     IN THE MORNING THERE'S A NURSE PRACTITIONER THAT'S ON CALL,

6     PARDON ME, AND THEY STAY ON B LINE WHICH IS A FEW MINUTE DRIVE

7     AWAY.

8            Q    OKAY.   I WANT TO SHOW YOU WHAT IS DEFENDANT'S

9     EXHIBIT 8-YY.

10                MR. CODY:   MS. RAGUSA, IF YOU COULD PULL THAT UP,

11    PLEASE.

12    BY MR. CODY:

13           Q    DO YOU SEE WHAT'S ON YOUR SCREEN, MS. PARK?

14           A    YES, SIR.

15           Q    CAN YOU IDENTIFY THAT DOCUMENT?

16           A    THIS IS A TRIAGE AND TREATMENT IN THE ATU, IN THE

17    ASSESSMENT AND TREATMENT UNIT.        IT'S THE POLICY.

18           Q    DO YOU SEE A DIRECTIVE NUMBER AT THE TOP OF THAT

19    DOCUMENT?

20           A    YES.    13.058.

21           Q    OKAY.   DO YOU FOLLOW THIS DIRECTIVE IN RUNNING THE

22    ATU?

23           A    YES.

24           Q    AND -- IT LOOKS LIKE AT PART B, LOWER DOWN, THERE'S

25    TRIAGE GUIDELINES?
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1          A     YES.

2          Q     AND THOSE EXTEND OVER TO THE SECOND PAGE IT APPEARS?

3          A     YES, SIR.

4          Q     ARE THOSE GUIDELINES THAT YOU FOLLOW IN THE ATU?

5          A     YES, SIR.

6                MR. CODY:    AT THIS TIME, YOUR HONOR, I'D LIKE TO

7     OFFER, FILE AND INTRODUCE INTO THE RECORD DEFENDANT'S

8     EXHIBIT 8-YY.

9                THE COURT:       WITHOUT OBJECTION?

10               MR. SCHNEIDERMAN:       NO OBJECTION, YOUR HONOR.

11               THE COURT:       ADMITTED.

12               MR. SCHNEIDERMAN:       BRENDON SCHNEIDERMAN FOR THE

13    PLAINTIFFS.

14               THE COURT:       THANK YOU.

15    BY MR. CODY:

16         Q     THANK YOU, MS. PARK.

17               MS. RAGUSA, YOU CAN TAKE THAT DOWN, PLEASE.

18               MS. PARK, WHAT IS A STANDING MEDICAL ORDER?

19         A     A STANDING MEDICAL ORDER IS WRITTEN ACCORDING TO A

20    POLICY.   WE HAVE A STANDING MEDICAL -- WE HAVE STANDING ORDERS

21    IN THE NURSING UNIT 1 AND 2.        AND THESE ARE ORDERS TO HELP THE

22    NURSES DEAL WITH PROBLEMS THAT MAY ARISE THAT ARE MINOR

23    PROBLEMS THAT THEY CAN -- THEY COULD EASILY TREAT.

24               SO, FOR EXAMPLE, IF THE PATIENT IS COMPLAINING OF

25    DIARRHEA THEY WOULD HAVE A STANDING ORDER TO TREAT WITH
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1     LOMOTIL, TWO TABLETS, FOR THAT DIARRHEA.         OR IF THE PATIENT IS

2     COMPLAINING OF CONSTIPATION, THERE'S A STANDING ORDER THAT

3     ENABLES THEM TO BE -- TO RECEIVE MEDICATION IF THEY DON'T

4     ALREADY HAVE THAT MEDICATION ORDERED.        SO IF A PATIENT

5     COMPLAINS OF DIARRHEA, THEY WOULD HAVE A STANDING ORDER FOR

6     MILK OF MAGNESIA.

7          Q     THANK YOU.

8                MR. CODY:    MS. RAGUSA, IF YOU COULD PULL UP DX_8_XX.

9     BY MR. CODY:

10         Q     MS. PARK, DO YOU SEE WHAT'S ON YOUR SCREEN THERE?

11         A     YES, SIR.

12         Q     CAN YOU READ THE DIRECTIVE NUMBER AT THE TOP?

13         A     13.057.

14         Q     AND WHAT IS THIS A DIRECTIVE IN RELATION TO?

15         A     DIRECT AND STANDING MEDICAL ORDERS.

16         Q     OKAY.   AND YOU WERE JUST SPEAKING A MOMENT AGO ABOUT

17    STANDING MEDICAL ORDERS.      YOU SEE THERE'S DEFINITIONS FOR

18    STANDING ORDERS --

19         A     YES.

20         Q     -- IN THIS DOCUMENT?

21               AND STANDING ORDERS, THEY ALSO APPLY TO NOT JUST THE

22    ATU BUT ALSO THE NURSING UNITS?

23         A     YES, SIR.    THEY ARE WRITTEN -- THEY ARE ORDERS THAT

24    ARE WRITTEN FOR THE INDIVIDUAL.      SO WHEN A PATIENT IS ADMITTED

25    INTO THE NURSING UNIT I AUTOMATICALLY -- OR THE ADMITTING
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1     PROVIDER WOULD SIGN THOSE ORDERS TO BE USED FOR WHEN THEY ARE

2     ADMITTED.

3                 NOW IF THEY ARE ALLERGIC TO ANY OF THE MEDICATIONS,

4     LIKE A MOTRIN OR TYLENOL, THAT ORDER WOULD BE VOIDED OUT AT

5     THE TIME THAT WE SIGN THE ORDER.        BUT THEY'RE USED IN NURSING

6     UNIT 1, NURSING UNIT 2 AND THE ACUTE TREATMENT UNIT.

7                 MR. CODY:    AT THIS TIME, YOUR HONOR, I WOULD OFFER,

8     FILE AND INTRODUCE INTO THE RECORD DX_8_XX.

9                 MR. SCHNEIDERMAN:      NO OBJECTION.

10                THE COURT:      ADMITTED.

11    BY MR. CODY:

12         Q      NOW I WANT TO TALK ABOUT CLINICAL CARE.

13                CAN YOU WALK US THROUGH THE PROCESS IN WHICH YOU

14    EVALUATE A PATIENT'S COMPLAINT WHEN THEY PRESENT TO THE ATU?

15         A      SO IT DEPENDS -- IT DEPENDS ON THE SITUATION, BUT

16    DEPENDING -- IF THE PERSON HAS A COMPLAINT OF EAR PAIN, THEN I

17    WOULD DIRECT MY EXAM TO THAT.        IF THEY'RE COMING IN WITH CHEST

18    PAIN -- SO IF -- I GENERALLY -- IF IT'S AN ACUTE PATIENT WITH

19    ABDOMINAL PAIN I WOULD DO A HEAD TO TOE ASSESSMENT WHERE I

20    LISTEN TO THE HEART, THE LUNGS, THE STOMACH, CHECK FOR FLUID

21    ON THEIR LEGS; DO A COMPLETE EXAM.

22                IF IT'S A PERSON THAT'S COMING IN PERTAINING TO A

23    PROBLEM LIKE EAR PAIN, I WOULD ASSESS THE HEAD.            I WOULD CHECK

24    THE EAR FOR ANY SIGNS OF INFECTION AND -- IT DEPENDS ON THE

25    SITUATION.    IT DEPENDS ON HOW THE PATIENT PRESENTS.
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1           Q     WHEN YOU'RE MAKING YOUR NOTES IN THE CHART, DO YOU

2     OPERATE UNDER THE SOAP METHOD?

3           A     I DO.   I USE THE SOAP METHOD.      THE SOAP METHOD IS

4     SUBJECTIVE WHICH INDICATES WHAT THE PATIENT SAYS THE PROBLEM

5     IS.   OBJECTIVE WOULD BE MY ASSESSMENT OF THE PROBLEM, WHAT I

6     SEE, WHAT I TOUCH, WHAT I HEAR, WHAT THE MOVEMENT IS, WHAT MY

7     EXAM DETERMINES.     ASSESSMENT IS WHAT I -- THE PROBLEM WOULD

8     BE, AND THE DIAGNOSIS AND THE PLAN, WHICH IS THE KEY PART OF

9     SOAP, IS WHAT I WOULD DO TO TREAT THE PROBLEM.

10          Q     ARE YOU FAMILIAR WITH THE CLINICAL RESOURCE CALLED

11    UPTODATE?

12          A     YES, SIR.

13          Q     AND WHAT IS THAT?

14          A     IT'S ONE -- IT'S ONE OF THE MOST RECOGNIZED MEDICAL

15    RESOURCES THAT PROVIDERS USE AND IT'S A RESOURCE THAT WE HAVE

16    AT ANGOLA.    I CAN USE IT EITHER ON MY COMPUTER OR ON MY CELL

17    PHONE.

18          Q     IS THAT SOMETHING THAT YOU USE OFTEN?

19          A     I DO USE IT OFTEN.

20          Q     OKAY.   AND DO YOU FIND IT HELPFUL?

21          A     I DO.

22          Q     LET'S TALK ABOUT THE CLINICAL SPACE.        SO IN THE EXAM

23    ROOMS, DO YOU HAVE SUFFICIENT SPACE TO HAVE YOUR EXAMINATION?

24          A     SO I HAVE -- WHEN I DO -- WHEN I HAVE ROUTINE --

25    WHEN I HAVE MY PRIMARY CARE VISITS I HAVE MY OWN OFFICE.             IT
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1     HAS A DESK AND EXAM TABLE, VITAL SIGN MACHINE, PULSE-OX.               SO I

2     HAVE APPROPRIATE -- AN APPROPRIATE PLACE TO DO AN EXAM.                AND

3     IT'S PRIVATE WHERE I CAN TALK TO THE PATIENT ABOUT THEIR

4     HEALTH PROBLEMS.

5          Q     WHAT ABOUT ACCESS TO ADEQUATE SOAP AND WATER?

6          A     I HAVE A SINK IN MY OFFICE AND SOAP AND WATER AND I

7     WASH MY HANDS FREQUENTLY.

8          Q     IN THE EXAM ROOMS?

9          A     IN THE EXAM ROOMS, YES, SIR.         AND IN THE ACUTE

10    TREATMENT UNIT THERE'S ALSO A SINK AND SOAP AND WATER WHERE I

11    CAN WASH MY HANDS BETWEEN PATIENTS.

12         Q     DO YOU HAVE ACCESS TO THE PATIENT'S CHART WHEN --

13         A     YES.

14         Q     I'M SORRY.       I MEANT TO --

15         A     IN THE ACUTE TREATMENT UNIT?

16         Q     NO.    WHEN YOU'RE DOING THESE EXAMINATIONS.

17         A     SO WHENEVER I SEE PATIENTS -- YES.           I WILL -- A LOT

18    OF TIMES IN AN EMERGENCY SITUATION, IF IT'S A COMPLAINT OF

19    ABDOMINAL PAIN, CHEST PAIN, SHORTNESS OF BREATH, THE MEDICAL

20    RECORD ROOM IS RIGHT NEXT DOOR TO WHERE THE ATU IS AND I GO

21    PULL THE CHART PROBABLY 99 PERCENT OF THE TIME.

22         Q     LET'S TALK ABOUT THE CHART FOR A SECOND.            SO IT'S

23    PHYSICAL MEDICAL RECORDS, RIGHT?        DO YOU FIND THAT YOU'RE ABLE

24    TO LOCATE EVERYTHING THAT YOU NEED IN THE CHART?

25         A     YES.
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1          Q      AND SOME OF THESE RECORDS ARE QUITE VOLUMINOUS?

2          A      THEY'RE VERY LARGE, YES.

3          Q      DESPITE THAT, ARE YOU ABLE TO ACCESS EVERYTHING THAT

4     YOU NEED?

5          A      I AM.    AND IF THERE'S ANYTHING -- FOR INSTANCE, IF I

6     NEED A LAB I CAN -- I HAVE LABCORP ON MY LAPTOP AND I CAN PULL

7     UP LABS.    THAT WAY IF THERE HAPPENS TO BE A LAB THAT MAYBE WAS

8     DRAWN RECENTLY I PULL -- I FREQUENTLY HAVE -- LABCORP STAYS

9     PULLED UP AND I CAN PULL IT UP TO SEE IF THERE WAS ANY LAB

10    THAT'S NOT ON THE CHART YET.

11         Q      LET'S TALK ABOUT THE INTERACTION YOU HAVE WITH THE

12    PATIENTS.    DO YOU BELIEVE YOUR PATIENTS ARE EVER LYING TO YOU?

13         A      LYING?

14         Q      RIGHT.

15         A      NO.   I -- I -- I BELIEVE THAT SOMETIMES THEY DO

16    EXAGGERATE THEIR SYMPTOMS.      BUT FOR THE MOST PART, I BELIEVE

17    THAT WHEN I ASSESS THEM AND I REVIEW EVERYTHING THAT I DO NOT

18    BELIEVE THEY'RE LYING.      I BELIEVE THEY HAVE A PROBLEM.

19         Q      YOU EVER SUSPECT THAT THEY'RE SEEKING DRUGS?

20         A      SOMETIMES I DO.    AND EVEN DESPITE THAT FACT,

21    SOMETIMES -- THERE'S CERTAIN DRUGS AT THE PRISON THAT PATIENTS

22    WILL ASK FOR ALL THE TIME.      BACLOFEN, KEPPRA, NEURONTIN BEING

23    DRUGS THAT THEY DO WANT, BUT THERE'S WAYS TO TREAT THEIR

24    HEALTH PROBLEMS WITHOUT ALWAYS GIVING THEM THOSE DRUGS.

25                SO SOMETIMES THEY DO GET PRESCRIBED THE BACLOFEN AND
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1     THE KEPPRA FOR THEIR PAIN.

2          Q     LET'S TALK ABOUT THE NURSING UNITS.           SO I'M GOING TO

3     GO AHEAD AND HAVE --

4                MR. CODY:    MS. RAGUSA, CAN YOU PULL UP DX_46_142

5     PLEASE.

6     BY MR. CODY:

7          Q     DO YOU SEE WHAT'S ON THE SCREEN THERE, MS. PARK?

8          A     YES, SIR.

9          Q     COULD YOU IDENTIFY THAT PLEASE?

10         A     IT'S NURSING UNIT 1.

11         Q     OKAY.   IS THAT BOTH PICTURES IN THE SHOT?

12         A     BOTH PICTURES IN THE SHOT ARE NURSING UNIT 1.

13               MR. CODY:    MS. RAGUSA, IF YOU COULD GO TO 143.

14    BY MR. CODY:

15         Q     ALL RIGHT.       IS THAT NURSING UNIT 1 OR NURSING UNIT

16    2?

17         A     NURSING UNIT 2.

18         Q     IS THAT PRETTY MUCH REPRESENTATIVE OF HOW THAT LOOKS

19    TODAY?

20         A     UM, SO I THINK ONE -- ONE OF THOSE PICTURES IS

21    NURSING UNIT 1 AND ONE IS NURSING UNIT 2, BUT I'M NOT --

22         Q     SO IN THIS 143, THE TOP ONE, WOULD YOU SAY IS

23    NURSING --

24         A     -- IS NURSING UNIT 1.

25         Q     OKAY.   AND THEN THE BOTTOM ONE WOULD BE NURSING UNIT
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1     2?

2          A     YES, SIR, I THINK THAT'S THE CASE.

3                MR. CODY:    MS. RAGUSA, IF YOU COULD GO TO 144.

4     BY MR. CODY:

5          Q     ALL RIGHT.

6          A     NURSING UNIT 2.

7          Q     THAT'S NURSING UNIT 2.     OKAY.

8                MR. CODY:    AND, MS. RAGUSA, IF YOU COULD ZOOM IN ON

9     THE BOTTOM PICTURE A LITTLE MORE.

10    BY MR. CODY:

11         Q     MS. PARK, IN THE PICTURE BEFORE YOU, DO YOU SEE THE

12    LOCKER ROOMS IN THE BACKGROUND?

13         A     YES, SIR.

14         Q     CAN YOU TELL WHAT'S ABOVE THE LOCKER ROOMS?

15         A     THEY HAVE -- THOSE ROOMS HAVE A CALL BELL ABOVE

16    THEM -- ABOVE THE DOOR.

17         Q     OKAY.   THEY'RE A CALL BELL OR WAS IT A CALL LIGHT?

18         A     WELL, A CALL LIGHT, YES.

19         Q     OKAY.   ARE THOSE -- HOW LONG HAVE THOSE BEEN IN

20    PLACE, DO YOU KNOW?

21         A     I'M NOT SURE THE EXACT AMOUNT OF TIME; SIX MONTHS OR

22    MORE.

23               MR. CODY:    YOU CAN TAKE THIS OFF THE SCREEN,

24    MS. RAGUSA.

25    BY MR. CODY:
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1          Q      NOW LET'S TALK ABOUT NURSING UNIT 2.        ARE YOU IN

2     CHARGE AT ALL OF ANY OF THE PATIENTS IN NURSING UNIT 2?

3          A      I AM IN CHARGE OF NURSING UNIT 2 FOR THE -- YES.

4          Q      WHAT SORTS OF PATIENTS ARE HOUSED IN NURSING UNIT 2?

5          A      NURSING UNIT 2 ARE THE PATIENTS THAT ARE NOT ABLE TO

6     TAKE CARE OF THEMSELVES AND NEED A SUBSTANTIAL AMOUNT OF HELP.

7     THEY'RE PEOPLE THAT HAVE DEMENTIA.         THEY ARE QUADRAPLEGICS.

8     THEY HAVE TERMINAL CANCERS.      THEY HAVE SEVERE HEALTH PROBLEMS.

9     SOME OF THEM ARE ELDERLY AND THEY HAVE SIGNIFICANT FUNCTIONAL

10    DEFICITS.    SOME OF THEM HAVE SIGNIFICANT FUNCTIONAL AND

11    COGNITIVE DEFICITS.     THEY'RE JUST PEOPLE THAT ARE -- THAT YOU

12    WOULD -- THAT ARE -- IF THEY LIVED IN THE STREETS WOULD BE IN

13    A NURSING HOME.

14         Q      HOW MANY PATIENTS ARE PRESENTLY IN NURSING UNIT 2?

15         A      THIRTY.

16         Q      AND DO YOU KNOW ABOUT WHAT THE RATIO IS THERE FOR

17    NURSES TO PATIENTS?

18         A      FIFTEEN PATIENTS TO ONE NURSE.

19         Q      AND DO YOU KNOW WHAT THE RATIO IS FOR NURSING UNIT

20    1?

21         A      TEN PATIENTS TO ONE NURSE.

22         Q      DO YOU HAVE HEALTH CARE ORDERLIES ALSO WORKING IN

23    THE NURSING UNITS?

24         A      YES, SIR.

25         Q      ABOUT APPROXIMATELY HOW MANY HEALTH CARE ORDERLIES
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1     WORK IN EITHER NURSING UNIT?

2          A     THREE TO FOUR IN EACH ONE.

3          Q     DO THEY HAVE -- THEY HAVE SHIFTS I TAKE IT?

4          A     THEY DO HAVE SHIFTS.     THEY WORK WITH THE SECURITY

5     TEAMS.

6          Q     SO IS IT THREE TO FOUR PER SHIFT?

7          A     YES, THREE TO FOUR PER SHIFT.

8          Q     NOW YOU MENTIONED EARLIER ABOUT THE CALL LIGHTS.           I

9     WANT TO ASK YOU A LITTLE BIT MORE ABOUT THAT.          LET'S SEE, I

10    THINK WE HAVE A BETTER PICTURE HERE.

11               MR. CODY:    MS. RAGUSA, IF YOU COULD PULL UP

12    DX_46_173.

13    BY MR. CODY:

14         Q     OKAY.   YOU SEE THAT BRIGHT LIGHT IN THE DISTANCE

15    THERE?

16         A     YES.

17         Q     WOULD THAT BE ONE OF THE CALL LIGHTS THAT WE SPOKE

18    ABOUT?

19         A     YES, SIR.

20               MR. CODY:    MS. RAGUSA, IF YOU COULD GO TO 46_175.

21    BY MR. CODY:

22         Q     SAME THING, IS THAT ALSO A PICTURE OF A CALL LIGHT?

23         A     YES, SIR.

24         Q     DO YOU -- HAVE YOU SEEN PEOPLE USE THE CALL LIGHTS

25    SINCE THEY'VE BEEN INSTALLED?
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1           A    YES, I HAVE.

2           Q    HOW DO PATIENTS IN THE LOCKER ROOMS ACTIVATE THE

3     CALL LIGHTS?

4           A    THERE IS A LIGHT SWITCH THAT YOU FLIP UP TO TURN IT

5     ON.

6                MR. CODY:    AND, MS. RAGUSA, IF YOU COULD GO TO

7     DX_46_130, PLEASE.

8     BY MR. CODY:

9           Q    DO YOU SEE WHAT APPEARS TO BE ON THE WALL IN THAT

10    PICTURE BEFORE YOU?

11          A    YES.    THAT'S THE LIGHT SWITCH.

12          Q    AND IT APPEARS TO BE NEAR THE BED?

13          A    YES, SIR.

14          Q    ARE YOU AWARE IF THAT'S HOW THEY'RE MOSTLY ALL SET

15    UP?

16          A    YES, THEY'RE ALL SET UP LIKE THAT.

17               MR. CODY:    MS. RAGUSA, IF YOU COULD GO TO 46_131.

18    BY MR. CODY:

19          Q    OKAY.   I GUESS -- SO HERE WE HAVE ANOTHER PICTURE OF

20    A BED.    THE CALL SWITCH IS ALSO CLOSE TO THAT ONE IT APPEARS?

21          A    YES, SIR.    AND WHAT WE DO IS IF A PERSON IS

22    PARALYZED ON ONE SIDE -- SO IF THE PERSON IS PARALYZED ON HIS

23    LEFT SIDE, THEN WE WOULD KEEP THE BED THE WAY IT'S FACING.

24    BUT IF HE IS PARALYZED ON HIS RIGHT SIDE WE JUST TURN THE BED

25    SO THAT HIS HAND THAT'S FUNCTIONING IS ABLE TO ACCESS THE
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1     LIGHT.

2          Q     OKAY.   WHEN THEY'RE ACTIVATED DO NURSES ACTUALLY

3     RESPOND TO THESE CALL LIGHTS?

4          A     YES, THEY DO.

5          Q     YOU'VE WITNESSED THAT?

6          A     I HAVE.   I'VE RESPONDED TO THEM WHEN I COME INTO THE

7     UNIT OR WHEN I WORK THE UNIT.

8          Q     WHAT SORTS OF ISSUES DO YOU RESPOND TO WHEN THE CALL

9     LIGHT IS ACTIVATED?

10         A     SOMETIMES IT'S JUST SIMPLY:       I NEED TO BE TURNED OR

11    I'VE HAD A BOWEL MOVEMENT OR I NEED THE ORDERLY.

12               I'VE BEEN CALLED BEFORE THAT THEY JUST WANT TO ORDER

13    FOOD FROM THE CLUB.     SOMETIMES IT'S A MEDICAL COMPLAINT.

14               MR. CODY:    I'M SORRY, MS. RAGUSA.      YOU CAN TAKE THAT

15    OFF THE SCREEN.

16    BY MR. CODY:

17         Q     WHEN THE DOOR TO THE LOCKER ROOM IS CLOSED, CAN ONE

18    STILL HEAR AN INMATE INSIDE THE LOCKER ROOM IF THEY CALL OUT?

19         A     YES.

20         Q     WOULD THEY BE ABLE TO HEAR THAT PERSON FROM THE

21    NURSES' STATION, DO YOU KNOW?

22         A     I HAVE BEEN ABLE TO HEAR THEM BEFORE.         I CAN'T SAY

23    THAT I WOULD HEAR THEM ALL THE TIME, BUT I HAVE BEEN ABLE TO

24    HEAR THEM CALLING BEFORE FROM THE NURSES' STATION.

25               THERE'S A LARGE AREA AT THE TOP THAT'S UNVENTED THAT
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1     YOU CAN HEAR A LOT OF NOISE.         THE INMATES KEEP THE TV LOUD,

2     SOMETIMES THEY'RE WATCHING TV, BUT GENERALLY I CAN HEAR THEM

3     CALLING.

4                THE COURT:       MR. CODY, CAN I JUST ASK, IS THE LOCKER

5     ROOM IN UNIT 1 OR 2?        I MAY HAVE MISSED THAT.

6                THE WITNESS:      THERE'S LOCKER ROOMS IN BOTH SIDES AND

7     THEY ALL HAVE -- AND THEY HAVE LIGHTS.           ALL OF THEM HAVE

8     LIGHTS.

9                THE COURT:       OKAY.   THANKS.    I JUST WANTED TO MAKE

10    SURE --

11               MR. CODY:    THANK YOU, YOUR HONOR.         NO, I'M GLAD YOU

12    CLARIFIED THAT.

13               THE COURT:       I JUST WANTED TO MAKE SURE I WAS

14    FOLLOWING.   OKAY.   GO AHEAD.

15    BY MR. CODY:

16         Q     HOW MANY LOCKER ROOMS ARE THERE ON EITHER SIDE?

17         A     RIGHT NOW THERE'S NINE ON UNIT 2.           THERE USED TO BE

18    TEN, BUT THE NEW ADDITION TOOK UP ONE OF THE ROOMS AND THEN IN

19    UNIT 1 THERE'S THREE -- NINE ALSO.

20         Q     OKAY.   NOW I MENTIONED EARLIER ABOUT THE ORDERLIES.

21    LET'S GO AHEAD AND DISCUSS THE ORDERLY CARE.             WHAT FUNCTION DO

22    THE HEALTH CARE ORDERLIES SERVE IN NURSING UNITS 1 AND 2?

23         A     THEY SERVE TO -- THEY -- FIRST OF ALL, THEY WOULD

24    SERVE THEM THEIR MEALS.        SO WHEN THEIR TRAYS COME IN THE

25    MORNING, THEY WILL HAND OUT THE TRAYS.           SOME OF THE PATIENTS
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1     AREN'T ABLE TO FEED THEMSELVES, SO THEY WOULD FEED THOSE

2     PATIENTS.    SOME OF THEM WOULD NEED TO BE SET UP, SO THE

3     ORDERLIES WILL SET THEM UP.      JUST SIT THE HEAD OF THEIR BED UP

4     AND SET THEIR TRAY IN FRONT OF THEM.

5                 THEY ALSO WOULD HELP THE PATIENTS WHEN THEY ARE

6     INCONTINENT OF URINE AND STOOL.      THEY WOULD HELP THEM CLEAN

7     UP.   THEY TURN THEM EVERY TWO HOURS TO PREVENT WOUND CARE --

8     TO PREVENT WOUND BREAKDOWN.      THEY ALSO DO THINGS LIKE EMPTY

9     THEIR URINALS, IF THEY'RE UNABLE TO GET OUT OF BED BUT ABLE TO

10    USE THE URINAL.    AND THEY WOULD BATHE THEM, WHETHER THAT'S IN

11    THE SHOWER, THEY WOULD HELP THEM GET IN THE SHOWER OR THEY

12    WOULD BATHE THEM -- THEY WOULD BATHE THEM IN THE BED,

13    DEPENDING ON THEIR MEDICAL SITUATION.

14          Q     WHO TRAINS THE ORDERLIES AT LSP?

15          A     JENNIFER STICKELLS IS A REGISTERED NURSE AND SHE

16    TRAINS THEM.

17          Q     HAVE YOU EVER HAD OCCASION TO OBSERVE MS. STICKELLS

18    IN TRAINING THE ORDERLIES?

19          A     I HAVE.    I HAVE WORKED -- WHEN I WAS WORKING AS A

20    REGISTERED NURSE SHE CAME IN WITH A CLASS OF THE TRAINEES AND

21    SHE -- SHE WORKED WITH THEM THROUGHOUT THE DAY TO SHOW THEM

22    HOW TO DO THE JOB.

23          Q     ABOUT HOW RECENTLY WAS THAT?

24          A     A MONTH.

25          Q     DO YOU FEEL THAT THE ORDERLIES ARE ADEQUATELY
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1     TRAINED TO PERFORM THEIR JOB DUTIES?

2          A     YES.

3          Q     AND SPECIFICALLY, THE ORDERLIES THAT WORK IN THE

4     NURSING UNITS, DO YOU FEEL THAT THEY'RE ABLE TO DO THE THINGS

5     THAT YOU NEED THEM TO DO IN THE NURSING UNITS?

6          A     YES, I DO.       ESPECIALLY NOW THAT I'VE WORKED WITH

7     THEM AS A REGISTERED NURSE, I'VE DEFINITELY OBSERVED THEM

8     DOING THEIR JOB VERY WELL.        IF IT WAS MY FAMILY ON THE

9     STREETS, OR EVEN MYSELF, AND THEY WERE MY ORDERLIES, I'D BE

10    VERY HAPPY.

11         Q     IS THIS THE SORT OF WORK YOU BELIEVE NURSES SHOULD

12    BE DOING IN THE NURSING UNITS?

13         A     THE NURSES DO, DO THAT TYPE OF WORK.           WE ALSO WORK

14    WITH THE ORDERLIES AND WE DO HELP THEM.           SO THE NURSES DO, DO

15    THAT WORK.    BUT THE ORDERLIES HELPING -- HELP THE NURSES SO

16    THAT THEY CAN DO OTHER TASKS THAT ARE RELATED TO NURSING CARE;

17    ADMINISTERING THE MEDICATIONS, DOING THE WOUND CARE

18    ASSESSMENT, ASSESSING THEIR SKIN, TAKING CARE OF THEM IN OTHER

19    WAYS.    BUT WE ALSO DO HELP THE ORDERLIES TAKE CARE OF THE

20    PATIENTS WHEN NEEDED.        I MEAN THE NURSES, WE'LL CHANGE A

21    DIAPER.   WE'LL TURN THE PATIENT.       WE'LL DO THAT SORT OF WORK

22    ALSO.

23         Q     IS THERE ALSO A LOT OF PAPERWORK INVOLVED WITH THE

24    FUNCTION OF THE NURSES IN THE NURSING UNITS?

25         A     NURSING UNIT 1 HAS MORE OF A -- MORE DOCUMENTATION
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1     BECAUSE THEIR PATIENTS ARE A MORE ACUTE SITUATION.           NURSING

2     UNIT 2 THE DOCUMENTATION IS LESS.

3          Q     WHO SUPERVISES THE ORDERLIES IN THE NURSING UNITS?

4          A     THE SECURITY DO SUPERVISE THE ORDERLIES, BUT THE

5     NURSES ALSO MONITOR WHAT THEY'RE DOING AND GUIDE AND DIRECT

6     THEM AS NEEDED.

7          Q     SO WOULD YOU SAY -- IS THERE GOOD COMMUNICATION

8     BETWEEN THE NURSES AND THE ORDERLIES?

9          A     YES.

10         Q     WE SAW EARLIER ON THE SCREEN THE PICTURES OF THE

11    NURSING UNIT 1 AND NURSING UNIT 2, BUT FROM THE NURSES'

12    STATION IS THAT A FAIR ENOUGH VANTAGE OF THE ENTIRETY OF THE

13    UNIT, WOULD YOU SAY, OR IS THE VIEW OBSTRUCTED AT ALL?

14         A     NO.    YOU COULD -- YOU COULD SEE THE ENTIRE UNIT.

15    THE ONLY -- THE ONLY PATIENTS THAT CAN'T BE SEEN ARE THE

16    PATIENTS IN THE LOCKED ROOMS.      BUT ALL OF THE PATIENTS IN THE

17    OPEN WARD CAN BE SEEN FROM THE WINDOW IN FRONT OF THE NURSES'

18    STATION.

19         Q     AND YOU SAID EARLIER, AND I FORGET, WAS IT SEVEN OR

20    EIGHT YEARS YOU'VE BEEN AT ANGOLA?

21         A     I STARTED IN OCTOBER 2014, SO IT'S ABOUT SEVEN AND A

22    HALF YEARS.

23         Q     OKAY.   HAVE YOU EVER SEEN AN ORDERLY PERFORMING

24    WOUND CARE?

25         A     NO, SIR.   ALL RIGHT.
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1          Q     HAVE YOU EVER SEEN AN ORDERLY DISPENSING MEDICATIONS

2     TO A PATIENT?

3          A     NO.

4          Q     HAVE YOU EVER SEEN AN ORDERLY ADMINISTERING INSULIN

5     TO A PATIENT?

6          A     NO.

7          Q     ARE YOU AWARE OF ANY INSTANCES OF AN ORDERLY ABUSING

8     A PATIENT?

9          A     NO.

10         Q     WHAT ABOUT AN ORDERLY NEGLECTING A PATIENT?

11         A     NO.

12         Q     WHAT ABOUT AN ORDERLY THREATENING TO WITHHOLD

13    SERVICE TO TRY TO EXTORT A PATIENT?

14         A     NO.   I DO HAVE ONE THING THAT I NEED TO SAY BACK ON

15    ONE OF YOUR QUESTIONS --

16         Q     OKAY.

17         A     -- ABOUT THE ORDERLY ABUSING A PATIENT.          WE DID HAVE

18    A SITUATION ABOUT A -- TWO MONTHS AGO WHERE AN ORDERLY CHOKED

19    ONE OF THE PATIENTS IN NURSING UNIT 2.        THERE WAS NO INJURY

20    SUSTAINED FROM THAT AND THE ORDERLY NO LONGER WORKS THERE.

21         Q     OKAY.

22         A     HE WAS WRITTEN UP AND DISCIPLINED AND HE NO LONGER

23    WORKS THERE.

24         Q     OKAY.

25               THE COURT REPORTER:     CAN YOU GIVE ME ONE SECOND,
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1     JUDGE?

2                THE COURT:       JUST A SECOND; SHE'S HAVING SOME

3     TECHNICAL PROBLEMS.

4                                 (OFF-THE-RECORD)

5                THE COURT:       PLEASE CONTINUE.

6     BY MR. CODY:

7          Q     MS. PARK, I NEGLECTED TO ASK YOU EARLIER ABOUT THE

8     CALL LIGHT SPECIFICALLY.        CAN THOSE BE SEEN FROM THE NURSES'

9     STATION ON THE UNITS?

10         A     YES, SIR.

11         Q     ALL OF THE CALL LIGHTS?           OKAY.

12         A     YES, SIR.

13         Q     AND ALSO WHEN YOU'RE IN THE ATU -- WORKING IN THE

14    ATU, ARE YOU INVOLVED AT ALL IN TRIAGING THE SICK CALL FORMS?

15         A     NO, I'M NOT.

16         Q     THAT'S NOT A FUNCTION THAT YOU'RE INVOLVED IN?

17         A     NO, SIR.

18         Q     OKAY.   THANK YOU.      LET'S TALK JUST VERY BRIEFLY

19    ABOUT SPECIALTY CARE?

20               ARE YOU AWARE WHETHER LSP TRACKS SPECIALTY CARE

21    RECOMMENDATIONS?

22         A     YES, THEY DO.

23         Q     CAN YOU KIND OF DISCUSS THAT A LITTLE BIT MORE?

24         A     SO WE HAVE SPECIALTY CARE THAT'S ON SITE AND THOSE

25    SPECIALTY CLINICS COME AND THEY DO RECOMMENDATIONS.              IF IT'S
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1     CARDIOLOGY THEY EVALUATE THE PATIENT.         THEY ORDER THE

2     DIAGNOSTIC STUDIES, WHATEVER THEY WANT ORDERED, AND THOSE

3     TESTS ARE DONE.

4                WHEN THEY FOLLOW-UP AT UNIVERSITY MEDICAL CENTER IN

5     NEW ORLEANS OR ANOTHER OUTSIDE FACILITY, THEY RETURN TO --

6     THEY RETURN WITH RECOMMENDATIONS.          IF THEY DON'T HAVE THE

7     RECOMMENDATIONS, WE ARE ABLE TO PULL UP THEIR CLINIC NOTES

8     FROM UNIVERSITY MEDICAL CENTER IN NEW ORLEANS AND THE -- DR.

9     TOCE OR ONE OF THE NURSE PRACTITIONERS REVIEWS THE

10    RECOMMENDATIONS AND WE ORDER THE RECOMMENDATIONS.

11               IF WE DO NOT HAVE RECOMMENDATIONS THAT ARE

12    RECOMMENDED, WE DO APPROPRIATE SUBSTITUTIONS OR DR. TOCE WILL

13    EVALUATE AND ORDER THE MEDICATIONS THAT ARE RECOMMENDED.

14         Q     OKAY.   THANK YOU.    DO YOU EVER ATTEND MORNING

15    MEETINGS AT LSP?

16         A     I DO.   WHEN I WAS MONDAY TO FRIDAY I ATTENDED EVERY

17    ONE, BUT NOW I ATTEND THE MORNING MEETINGS ON FRIDAY MORNINGS.

18         Q     ON THAT DAY, WHEN YOU ATTEND THE MORNING MEETINGS,

19    IS DR. TOCE THERE ON FRIDAYS?

20         A     HE IS NOT THERE ON FRIDAYS.

21         Q     HE WORKS MONDAY THROUGH THURSDAY?

22         A     MONDAY THROUGH THURSDAY.        A LOT OF MORNINGS WHEN I

23    WORK AS A NURSE, WHICH I USUALLY TRY TO DO MONDAY MORNINGS --

24    MONDAYS TO WORK AS A NURSE, I DO GO AND ATTEND THOSE MORNING

25    MEETINGS JUST TO GIVE REPORT ON WHAT HAPPENED OVER THE
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1     WEEKEND, AND AT THAT TIME I ATTEND THE ENTIRE MORNING MEETING.

2          Q     WHO RUNS THE MORNING MEETING ON FRIDAYS WHEN YOU'RE

3     THERE?

4          A     WHEN I'M THERE?     IT'S JUST RAN BY THE NURSE

5     PRACTITIONER.    USUALLY THE NURSE PRACTITIONER THAT WAS ON CALL

6     THURSDAY NIGHT WILL START WITH WHAT HAPPENED THROUGHOUT THE

7     COURSE OF THEIR CALL, ANY CALLS THAT THEY RESPONDED TO, ANY

8     ACUTE PATIENTS.    WE DISCUSS THAT PART OF THE EMERGENCIES THAT

9     HAPPENED THROUGH THE NIGHT ON CALL.

10               USUALLY I'M THE PERSON THAT'S ALREADY ROUNDED IN

11    NURSING UNIT 1 THAT MORNING, ON FRIDAYS, SO I'VE ALREADY SEEN

12    ALL THE PATIENTS AND I'LL TAKE OVER AND DISCUSS WHAT'S

13    HAPPENED WITH THE -- WHAT'S GOING ON WITH THE NURSING UNIT 1

14    PATIENTS; ANY PROBLEMS THEY'VE HAD OR ANYTHING LIKE THAT.

15         Q     BESIDES THE NURSE PRACTITIONERS AND DR. TOCE ON HIS

16    DAYS THAT HE'S THERE, WHO ELSE ATTENDS THESE MEETINGS?

17         A     A NUMBER OF THE NURSING SUPERVISORS ARE USUALLY

18    THERE.   THE DIRECTOR OF NURSES IS THERE.        WE HAVE A

19    RESPIRATORY THERAPIST, BRADY BOUDIN, HE'S FREQUENTLY THERE AND

20    THERE'S -- RECENTLY WE'VE OPENED UP A NEW LAB -- WE HAVE A NEW

21    LAB DIRECTOR AND SO SHE'S BEEN THERE THE LAST FEW DAYS THAT

22    I'VE BEEN THERE AT THE MORNING MEETINGS TO DISCUSS WHAT'S

23    GOING ON WITH LAB.    ALSO, JACOB JOHNSON IS ALSO THERE AND HE

24    IS THE HOSPITAL ADMINISTRATOR.

25         Q     AND YOU DESCRIBED GENERALLY WHAT OCCURS AT THESE
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1     MORNING MEETINGS AND I THINK YOU TALKED ABOUT NURSING UNIT

2     PATIENTS AND THE DISCUSSION OF THEM.        WHAT ABOUT PATIENTS THAT

3     HAVE GONE OUT FOR EMERGENCY CARE?

4          A      YES.   THE PERSON ON CALL WILL DISCUSS ANY OF THOSE

5     PATIENTS THAT WE'VE SENT OUT AND THAT WAY WE'RE INFORMED.            AND

6     THEN LATER ON THE NURSING SUPERVISOR WILL GET MORE INFORMATION

7     FROM THE HOSPITAL ABOUT WHAT'S GOING ON WITH THAT PARTICULAR

8     PATIENT, ESPECIALLY IF THEY'RE ADMITTED.         THEY GIVE US DAILY

9     UPDATES ON THE PATIENTS THAT ARE ADMITTED.

10         Q      HOW LONG HAVE THESE MORNING MEETINGS BEEN HAPPENING?

11         A      SINCE I'VE BEEN THERE.

12         Q      SEVEN, EIGHT YEARS?

13         A      OVER SEVEN AND A HALF YEARS.

14         Q      DO YOU FIND THESE MEETINGS HELPFUL?

15         A      YES, SIR.

16         Q      DO YOU FIND IT'S A WAY TO EXCHANGE NOTES ABOUT

17    PATIENTS?

18         A      AND TO COMMUNICATE ANY PROBLEMS THAT WE'RE HAVING OR

19    ANY CONCERNS THAT WE HAVE.

20         Q      IS IT AN OPPORTUNITY FOR OVERSIGHT BY THE MEDICAL

21    DIRECTOR?

22         A      AN OPPOR- --

23         Q      AN OPPORTUNITY FOR OVERSIGHT BY THE MEDICAL

24    DIRECTOR.

25         A      WHAT IS OVERSIGHT?    I'M SORRY.
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1          Q     I'M SORRY.       THE MEDICAL DIRECTOR -- WELL, YOU'RE NOT

2     AT THOSE MEETINGS ANYWAY WHEN THE MEDICAL DIRECTOR IS THERE.

3     YOU'RE ONLY AT THE MEETINGS ON FRIDAY, I GUESS.

4          A     YES.

5          Q     SO THAT'S NOT REALLY A FAIR QUESTION.           LET'S CHANGE

6     GEARS AND TALK ABOUT DEREK MARTIN.

7          A     YES, SIR.

8          Q     DO YOU HAVE A PATIENT -- IS THAT A PATIENT OF YOURS

9     ON NURSING UNIT 2?

10         A     YES, HE IS.

11         Q     IS HE ONE OF THE ONES THAT YOU'RE RESPONSIBLE --

12               MR. SCHNEIDERMAN:       YOUR HONOR, WE SHOULDN'T BE

13    USING -- WE SHOULD BE USING PATIENT IDENTIFIERS.

14               MR. CODY:    WELL, I WON'T IF -- SO HE'S ONE THAT'S A

15    STIPULATED -- HE WAS GOING TO TESTIFY, BUT WE HAVE A

16    STIPULATION OF WHAT HE WOULD SAY WERE HE CALLED TO TESTIFY, SO

17    I WASN'T SURE.    BUT I WILL NOT USE HIS NAME IF THAT'S

18    APPROPRIATE.    WE HAVE A STIPULATION OF HIS TESTIMONY AND WE

19    HAVE A STIPULATION OF WHAT THE CROSS-EXAMINATION WOULD BE.             IS

20    THAT FAIR?

21               MR. SCHNEIDERMAN:       THAT'S OKAY.

22               THE COURT:       SO IF WE HAVE A STIPULATION AS TO AN

23    INMATE PATIENT WHO IS STIPULATED AS TO WHAT HIS TESTIMONY IS

24    GOING TO BE BY NAME, THEN THE COURT WILL ALLOW YOU TO REFER TO

25    HIM BY NAME.    YOU MAY PROCEED.
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1                MR. CODY:    THANK YOU, YOUR HONOR.        I APOLOGIZE.     I

2     PROBABLY SHOULD HAVE ASKED FIRST JUST TO MAKE SURE.

3                THE COURT:       IT'S ALL GOOD.

4     BY MR. CODY:

5          Q     WHAT IS MR. MARTIN'S MEDICAL CONDITION?

6          A     HE'S A QUADRAPLEGIC, BUT HE HAS USE OF ONE OF HIS

7     ARMS.

8          Q     ABOUT HOW OFTEN DO YOU ASSESS HIM?

9          A     EVERY TWO WEEKS.

10         Q     HAS MR. MARTIN EVER THREATENED YOU?

11         A     HE'S NEVER THREATENED TO HURT ME, BUT HE HAS

12    FREQUENTLY BEEN VERBALLY ABUSIVE.

13         Q     SINCE YOUR DEPOSITION IN THIS MATTER, HAVE YOU HAD

14    ANY PARTICULAR BAD ENCOUNTER WITH MR. MARTIN?

15         A     I HAVE.   I FREQUENTLY HAVE TO DEAL, WHEN I WOULD

16    INTERACT WITH DEREK, WITH RUDE COMMENTS LIKE:            I'M THE DEVIL,

17    I'M SATAN, I'M GOING TO HELL, THAT I LIE, THAT I DON'T KNOW

18    WHAT I'M DOING.    AND I HAVE TOLERATED THE BEHAVIOR, AND I GAVE

19    HIM WARNING FAIRLY RECENTLY THAT I'M TIRED OF THE BEHAVIOR.

20    THAT HE CAN THINK WHAT HE WANTS, BUT I DO NOT WANT TO HEAR

21    ANYMORE THREATS OR VERBALLY ABUSIVE BEHAVIOR.            AND HE

22    CONTINUED TO VERBALLY ABUSE ME, SO I DID WRITE HIM UP FOR

23    DEFIANCE AND HE DID HAVE DISCIPLINARY ACTION.

24         Q     AND DID THAT DISCIPLINARY ACTION INVOLVE HIM GOING

25    INTO ONE OF THE LOCKER ROOMS?
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1          A      IT DID.   HE WAS PLACED IN A LOCKED ROOM WITH A CALL

2     LIGHT FOR A FEW DAYS.

3          Q      AND THE SEVEN, EIGHT YEARS THAT YOU'VE BEEN AT

4     ANGOLA, ABOUT HOW OFTEN HAVE YOU HAD TO WRITE-UP AN INMATE?

5          A      MAYBE THREE, MAYBE FOUR TIMES.

6          Q      SO THIS ISN'T SOMETHING YOU TAKE LIGHTLY?

7          A      NO, IT REALLY ISN'T.

8          Q      WHEN MR. MARTIN WAS IN THE LOCKER ROOM ON NURSING

9     UNIT 2 ARE YOU AWARE OF WHETHER HE WAS UNDER ANY -- IN ANY

10    DISTRESS?

11         A      NO.

12         Q      DO YOU KNOW IF HE HAD ACCESS TO A CALL LIGHT?

13         A      YES, HE DID.

14         Q      WERE ANY ARRANGEMENTS MADE TO MAKE SURE THAT HE HAD

15    ACCESS TO A CALL LIGHT?

16         A      YES.   HE WAS PLACED WITH HIS HAND THAT WORKS VERY

17    WELL WITH ACCESS TO THE CALL BELL.

18         Q      DOES MR. MARTIN HAVE ANY CONDITION THAT WOULD

19    PREVENT HIM FROM BEING ABLE TO SPEAK OUT LOUD --

20         A      NO.

21         Q      -- IF HE WAS IN DISTRESS?      ARE YOU AWARE OF ANY TIME

22    MR. MARTIN WOULD HAVE NEEDED TO CALL A NURSE WHEN HE WAS IN

23    THE LOCKER ROOM?

24         A      I KNOW THAT I DID RESPOND TO HIS CALL BELL BEFORE

25    AND SO, YES, HE DID -- WHEN I WAS WORKING AS A NURSE I
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1     RESPONDED TO HIS CALL BELL.

2          Q     SINCE HAVING TO WRITE-UP MR. MARTIN, HOW HAS HE

3     ACTED TOWARD YOU?

4          A     WE HAVE ACTUALLY -- HE APOLOGIZED.         AND I ALSO

5     VOICED THAT I REALLY WANTED JUST TO GET ALONG WITH HIM AND

6     TAKE GOOD CARE OF HIM AND OUR RELATIONSHIP TO ME HAS BEEN A

7     LOT BETTER.   WE'RE COMMUNICATING A LOT BETTER NOW.          HE'S

8     ALLOWING ME TO EXAMINE HIM.      WE'RE DOING VERY WELL AND I HOPE

9     IT STAYS THAT WAY.

10         Q     GREAT.   LET'S TALK ABOUT THE NURSES' STATION.            ARE

11    YOU AWARE OF THERE EVER BEING PAPERS ON THE WINDOWS OF THE

12    NURSES' STATION?

13         A     YES.   THERE WAS A TIME THERE WAS A LARGE NUMBER OF

14    PAPERS IN THE NURSES' STATION.

15         Q     PRESENTLY TODAY OR LAST TIME YOU WERE AT LSP WERE

16    THERE PAPERS --

17         A     NO.

18         Q     -- ON THE NURSES' STATION WINDOWS?

19         A     NO.

20         Q     AND I JUST WANT TO MAKE SURE, ARE WE TALKING ABOUT

21    NURSING UNIT 1 OR NURSING UNIT 2?

22         A     NURSING UNIT 1, THEY'VE NEVER REALLY HAD A PROBLEM

23    WITH THE PAPERS.    NURSING UNIT 2, THEY DID HAVE PAPERS THAT

24    WERE PLACED ON THE GLASS IN THE PAST.

25         Q     WHAT SORT OF PAPERS ARE WE TALKING ABOUT?
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1          A      SO A LOT OF TIMES IT WOULD BE IF WE WERE GOING TO

2     REORDER SUPPLIES FOR THE NEXT DAY, SO THE NIGHT SHIFT WOULD

3     HANG THEM THERE SO THAT THE DAY SHIFT WOULD KNOW TO SEND THEM

4     TO CENTRAL SUPPLY OR TO PHARMACY.

5                 SOMETIMES IT WOULD BE JUST COMMUNICATIONS ABOUT

6     THINGS THAT NEEDED TO BE DONE THAT DAY.         SOMETIMES IT WOULD BE

7     WHEN THE PATIENTS' MEDICATIONS WERE -- THAT MEDICATIONS WERE

8     REORDERED SO THAT THE NURSES COULD EXPECT THEM TO COME THE

9     NEXT DAY.    IT WAS A WAY FOR THE NURSES TO COMMUNICATE.

10         Q      LET'S TALK ABOUT -- ARE YOU INVOLVED IN

11    COMPASSIONATE RELEASE AT LSP?

12         A      I AM.

13         Q      COULD YOU EXPLAIN WHAT YOUR ROLE IS IN COMPASSIONATE

14    RELEASE?

15         A      SO I AM THE PERSON THAT WOULD WRITE THE LETTER ON

16    THEIR BEHALF AND USUALLY THEY'RE PATIENTS THAT I'M TAKING CARE

17    OF, PATIENTS THAT I KNOW THAT HAVE A TERMINAL ILLNESS THAT

18    OUTSIDE HOSPITALS HAVE DETERMINED THAT THEY HAVE A TERMINAL

19    PROGNOSIS, AND I WRITE A LETTER ON THEIR BEHALF STATING THAT

20    THEY HAVE A LIFE EXPECTANCY LESS THAN TWO MONTHS.           I WRITE

21    WHAT THEIR PROBLEMS ARE.

22                I THEN DO A VIDEO SHOWING WHAT THEIR FUNCTIONAL

23    STATUS IS AND I PREPARE -- IT'S A FORM THAT TELLS WHAT

24    ASSISTANCE THEY NEED, WHAT NURSING CARE THEY NEED, ANYTHING

25    LIKE THAT.    I FILL ALL THAT OUT.
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1                THEN WE DO AN IDT MEETING WHICH IS A MEETING WHERE

2     WE -- ALL THE DIFFERENT DISCIPLINES GET TOGETHER.             IT WOULD BE

3     MEDICAL, MENTAL HEALTH, CLASSIFICATION, SECURITY, JACOB

4     JOHNSON, SOMETIMES DR. TOCE, TONYA FOUST IS THE NURSE THAT

5     WORKS HOSPICE.     SO WE ALL GET TOGETHER AND WE GO OVER THE

6     PATIENT'S MEDICAL CONDITION, HIS DISCIPLINARY RECORD, THAT

7     SORT OF THING, AND EVERYBODY FROM THEIR STANDPOINT DECIDES IF

8     THAT PATIENT WOULD BE A CANDIDATE FOR COMPASSIONATE RELEASE.

9                THE COURT:       WHAT DOES IDT STAND FOR?

10               THE WITNESS:      INTERDISCIPLINARY MEETING TEAM.

11    BY MR. CODY:

12         Q     OKAY.   AND WITHOUT NAMING ANY NAMES, DO YOU RECALL

13    IN YOUR DEPOSITION EARLIER THIS YEAR DISCUSSING A

14    COMPASSIONATE RELEASE THAT YOU WERE WORKING ON FOR A

15    PARTICULAR INMATE?

16               MR. SCHNEIDERMAN:       OBJECTION, YOUR HONOR.

17    RELEVANCE?

18               THE COURT:       WHAT IS THE RELEVANCE?

19               MR. CODY:    WELL, IF YOU'LL ALLOW ME SOME LATITUDE

20    I'LL TRY TO EXPLAIN I GUESS --

21               THE COURT:       I'LL GIVE YOU LATITUDE, BUT GIVE ME AN

22    IDEA OF WHAT THE RELEVANCE IS.        I MEAN I'LL LET YOU HAVE SOME

23    TIME TO GET THERE BUT NOT IF IT'S NOT RELEVANT.

24               MR. CODY:    YOUR HONOR, IT MAY NOT BE RELEVANT SO

25    I'LL WITHDRAW.
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1                 THE COURT:      OKAY.   NEXT QUESTION.

2     BY MR. CODY:

3            Q    YOU ARE -- DURING YOUR TIME AT LSP YOU HAVE

4     EXPERIENCED THE COVID IMPACT OR THE OUTBREAK, THAT'S FAIR TO

5     SAY?

6            A    YES, SIR.

7            Q    CAN YOU KIND OF EXPLAIN I GUESS WHAT IMPACT COVID

8     HAS HAD AT LSP?

9            A    SO IT'S HAD THE SAME IMPACT THAT IT'S HAD BASICALLY

10    ON EVERY MEDICAL FACILITY, BUT FOR LOUISIANA STATE

11    PENITENTIARY ROUTINE HOSPITAL VISITS AND SURGERIES WERE

12    CANCELED.    THE OUTSIDE HOSPITALS WERE NOT DOING ROUTINE

13    SURGERIES LIKE HERNIA REPAIRS, YOU KNOW, THOSE KIND OF

14    SURGERIES.    SO THERE WAS NOT PATIENTS THAT HAD FOLLOW-UPS FOR

15    PROBLEMS LIKE -- I'M TRYING TO THINK -- SO PATIENTS THAT HAD

16    COMPLAINTS OF BACK PAIN THAT SAW NEUROLOGY, THEY WEREN'T BEING

17    SENT TO THE HOSPITAL BECAUSE THERE WERE NO CLINICS AVAILABLE,

18    SO THOSE CLINICS BACKED UP.

19                THERE WAS -- THE NURSING SHIFT IN THE CLINICS

20    BECAUSE WE DID NOT WANT -- THE NURSES HAD TO BE ASSESSING THE

21    PATIENTS IN THE OUTSIDE CAMPS.         THEY WERE GOING TO THE OUTSIDE

22    CAMPS.     AND INSTEAD OF DOING ROUTINE CLINICS WHERE WE ACTUALLY

23    SAW PATIENTS, THEY WERE GOING TO THE OUTSIDE CAMPS AND

24    EVALUATING ALL THE DIFFERENT -- ALL THE DIFFERENT DORMS, DOING

25    TEMPERATURE CHECKS, CHECKING FOR ANY PROBLEMS AND REFERRING
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1     ANY PATIENTS THAT WE THOUGHT MAY HAVE COVID.

2                THEY BEGAN SHIPPING PATIENTS FROM OTHER FACILITIES

3     IN PARISH PRISONS TO LOUISIANA STATE PENITENTIARY, SO WE

4     OPENED UP CAMP J TO BE ABLE TO TAKE CARE OF THOSE PATIENTS.

5                BASICALLY WE WEREN'T ABLE TO MIX THE DIFFERENT CAMPS

6     BECAUSE WE DID NOT WANT TO START SPREADING COVID TO DIFFERENT

7     CAMPS.   WE WANTED TO TRY TO ISOLATE COVID, SO WE TRIED TO STOP

8     ANY MOVEMENT.     IN MY UNIT, IN NURSING UNIT 2 AND UNIT 1, WE

9     TRIED TO STOP ANY TRAFFIC INTO THOSE UNITS TO PREVENT THEM

10    FROM GETTING COVID.

11         Q     SO DID THIS CAUSE A DISRUPTION OF LSP'S NORMAL

12    HEALTH CARE OPERATIONS?

13         A     DEFINITELY.

14         Q     YOU MENTIONED CAMP J, OPENING OF CAMP J.          DID THAT

15    CAUSE ANY TYPE OF MOVEMENT OF STAFF TO COVER CAMP J?

16         A     YES.   THEY PULLED A NUMBER OF REGISTERED NURSES AND

17    NURSING SUPERVISORS TO MAN CAMP J.         BECAUSE AT SOME POINT WE

18    HAD, YOU KNOW, 200 PATIENTS OVER THERE, AND THEY ALSO PULLED

19    ME OVER THERE TO TAKE CARE OF THE PATIENTS.         SO THERE WAS AT

20    LEAST EIGHT NURSING SUPERVISORS AND NURSES THAT WERE PULLED

21    FROM THE CLINICS TO WORK CAMP J.

22         Q     SO THIS HAD AN IMPACT ON NURSING STAFF?

23         A     YES, SIR.

24         Q     AND WHAT ABOUT BEING ABLE TO MOVE INMATES AROUND THE

25    COMPOUND; DID THIS IMPACT THEM BEING ABLE TO TRANSPORT INMATES
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1     AROUND?

2          A     YES, SIR.    YES, SIR.

3          Q     SPECIFICALLY WITH REGARD TO SPECIALTY CARE

4     APPOINTMENTS, DID THAT HAVE AN IMPACT ON SPECIALTY CARE?

5          A     YES, BECAUSE -- WELL, OUTSIDE SPECIALTY CLINICS JUST

6     WEREN'T OPEN.    IT WAS LIKE IF WE WERE TRYING TO GO GET A

7     DOCTOR'S APPOINTMENT.       IT JUST WASN'T THAT EASY.      AND A LOT OF

8     THE -- THE PATIENT -- THE SPECIALTY CLINICS FROM THE STREETS,

9     THEY WEREN'T COMING IN EITHER.       BECAUSE WE DIDN'T WANT TO MIX

10    ALL THE -- ALL THE CAMPS AND THAT SORT OF THING TO TRY TO

11    PREVENT THE SPREAD OF COVID.

12         Q     FOR THE RECORD YOUR UNDERSTANDING OF WHEN COVID

13    STARTED BECOMING IMPACTFUL FOR LSP, WAS THAT IN 2020?

14         A     YES, SIR.

15         Q     ABOUT WHAT TIME OF THE YEAR?

16         A     MARCH.   IT WAS AFTER MARDI GRAS, SO AROUND MARCH.

17         Q     TODAY IS COVID CONTINUING TO HAVE SOME IMPACT ON

18    HEALTH CARE OPERATIONS AT LSP?

19         A     WE HAVE SOME IMPACT FROM COVID STILL.          WE RECENTLY

20    HAD SOME DEATH ROW INMATES THAT HAD COVID.          I WANT TO SAY

21    THERE WERE FOUR DEATH ROW INMATES THAT HAD COVID.            BECAUSE I'M

22    REALLY CONCERNED ABOUT MY PATIENTS, I WAS CONCERNED ABOUT THE

23    TRAFFIC TO SPREAD IT BACK TO MY PATIENTS IN NURSING UNIT 2, SO

24    WE MOVED -- THE ORDERLIES ARE NOW LIVING IN THE NURSING UNIT

25    SO THAT THAT WAY THERE'S LESS EXPOSURE TO COVID FOR MY
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1     PATIENTS.

2          Q      THANK YOU.      NOW I WANT TO SWITCH GEARS AND TALK

3     ABOUT A PATIENT NAMED JEANPAUL CREPPEL.

4          A      YES, SIR.

5                 THE COURT:      ARE WE GOING TO --

6                 MR. CODY:    HE TESTIFIED, YOUR HONOR.

7                 THE COURT:      WE'RE GOING TO USE PATIENT NAMES WITH NO

8     OBJECTION?    OKAY.   GO AHEAD.

9     BY MR. CODY:

10         Q      ARE YOU FAMILIAR WITH MR. CREPPEL?

11         A      YES, SIR.

12         Q      AND WHO IS MR. CREPPEL?

13         A      MR. CREPPEL IS A PATIENT THAT I HAD IN THE NURSING

14    UNIT 2 A NUMBER OF YEARS AGO.        AND HE'S A PATIENT THAT I

15    EVALUATED IN THE ACUTE TREATMENT UNIT PROBABLY ABOUT THREE

16    YEARS AGO.

17         Q      WHAT IS MR. CREPPEL'S CONDITION?

18         A      MR. CREPPEL DEVELOPED A SPINAL ABSCESS IN HIS NECK

19    AND PRESENTED TO THE ACUTE TREATMENT UNIT WITH COMPLAINTS OF

20    NECK PAIN -- COMPLAINTS OF HE FELL WHILE USING THE BATHROOM

21    AND HE WAS NOT ABLE TO URINATE.        SO HE PRESENTED TO THE ACUTE

22    TREATMENT UNIT IN THE MIDDLE OF THE NIGHT.

23         Q      WHEN MR. CREPPEL PRESENTED TO THE ACUTE TREATMENT

24    UNIT, DID HE EXPLAIN HOW -- WHAT CAUSED THE INJURY?

25         A      NO.   HE DID NOT TELL ME WHAT HAD CAUSED THE INJURY.
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1     HE HAD TOLD ME HE HAD FALLEN AND HE HAD SAID THAT FOR THE LAST

2     WEEK HE HAD BEEN EXPERIENCING NUMBNESS IN HIS ARMS AND LEGS

3     AND PAIN IN HIS NECK AND BACK.

4                HE -- HE WAS ASSESSED BY ME AND IT WAS DETERMINED --

5     I CAME IN WHEN -- IT WAS A NIGHT CALL, SO I CAME IN AT NIGHT

6     WHEN THEY CALLED ME IN TO ASSESS HIM, AND MY EXAM DETERMINED

7     THAT HE NEEDED TO BE SENT TO AN OUTSIDE HOSPITAL.

8          Q     OKAY.   AND AS FAR AS YOUR ASSESSMENT OF HIM, DID

9     THAT INVOLVE A RECTAL EXAM, DO YOU RECALL?

10         A     YES, SIR.

11         Q     IS THAT SOMETHING THAT WAS NECESSARY BASED ON THE

12    CONDITION HE PRESENTED WITH?

13         A     SO WHEN YOU -- HE CAME IN AFTER A FALL.            I LATER

14    FOUND OUT THAT HE HAD BEEN USING A PRISON CHIROPRACTOR TO

15    MANIPULATE HIS NECK.        I DID NOT KNOW THAT AT THE TIME.           BUT HE

16    CAME IN WITH A FALL WITH NEUROLOGIC COMPLAINTS.            SO WHEN YOU

17    SUSPECT A SPINAL CORD INJURY, ESPECIALLY WITH COMPLAINTS OF

18    LOSS OF FUNCTION IN HIS ARMS AND LEGS, A DIGITAL RECTAL EXAM

19    IS AN APPROPRIATE TEST TO CHECK FOR SPINAL CORD INJURY.

20         Q     DO YOU RECALL WHETHER YOU WERE EXCESSIVELY FORCEFUL

21    WITH MR. CREPPEL DURING THE EXAMINATION?

22         A     NO, I DON'T RECALL ANY OF THAT.

23         Q     DO YOU RECALL WHETHER YOU THOUGHT MR. CREPPEL WAS

24    LYING ABOUT HIS INJURY?

25         A     I DID NOT THINK THAT.       WITHIN -- WITHIN AN HOUR AND
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1     A HALF OF HIM ARRIVING TO THE ACUTE TREATMENT UNIT HE WAS

2     SENT -- I WROTE ORDERS TO SEND HIM TO THE HOSPITAL, SO I

3     OBVIOUSLY DIDN'T THINK HE WAS LYING AT ALL.         I BELIEVED HE HAD

4     A MEDICAL PROBLEM.

5          Q     DID YOU HARBOR ANY ANIMOSITY TOWARD MR. CREPPEL?

6          A     NO.

7          Q     SO WHEN HE COMES BACK FROM BEING AT THE OUTSIDE

8     HOSPITAL HE WAS ON NURSING UNIT 2 FOR A PERIOD OF TIME?

9          A     HE WAS.

10         Q     OKAY.   DO YOU RECALL HIM REQUESTING TO LEAVE NURSING

11    UNIT 2 TO GO TO ONE OF THE MEDICAL DORMS?

12         A     I DO RECALL THAT AND I KNOW THAT -- HE WAS TOO -- SO

13    IN ORDER TO GO TO A MEDICAL DORM I WANT TO MAKE SURE THAT THE

14    PATIENT IS ABLE TO TRANSFER HIMSELF INTO THE WHEELCHAIR, BE

15    ABLE TO TAKE CARE OF HIMSELF.      AND HE WAS STILL IN THE MIDDLE

16    OF PHYSICAL THERAPY AND HE WAS NOT QUITE THERE YET.           AND I

17    REMEMBER DISCUSSING WITH HIM THAT AS SOON AS HE GETS A LITTLE

18    BETTER THAT HE WOULD BE ABLE TO GO TO THE ASSISTED LIVING

19    DORM.

20         Q     SO WAS THE PLAN TO KEEP HIM ON NURSING UNIT 2

21    FOREVER?

22         A     NO.   THE PLAN WAS TO GET HIM SO HE COULD FUNCTION

23    BETTER FOR HIMSELF IN THE ASSISTED LIVING DORM.          THERE IS

24    ORDERLIES THERE THAT WILL TAKE CARE OF HIM, BUT THEY ARE NOT

25    GOING TO BE ABLE TO LIFT HIM INTO THE WHEELCHAIR.           THEY ARE
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1     NOT GOING TO BE ABLE TO PUSH HIM ALL AROUND ALL THE TIME.

2     HE'S GOING TO NEED TO BE ABLE TO TRANSFER HIMSELF INTO THE

3     WHEELCHAIR AND BE ABLE TO TAKE MORE CARE OF HIMSELF.           AND HE

4     WAS ALMOST THERE, BUT HE JUST NEEDED A LITTLE BIT MORE TIME.

5          Q     BEFORE WE WRAP UP IN JUST A SECOND -- I MEANT TO ASK

6     YOU THIS EARLIER.    ON THE NURSING UNITS IS THERE ONE-WAY

7     GLASS, DO YOU KNOW?

8          A     IN THE NURSING -- NO.

9          Q     IN THE NURSING UNITS.

10         A     NO, I CAN SEE IN AND OUT.

11         Q     THERE'S NOT A PLACE WHERE THERE'S GLASS YOU CAN ONLY

12    SEE ONE WAY THROUGH?

13         A     NOT THAT I NOTICED.

14         Q     OKAY.   ARE YOU DEDICATED TO YOUR PATIENTS?

15         A     YES.

16         Q     DO YOU GENERALLY WANT THEM TO GET BETTER?

17         A     I DO.

18         Q     DO YOU FEEL THAT THERE'S A PUNITIVE ATTITUDE AMONG

19    HEALTH CARE STAFF AT LSP TOWARD THEIR PATIENTS?

20         A     NO.

21         Q     YOU DON'T FEEL THAT NURSES HAVE A PUNITIVE ATTITUDE

22    TOWARD PATIENTS?

23         A     NO.

24         Q     WHAT ABOUT EMS?

25         A     NO.
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1          Q      WOULD YOU EVER WITHHOLD CARE TO A PATIENT BASED ON

2     THEIR CRIMINAL HISTORY?

3          A      NO.

4          Q      WOULD YOU EVER WITHHOLD CARE TO A PATIENT BASED ON

5     HOW THEY TREAT YOU?

6          A      NO.

7          Q      WOULD YOU EVER WITHHOLD CARE BASED ON THE FACT YOU

8     THOUGHT THEY WERE SEEKING DRUGS?

9          A      NO.

10         Q      WHAT ABOUT IF YOU THINK THEY'RE LYING TO YOU?

11         A      NO.

12         Q      EVEN WHEN YOU SUSPECT PATIENTS ARE LYING TO YOU, DO

13    YOU BASE YOUR ASSESSMENT ON OTHER FACTORS BESIDES WHAT THEY

14    TELL YOU?

15         A      I DO.   I MEAN -- I ASSESS MY PATIENT.        I LOOK AT ALL

16    THE DIAGNOSTIC STUDIES THAT I HAVE AVAILABLE, WHETHER IT'S

17    X-RAYS, LAB WORK, AND I BASE MY DIAGNOSIS BASED ON MY EXAM,

18    WHAT THEY SAY AND WHAT THE DIAGNOSTIC STUDIES REPORT.

19         Q      HAVE YOU EVER RECEIVED ANY AWARDS FOR YOUR SERVICE

20    AS A NURSE AT LSP?

21         A      I -- I -- WELL, I RECENTLY RECEIVED AN AWARD, YES.

22         Q      WHAT WAS THAT?

23         A      I RECEIVED THE DUNBAR AWARD FOR CIVIL SERVICE.

24         Q      CAN YOU KIND OF EXPLAIN WHAT THAT IS?

25         A      I BELIEVE IT'S A -- IT'S AN AWARD FOR ANY INDIVIDUAL
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1     THAT WORKS FOR THE CIVIL SERVICE, NOT JUST THE DEPARTMENT OF

2     CORRECTIONS, FOR EXEMPLARY SERVICE AND THINGS THEY HAVE DONE.

3          Q     THANK YOU, MS. PARK.

4                MR. CODY:    THAT'S ALL I HAVE, JUDGE.

5                THE COURT:       LET'S TAKE ABOUT A TEN-MINUTE RECESS.

6     WE'LL MAKE IT QUICK BEFORE CROSS.

7                                      (RECESS)

8                THE COURT:       YOU CAN TAKE THE STAND.

9     CROSS-EXAMINATION

10    BY MR. SCHNEIDERMAN:

11         Q     GOOD MORNING, MS. PARK.

12               THE COURT:       MAKE AN APPEARANCE.

13               MR. SCHNEIDERMAN:       BRENDON SCHNEIDERMAN FOR THE

14    PLAINTIFFS.

15               THE COURT:       THANK YOU.

16    BY MR. SCHNEIDERMAN:

17         Q     MS. PARK, YOU'VE BEEN A NURSE PRACTITIONER AT ANGOLA

18    FOR SEVEN YEARS?

19         A     YES, SIR.

20         Q     AND YOU KEEP QUITE BUSY; IS THAT RIGHT?

21         A     I DO.

22         Q     YOU WORK SIX TO EIGHT HOUR -- SIX TO EIGHT NURSING

23    SHIFTS EVERY TWO WEEKS?

24         A     YES, SIR.

25         Q     YOU WORK FRIDAY THROUGH SUNDAY?
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1          A      YES, SIR.

2          Q      YOU WORK AS AN RN AND A NURSE PRACTITIONER?

3          A      YES, SIR.

4          Q      YOU MONITOR LABS?

5          A      I DO.

6          Q      YOU REVIEW TRIP RETURNS?

7          A      I DO ON FRIDAYS.

8          Q      YOU OVERSEE NURSING UNITS 1 AND 2?

9          A      PARDON ME?

10         Q      YOU OVERSEE NURSING UNITS 1 AND 2?

11         A      I DEFINITELY OVERSEE NURSING UNIT 2.        THERE'S OTHER

12    NURSE PRACTITIONERS THAT ALSO SEE NURSING UNIT 1 AND 2

13    PATIENTS.

14         Q      AND YOU DO SOME SPECIALTY WORK WITH HEP C AND HIV?

15         A      I DO.

16         Q      AND ON TOP OF THAT YOU ALSO WORK AT THE ATU?

17         A      I DO.

18         Q      YOU CLAIM IN YOUR TIME AS A NP YOU'VE PERFECTED A

19    NUMBER OF SPECIALTIES, RIGHT?

20         A      I HAVE DONE A NUMBER OF SPECIALTIES, YES, SIR.

21         Q      YOU USED THE WORD "PERFECTED" IN YOUR DEPOSITION.

22    DO YOU RECALL YOUR DEPOSITION FROM MARCH?

23         A      I DID REVIEW IT, YES, SIR.      AND I HAVE DONE HIV FOR

24    A NUMBER OF YEARS AND HEPATITIS C TREATMENT, YES, SIR.

25         Q      YOU CLAIM YOU'VE PERFECTED A SPECIALTY CARE IN
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1     HOSPICE CARE?

2            A   YES, SIR.

3            Q   YOU CLAIM YOU'VE PERFECTED A SPECIALTY IN EMERGENCY

4     ROOM CARE?

5            A   I DO EMERGENCY AND ACUTE TREATMENT UNIT CARE, YES,

6     SIR.

7            Q   AND THAT YOU'VE PERFECTED A SPECIALTY IN CHRONIC

8     CARE?

9            A   YES, SIR.

10           Q   AND THE REASON YOU BELIEVE YOU'VE PERFECTED THESE

11    SPECIALTIES IS BECAUSE YOU'VE WORKED IN THESE AREAS A LOT AT

12    LSP?

13           A   AT LSP AND ALSO AT HUNT CORRECTIONAL CENTER.

14           Q   BUT YOU HAVEN'T RECEIVED ANY FORMAL EDUCATION IN ANY

15    OF THESE SPECIALTIES, RIGHT?

16           A   I WAS TRAINED IN HIV WITH AN HIV SPECIALIST,

17    DR. STEWART, AND ALSO A PAT GUTAY, CAME ON SITE AND WORKED

18    WITH ME FOR A NUMBER OF MONTHS AT ELAYN HUNT CORRECTIONAL

19    CENTER FOR HIV.    HEPATITIS C, ELIZABETH BRITTON IS A NURSE

20    PRACTITIONER THAT TREATS HEPATITIS C AND I'VE WORKED

21    EXTENSIVELY WITH HER AND TRAINED WITH HER.

22           Q   THANK YOU.       MS. PARK, MY QUESTION WAS JUST DO YOU

23    HAVE ANY FORMAL EDUCATION.        YOU DID NOT TELL MR. CODY THAT

24    YOUR DEGREE IS IN ACUTE CARE?

25           A   ACUTE CARE AND ADULT NURSE PRACTITIONER CARE, YES,
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1     SIR.

2            Q    OKAY.   THANK YOU.     SO WE JUST MENTIONED YOU OVERSEE

3     THE NURSING UNITS AS PART OF YOUR WORK AT LSP, RIGHT?

4            A    YES, SIR.

5            Q    AND YOU ASSESS THE PATIENTS IN THOSE NURSING UNITS?

6            A    YES, SIR.

7            Q    AND PART OF THAT ASSESSMENT INCLUDES TREATING AND

8     DOCUMENTING FALLS?

9            A    YES, SIR.

10           Q    THERE'S A LOT OF FALLS IN THE NURSING UNITS, RIGHT?

11           A    THERE IS A FEW FALLS IN THE NURSING UNIT, YES, SIR.

12                MR. CODY:    YOUR HONOR, OBJECTION.        I DIDN'T ASK HER

13    ANYTHING REGARDING FALLS DURING MY DIRECT EXAMINATION.

14                THE COURT:      SO THE OBJECTION IS TO THE SCOPE OF

15    CROSS.     YOU WANT TO RESPOND?

16                MR. CODY:    YES, YOUR HONOR.

17                MR. SCHNEIDERMAN:      YEAH, IT PERTAINS TO HER CARE TO

18    HER PATIENTS IN THE NURSING UNIT.

19                THE COURT:      OVERRULED.

20    BY MR. SCHNEIDERMAN:

21           Q    SO THERE'S A LOT OF FALLS IN THE NURSING UNITS?

22           A    THERE IS FALLS IN THE NURSING UNIT, YES, SIR.               WE

23    HAVE PATIENTS THAT HAVE DEMENTIA.            WE HAVE PATIENTS THAT ARE

24    UNSTEADY ON THEIR FEET.        WE HAVE PATIENTS THAT ARE UNAWARE OF

25    THEIR FUNCTIONAL DEFICITS.        SO THERE IS FALLS.       NOT A LOT.
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1          Q     THERE'S A LOT OF FALLS WHEN YOU'RE ON DUTY IN THE

2     NURSING UNITS?

3          A     NO.

4          Q     COULD WE PULL UP PLAINTIFFS' EXHIBIT 28-A AND THIS

5     IS SEALED.

6                DO YOU RECOGNIZE THIS KIND -- DO YOU RECOGNIZE THIS

7     KIND OF FORM?

8          A     YES, SIR.

9          Q     THIS IS A MEDICAL OCCURRENCE REPORT?

10         A     YES, SIR.

11         Q     THIS IS THE KIND OF FORM WHERE MEDICAL STAFF AT LSP

12    WOULD DOCUMENT A FALL IN ONE OF THE NURSING UNITS?

13         A     YES, SIR.

14         Q     LET'S GO TO PAGE 6.

15               IF YOU LOOK TO THE LEFT UNDER ATTENDING MD IT HAS

16    YOUR NAME, RIGHT?

17         A     YES, SIR.

18         Q     AND THIS FORM DOCUMENTS A PATIENT FALLING IN NURSING

19    UNIT 2?

20         A     IT ACTUALLY SAYS HERE THAT THEY NOTIFIED

21    DR. LAVESPERE.

22         Q     RIGHT.   BUT --

23         A     I AM THE ATTENDING PHYSICIAN IN NURSING UNIT 2.

24         Q     THANK YOU.       AND THIS FORM DOCUMENTS A PATIENT

25    FALLING IN NURSING UNIT 2?
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1          A     YES, SIR.

2          Q     THIS WAS ON MARCH 18TH, 2020?

3          A     YES, SIR.

4          Q     LET'S GO TO PAGE 8.     IF YOU LOOK TO THE LEFT AGAIN

5     UNDER ATTENDING MD IT HAS YOUR NAME?

6          A     YES, SIR.

7          Q     THIS DOCUMENTS ANOTHER PATIENT FALLING IN NURSING

8     UNIT 2?

9          A     YES, SIR.

10         Q     THIS IS ALSO ON MARCH 18TH, 2020?

11         A     YES, SIR.

12         Q     LET'S GO TO PAGE 39.     HERE, TOO, WE SEE YOUR NAME

13    UNDER ATTENDING MD?

14         A     YES, SIR.

15         Q     THIS IS ANOTHER FALL IN UNIT 2?

16         A     YES, SIR.

17         Q     THIS IS ON JULY 30TH, 2020?

18         A     YES, SIR.

19         Q     LET'S GO TO THE NEXT REPORT, PAGE 41.         YOU'RE THE

20    ATTENDING MD HERE TOO?

21         A     YES, SIR.

22         Q     AND WE'VE GOT ANOTHER FALL IN NU 2 A LITTLE OVER A

23    WEEK LATER?

24         A     YES, SIR.

25         Q     LET'S GO TO PAGE 43.     THIS IS ANOTHER FALL IN NU 2?
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1          A     YES, SIR.

2          Q     ABOUT A WEEK LATER?

3          A     YES, SIR.

4          Q     AND YOU'RE THE ATTENDING MD HERE TOO, RIGHT?

5          A     YES, SIR.

6          Q     LET'S PULL UP PLAINTIFF'S EXHIBIT 28-B AND GO TO

7     PAGE 4.   THIS IS ALSO SEALED.

8                THIS IS ANOTHER MEDICAL OCCURRENCE REPORT?

9          A     YES, SIR.

10         Q     AND, AGAIN, YOUR NAME IS BESIDE THE ATTENDING MD?

11         A     YES, SIR.

12         Q     THIS IS A FALL IN NU 2?

13         A     YES, SIR.

14         Q     ON MAY 8TH, RIGHT, 2021?

15         A     YES, SIR.

16         Q     LET'S GO TO THE NEXT REPORT, PAGE 6.         AGAIN, WE HAVE

17    YOUR NAME BESIDE ATTENDING MD?

18         A     YES, SIR.

19         Q     AND ANOTHER FALL THIS TIME IN NU 1?

20         A     YES, SIR.

21         Q     AND THIS IS THE SAME DATE AS THE LAST FALL; MAY 8TH,

22    2021?

23         A     YES, SIR.

24         Q     LET'S GO TO THE NEXT REPORT, PAGE 11.

25               THIS IS JUST THREE DAYS LATER, RIGHT, MAY 11TH,
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1     2021?

2          A      YES, SIR.    THESE ARE UNIT 1 PATIENTS.

3          Q      RIGHT.   AND WE'VE GOT YOUR NAME NEXT TO NOTIFIED MD?

4          A      YES, SIR.

5          Q      THIS IS A FALL IN NU 1?

6          A      YES.

7                 MR. SCHNEIDERMAN:      YOUR HONOR, AT THIS TIME

8     PLAINTIFFS MOVE TO ADMIT PLAINTIFFS' EXHIBITS 28-A AND B INTO

9     EVIDENCE.    THESE ARE THE MEDICAL OCCURRENCE REPORTS PRODUCED

10    BY DEFENDANTS.

11                MR. CODY:    YOUR HONOR, OBJECT ONLY TO ANY DOCUMENTS

12    THAT HE DID NOT SHOW HER.

13                ARE YOU TRYING TO ADMIT EVERYTHING OR JUST THE

14    SPECIFIC DOCUMENTS?

15                MR. SCHNEIDERMAN:      WE'RE TRYING TO ADMIT EVERYTHING.

16                MR. CODY:    YEAH, WE'D OBJECT TO ANYTHING BEYOND WHAT

17    IS ACTUALLY SHOWN TO THE WITNESS.

18                THE COURT:      DO THE EXHIBITS INCLUDE MORE THAN WHAT

19    YOU'VE JUST SHOWN HER?

20                MR. SCHNEIDERMAN:      YEAH.     THEY'RE ALL OF THE FALL

21    REPORTS FROM ALL OF THE PROVIDERS.

22                THE COURT:      ALL OF THE FALL REPORTS FROM ALL OF THE

23    PROVIDERS?

24                MR. SCHNEIDERMAN:      PRODUCED BY THE DEFENDANTS, YES.

25                THE COURT:      FROM 2019 TO CURRENT?
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1                MR. SCHNEIDERMAN:        I BELIEVE SO, YES.

2                THE COURT:       OKAY.   THE OBJECTION IS OVERRULED.        THE

3     DOCUMENTS ARE ADMITTED.        WHAT ARE YOUR EXHIBIT NUMBERS AGAIN?

4                MR. SCHNEIDERMAN:        28-A AND B, PLAINTIFFS' EXHIBITS.

5                THE COURT:       28-A AND B ARE ADMITTED.

6     BY MR. SCHNEIDERMAN:

7          Q     LET'S TALK ABOUT STAFFING AT LSP.

8          A     YES, SIR.

9          Q     YOU TESTIFIED THAT LSP HAS A NURSING SHORTAGE?

10         A     YES, SIR.

11         Q     NURSES MAKE LESS AT LSP THAN THEY COULD MAKE OUTSIDE

12    OF CORRECTIONS, RIGHT?

13         A     THEY USED TO.       THEY RECENTLY GOT -- ARE GETTING A

14    RAISE, SO I THINK THAT MAKES THEM COMPATIBLE -- COMPETITIVE

15    WITH OTHER FACILITIES.

16         Q     YOU TESTIFIED THAT TRAVEL AND AGENCY NURSES CAN GET

17    PAID DOUBLE WHAT STAFF NURSES GET PAID?

18         A     YES, SIR.

19         Q     HAS LSP DOUBLED ITS SALARIES FOR NURSES?

20         A     NO.

21         Q     LSP USES TRAVEL NURSES, RIGHT?

22         A     WE DO HAVE TWO TRAVEL NURSES.

23         Q     YOU ALSO TESTIFIED THAT THE DISPARITY IN PAY

24    CONTRIBUTES TO LSP'S RECRUITING CHALLENGES?

25         A     YES, SIR.
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1            Q    AND ON SUPERVISION YOU TESTIFIED THAT YOUR DIRECT

2     SUPERVISOR IS DR. TOCE?

3            A    YES, SIR.

4            Q    YOU SAID IN YOUR DEPOSITION THAT HE'S PULLED IN A

5     LOT OF DIFFERENT DIRECTIONS?

6            A    YES.

7            Q    AND YOU THINK THAT LSP HIRING ANOTHER PHYSICIAN

8     MIGHT HELP WITH THAT PROBLEM?

9            A    YES.

10           Q    IN FACT, YOU SAID IT WOULD HELP WITH THAT PROBLEM, I

11    APOLOGIZE; IS THAT RIGHT?

12           A    YES, SIR.

13           Q    I WANT TO ASK YOU JUST A COUPLE OF QUESTIONS FROM

14    MR. CODY'S DIRECT EXAM.

15                IF WE COULD PULL UP DEFENDANT'S EXHIBIT 46, PAGE

16    131.

17                SO THAT TOP PICTURE OF THAT BED, DO YOU RECALL

18    LOOKING AT THAT?

19           A    YES.

20           Q    PATIENTS IN THE NURSING UNITS USE THIS BED, RIGHT?

21           A    NO.    THAT IS -- THAT IS THE BED IN NURSING UNIT 1

22    AND THAT'S FOR THE SECURITY PATIENTS THAT ARE DISCIPLINARY

23    PROBLEMS.    AND THAT BED IS SECURED TO THE GROUND SO THEY CAN

24    NOT USE THAT FOR A WEAPON, SO IT'S SECURED TO THE FLOOR.

25                SO THAT IS -- NONE OF MY PATIENTS USE THAT BED.
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1            Q   SO THIS WOULDN'T BE USED BY A PATIENT IN THE NURSING

2     UNITS?

3            A   IN NURSING UNIT 1 IT IS -- THIS IS A BED THAT'S USED

4     BY SOMEONE THAT'S A HIGHER SECURITY RISK, AND TO MY KNOWLEDGE

5     THEY HAVE TWO ROOMS IN NURSING UNIT 1 THAT HAVE THAT KIND OF

6     BED.

7            Q   THIS ISN'T A HOSPITAL BED, RIGHT?

8                THE COURT:       A WHAT?

9                MR. SCHNEIDERMAN:       HOSPITAL BED.

10               THE COURT:       OH, OKAY.

11               THE WITNESS:      NO, IT'S NOT A HOSPITAL BED.

12    BY MR. SCHNEIDERMAN:

13           Q   THERE'S NO RAILS ON THAT BED, RIGHT?

14           A   THERE'S NO RAILS ON THAT BED.

15           Q   CAN WE PULL UP PLAINTIFFS' EXHIBIT 1-D, PAGE 21.

16               THIS IS THE NURSING UNIT?

17           A   YES, SIR.

18           Q   ABOUT HOW MANY ROWS OF BEDS WOULD YOU SAY THERE ARE

19    BETWEEN THE NURSING STATION AND THOSE ISOLATED ROOMS ON THE

20    BACK WALL?

21           A   HOW MANY ROWS OF BEDS?

22           Q   YES.

23           A   THERE'S FOUR PATIENTS AND THERE'S FIVE ROWS.

24           Q   FIVE ROWS OF BEDS?

25           A   FOUR OR FIVE ROWS.
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1          Q     AND THE DOORS TO THOSE INDIVIDUAL ROOMS ARE MADE OF

2     STEEL, RIGHT?

3          A     YES.

4          Q     AND SOMETIMES THE TVS ARE ON IN THE NURSING UNITS?

5          A     YES, ALL THE TIME.

6          Q     AND YOU SAID YOU CAN SOMETIMES HEAR PEOPLE CALLING

7     FROM THOSE LOCKER ROOMS?

8          A     UH-HUH.

9          Q     LET'S TALK ABOUT DEREK MARTIN.        WAS HE THE ONE --

10    YOU MENTIONED THERE WAS AN INCIDENT WITH AN ORDERLY

11    RECENTLY --

12         A     YES.

13         Q     -- WHERE A PATIENT WAS CHOKED?        WAS THAT DEREK

14    MARTIN THAT WAS CHOKED?

15         A     YES.

16         Q     COULD WE PULL UP JOINT EXHIBIT 22, PAGE 918.

17               YOU TESTIFIED THAT THAT WAS THE ONLY INSTANCE OF

18    VIOLENCE TOWARDS A PATIENT YOU HAD SEEN FROM AN ORDERLY; IS

19    THAT RIGHT?

20         A     I DID NOT SEE IT.     IT HAPPENED AT NIGHT.

21         Q     THAT YOU HAD HEARD OF?

22         A     THAT I'VE HEARD OF.

23         Q     OKAY.   IF WE CAN FOCUS ON AUGUST 6, 2020.

24               CAN YOU SEE THAT OKAY?

25         A     YES, SIR.
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1          Q     THIS STATES THAT THE PATIENT WAS PUNCHED IN THE HEAD

2     BY AN ORDERLY, RIGHT?

3          A     IT STATES THAT HE ALLEGED THAT HE DID IT.          HE'S

4     COMPLAINED OF IT, YES.

5          Q     OKAY.   SO YOU'RE CLEARLY FAMILIAR WITH DEREK MARTIN?

6          A     YES.

7          Q     AND HE'S A PATIENT IN NURSING UNIT 2?

8          A     UH-HUH.

9          Q     AND HE LIVES THERE BECAUSE OF A SPINAL CORD INJURY?

10         A     YES, SIR.

11         Q     ARE YOU AWARE THAT HE GAVE A DEPOSITION IN THIS CASE

12    ON MARCH 3RD OF THIS YEAR?

13         A     YES.

14         Q     DID YOU AND WILL RICHE APPROACH HIM 11 DAYS LATER?

15         A     PARDON ME?

16         Q     DID YOU AND WILL RICHE APPROACH HIM 11 DAYS LATER

17    PERTAINING -- PURSUANT TO HIS TESTIMONY -- TALKING TO HIM

18    ABOUT HIS TESTIMONY?

19         A     NO, SIR.

20         Q     DID YOU TELL HIM TO DROP HIS PENDING GRIEVANCE ABOUT

21    MEDICAL CARE?

22         A     NO, SIR.

23         Q     DID YOU TELL HIM TO STOP TALKING TO OUR LEGAL TEAM

24    ABOUT THIS LAWSUIT?

25         A     DEFINATELY NOT, NO, SIR.
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1          Q      DID YOU THREATEN THAT IF HE DID NOT YOU WOULD LOCK

2     HIM UP FOR A LONG TIME?

3          A      NO, SIR.

4          Q      DID HE TELL YOU THAT HE WOULD NOT DROP THE LAWSUIT?

5          A      NEVER HAD THAT CONVERSATION, SO NO.

6          Q      AN HOUR LATER WAS MR. MARTIN ISSUED A DISCIPLINARY

7     WRITE-UP?

8          A      I'M NOT SURE WHAT DATE IT WAS, BUT I DID GIVE HIM A

9     DISCIPLINARY WRITE-UP, BUT IT WAS NOT BECAUSE OF THREATS OR

10    ANYTHING.    I NEVER THREATENED HIM, BUT HE DID GET A WRITE-UP.

11         Q      AND HE HAD A DISCIPLINARY HEARING ON MARCH 17TH,

12    2022?

13         A      YES, SIR.

14         Q      AND THE DISCIPLINARY COURT DISMISSED THE CHARGE?

15         A      I DON'T KNOW.   I DON'T KNOW IF HE DISMISSED THE

16    CHARGE.   BUT I DO KNOW THAT HE ALSO HAD A JAY-PAY THAT WAS

17    PRISON BROKE, SO I DO NOT BELIEVE THE CHARGES WERE DROPPED,

18    BUT I DO NOT KNOW.

19         Q      OKAY.   ON DIRECT YOU SPOKE AT SOME LENGTH ABOUT HOW

20    IT'S IMPORTANT FOR YOU TO BUILD RELATIONSHIPS WITH THE

21    PATIENTS.    YOU ENJOY TAKING CARE OF THE PATIENTS?

22         A      YES, SIR.

23         Q      YOU'RE FAMILIAR WITH SOME OF THE NAMED PLAINTIFFS IN

24    THIS CASE?

25         A      YES.
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1          Q     YOU'RE FAMILIAR WITH OTTO BARRERA?

2          A     YES.

3          Q     AT YOUR DEPOSITION YOU OFFERED AN UPDATE ON

4     MR. BARRERA?

5          A     YES, SIR.

6          Q     YOU TOLD US HE'S EATING AND DOING WELL?

7          A     I BELIEVE HE'S DOING WELL, YES, SIR.

8          Q     YOU TOLD US HE'S LIVING ON THE COMPOUND?

9          A     YES, SIR.

10         Q     YOU SAID HE LOOKS LIKE A DIFFERENT PERSON NOW?

11         A     YES, SIR.

12         Q     AND YOU GAVE THAT DEPOSITION IN MARCH OF THIS YEAR?

13         A     YES, SIR.

14         Q     SO YOU'RE CLEARLY NOT AWARE THAT MR. BARRERA --

15               MR. CODY:    YOUR HONOR, I'M JUST GOING TO OBJECT TO

16    THIS LINE OF QUESTIONING.        I ASKED NOTHING ABOUT THIS PATIENT.

17    THIS IS TOTALLY BEYOND THE SCOPE OF MY DIRECT.

18               THE COURT:       RESPONSE?

19               MR. SCHNEIDERMAN:       SHE TESTIFIED AT LENGTH ABOUT HER

20    RELATIONSHIPS WITH THE PATIENTS.         I HAVE ONE MORE QUESTION ON

21    THIS.

22               THE COURT:       OVERRULED.

23    BY MR. SCHNEIDERMAN:

24         Q     SO YOU'RE CLEARLY NOT AWARE THAT MR. BARRERA WAS

25    RELEASED IN FEBRUARY 2021, 13 MONTHS BEFORE YOU GAVE THAT
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1     DEPOSITION?

2          A      I GUESS I'M NOT AWARE THAT HE WAS RELEASED.          BUT I

3     KNOW THAT WHEN -- THE LAST TIME I SAW HIM HE WAS DOING VERY

4     WELL AND LOOKED VERY WELL.

5          Q      YOUR PATIENTS FREQUENTLY SEND YOUR NAME TO THE

6     NURSING BOARD FOR COMPLAINTS, RIGHT?

7          A      I'VE HAD MY -- I'VE HAD THREE COMPLAINTS TO THE

8     NURSING BOARD I BELIEVE, YES, SIR.

9          Q      I THINK YOU SAID FOUR IN YOUR DEPOSITION; IS THAT

10    POSSIBLE?

11         A      THREE OR FOUR.

12         Q      AND YOU USED THE WORD FREQUENTLY, RIGHT?

13         A      PARDON ME?

14         Q      IN YOUR DEPOSITION YOU SAID FREQUENTLY?          JUST TO

15    CLARIFY.

16         A      I'M NOT SURE, BUT I'VE HAD THREE OR FOUR.          WHICH ONE

17    IS TOO MANY FOR ME.      I'VE NEVER HAD THAT BEFORE IN MY CAREER.

18         Q      LET'S TALK ABOUT SOME CHANGES AT LSP.         IT'S NOT A

19    CHANGE -- BASED ON YOUR DEPOSITION TESTIMONY IT'S NOT A CHANGE

20    TO REQUIRE PATIENTS TO SIGN REFUSALS?

21         A      NO.

22         Q      AND YOU WOULDN'T NECESSARILY SAY THAT REQUIRING A

23    RANKING OFFICER TO SIGN A PATIENT REFUSAL HAS IMPROVED CARE?

24                MR. CODY:    YOUR HONOR, I DIDN'T ASK ANYTHING ABOUT

25    THIS IN THE DIRECT EITHER.
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1                THE COURT:       HE'S ENTITLED TO IMPEACH HER.       HE HAS

2     HER ON CROSS.     OVERRULED.

3     BY MR. SCHNEIDERMAN:

4          Q     YOU MAY ANSWER IT.

5          A     CAN YOU REPEAT THE QUESTION PLEASE?

6          Q     THE QUESTION WAS, YOU WOULDN'T NECESSARILY SAY THAT

7     A RANKING OFFICER -- THAT REQUIRING A RANKING OFFICER TO SIGN

8     A PATIENT REFUSAL HAS IMPROVED CARE?

9          A     NO.

10         Q     AND YOUR ABILITY TO PULL UP DOC AND LSP POLICIES AND

11    PRISON REGULATIONS HASN'T GOTTEN ANY EASIER?

12         A     IT'S VERY EASY TO PULL UP POLICIES.           I NEVER HAD A

13    PROBLEM BEFORE EITHER THOUGH.

14         Q     YOU DON'T THINK THERE'S BEEN ANY CHANGE TO THE

15    EQUIPMENT IN THE EXAM ROOMS?

16         A     THEY HAVE CHANGED THE EXAM TABLES.           THEY ARE ALL NEW

17    EXAM TABLES.     THEY HAVE CHANGED OUR DESKS.        WE HAVE BLOOD

18    PRESSURE CUFFS AND OTOSCOPES AND EVERYTHING WE NEED IN THE

19    OFFICES.

20         Q     MY QUESTION WAS, HAS THERE BEEN ANY CHANGE TO THE

21    EQUIPMENT IN THE EXAM ROOM?

22         A     YES.   THEY CHANGED THE EXAM TABLES AND OUR DESKS.

23         Q     IF WE COULD PULL UP MS. PARK'S DEPOSITION TESTIMONY,

24    PAGE 62.

25               AND IF YOU LOOK TO THE BOTTOM, LINE 24.            "THE
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1     EQUIPMENT KEPT IN EXAM ROOMS IS THE SAME AS WHAT ONE WOULD --"

2     WE CAN GO TO THE NEXT PAGE "-- SEE IN THE DOCTOR'S OFFICE.

3     THE BEDS IN THE EXAM ROOMS HAVE BEEN REPLACED AND SINKS ARE

4     ACCESSIBLE."     "ARE YOU FAMILIAR WITH THIS CHANGE?"        AND YOU

5     RESPONDED:    "I DON'T THINK IT WAS A CHANGE.       EVERYTHING I

6     NEEDED TO DO MY EXAM WAS ALREADY THERE."

7            A   YES, SIR.

8            Q   YOU ALSO TESTIFIED THAT DR. TOCE HAS NOT MADE A LOT

9     OF CHANGES AT LSP?

10           A   I'M NOT AWARE OF ANY, NO.       BUT HE HASN'T EVEN BEEN

11    THERE A YEAR YET I DON'T THINK.

12           Q   AT YOUR DEPOSITION YOU COULDN'T THINK OF ANY CHANGES

13    THAT MR. --

14           A   NO, SIR.

15           Q   -- DR. TOCE HAD MADE?     AND THE WORK CULTURE HASN'T

16    CHANGED AT ALL SINCE DR. TOCE WAS HIRED AS MEDICAL DIRECTOR?

17           A   WE HAVE A LOT OF NP'S.     WE ALL GET ALONG.       IT'S A

18    GREAT TEAM.    BUT I THINK WE HAD THE NP'S WHEN HE CAME.             WE

19    HAVE A GREAT WORK CULTURE.

20           Q   MY QUESTION WAS JUST THE CULTURE HAS NOT CHANGED

21    UNDER DR. TOCE AT ALL?

22           A   NO.   IT'S GREAT.

23           Q   YOU ALSO DON'T BELIEVE THAT REMOVING MALINGERING

24    LANGUAGE FROM THE SICK CALL FORMS IMPROVED PATIENT CARE AT

25    ALL?
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1          A     NO.

2          Q     YOU SEE THIS AS JUST A LABEL CHANGE?

3          A     YES.

4          Q     YOU SAID IN YOUR DEPOSITION THAT WHETHER THE WORD

5     MALINGERING IS THERE OR NOT YOUR CARE WOULD NOT CHANGE?

6          A     THAT'S RIGHT.

7          Q     AND THE RELATIONSHIP BETWEEN MEDICAL AND SECURITY AT

8     LSP HASN'T CHANGED?

9          A     THAT'S RIGHT.

10         Q     LSP ISN'T ACTUALLY ABLE TO MAKE USE OF THE 15 BED

11    ADDITION IN NURSING UNIT 2 RIGHT NOW, IS IT?

12         A     NO.

13         Q     DO YOU REMEMBER BEING ASKED IN YOUR DEPOSITION ABOUT

14    LSP'S STATEMENT THAT IT IS TESTING CONNECTIVITY ISSUES

15    PREPARATORY TO HAVING ELECTRONIC HEALTH CARE RECORDS?

16         A     COULD YOU REPEAT THAT PLEASE?

17         Q     SURE.   DO YOU REMEMBER BEING ASKED IN YOUR

18    DEPOSITION ABOUT LSP'S STATEMENT THAT IT IS TESTING

19    CONNECTIVITY ISSUES PREPARATORY TO HAVING ELECTRONIC HEALTH

20    CARE RECORDS?

21         A     YES.

22         Q     DO YOU REMEMBER LAUGHING WHEN YOU HEARD THAT

23    STATEMENT?

24         A     I DO KNOW THAT RIGHT NOW THAT THEY ARE TRYING TO GET

25    INTERNET ACCESS AND I'M SURE THAT THAT IS AN ISSUE.
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1          Q     MY QUESTION WAS, DO YOU REMEMBER LAUGHING WHEN YOU

2     HEARD THAT STATEMENT?

3          A     NO.

4          Q     AND WHEN ASKED WHAT WAS AMUSING YOU SAID YOU DIDN'T

5     EVEN HAVE CELL SERVICE IN YOUR OFFICE.

6          A     I DO NOT HAVE CELL SERVICE IN MY OFFICE.

7          Q     OKAY.   THERE ARE SOME CHANGES THAT YOU AGREE ARE

8     BOTH FEASIBLE AND WOULD IMPROVE PATIENT CARE AT LSP?           YOU SAID

9     IT WOULD IMPROVE PATIENT CARE FOR LSP TO ENSURE NO DELAY IN

10    SENDING PATIENTS TO THE HOSPITAL WHEN IT IS MEDICALLY

11    NECESSARY?

12         A     CAN YOU REPEAT THAT?     I'M SORRY.     YOU DO TALK FAST.

13         Q     I APOLOGIZE.     YOU SAID IT WOULD IMPROVE PATIENT CARE

14    FOR LSP TO ENSURE NO DELAY IN SENDING PATIENTS TO THE HOSPITAL

15    WHEN IT IS MEDICALLY NECESSARY?

16         A     OF COURSE.

17         Q     YOU TESTIFIED THAT THAT'S FEASIBLE?

18         A     YES.

19         Q     YOU SAID IT WOULD IMPROVE PATIENT CARE FOR LSP TO

20    REGULARLY CHECK PATIENTS VITALS IN THE NURSING UNITS?

21         A     YES.

22         Q     AND THAT THAT'S FEASIBLE?

23         A     YES, WE DO THAT.

24         Q     YOU SAID IT WOULD IMPROVE PATIENT CARE IF LSP

25    ENSURED SPECIALIST RECOMMENDATIONS ARE REVIEWED BY PRIMARY
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1     CARE PROVIDERS?

2          A     YES, WE DO THAT.

3          Q     AND IF THOSE RECOMMENDATIONS WERE INCORPORATED INTO

4     PRIMARY CARE TREATMENT PLANS?

5          A     YES.

6          Q     AND YOU THINK THAT'S FEASIBLE?

7          A     YES.

8          Q     YOU SAID IT WOULD IMPROVE PATIENT CARE IF LSP

9     EXPANDED QUALITY ASSURANCE AND QUALITY IMPROVEMENT ON ALL OF

10    THIS COURT'S FINDINGS FROM THE 2018 TRIAL?

11         A     YES.

12         Q     SO THAT WOULD INCLUDE SICK CALL, EMERGENCY CARE,

13    CLINICAL CARE, SPECIALTY CARE, INFIRMARY, IN-PATIENT CARE,

14    MEDICAL LEADERSHIP?

15         A     YES.

16         Q     YOU BELIEVE THIS IS FEASIBLE?

17         A     YES.

18         Q     IT WOULD IMPROVE PATIENT CARE IF EVERY PATIENT

19    PRESENTING TO THE ATU RECEIVED A PHYSICAL EXAM BY A PROVIDER?

20         A     YES, THEY DO THAT.

21         Q     SOMETIMES YOU DON'T COME IN TO SEE A PATIENT

22    PRESENTING IN THE ATU, RIGHT?

23         A     OH, IN THE ATU.     I'M SORRY.    I WAS THINKING YOU --

24    CAN YOU REPEAT THE QUESTION?

25         Q     THE ORIGINAL QUESTION WAS, IT WOULD IMPROVE PATIENT
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1     CARE IF EVERY PATIENT PRESENTING TO THE ATU RECEIVED A

2     PHYSICAL EXAM BY A PROVIDER?

3          A     YES.

4          Q     BECAUSE SOMETIMES YOU DON'T COME IN TO SEE A PATIENT

5     PRESENTING IN THE ATU.

6          A     SOMETIMES WE DO NOT.

7          Q     YOU SAID YOU DON'T ALWAYS DO IT ON NIGHT SHIFTS?

8          A     IF THERE'S A SITUATION WHICH WE CAN USE THE STANDING

9     ORDERS, THEN THE EMS OR THE REGISTERED NURSE USES THE STANDING

10    ORDERS, YES, SIR.

11         Q     LET'S PULL UP JOINT EXHIBIT 10 AND THIS IS SEALED.

12    CAN WE GO TO PAGE 149?

13               DO YOU RECOGNIZE THIS FORM?

14         A     YES, SIR.

15         Q     IS THAT YOUR SIGNATURE ON THE BOTTOM RIGHT?

16         A     YES, SIR.

17         Q     THIS IS AN EMERGENCY MEDICAL REPORT FROM THE ATU?

18         A     YES, SIR.

19         Q     IN THE MIDDLE LEFT IT SAYS, "TO/RB"?

20         A     YES.

21         Q     T-O MEANS TELEPHONE ORDER?

22         A     YES.

23         Q     AND THEN IT SAYS YOUR NAME?

24         A     YES.

25         Q     SO THIS IS A TELEPHONE ORDER YOU GAVE?
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1          A     YES.

2          Q     THIS PATIENT CAME IN ON AUGUST 4TH, 2020?

3          A     YES, SIR.

4          Q     AND YOU SIGNED THIS ON AUGUST 5TH?

5          A     YES, SIR.

6          Q     LET'S PULL UP JX_35.     THIS IS ALSO SEALED.       AND

7     LET'S GO TO PAGE 127.

8                THIS PATIENT CAME IN FOR A SEIZURE, RIGHT?

9          A     YES, SIR.

10         Q     HE HAD SLURRED SPEECH ON ARRIVAL?        WE CAN ZOOM IN ON

11    THAT IF YOU NEED.

12         A     YES, SIR.

13         Q     CAN WE UNZOOM?     THANK YOU.

14               AND TO THE MIDDLE LEFT AGAIN WE SEE "TO/RB C. PARK"?

15         A     YES, SIR.

16         Q     SO THIS IS ANOTHER TELEPHONE ORDER?

17         A     YES.

18         Q     THIS PATIENT CAME IN MARCH 15TH, 2019?

19         A     YES, SIR.

20         Q     YOU SIGNED THE ORDER THREE DAYS LATER, MARCH 18TH?

21         A     YES, SIR.

22         Q     LET'S PULL UP JX_5; ALSO SEALED.        AND PAGE 144.

23    THANK YOU.

24               AGAIN, WE HAVE AN EMERGENCY MEDICAL REPORT FROM THE

25    ATU, CORRECT?
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1          A     YES, SIR.

2          Q     IF WE LOOK TO THE LOWER LEFT, THE MEDIC WROTE THIS

3     PATIENT CAME IN WITH BODY PAINS AND ACHES?

4          A     YES, SIR.

5          Q     HIS FEET WERE SWELLING?

6          A     I CAN'T -- I CAN'T SEE IT.

7          Q     CAN WE ZOOM IN ON THE BOTTOM LEFT?          JUST THAT BLOCK.

8          A     YES, SIR.    HE'S STATING HIS FEET SWELL.

9          Q     HE'S SAYING HE'S COLD ALL THE TIME?

10         A     YES.

11         Q     IF WE CAN UNZOOM.

12               TO THE RIGHT IF WE CAN ZOOM IN ON THAT BLOCK OF

13    WRITING ON THE RIGHT.       YEAH.

14               IT SAYS, "2:40 A.M. SPOKE TO C. PARK FNP"?

15         A     YES.

16         Q     AND IT SAYS, "NO TREATMENT INDICATED"?

17         A     YES.

18         Q     THIS PATIENT CAME IN -- WE CAN UNZOOM.

19               THIS PATIENT CAME IN SEPTEMBER 29TH, 2021?

20         A     THIS WAS WHEN HE HAD COVID AT CAMP J I'M GUESSING.

21         Q     HE CAME IN ON SEPTEMBER 29TH, 2021?

22         A     YES, SIR.

23         Q     YOU SIGNED THIS ORDER TWO DAYS LATER --

24         A     I DID.

25         Q     -- OCTOBER 1ST, 2021?
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1           A     YES.

2           Q     ARE YOU AWARE THAT THIS PATIENT DIED TEN DAYS LATER

3     OF SEVERE AORTIC STENOSIS?

4           A     NO, I'M NOT.

5           Q     LET'S TALK A BIT MORE ABOUT THE ATU.        YOU SAID WHEN

6     YOU'RE ON DUTY AT THE ATU YOU DON'T PHYSICALLY SIT IN THE ATU,

7     RIGHT?

8           A     NO, I DON'T.    NOT ALL THE TIME.

9           Q     WHEN YOU SEE SOMEONE IN THE ATU SOMETIMES YOU WON'T

10    PULL THEIR CHART?

11          A     SOMETIMES I DO NOT.    NOT OFTEN, BUT USUALLY I DO.

12          Q     WHEN YOU PULL THE CHART IT'S BECAUSE YOU THINK IT'S

13    THE RIGHT THING TO DO RATHER THAN BECAUSE LSP POLICY REQUIRES

14    IT?

15          A     I DO.

16          Q     YOU ALSO TESTIFIED THAT THE ATU IS MANNED BY NURSES

17    NOW 24/7?

18          A     YES, SIR.

19          Q     THERE'S NO PHYSICIAN OR NP AT THE ATU MONDAY THROUGH

20    THURSDAY, NIGHT HOURS, RIGHT?

21          A     YES.

22          Q     YOU TESTIFIED THAT YOUR -- YOU TESTIFIED EARLIER

23    TODAY THAT THE ATU IS MANNED BY RN'S 24/7.         THAT WAS BASICALLY

24    THE SAME QUESTION I ASKED --

25          A     YES, SIR.
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1          Q     -- BEFORE.       I APOLOGIZE.     YOU SAID RN'S.

2                ISN'T IT MANNED A SUBSTANTIAL AMOUNT OF THE TIME BY

3     LPN'S?

4          A     THERE IS AN LPN THAT WORKS ON THE WEEKENDS WITH THE

5     NURSE PRACTITIONER, YES, SIR.

6          Q     SO IT'S NOT MANNED BY RN'S 24/7?

7          A     NOT 24/7.    WELL, MIKE'S AN RN/NURSE PRACTITIONER,

8     BUT YES.

9          Q     CAN WE PULL UP DX_30?

10               DO YOU RECOGNIZE THIS DOCUMENT?

11         A     YES.

12         Q     THIS SHOWS WHAT NURSE IS ASSIGNED TO THE ATU FOR

13    EACH SHIFT?

14         A     YES, SIR.

15         Q     LET'S GO TO PAGE 86 WHICH IS THE MOST RECENT NURSING

16    SCHEDULE PRODUCED.     THIS COVERS MID-DECEMBER 21 TO MID-JANUARY

17    2022.    IT SHOWS THAT LAURA RICARD IS THE ONLY NURSE ASSIGNED

18    TO THE ATU FOR AS MANY AS FIVE NIGHTS A WEEK, RIGHT?

19         A     I'M TRYING TO LOOK.

20         Q     IF YOU LOOK AT THE SECOND ROW TOWARDS THE RIGHT.

21         A     YES, SIR.

22         Q     MS. RICARD IS AN LPN?

23         A     YES, SIR.

24         Q     IF WE LOOK AT THE PREVIOUS MONTH, PAGE 79,

25    MS. RICARD WAS THE ONLY NURSE ASSIGNED TO THE ATU FOR AS MANY
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1     AS SIX DAYS A WEEK, CORRECT?

2          A     YES.

3          Q     AND IF WE LOOK TO THE MONTH BEFORE, PAGE 73,

4     MS. RICARD WAS THE ONLY NURSE ASSIGNED TO THE ATU FOR AS MANY

5     AS FIVE NIGHTS A WEEK, CORRECT?

6          A     YES, SIR.

7          Q     COULD WE PULL UP JX_22.         AND IF WE GO TO PAGE 93.

8     THIS IS SEALED.

9                YOU TESTIFIED BEFORE THAT YOU TAKE VITALS EVERY DAY?

10         A     NO.    IN NURSING UNIT 2 WE TAKE VITALS EVERY WEEK.

11         Q     OKAY.    MS. PARK, YOU DIDN'T READ JUDGE DICK'S

12    LIABILITY RULING WHEN IT CAME OUT, RIGHT?

13         A     NO.

14         Q     YOU ACTUALLY DIDN'T LOOK AT THE OPINION UNTIL A YEAR

15    AFTER IT CAME OUT?

16         A     YES, SIR.

17         Q     ON THE MORNING OF YOUR DEPOSITION?

18         A     YES, SIR.

19         Q     YOU GLANCED AT IT THAT MORNING?

20         A     I DID.

21         Q     WHEN JUDGE DICK'S OPINION CAME OUT YOU WEREN'T EVEN

22    CURIOUS ABOUT IT?

23         A     I WAS CURIOUS ABOUT IT.         I WOULDN'T EVEN KNOW WHERE

24    TO GET IT.

25         Q     CAN WE PULL UP MS. PARK'S DEPOSITION TESTIMONY, PAGE
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1     42.

2                 IF WE LOOK AT LINES 2 TO 6.      SO YOU WERE ASKED UNDER

3     OATH, "YOU DIDN'T READ IT WHEN IT CAME OUT A YEAR AGO?"              AND

4     YOU SAID, "NO."     YOU WERE ASKED, "WERE YOU CURIOUS ABOUT IT AT

5     ALL?"     AND YOU SAID, "NO."

6           A     YEAH.

7           Q     KENTRELL PARKER WAS MENTIONED IN THAT OPINION.           HE'S

8     ONE OF YOUR PATIENTS, RIGHT?

9           A     YES, SIR.

10          Q     BUT YOU DIDN'T KNOW A YEAR AFTER THE LIABILITY

11    OPINION CAME OUT WHAT EXACTLY HIS COMPLAINTS WERE?

12          A     WHAT'S THE QUESTION AGAIN?

13          Q     KENTRELL PARKER WAS MENTIONED IN THAT OPINION?

14          A     YES.

15          Q     HE'S ONE OF YOUR PATIENTS?

16          A     YES, SIR.

17          Q     BUT YOU DIDN'T KNOW A YEAR AFTER THE LIABILITY

18    OPINION CAME OUT WHAT MR. PARKER'S COMPLAINTS EXACTLY WERE?

19          A     HE'S TOLD ME HIS COMPLAINTS.

20          Q     AT THE TIME OF YOUR DEPOSITION YOU SAID YOU DIDN'T

21    KNOW WHAT THEY WERE.

22          A     YEAH.   NO.

23          Q     AFTER THE LIABILITY OPINION CAME OUT DR. LAVESPERE

24    DISCUSSED THE OPINION AT THE MORNING MEETING; IS THAT RIGHT?

25          A     YES.
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1            Q   BUT HE DIDN'T BRING THE ACTUAL OPINION WITH HIM?

2            A   NO.

3            Q   AND WHATEVER HE SAID ABOUT THE OPINION YOU DIDN'T

4     HAVE ANY MEMORABLE FEELINGS ABOUT IT?

5            A   NO.

6            Q   AT YOUR DEPOSITION A YEAR AFTER THAT OPINION CAME

7     OUT, YOU SAID THE WAY YOU CARE FOR PATIENTS HASN'T CHANGED?

8            A   NO.

9            Q   YOU SAID YOU STILL CARE FOR THE PATIENT, THE PEOPLE,

10    THE SAME WAY?

11           A   YES.

12           Q   IN MARCH '22 YOU HAD A HARD TIME SQUARING THE

13    OPINION WITH YOUR OWN EXPERIENCE AT LSP, RIGHT?

14           A   I'M SORRY?

15           Q   WHEN YOU GAVE YOUR DEPOSITION YOU SAID THAT YOU HAD

16    A HARD TIME SQUARING THE OPINION WITH YOUR OWN EXPERIENCE AT

17    LSP?

18           A   YES.

19           Q   YOU SAID YOU DISAGREED COMPLETELY WITH THE STATEMENT

20    THAT LSP LACKED THE INFRASTRUCTURE NECESSARY TO PROVIDE

21    ADEQUATE HEALTH CARE.       YOU BELIEVED WITH, QUOTE, "ONE HUNDRED

22    PERCENT CERTAINTY THAT YOU PROVIDED ADEQUATE HEALTH CARE TO

23    MEET THE HEALTH NEEDS OF YOUR PATIENTS AT THE TIME OF THE

24    LIABILITY TRIAL"?

25           A   YES.
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1          Q     YOU DIDN'T THINK LSP LACKED ADEQUATE ORGANIZATIONAL

2     STRUCTURE AT THE TIME OF TRIAL, CORRECT?

3          A     YES.

4          Q     YOU DIDN'T THINK LSP LACKED ADEQUATE CREDENTIALING

5     OR PEER REVIEW PROCESSES AT THE TIME OF TRIAL?

6          A     YES.

7          Q     OR THAT LSP LACKED ADEQUATE HEALTH CARE POLICIES OR

8     PROCEDURES AT THE TIME OF TRIAL?

9          A     YES.

10         Q     OR THAT LSP LACKED ADEQUATE CLINICAL SPACE AT THE

11    TIME OF TRIAL?

12         A     YES.

13         Q     IN FACT, YOU CLAIM THAT YOU HAVE NEVER SEEN GROSSLY

14    NEGLIGENT CARE WHILE WORKING AT LSP?

15         A     YES.

16         Q     YOU CLAIM THAT ALL THE SITUATIONS THAT WERE DICTATED

17    IN THE OPINION WERE OLD?

18         A     FROM WHAT I READ, YES.       THEY WERE THINGS THAT

19    HAPPENED BEFORE I CAME THERE THAT I HAD NO KNOWLEDGE ABOUT.

20         Q     YOU STARTED AT LSP IN LATE 2014/EARLY 2015?

21         A     YES, SIR.

22               MR. SCHNEIDERMAN:       NO FURTHER QUESTIONS, YOUR HONOR.

23               THE COURT:       IS THERE ANY REDIRECT?

24               MR. CODY:    BRIEFLY, YOUR HONOR.

25    REDIRECT EXAMINATION
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1     BY MR. CODY:

2          Q      MS. PARK, YOU WERE ASKED A MOMENT AGO ABOUT MORNING

3     MEETINGS DISCUSSING THE LIABILITY OPINION.         WERE YOU INVOLVED

4     IN MEETINGS THAT DISCUSSED CHANGES TO THE SICK CALL PROCEDURE?

5          A      YES.

6          Q      WAS THAT -- IS IT YOUR UNDERSTANDING THAT THAT WAS

7     RELATED TO THE LIABILITY OPINION IN THIS CASE?

8          A      YES.

9          Q      AND DID YOU HAVE ANY INPUT INTO HOW SICK CALL WOULD

10    BE FIXED IN ORDER TO ADDRESS THE ISSUE THE JUDGE DESCRIBED

11    WITH THE PRIOR SICK CALL PROCESS?

12         A      I DID SUGGEST THAT IT WOULD BE BENEFICIAL IF A NURSE

13    PRACTITIONER WOULD SEE THE PATIENTS THE NEXT DAY AFTER SICK

14    CALL AND THEY INCORPORATED THAT IDEA INTO THE SYSTEM.

15         Q      OKAY.   EARLIER YOU WERE ASKED ABOUT THE WORK CULTURE

16    UNDER DR. TOCE?

17         A      YES, SIR.

18         Q      SO WE'RE HERE TODAY TALKING ABOUT CURRENT CONDITIONS

19    AND YOU MENTIONED THAT YOU HAVE A LOT OF NURSE PRACTITIONERS

20    THAT ARE EMPLOYED AT LSP.      HOW DO THE NURSE PRACTITIONERS GET

21    ALONG WITH ONE ANOTHER?

22         A      WE ALL WORK TOGETHER.    WE SEEK EACH OTHER'S ADVICE.

23    WE HELP EACH OTHER WHEN WE NEED TO HELP EACH OTHER.           I WILL

24    HELP SEE PATIENTS FROM THE OTHER PEOPLE; THEY WILL HELP SEE MY

25    PATIENTS.    WE WORK TOGETHER VERY WELL.      WE COVER EACH OTHER
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1     WHEN WE'RE NOT ABLE TO TAKE CALL.            WE WORK AS A TEAM TOGETHER.

2          Q     IS THERE A GOOD, YOU KNOW, RAPPORT WITH DR. TOCE

3     AMONG THE NURSE PRACTITIONERS, ARE YOU AWARE?

4          A     YES.

5          Q     SO IS THE CULTURE, THE WORK CULTURE, GOOD TODAY?

6          A     VERY GOOD.

7          Q     AND EARLIER YOU WERE ASKED ABOUT A LOT OF THINGS

8     WHETHER YOU WOULD DETERMINE THEM TO BE FEASIBLE OR NOT FOR LSP

9     TO DO.   I JUST WANT TO CHECK WITH YOU ON SOME OF THOSE.                ARE

10    THOSE -- A LOT OF THOSE THINGS THAT YOU BELIEVE THAT LSP IS

11    CURRENTLY DOING OR IT JUST WOULD BE FEASIBLE TO BE DOING?

12         A     I BELIEVE THAT THEY'RE CURRENTLY DOING THEM.

13         Q     AND YOU WERE ASKED ABOUT SEVERAL INSTANCES OR A FEW

14    INSTANCES OF FALLING -- FALLING PATIENTS ON THE NURSING UNITS

15    OVER THE COURSE OF THE LAST THREE YEARS.

16         A     YES, SIR.

17         Q     ARE YOU GENERALLY AWARE OF FALLING PATIENTS BEING A

18    PROBLEM?

19         A     I WAS NOT.       I KNOW THAT EVERY INSTITUTION, AND

20    ESPECIALLY THE TYPE OF PATIENTS THAT WE HAVE, THEY'RE AT HIGH

21    RISK FOR FALLS.    THEY ARE UNAWARE OF THEIR LIMITATIONS AND IT

22    DOESN'T MATTER WHAT FACILITY YOU'RE WORKING IN, ESPECIALLY

23    WITH THE TYPE OF PATIENTS THAT ARE IN NURSING UNIT 2, FALLS

24    ARE GOING TO HAPPEN UNFORTUNATELY.

25         Q     IS IT BECAUSE OF THE ACUITY OF THE PATIENTS OR
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1     WHAT --

2          A     IT'S BECAUSE SOME OF THEM HAVE DEMENTIA AND THEY

3     WALK WITH UNSTEADY GATE.       SOME OF THEM DON'T REALIZE THAT THEY

4     CAN'T WALK ANYMORE AND BEFORE ANYBODY IS AWARE OF IT THEY WILL

5     TRY TO GET UP AND THEY WILL FALL.           SOME OF THEM -- SOME OF

6     THEM ARE JUST NOT AWARE OF THEIR LIMITATIONS ANYMORE AND THEY

7     FALL AND IT'S -- IT'S A DIFFICULT SITUATION BECAUSE YOU WANT

8     TO TRY TO ENCOURAGE THEM TO MAINTAIN THEIR MAXIMUM FUNCTIONAL

9     STATUS SO YOU LET THEM WALK, BUT THERE ARE TIMES THAT THEY

10    JUST FALL.

11         Q     YOU WERE ALSO ASKED EARLIER -- AND THIS WAS A

12    PHOTOGRAPH THAT I SHOWED YOU ON MY DIRECT EXAM EARLIER,

13    DX_46_131, AND IT WAS A PICTURE OF A BED NEAR A CALL SWITCH,

14    CORRECT?

15         A     YES, SIR.

16         Q     I THINK YOU INDICATED THAT MUST NOT BE ONE OF THE

17    ONES ON NURSING UNIT 2?

18         A     IT'S A SECURITY BED -- SO THOSE ARE FOR THE CELL

19    BLOCK INMATE -- IT'S -- THERE'S SOME INMATES AT ANGOLA THAT

20    ARE SECURITY RISKS, SO IF THEY HAD AN ELECTRIC BED THEY WOULD

21    DESTROY THAT BED.    THEY WOULD TAKE PIECES OFF OF IT.           THEY

22    WOULD DAMAGE THE BED.       THEY WOULD USE THE ELECTRICAL CORDS FOR

23    OTHER PURPOSES.    SO THOSE BEDS ARE GENERALLY FOR THE PEOPLE

24    THAT ARE A HIGHER SECURITY RISK THAT ARE THERE AND MAY

25    ACTUALLY DO HARM TO THEMSELVES OR TO THE NURSES AND DESTROY
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1     THE BED.   THOSE BEDS ARE FOR A HIGHER SECURITY PATIENT.

2          Q     ON ALL OF THOSE LOCKER ROOMS ON THE NURSING UNIT, IS

3     THE BED PLACEMENT WITH THE SWITCH, IS THAT CONSISTENT

4     THROUGHOUT ALL OF THE CELLS?

5          A     SOMETIMES THE INMATE WILL MOVE THE BED SO THAT HE

6     HAS BETTER VISUALIZATION TO LOOK INTO THE NURSING UNIT OR TO

7     WATCH THE TV.     BUT GENERALLY THE BEDS ARE PLACED IN THE LOCKED

8     ROOMS THERE.

9          Q     NOW YOU WERE ASKED EARLIER ABOUT A CONVERSATION THAT

10    DEREK MARTIN ALLEGES TO HAVE HAD WITH YOURSELF AND WILL RICHE?

11         A     YES.

12         Q     YOU DON'T RECALL THAT CONVERSATION EVER HAPPENING?

13         A     NO.

14         Q     ARE ALLEGATIONS LIKE THAT KIND OF CONSISTENT WITH

15    MR. MARTIN?

16         A     YES.

17         Q     SO HE WILL SAY THINGS LIKE THIS A LOT?

18         A     YES.

19               MR. CODY:    THAT'S ALL I HAVE, YOUR HONOR.

20               THANK YOU, MS. PARK.

21               THE COURT:       THANK YOU.   YOU MAY STEP DOWN.

22               NEXT WITNESS FOR THE DEFENDANTS, PLEASE.

23               MR. CODY:    YES, YOUR HONOR.       DEFENDANTS CALL ROBERT

24    BORDELON TO THE STAND.        AND MS. PARK IS RELEASED.

25               THE COURT:       YOU'RE RELEASED FROM YOUR SUBPOENA.
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1     THANK YOU, MA'AM.

2                (WHEREUPON, ROBERT BORDELON, HAVING BEEN DULY SWORN,

3     TESTIFIED AS FOLLOWS.)

4                THE CLERK:       WOULD YOU PLEASE STATE YOUR NAME AND

5     SPELL IT FOR THE RECORD?

6                THE WITNESS:      ROBERT L. BORDELON III, R-O-B-E-R-T,

7     LEE, L-E-E, BORDELON, B-O-R-D-E-L-O-N.

8                THE CLERK:       THANK YOU.

9     DIRECT EXAMINATION

10    BY MR. CODY:

11         Q     GOOD MORNING, MR. BORDELON.         I'M JEFF CODY FOR THE

12    DEFENDANTS AND I'LL BE ASKING YOU SOME QUESTIONS TODAY.

13               CAN YOU MAKE SURE THE MICROPHONE IS CLOSE ENOUGH.

14    ALL RIGHT.

15               WHERE DO YOU CURRENTLY WORK?

16         A     AT ANGOLA.

17         Q     IN WHAT CAPACITY?

18         A     NURSE PRACTITIONER.

19         Q     HOW LONG HAVE YOU BEEN THERE?

20         A     SINCE NOVEMBER OF 2019.

21         Q     I GUESS JUST FROM THE BEGINNING, GETTING STARTED, DO

22    YOU HAVE ANY ISSUES WITH SPEECH OR ANYTHING THAT --

23         A     YES.

24         Q     OKAY.   WOULD YOU LIKE TO EXPLAIN KIND OF --

25         A     YES, I HAVE A STUTTER.
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1          Q      OKAY.    AND THAT'S FINE.      IF YOU WANTED TO EXPRESS

2     THAT, NOW I JUST FEEL LIKE THIS IS AN OPPORTUNITY.

3                 SO YOUR EDUCATIONAL BACKGROUND, YOU WERE AN RN

4     BEFORE BECOMING A NURSE PRACTITIONER?

5          A      YES.

6          Q      WHEN DID YOU RECEIVE YOUR BACHELORS IN NURSING?

7          A      1998.

8          Q      AND WHERE WAS THAT?

9          A      SOUTHERN UNIVERSITY IN BATON ROUGE.

10         Q      AND WHEN DID YOU RECEIVE YOUR ADVANCED PRACTICE

11    REGISTERED NURSE DEGREE?

12         A      2011 AT SOUTHERN.

13         Q      BEFORE WORKING AT LSP, CAN YOU DESCRIBE YOUR WORK

14    EXPERIENCE?

15         A      I WAS PREDOMINANTLY ER AT ALL OF THE HOSPITALS IN

16    THE AREA.    MY MAIN JOB WAS AT THE BATON ROUGE GENERAL.

17         Q      AND LET'S JUST START FROM THE BEGINNING.          SO DID YOU

18    EVER WORK AT OCHSNER?

19         A      I DID.

20         Q      WAS THAT THE FIRST PLACE YOU WORKED AT?

21         A      THAT WAS MY FIRST JOB, YES.

22         Q      AND AFTER OCHSNER WHERE DID YOU WORK?

23         A      AT THE BATON ROUGE GENERAL.

24         Q      HOW LONG WERE YOU AT BATON ROUGE GENERAL?

25         A      TOTAL ABOUT TEN, TEN AND A HALF YEARS OR SO.
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1          Q     AND JUST TO MAKE SURE, SO WE HAVE THE MID CITY --

2     BATON ROUGE GENERAL MID CITY AND WE HAVE THE BLUEBONNET.             WERE

3     YOU AT BOTH OF THOSE OR JUST ONE OF THEM?

4          A     YES, BOTH.

5          Q     OKAY.   SO THE TOTAL TIME YOU'RE TALKING WAS FOR BOTH

6     OF THEM COMBINED?

7          A     CORRECT.

8          Q     WHAT DID YOU DO AFTER LEAVING BATON ROUGE GENERAL?

9          A     I WENT TO WORK AT EXXON; EXXON MOBILE CORPORATION IN

10    BATON ROUGE.

11         Q     WHAT SORT OF THINGS DID YOU DO FOR EXXON?

12         A     HANDLED ALL EMERGENCIES THAT HAPPENED.         I DID ANNUAL

13    TESTING AND PHYSICALS, PULMONARY FUNCTIONING TESTING, HEARING

14    TESTING, JUST WHATEVER THEY NEEDED AND A LOT OF CASE

15    MANAGEMENT.

16         Q     AND LET ME JUST BACK UP.        YOU SAID A LOT OF YOUR

17    EXPERIENCE IN NURSING, I GUESS BEFORE EXXON, WAS IN THE ER?

18         A     YES, SIR.

19         Q     WHAT SORT OF THINGS WOULD YOU SEE?         WAS IT JUST

20    BASICALLY ANYTHING THAT WALKED THROUGH THE DOOR OR WOULD

21    YOU SEE --

22         A     ANYTHING THAT CAME THROUGH.

23         Q     OKAY.   WHEN YOU STARTED WORKING AT EXXON, DID YOU

24    CONTINUE TO HAVE ANY, I GUESS, ANY EMERGENCY CARE INVOLVEMENT

25    WITH THAT?
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1           A    YES.    I ACTUALLY WORKED PRN AT THE HOSPITAL STILL

2     WHILE I WAS EMPLOYED AT EXXON, BUT WE WOULD HAVE EMERGENCIES

3     THERE.    LIKE A FEW HEART ATTACKS I HAD TO TREAT AND SOME

4     INJURIES, SOME BLAST INJURIES, AND STUFF LIKE THAT THAT WE HAD

5     TO TAKE CARE OF AND STABILIZE AND SHIP.

6           Q    OKAY.   AND AT SOME POINT YOU LEFT EXXON; IS THAT

7     RIGHT?

8           A    YES.

9           Q    WHY DID YOU LEAVE EXXON?

10          A    I WAS JUST BORED TO DEATH AND I WAS WANTING TO GET

11    HANDS-ON AGAIN.

12          Q    AND WHEN YOU SAY "HANDS-ON" WHAT ARE YOU REFERRING

13    TO?

14          A    LIKE ACTUAL PATIENT CARE AND TREATING THEM.

15          Q    OKAY.   SO DOES THAT BRING US NOW TO WHERE YOU ARE

16    PRESENTLY AT LSP?

17          A    YES.

18          Q    SO WHY DID YOU CHOOSE TO WORK AT LSP?

19          A    THERE'S A FEW REASONS.     PROXIMITY TO MY CAMP, WHICH

20    WAS A CLOSE DRIVE TO WORK, AND IT WAS A GOOD PLACE TO GO.            AND

21    I FELT IT WOULD MAKE A DIFFERENCE WITH MY TRAINING AND

22    BACKGROUND.

23          Q    DO YOU HAVE ANY PRIOR DISCIPLINE RELATED TO YOUR RN

24    LICENSE?

25          A    NOT ACTUALLY TO MY RN LICENSE, NO.         BUT THERE WAS AN
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1     INCIDENT THAT PREVENTED ME FROM TAKING MY RN TEST FOR A COUPLE

2     MONTHS.

3          Q     THE RN TEST, IS THAT THE NCLEX?

4          A     YEAH, THE NCLEX.

5          Q     AND YOU WERE ULTIMATELY PERMITTED BY THE NURSING

6     BOARD TO TAKE THE NCLEX?

7          A     YES.

8          Q     JUST TO MAKE SURE THEN, YOU ACTUALLY HAVE NO

9     DISCIPLINARY HISTORY WITH REGARD TO YOUR RN LICENSE?

10         A     NO.

11         Q     AND WHAT ABOUT YOUR ADVANCED PRACTICE LICENSE, ANY

12    ISSUES -- DISCIPLINARY ISSUES WITH THAT?

13         A     NO.

14         Q     SO IS IT FAIR TO SAY THAT YOU COULD PRETTY MUCH WORK

15    AS A NURSE PRACTITIONER ANYWHERE?

16         A     ANYWHERE I WANT, YES.

17         Q     THEN WHY CHOOSE TO WORK AROUND INMATES IF YOU COULD

18    WORK ANYWHERE?

19         A     I DON'T KNOW.    I HAD BEEN OFFERED JOBS THERE FOR

20    YEARS AND I JUST WASN'T INTERESTED, BUT I'M GETTING OLDER AND

21    IT'S -- IT'S A GOOD PLACE TO WORK.         I REALLY ENJOY IT.        I'M

22    GLAD I MADE THE SWITCH.

23         Q     DO YOU FIND THAT THE PAY AT LSP IS FAIRLY COMPARABLE

24    TO WHAT YOU WOULD BE MAKING ELSEWHERE AS A NURSE PRACTITIONER?

25         A     YES.
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1          Q     DO YOU BELIEVE THAT INMATES DESERVE GOOD MEDICAL

2     CARE?

3          A     ABSOLUTELY.

4          Q     IS THERE ANYTHING IN YOUR PRIOR WORK EXPERIENCE THAT

5     YOU FEEL MAKES YOU PARTICULARLY CAPABLE OF WORKING

6     CORRECTIONAL MEDICINE?

7          A     I'VE SEEN EVERYTHING AND I'M CONFIDENT IN HOW I CAN

8     HANDLE THEIR SITUATIONS AND I HAVE THE PERSONALITY, I BELIEVE,

9     TO TALK TO THE GUYS AND ACTUALLY GET THEM TO DO WHAT THEY NEED

10    TO DO.

11         Q     CAN YOU EXPAND ON THAT A BIT?         WHAT DO YOU MEAN BY

12    PERSONALITY?

13         A     I'M JUST OUTGOING.     I CAN BE AS PROFESSIONAL AS I

14    NEED TO BE OR I CAN GET HOW I NEED TO GET TO MAKE THEM

15    UNDERSTAND AND IT WORKS WELL.

16         Q     DO YOU FIND THAT SOMETIMES INMATES DON'T FULLY

17    UNDERSTAND THE MEDICAL TERMINOLOGY OR THINGS LIKE THAT?

18         A     YES, ABSOLUTELY.

19         Q     SO DO YOU HAVE TO KIND OF MAKE SURE THEY UNDERSTAND

20    AS PART OF YOUR PROCESS?

21         A     YES.

22         Q     LET'S TALK ABOUT YOUR ORIENTATION AT LSP.           CAN YOU

23    KIND OF EXPLAIN THE PROCESS AFTER BECOMING HIRED AND THE

24    TRANSITION?

25         A     UM, WELL, WE GET THERE.         I WAS ASSIGNED TO THE ATU
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1     FOR ABOUT FOUR WEEKS, I THINK, WITH AN ER TRAINED PHYSICIAN,

2     AND I WOULD BASICALLY GO IN AND I WOULD SEE THE PATIENTS AND I

3     WOULD TELL THEM WHAT I WAS THINKING, WHAT I WAS GOING TO DO

4     AND HE WOULD AGREE OR IF HE WOULD LIKE TO ADD SOMETHING HE

5     WOULD GIVE ME SOME INSIGHT FROM HIS PROSPECTIVE AND WE WOULD

6     GO ABOUT IT THAT WAY.

7                ALSO, THERE'S A BINDER THAT ALL THE PROVIDERS GET

8     THAT BASICALLY GIVES YOU EVERY -- EVERY DOCUMENT THAT YOU'LL

9     ENCOUNTER IN THE PRISON.        IT BREAKS DOWN THE AREAS OF THE

10    PRISON AND WHAT TYPE OF INMATES ARE HOUSED THERE.             WHETHER

11    IT'S DORM OR CELL BLOCK OR WHATEVER.

12         Q     SO WERE YOU PRIMARILY ASSIGNED TO THE ATU IN THE

13    BEGINNING?

14         A     AT FIRST I WAS, YES.

15         Q     WHERE DID YOU GO FROM THERE?

16         A     I WENT DO SOME TIME IN THE CLINIC TO GET THAT FLOW

17    DOWN AND -- THAT PROCESS DOWN WITH TREATING THE CHRONIC STUFF,

18    THE HIGH BLOOD PRESSURE AND DIABETES AND STUFF.

19         Q     DID YOU BECOME FAMILIAR WITH THE PAPERWORK THAT'S

20    USED IN THE CLINIC?

21         A     ABSOLUTELY.

22         Q     ALL RIGHT.       AND THEN THE TYPES OF PATIENTS THAT THEY

23    HAD ON THE NURSING UNITS, DID YOU GET ACQUAINTED WITH THAT AS

24    WELL?

25         A     YES.   YES.
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1          Q     WHAT IS YOUR CURRENT WORK SCHEDULE AT LSP?

2          A     4:30 TO 2:30 NOW.

3          Q     THAT'S WHAT, TEN-HOUR SHIFTS?

4          A     TEN-HOUR SHIFTS, YES.

5          Q     HOW MANY DAYS A WEEK IS THAT?

6          A     I DO IT FOUR DAYS A WEEK.

7          Q     AND WHICH FOUR DAYS?

8          A     IT ALTERNATES EVERY OTHER WEEK.        ONE WEEK WOULD BE

9     TUESDAY THROUGH FRIDAY AND THE NEXT WEEK WOULD BE MONDAY

10    THROUGH THURSDAY.

11         Q     WHAT ARE YOUR CURRENT RESPONSIBILITIES AS A NURSE

12    PRACTITIONER AT LSP?

13         A     I'M OVER THE SICK CALL PROCESS.

14         Q     AND THAT'S MOSTLY WHAT YOU'RE DOING THESE DAYS?

15         A     YES.

16         Q     BUT YOU DID NOT WORK IN SICK CALL WHEN YOU STARTED

17    OR WHEN DID THAT OCCUR?

18         A     THIS CURRENT PROCESS GOT KICKED OFF AROUND NOVEMBER

19    OF LAST YEAR.

20         Q     CAN YOU KIND OF EXPLAIN HOW YOU BECAME INVOLVED IN

21    THE SICK CALL PROCESS?

22         A     UM, IT WAS DISCUSSED ABOUT WAYS TO IMPROVE IT AND I

23    THINK IT WAS CINDY PARK WHO SAID THAT WE SHOULD JUST GET AN NP

24    TO DO THE SICK CALL SO IT WOULD BE QUICKER AND MORE EFFICIENT.

25               SO THEN WE HAD THE LOGISTICS OF ACTUALLY TRYING TO
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1     GET THE TELEMEDICINE EQUIPMENT AND WHERE WE WERE GOING TO PUT

2     IT AND DO ALL THE I.T. STUFF TO GET IT SET UP.

3          Q     OKAY.    WERE THERE -- SO THERE WERE MEETINGS TO

4     DISCUSS THIS WHOLE PROCESS?

5          A     OH, YEAH.

6          Q     AND YOU WERE INVOLVED IN THOSE MEETINGS?

7          A     YES.

8          Q     OKAY.   AND -- SO DO YOU RECALL HOW YOU GOT THE

9     TELEMED EQUIPMENT?

10         A     I THINK DR. LAVESPERE ACTUALLY GOT IT FROM LSU;

11    THEIR STUFF THAT THEY HAD IN STORAGE OR WEREN'T USING.

12         Q     SO JUST TO BE CLEAR, SO THERE WAS EXISTING TELEMED

13    EQUIPMENT ALREADY ON SITE AT LSP I SUPPOSE?

14         A     NO.    THIS IS DIFFERENT EQUIPMENT TOTALLY.

15         Q     OKAY.   SO WE'RE NOT TALKING ABOUT WHAT IS USED FOR

16    TELEMED FOR --

17         A     NO. NO.

18         Q     -- SPECIALTY CARE?

19         A     THIS IS SPECIFIC FOR SICK CALL.

20         Q     AND THEN AFTER OBTAINING THE TELEMED EQUIPMENT DID

21    YOU JUST START RIGHT AWAY DOING THIS OR WAS THERE ANOTHER

22    PROCESS INVOLVED?

23         A     NO.    WE HAD TO IRON OUT WITH SECURITY TO FIGURE OUT

24    WHAT TIMES WOULD BE BEST TO GET THEIR CAMPS TO THE

25    TELEMEDICINE ROOM.     AND, AGAIN, WE HAD TO GET ALL THE COMPUTER
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1     STUFF SQUARED AWAY; HAD TO RUN LINES AND STUFF TO THE ROOMS.

2     I BELIEVE THAT THEY EVEN SET UP SOME COGENS FOR IT TO TAKE

3     PLACE IN AT A CAMP OR TWO.

4          Q     I'M SORRY.       CO- --

5          A     COGENS.   IT'S LIKE A PORTABLE BUILDING.

6          Q     OH, I SEE.       YOU SAID EARLIER THAT THIS PROCESS OF

7     THE NEW SICK CALL, IT WAS IMPLEMENTED IN NOVEMBER OF LAST

8     YEAR?

9          A     UH-HUH.

10         Q     SO AT THAT POINT YOU HAD ALREADY BEEN AT LSP FOR

11    ABOUT TWO YEARS I GUESS?

12         A     YES.

13         Q     LET'S SEE, YOU TALKED A LITTLE BIT ABOUT THE

14    EQUIPMENT.

15               MR. CODY:    MS. RAGUSA, IF YOU COULD PULL UP

16    DX_46_190, PLEASE.

17    BY MR. CODY:

18         Q     OKAY.   DO YOU RECOGNIZE, MR. BORDELON, WHO -- WHO IS

19    THAT, FIRST OFF, IN THE PICTURE THERE?

20         A     THAT'S ME.

21         Q     OKAY.   WHAT IS THIS A PICTURE OF THAT WE'RE SEEING?

22         A     THAT IS A PICTURE OF ME SEEING A GENTLEMAN IN SICK

23    CALL.    I'VE GOT THE MED INFO UP ON THE LEFT SCREEN AND THE

24    CHART THAT I'M REVIEWING.

25         Q     OKAY.   SO IN TERMS OF EQUIPMENT IT LOOKS LIKE YOU'VE
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1     GOT, IS THAT A LAPTOP?

2            A   AND TWO 27-INCH -- TWO, 27-INCH MONITORS, YEAH.

3            Q   AND THEN TO THE, I GUESS THE LOWER RIGHT CORNER,

4     WHAT ARE THOSE THINGS RIGHT THERE?           SOME PAPERS OR SOMETHING?

5            A   CHARTS.

6            Q   THOSE ARE CHARTS.       THOSE ARE MEDICAL CHARTS?

7            A   THOSE ARE THE MEDICAL CHARTS OF WHO I'M SEEING THAT

8     DAY.

9            Q   OKAY.   ALL RIGHT.      PERFECT.    AND THIS IS -- THIS WAS

10    ALL SET UP PURSUANT TO THAT PROCESS YOU INDICATED EARLIER?

11           A   YES.

12           Q   IS IT ALWAYS DONE IN THIS SETTING?

13           A   I AM, YES.       THAT'S WHERE I SIT AT.

14           Q   OKAY.   JUST FOR THE RECORD, WHAT AREA OF THE

15    TREATMENT CENTER IS THIS ROOM IN?

16           A   I DON'T KNOW WHAT IT'S CALLED.          IT'S THE NEW

17    BUILDING I BELIEVE THEY CALL IT.        THE NEW BUILDING.

18           Q   OKAY.   THANK YOU.      ALL RIGHT.     AND -- SO DURING THIS

19    PROCESS -- WHAT KIND OF INFORMATION DO YOU HAVE --

20               MR. CODY:    MS. RAGUSA, YOU CAN TAKE THAT OFF THE

21    SCREEN.

22    BY MR. CODY:

23           Q   WHAT KIND OF INFORMATION DO YOU HAVE ACCESS TO?             I

24    THINK YOU MIGHT HAVE ALLUDED OBVIOUSLY TO THE PHYSICAL CHARTS,

25    BUT WHAT OTHER INFORMATION DO YOU HAVE ACCESS TO?
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1          A      I CAN ACCESS THE MEDICATIONS THAT THEY'RE ON.            I CAN

2     SEE THE START DATE, WHO ORDERED IT AND THEN THE EXPIRATION

3     DATE.    I CAN PULL UP THEIR LABS IN LABCORP ON THE COMPUTER IF

4     I NEED TO SEE IT.    I CAN SEE WHAT THEIR DUTY STATUS IS; WHAT

5     THEIR CURRENT DIET IS.

6          Q      WHAT ABOUT ANY UPCOMING APPOINTMENTS?

7          A      UPCOMING APPOINTMENTS ARE ALSO IN THERE, YES.

8          Q      I THINK YOU MENTIONED THIS EARLIER, SOMETHING ABOUT

9     MED INFO.    WHAT IS MED INFO?

10         A      IT'S A COMPUTER PROGRAM THAT ALLOWS US TO ACCESS

11    THEIR MEDICATIONS AND WHERE THEY LIVE AND JUST DEMOGRAPHICS ON

12    THEM.

13         Q      DOES IT LET YOU KNOW THE DATE OF THE PRESCRIPTION?

14         A      YES.

15         Q      DOES IT LET YOU KNOW WHO PRESCRIBED IT?

16         A      YES.

17         Q      AND WHAT ABOUT EXPIRATION DATES?

18         A      YEP.

19         Q      IS THAT USEFUL INFORMATION DURING YOUR SICK CALL

20    ENCOUNTER?

21         A      ABSOLUTELY.

22         Q      AND DO YOU EVER ACCESS THE EMAR DURING SICK CALL?

23         A      I CAN.

24         Q      BUT DO YOU --

25         A      BUT I THINK THAT'S BEEN CHANGED OVER NOW TO THE
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1     SMART SYSTEM, SO I BELIEVE WE JUST GOT ACCESS TO THAT.

2          Q      SMART SYSTEM?

3          A      IT'S -- IT'S A NEW PHARMACY SYSTEM.

4                 THE COURT:      A NEW WHAT?

5                 THE WITNESS:     PHARMACY --

6                 THE COURT:      PHARMACY.

7                 THE WITNESS:     -- THAT THEY USE.

8     BY MR. CODY:

9          Q      OKAY.   CAN YOU ALSO CONTACT THE PHARMACY IF YOU HAVE

10    ANY QUESTIONS REGARDING MEDICATIONS?

11         A      I DO QUITE OFTEN, YES.

12         Q      OKAY.   NOW YOU HAVE THE CHARTS THERE WITH YOU, AS WE

13    SAW IN THE PICTURE EARLIER, WHEN YOU HAVE A SICK CALL

14    ENCOUNTER.    DO YOU HAVE AN OPPORTUNITY TO REVIEW THE CHART

15    BEFORE THE SICK CALL ENCOUNTER BEGINS?

16         A      YES.

17         Q      OKAY.   AND ABOUT HOW LONG DO YOU TYPICALLY SPEND

18    REVIEWING A PATIENT'S CHART?

19         A      IT DEPENDS ON THE COMPLAINT THAT THEY HAVE.

20         Q      IF IT'S A VERY SERIOUS COMPLAINT WOULD IT TAKE

21    LONGER --

22         A      YEAH.

23         Q      -- IF IT WAS SOMETHING MINOR?

24         A      YEAH.

25         Q      DO YOU HAVE THE FULL CHART AVAILABLE TO YOU?
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1            A    YES.

2            Q    NOW, CAN YOU JUST KIND OF WALK US THROUGH, FOR THE

3     COURT'S BENEFIT, HOW DOES A TYPICAL TELEMED SICK CALL

4     ENCOUNTER OCCUR TODAY?

5            A    SO BY 12:00 THE PREVIOUS DAY THEY ARE TO TURN THEM

6     IN AND THEN BY 1:00 THE OUTCAMPS, OR WHOEVER COLLECTS THE SICK

7     CALL FORMS, BRINGS THEM TO THE ATU, PUTS THEM IN OUR BOX.

8     THEN THE NURSE IN THE ATU TAKES THEM OUT OF THE BOX AND GOES

9     THROUGH THEM AND THEN THEY GO AND PULL THE CHARTS FOR THE NEXT

10    DAY.

11                THE COURT:      I'M SORRY, WILL YOU GIVE ME THOSE TIMES

12    AGAIN?     THE DEADLINE THE DAY BEFORE IS WHAT?

13                THE WITNESS:     12:00 --

14                THE COURT:      MIDNIGHT?

15                THE WITNESS:     -- NOON.

16                THE COURT:      NOON, OKAY.      AND THEN AT 1 P.M. SOMEBODY

17    COLLECTS THEM FROM THE BOXES?

18                THE WITNESS:     RIGHT.

19                THE COURT:      OKAY.   THANK YOU.    GO AHEAD.

20    BY MR. CODY:

21           Q    ALSO WHEN YOU'RE HAVING THE SICK CALL ENCOUNTER, DO

22    YOU HAVE THE SICK CALL FORM THERE IN FRONT OF YOU AS WELL?

23           A    YES.

24                MR. CODY:    MS. RAGUSA, IF YOU COULD PULL UP DX-24,

25    PLEASE.    AND CAN YOU -- PERFECT.
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1     BY MR. CODY:

2          Q     MR. BORDELON, CAN YOU SEE THAT ON YOUR SCREEN?

3          A     YES.

4          Q     WHAT DOES THAT APPEAR TO BE?

5          A     THAT IS A SICK CALL FORM OR A MEDICAL REQUEST FORM.

6          Q     OKAY.   SO IS THAT TYPICALLY THE SORT OF THING THAT

7     YOU WOULD HAVE IN FRONT OF YOU FOR A SICK CALL ENCOUNTER?

8          A     YES.

9                MR. CONINE:      MRS. EDWARDS, THIS DOESN'T NEED TO BE

10    SEALED.

11               MR. CODY:    RIGHT.     I'M SORRY.    THIS DOES NOT NEED TO

12    BE SEALED.

13               YOUR HONOR, AT THIS TIME I WOULD OFFER, FILE AND

14    INTRODUCE DX-24.

15               THE COURT:       ANY OBJECTION TO DX-24?

16               MS. BOSALAVAGE:       NO OBJECTION.

17               THE COURT:       ADMITTED.

18    BY MR. CODY:

19         Q     WHEN YOU GET THIS FORM, WHAT INFORMATION HAS ALREADY

20    BEEN PUT INTO IT?

21         A     SHOULD BE THE TOP LINE; THE NAME, THE DOC NUMBER,

22    THE AGE, THE HOUSING AND THEIR JOB ASSIGNMENT AND WHATEVER

23    THEIR COMPLAINT IS.

24         Q     SO AT THE TIME OF THE TELEMED SICK CALL ENCOUNTER,

25    YOU'RE ALREADY AWARE OF THE REASON THAT THEY'RE ACCESSING SICK
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1     CALL?

2          A     YES.

3          Q     ARE THE INMATES ONLY ALLOWED TO LIST ONE REASON IN

4     THE -- ON THE FORM?

5          A     NO, NOT AT ALL.

6          Q     SO IF THEY HAVE, I GUESS, A LITANY OF SICK CALL

7     COMPLAINTS THEY CAN USE THE SPACE?

8          A     EVERY -- EVERY ONE OF THEM WILL BE ADDRESSED; EVERY

9     COMPLAINT.

10         Q     IS THAT -- DO YOU GO DOWN THE LIST WITH THEM AND ASK

11    THEM ABOUT EACH ONE?

12         A     YES.

13         Q     OKAY.   DO YOU EVER ASK THEM ABOUT ANY OTHER

14    COMPLAINTS THEY MAY HAVE BESIDES WHAT THEY WROTE IN THE SPACE?

15         A     YES, ALWAYS.

16         Q     SO --

17         A     I ASK THEM IF THERE'S ANYTHING ELSE I CAN HELP YOU

18    WITH.

19         Q     OKAY.   GREAT.   WHAT INFORMATION DO YOU WRITE ON THE

20    FORM DURING THE SICK CALL ENCOUNTER?

21         A     I PUT THE DATE AND THE TIME, ALL OF THE VITAL SIGNS

22    THAT ARE ON THE TOP LINE THERE AND I PUT MY ASSESSMENT.              AND

23    THEN IN THE DISPOSITION FORM I PUT WHETHER THEY ARE TO

24    FOLLOW-UP PRN, IF I SET THEM UP A CLINIC APPOINTMENT, IF I

25    SEND THEM TO THE ATU OR IF I REFER THEM TO ORTHO OR WHATEVER
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1     SUBSPECIALTY WE HAVE THERE THAT'S NEEDED AT THE TIME.

2                AND THEN I PUT WHATEVER PRESCRIPTIONS I PRESCRIBE

3     UNDER THE MEDICATIONS ORDERED AREA, AND THEN ANY TEACHING AND

4     STUFF THAT I'LL DO, I'LL PUT IT IN THE HEALTH CARE

5     PRACTITIONER NOTES AND THEN I SIGN IT AND I DATE IT.

6          Q     OKAY.   NOW WE TALKED A LOT ABOUT WHAT YOU DO ON YOUR

7     SIDE OF THE SCREEN.     LET'S TALK A BIT NOW ABOUT WHAT HAPPENS

8     ON THE OTHER SIDE OF THE TELEMED ENCOUNTER.

9                SO THE PATIENT THAT YOU'RE SEEING ON THE SCREEN ON

10    YOUR END, THEY'RE ACTUALLY LOCATED AT AN OUTCAMP OR SOME OTHER

11    PLACE ON THE COMPOUND?

12         A     YES.

13         Q     SO LET'S SAY -- SO WHO'S THERE WITH THEM AT THAT --

14    ON THE OTHER SIDE OF THE SCREEN FIRST OFF?

15         A     EMS PERSONNEL.

16         Q     OKAY.   HOW MANY EMS PERSONNEL ASSIST WITH THE NEW

17    SICK CALL PROCESS?

18         A     TWO, AND THERE'S A THIRD IN CASE ONE OF THE MAIN TWO

19    ISN'T THERE.

20         Q     OKAY.   ARE THEY ALL IN THE SAME LOCATION?

21         A     NO.

22         Q     SO EXPLAIN THAT.

23         A     WHEN IT FIRST STARTED OUT THERE WAS ONE PERSONNEL

24    AND IT WOULD TAKE A WHILE TO GET IT DONE, SO WE CAME UP WITH

25    HAVING ONE AT EACH SITE AND THEN THEY'D FLIP-FLOP.
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1                 SO WE WOULD, SAY, START OUT AT CAMP F IN THE MORNING

2     AT 5:00, AND THEN WE'D MOVE TO CAMP D.          WELL, THEN SOMEONE

3     WOULD BE AT CAMP D AND THEN THE ONE WHO WAS AT CAMP F GOES TO

4     CAMP C AND THEN THEY JUST ROTATE SO WE CAN SEE THEM NONSTOP

5     WITHOUT A WHOLE LOT OF INTERRUPTION.

6           Q     WHEN YOU SAY "INTERRUPTION" DOES THAT HAVE ANYTHING

7     TO DO WITH THE SECURITY INVOLVEMENT WITH GETTING SOMEBODY FROM

8     A CELL TO THE SPACE?

9           A     RIGHT.

10          Q     LET'S TALK A LITTLE BIT ABOUT THE SPACE WHERE THIS

11    OCCURS AT THE CAMPS.        IS THIS A PRIVATE SETTING?      IS THIS --

12          A     OH, YEAH IT'S PRIVATE.      IT'S IN A CLOSED ROOM.

13          Q     SO IS IT A CLINIC SPACE?

14          A     YEAH.    YOU CAN CALL IT THAT, YEAH.

15          Q     IS THERE EQUIPMENT THERE?

16          A     YES.

17          Q     SUPPLIES, MEDICAL SUPPLIES?

18          A     YES.

19          Q     OKAY.    AND LET'S TALK A LITTLE BIT NOW ABOUT --

20                THE COURT:      SO IS THERE ONE IN EACH ONE OF THE

21    DIFFERENT CAMPS; IS THAT WHAT YOU'RE SAYING?           THERE'S A CLINIC

22    SPACE IN EACH ONE OF THE CAMPS?

23                THE WITNESS:     YES, MA'AM.

24                MR. CODY:    I'M GLAD YOU CLARIFIED THAT, YOUR HONOR.

25    THAT'S A GOOD POINT.
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1     BY MR. CODY:

2           Q     SO EACH PLACE NOW, EACH CAMP, HAS ITS OWN CLINIC

3     SPACE TO BE UTILIZED FOR TELEMED?

4           A     INCLUDING DEATH ROW, YES.

5           Q     AND WHEN IT STARTED DID DEATH ROW HAVE A SPACE OR IS

6     THAT --

7           A     THEY HAD A SPACE, YES.     BUT WE DIDN'T HAVE THE

8     EQUIPMENT TO PUT THERE.      BUT IT'S BEEN THERE NOW FOR A FEW

9     MONTHS.

10          Q     AND LET'S TALK ABOUT THE DIAGNOSTIC EQUIPMENT THAT

11    YOU'RE ABLE TO UTILIZE THROUGH TELEMED.         DO YOU HAVE ACCESS TO

12    AN OTOSCOPE?

13          A     YES.

14          Q     HOW DOES THAT WORK WITH THE TELEMED?

15          A     THERE'S A CAMERA THAT YOU ACCESS ON THE SCREEN.           YOU

16    TURN IT ON.    THERE'S COVERS FOR IT AND THEN YOU CAN LOOK IN

17    THE EARS AND STUFF AND IT GIVES YOU A CLEAR PICTURE OF THE

18    TYMPANIC MEMBRANE AND EAR CANAL AND YOU CAN ALSO LOOK IN THEIR

19    NOSE AND THEIR MOUTH WITH IT IF NEED.

20          Q     WHAT ABOUT A STETHOSCOPE?

21          A     YES.

22          Q     SO YOU'RE ABLE TO USE A STETHOSCOPE THEN TO -- WHAT

23    DO YOU DO WITH THAT?

24          A     HEAR HEART SOUNDS AND LUNG SOUNDS.        IT ISN'T THE

25    BEST QUALITY, BUT YOU CAN HEAR.
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1            Q    SO THE SOUND QUALITY FOR THE STETHOSCOPES FOR

2     TELEMED IS NOT GREAT?

3            A    RIGHT.

4            Q    IS THAT FOR ALL OF THE STETHOSCOPES OR JUST CERTAIN

5     ONES?

6            A    THAT'S PRETTY MUCH ALL OF THEM.

7            Q    SO IN THOSE INSTANCES WHERE YOU CAN'T GET A GOOD

8     READING THROUGH THE TELEMED STETHOSCOPE WHAT DO YOU DO?

9            A    HAVE THE EMS PERSONNEL LISTEN TO BREATH SOUNDS.

10           Q    SO DO THEY HAVE THEIR OWN STETHOSCOPE --

11           A    YES.

12           Q    -- TO TAKE THAT?

13           A    YES.

14           Q    IS THIS SOMETHING THAT YOU BELIEVE THAT AN EMS

15    PERSON IS ABLE TO DO?

16           A    YES.    IT'S IN THEIR TRAINING.     THEY CAN DO IT.

17           Q    OKAY.    WHAT ABOUT -- IS THERE ANY TYPE OF THING FOR

18    SEEING ISSUES WITH THE SKIN OR ANYTHING LIKE THAT WITH

19    TELEMED?

20           A    YES.    THERE'S ALSO A SEPARATE CAMERA THAT YOU CAN

21    ACCESS TO LOOK AT SKIN ISSUES, LIKE ECZEMA, PSORIASIS OR

22    ATHLETES FOOT OR JOCK ITCH OR SOMETHING YOU CAN LOOK AT IT AND

23    SEE.

24           Q    DO YOU HAVE ANY ACCESS TO AN O2 SAT MONITOR?

25           A    YES.
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1           Q     EXPLAIN WHAT THAT IS.

2           A     IT CHECKS THE OXYGEN LEVEL IN YOUR BLOOD THROUGH

3     YOUR NAILBEDS.

4           Q     OKAY.   AND THAT'S ALSO SOMETHING YOU UTILIZE FOR

5     TELEMED SICK CALL.     ABOUT HOW MANY PATIENTS DO YOU SEE DAILY

6     IN SICK CALL?

7           A     AVERAGE PROBABLY 25 TO 30.

8           Q     AND ABOUT HOW LONG DO EACH OF THESE PATIENT

9     ENCOUNTERS LAST?

10          A     IT CAN BE A COUPLE MINUTES TO A HALF AN HOUR.             IT

11    DEPENDS ON THE COMPLAINT AND HOW DEEP I HAVE TO GO INTO THE

12    CHART TO FIGURE IT OUT.

13          Q     SO WOULD HALF AN HOUR KIND OF BE ON THE LONG END?

14          A     VERY LONG, YEAH.

15          Q     ARE THERE OCCASIONS WHEN YOU BELIEVE SOMETIMES THE

16    DIAGNOSIS IS NOT COMPLETELY ACCURATE DUE TO LIMITATIONS IN THE

17    EQUIPMENT?

18          A     YES.

19          Q     SO WHAT DO YOU DO IN THOSE INSTANCES?

20          A     I SEND THEM IN TO THE ATU TO BE ASSESSED IN-PERSON.

21          Q     OKAY.   ABOUT HOW OFTEN DO YOU HAVE TO DO THAT?

22          A     PROBABLY AVERAGE THREE OR FOUR TIMES A DAY.

23          Q     DO YOU EVER HAVE ANY ISSUES WITH INTERNET

24    CONNECTIVITY DURING THESE SICK CALL ENCOUNTERS?

25          A     WE DO, BUT IT'S RARE AND IT'S TYPICALLY PRETTY
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1     SHORT-LIVED.

2           Q     SO IT DOESN'T CAUSE A MAJOR INTERRUPTION?

3           A     NOT AT ALL.

4           Q     DO YOU BELIEVE THIS NEW SICK CALL PROCEDURE IS

5     BETTER THAN HOW IT WAS PREVIOUSLY?

6           A     ABSOLUTELY.     IT'S LIKE NIGHT AND DAY.

7           Q     WHY DO YOU THINK THAT?

8           A     WELL, THEY ARE ABLE TO HAVE ACCESS TO SEE A PROVIDER

9     WITHIN 18 TO 20 HOURS USUALLY.

10          Q     SO THE PERSON PRESENTS ON THE SCREEN.         DO YOU EVER

11    NOTICE ISSUES ASIDE FROM WHAT THEIR CHIEF COMPLAINT IS?

12          A     OH, YEAH.

13          Q     SO WHAT SORTS OF THINGS HAVE YOU NOTICED THROUGH

14    THIS NEW SICK CALL PROCEDURE?

15          A     WELL, I HAD A GUY WHO HAD A CUT ON HIS FOOT AND THEN

16    HE STARTED TO ACTIVELY HAVE A STROKE WHILE HE'S SITTING IN

17    FRONT OF ME.    HE'S -- HE STOOD UP TO GO AND HE SAID HE DIDN'T

18    FEEL GOOD AND THEN I CAN SEE HIS FACE STARTING TO DROOP, SO WE

19    GOT HIM IN AND GOT HIM SENT TO THE HOSPITAL QUICKLY.

20                AND THEN JUST LAST WEEK WE HAD A GENTLEMAN WHO WAS

21    COMPLAINING OF HIS FOOT HURTING AND WE JUST SO HAPPENED TO

22    HAVE AN ULTRASOUND THERE THAT DAY AND I GOT THEM TO SEND HIM

23    OVER FROM CAMP C TO RULE OUT A BLOOD CLOT AND LOW AND BEHOLD

24    THEY SCANNED HIM AND HE HAD A CLOT, SO HE GOT TREATED VERY

25    QUICKLY WITH THAT.
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1           Q     AND WHAT'S THE LARGEST NUMBER OF INMATES THAT YOU'VE

2     SEEN ON A DAILY SICK CALL?

3           A     I BELIEVE IT WAS 72.

4           Q     AND HOW LONG DID THAT LAST?

5           A     ALL DAY PLUS.

6           Q     SO YOU WORK A TEN-HOUR SHIFT IN A GIVEN DAY, RIGHT?

7           A     RIGHT.

8           Q     SO DID THAT --

9           A     IT WAS 12 HOURS.

10          Q     SO IS THAT TYPICALLY THE POLICY YOU'LL STAY UNTIL --

11          A     I'M GOING TO STAY UNTIL ALL OF THEM ARE SEEN, YES.

12          Q     IS THAT TYPICAL, 72 PATIENTS?

13          A     NO, NOT AT ALL.

14                THE COURT:      WHAT WOULD YOU SAY THE AVERAGE IS?

15                THE WITNESS:     PROBABLY 30-ISH.

16    BY MR. CODY:

17          Q     TYPICALLY WHEN ARE YOU NORMALLY DONE WITH SICK CALL?

18          A     I'M USUALLY DONE BY NOON.

19          Q     WHAT DO YOU DO WITH -- YOU STILL HAVE SOME TIME WITH

20    YOUR SHIFT LEFT AFTER THAT I SUPPOSE, SO WHAT DO YOU DO WITH

21    THAT TIME?

22          A     A LOT OF PAPERWORK, HELP OUT IN THE CLINIC, GO HELP

23    OUT IN THE ATU IF NEEDED.

24          Q     OKAY.    I MEANT TO SHOW YOU THIS EARLIER, BUT --

25                MR. CODY:    MS. RAGUSA, CAN YOU PULL UP DX_46_192.
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1     YEAH.

2     BY MR. CODY:

3           Q     ALL RIGHT.      DO YOU SEE THAT ON THE SCREEN,

4     MR. BORDELON?

5           A     YES.

6           Q     WOULD THAT -- DOES THAT LOOK FAMILIAR AS ONE OF THE

7     CLINICS WHERE THE TELEMED IS CONDUCTED FOR ONE OF THE CAMPS?

8           A     YEAH.   THAT'S OUR EQUIPMENT FOR SURE.         I'M NOT

9     EXACTLY SURE WHAT CAMP THAT IS, BUT --

10          Q     YEAH, THERE'S NOTHING IDENTIFYING IT IN THE PICTURE

11    UNFORTUNATELY.

12                MR. CODY:    MS. RAGUSA, CAN YOU PULL UP 46_119,

13    PLEASE.   OKAY.

14    BY MR. CODY:

15          Q     NOW THIS ONE, I GUESS SAME QUESTION.         THIS PICTURE

16    HERE, IS THAT ALSO ANOTHER --

17          A     YES.

18          Q     -- CAMP?    CAN YOU TELL WHICH CAMP THAT IS?

19          A     THAT LOOKS LIKE DEATH ROW.

20          Q     I DO SEE A PLAQUE ALONGSIDE OF IT AND IT SEEMS TO

21    INDICATE THE DEATH ROW COMPLEX.

22          A     YEAH.

23                MR. CODY:    FINALLY, MS. RAGUSA, IF YOU COULD PULL UP

24    46_66.    OKAY.

25    BY MR. CODY:
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1           Q     IS THAT ALSO ANOTHER TELEMED CLINIC FOR ONE OF THE

2     OUTCAMPS?

3           A     YES.

4           Q     SO THESE ARE TYPICAL REPRESENTATIONS OF WHAT THE

5     SPACE IS LIKE FOR THE INMATE THAT'S ACCESSING TELEMED SICK

6     CALL ON THE OTHER END?

7           A     CORRECT.

8           Q     ALL RIGHT.      WHAT IS YOUR UNDERSTANDING OF HOW THE

9     SICK CALL LIST IS PREPARED?

10          A     SO EACH CAMP, THEY GO AND THEY TAKE THE SICK CALL

11    REQUEST FORMS OUT OF THE BOX, BY SECURITY AS I UNDERSTAND IT,

12    AND THEN THEY COMPILE A LIST AND THEY E-MAIL IT TO MEDICAL

13    RECORDS.    THEN THEY'RE RESPONSIBLE TO ACTUALLY BRING IT TO THE

14    TREATMENT CENTER AND PUT IT IN THE BOX OUTSIDE THE ATU WHERE

15    THE ATU STAFF CAN GET IT AND GO THROUGH THEM AND PULL CHARTS

16    FOR THE NEXT DAY.

17          Q     OKAY.   SO LET ME STOP YOU RIGHT THERE.         WHEN THE ATU

18    STAFF IS GOING THROUGH THIS AND PULLING THE CHARTS IS ANYBODY

19    TRIAGING THESE SICK CALL FORMS?

20          A     YES.

21          Q     SO WHO'S DOING THAT?

22          A     IT WOULD BE THE NURSE IN THE ATU.

23          Q     IS IT A CERTAIN NURSE?      IS IT --

24          A     IT'S JUST WHOEVER IS ON THE SHIFT.

25          Q     OKAY.   ARE YOU AWARE -- DOES THAT ALWAYS HAPPEN?
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1           A     TO MY KNOWLEDGE.

2           Q     OKAY.

3           A     SOMETIMES I'LL -- I WILL ACTUALLY TRIAGE THEM MYSELF

4     IF I DON'T HAVE ANYTHING ELSE TO DO.        I'LL LOOK THROUGH THEM

5     AND SEE WHO I HAVE FOR THE NEXT DAY.

6           Q     OKAY.    SO YOU'LL SOMETIMES GO THROUGH THE LIST AND

7     ACTUALLY TRIAGE THEM?

8           A     UH-HUH.

9           Q     HAVE THERE BEEN INSTANCES WHERE YOU FOUND SOME

10    PATIENTS THAT NEEDED -- HAD AN EMERGENT ISSUE?

11          A     NOT REALLY.

12          Q     OKAY.    BUT IF IT DID HAPPEN --

13          A     OH, YEAH, I'D BRING THEM IN.

14          Q     -- YOU HAVE AN OPPORTUNITY -- OKAY.

15                ARE YOU SURE THAT THE PERSON WHO DOES THIS TRIAGE OF

16    THE SICK CALL FORMS IS ALWAYS A NURSE?

17          A     TO MY KNOWLEDGE.

18          Q     OR UNLESS IT'S YOURSELF, A NURSE PRACTITIONER?

19          A     RIGHT.

20          Q     OKAY.    I'M GOING TO CHANGE GEARS NOW A LITTLE BIT.

21    SO DO YOU HAVE OCCASION TO BE ON CALL STILL AT LSP?

22          A     YES.

23          Q     HOW OFTEN ARE YOU ON CALL?

24          A     PROBABLY ABOUT THREE TO FOUR NIGHTS A MONTH.

25          Q     WHEN YOU'RE ON CALL WHAT IS YOUR ASSIGNMENT?
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1           A     I AM OVER THE TREATMENT CENTER.

2           Q     ALL RIGHT.      AND ABOUT HOW OFTEN -- WELL, FIRST OFF,

3     THIS IS ALWAYS THE EVENINGS ON WEEKDAYS?

4           A     CALL STARTS AT 4 P.M. TO 7:30 THE NEXT MORNING.

5           Q     OKAY.   SO WHERE ARE YOU LOCATED WHEN YOU'RE ON CALL?

6           A     AT THE CALL HOUSE ON THE FARM ABOUT THREE OR FOUR

7     MINUTES AWAY FROM THE TREATMENT CENTER.

8           Q     OKAY.   AND ABOUT HOW OFTEN DO YOU GET CALLS

9     THROUGHOUT THE NIGHT WHEN YOU'RE ON CALL?

10          A     MAYBE 10 TO 15 TIMES A NIGHT YOU'LL GET A CALL.

11          Q     DOES EVERY CALL YOU RECEIVE REQUIRE AN IN-PERSON

12    EXAMINATION?

13          A     NO.

14          Q     ABOUT HOW OFTEN DO YOU HAVE TO ACTUALLY GO IN TO SEE

15    A PATIENT?

16          A     IT'S MAYBE ONCE A NIGHT AVERAGE.

17          Q     WHAT ARE SOME TYPICAL ISSUES THAT DO NOT REQUIRE AN

18    IN-PERSON EXAMINATION?

19          A     IF THEY'RE HAVING AN EARACHE OR SORE THROAT OR

20    SHOULDER PAIN OR SOMETHING LIKE THAT FROM MUSCULOSKELETAL

21    ISSUES.

22          Q     AND DO YOU HAVE OCCASION TO OBSERVE THE ORDERLIES?

23          A     IN THE --

24          Q     IN THE NURSING UNITS I SUPPOSE.

25          A     I MEAN --
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1           Q     LET ME BACK UP.     I'M SORRY.     WHEN YOU'RE ON CALL ARE

2     YOU JUST OVER THE ATU OR ARE YOU OVER THE NURSING UNITS AS

3     WELL?

4           A     EVERYTHING.

5           Q     SO WHEN YOU'RE OVER THE NURSING UNITS, DO YOU HAVE

6     OCCASION TO OBSERVE THE ORDERLIES?

7           A     YES.

8           Q     WHAT IS YOUR OPINION OF THE ORDERLY CARE?

9           A     THEY'RE HELPING THEM WITH ADL'S AND FEEDING THOSE

10    WHO'VE HAD STROKES AND CAN'T FEED THEMSELVES OR PARAPLEGICS OR

11    QUADRAPLEGICS.

12          Q     I'M SORRY.      I DIDN'T MEAN TO CUT YOU OFF.      DO YOU

13    FEEL THAT THE ORDERLIES ARE ADEQUATELY TRAINED TO PERFORM

14    THEIR JOB?

15          A     THEY APPEAR TO BE, YES.

16          Q     DO YOU EVER SEE THEM PERFORMING WOUND CARE?

17          A     NO.

18          Q     DO YOU EVER SEE THEM ADMINISTERING MEDICATIONS TO

19    PATIENTS?

20          A     NO.

21          Q     DO YOU EVER SEE THEM ADMINISTERING INSULIN TO

22    PATIENTS?

23          A     NO.

24          Q     HAVE YOU EVER WITNESSED AN ORDERLY ABUSE A PATIENT?

25          A     NO.
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1           Q     HAVE YOU EVER WITNESSED AN ORDERLY NEGLECT A

2     PATIENT?

3           A     NO.

4           Q     HAVE YOU EVER WITNESSED AN ORDERLY THREATENING TO

5     WITHHOLD CARE IN ORDER TO EXTORT A PATIENT?

6           A     NO.

7           Q     DO YOU ATTEND MORNING MEETINGS AT LSP?

8           A     EVERY MORNING.

9           Q     EXPLAIN WHAT THAT PROCESS ENTAILS.         FIRST OFF, WHAT

10    DO YOU -- WHO ATTENDS THE MORNING MEETINGS?

11          A     ALL OF THE PROVIDERS ARE IN THERE, THE D-O-N, THE

12    A-D-O-N AND AN EMS REPRESENTATIVE, THE HOSPITAL ADMINISTRATOR.

13          Q     WHAT'S DISCUSSED AT THE MORNING MEETINGS?

14          A     SO THEY ALL START WITH WHOEVER WAS ON CALL THE

15    PREVIOUS NIGHT.     THEY GIVE A REPORT ON WHAT HAPPENED, WHETHER

16    THEY HAD TO COME IN AND SEE SOMEONE; IF THEY RECEIVED ANY

17    FOLKS BACK FROM AN OUTSIDE HOSPITAL; WHAT WAS DONE FOR THEM AT

18    THE OUTSIDE HOSPITAL AND WHAT THE PLAN OF CARE IS GOING TO BE.

19    AND THEN IT GOES TO EVERY PATIENT THAT WE HAVE ON THE NURSING

20    UNIT.     WE COVER THEM CASE BY CASE.

21          Q     AND THE DOC- --

22          A     WE GIVE UPDATES.

23          Q     THANK YOU.      AND DR. TOCE YOU SAID IS AT THESE

24    MEETINGS?

25          A     YES.
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1           Q     DOES HE GIVE ADVICE ON PATIENT CARE AT THESE

2     MEETINGS?

3           A     YES.

4           Q     AND YOU DISCUSS THINGS THAT ARE GOING ON WITH

5     PATIENTS; EVEN OUTSIDE PATIENTS?

6           A     ABSOLUTELY.

7           Q     AND SO THERE'S A CONTINUING, I GUESS -- YOU KNOW THE

8     COMMUNICATION ABOUT PATIENT CARE AT THESE MEETINGS?

9                 MS. BOSALAVAGE:     OBJECTION.

10                MR. CODY:    BASED ON --

11                THE COURT:      WHAT'S THE OBJECTION?

12                MS. BOSALAVAGE:     LEADING.

13                THE COURT:      REPHRASE.

14                MR. CODY:    OH, YES.    THANK YOU, JUDGE.

15    BY MR. CODY:

16          Q     WHAT DO YOU TALK ABOUT REGARDING PATIENT CARE AT THE

17    MEETINGS?

18          A     WE TALK ABOUT WHAT ANTIBIOTICS THEY'RE RECEIVING IF

19    THEY'RE RECEIVING ANY, WHAT HAPPENED AT THE HOSPITAL IF THEY

20    HAD A HEART ATTACK, WHAT BLOOD THINNERS THEY'RE ON, WHAT

21    MEDICATION IS SUGGESTED, IF THEY HAD A WOUND WHAT KIND OF --

22    ANYTHING THAT YOU CAN THINK OF REGARDING THE CARE OF THE

23    PATIENT IS DISCUSSED.

24          Q     SO YOUR DIRECT SUPERVISOR AT LSP, IS THAT DR. TOCE?

25          A     YES.
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1           Q     WHAT'S YOUR RELATIONSHIP LIKE WITH DR. TOCE?

2           A     IT'S GOOD.

3           Q     IS HE GENERALLY AVAILABLE FOR YOU?

4           A     YES.

5           Q     IF YOU HAVE AN ISSUE REGARDING PATIENT CARE IS HE

6     ACCESSIBLE?

7           A     YES.

8           Q     ALL RIGHT.      HOW OFTEN DO YOU SPEAK WITH DR. TOCE

9     ABOUT CLINICAL CARE ISSUES?

10          A     EVERY DAY.

11          Q     DO YOU KNOW IF DR. TOCE REVIEWS YOUR CLINICAL NOTES?

12          A     YES.

13          Q     HOW DO YOU KNOW THAT?

14          A     ANY REFERRALS OR DUTY STATUS REQUESTS OR ANYTHING HE

15    HAS TO APPROVE THEM, SO HE HAS TO GO THROUGH THE CHART AND DIG

16    AND MAKE SURE THAT WHAT WE'RE REQUESTING IS GOOD AND IT CAN BE

17    DONE.

18          Q     AND DO YOU HAVE ACCESS TO ANY OTHER PHYSICIAN'S

19    RESOURCE ASIDE FROM DR. TOCE?

20          A     YES.

21          Q     WHO WOULD THAT BE?

22          A     DR. LAVESPERE.

23          Q     DO YOU CALL HIM FAIRLY OFTEN?

24          A     I DON'T CALL HIM AS OFTEN AS I USED TO.          BUT, YEAH,

25    I WILL.
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1            Q    WHEN YOU WOULD FIND A NEED TO CONTACT HIM WAS HE

2     GENERALLY ACCESSIBLE?

3            A    YES.

4            Q    ARE YOU FAMILIAR WITH A RESOURCE NAMED -- CALLED

5     UPTODATE?

6            A    YES.

7            Q    IS THAT SOMETHING YOU UTILIZE?

8            A    ALL DAY.

9            Q    AND JUST QUICKLY WHAT IS IT?

10           A    IT IS THE MOST UP-TO-DATE TREATMENT GUIDELINES, DRUG

11    CHANGES, LAB TESTS, ANYTHING THAT YOU CAN ACCESS TO BE UP TO

12    DATE ON THE TREATMENT OF DISEASE PROCESSES.

13           Q    MR. BORDELON, ARE YOU DEDICATED TO YOUR PATIENTS AT

14    LSP?

15           A    ABSOLUTELY.

16           Q    DO YOU WANT THE BEST FOR THEM?

17           A    ABSOLUTELY.

18           Q    YOU TRY TO GIVE THEM GOOD MEDICAL CARE?

19           A    I THINK I DO.

20           Q    DO YOU FEEL THERE'S A PUNITIVE ATTITUDE TOWARD

21    PATIENTS AT LSP?

22           A    NOT AT ALL.

23           Q    DO YOU FEEL THAT NURSES HAVE A PUNITIVE ATTITUDE

24    TOWARD PATIENTS?

25           A    NO.
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1           Q     WHAT ABOUT EMS?

2           A     NOPE.

3           Q     DO YOU EVER WITHHOLD CARE TO A PATIENT BASED ON

4     THEIR CRIMINAL HISTORY?

5           A     NO.

6           Q     WOULD YOU EVER WITHHOLD CARE TO A PATIENT BASED ON

7     THEIR ATTITUDE; HOW THEY ACTED TOWARD YOU?

8           A     NO.

9           Q     DO YOU BELIEVE THAT YOUR PATIENTS EVER LIE TO YOU?

10          A     SURE.

11          Q     DESPITE THE FACT YOU MAY THINK THEY'RE LYING, WHAT

12    DO YOU BASE YOUR ASSESSMENT ON?

13          A     ON THEIR COMPLAINT AND EVERYTHING I SEE IN FRONT OF

14    ME.

15                MR. CODY:    NO FURTHER QUESTIONS, YOUR HONOR.

16                THE COURT:      CROSS?

17                MS. BOSALAVAGE:     SAMANTHA BOSALAVAGE ON BEHALF OF

18    THE PLAINTIFFS.

19    CROSS-EXAMINATION

20    BY MS. BOSALAVAGE:

21          Q     GOOD TO SEE YOU, MR. BORDELON.

22          A     HOW ARE YOU?

23          Q     GOOD.   YOU MENTIONED YOU STARTED WORKING AT LSP

24    BEFORE -- EXCUSE ME.        YOU MENTIONED BEFORE YOU STARTED WORKING

25    AT LSP YOU WERE WORKING AT EXXON FOR MANY YEARS, RIGHT?
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1           A     YES.

2           Q     AND YOU QUIT IN 2019?

3           A     YES.

4           Q     AND THEN YOU GOT A JOB AT LSP?

5           A     YES.

6           Q     YOU MENTIONED YOU CHOSE THE JOB IN PART BECAUSE IT

7     WAS CLOSE TO YOUR CAMP, RIGHT?

8           A     YES.

9           Q     BUT IT WAS ALSO BECAUSE YOU HAVE FRIENDS THERE?

10          A     YEAH, I'VE GOT A COUPLE FRIENDS.

11          Q     BEFORE YOU STARTED YOU WERE FRIENDS WITH

12    DR. LAVESPERE?

13          A     WE WERE ACQUAINTANCES.

14          Q     YOU SOLD HIM A HOUSE IN 2017?

15          A     CORRECT.

16          Q     YOU WERE ALSO FRIENDS WITH TRACY FALGOUT?

17          A     YES.

18          Q     AND WITH BILL HAWKINS?

19          A     YES.

20          Q     YOU WENT TO NURSING SCHOOL WITH BILL HAWKINS?

21          A     I DID.

22          Q     TRACY CALLED YOU AND ASKED IF YOU WOULD BE

23    INTERESTED IN THE JOB?      TRACY CALLED YOU AND ASKED IF YOU

24    WOULD BE INTERESTED IN THE JOB AT LSP?

25          A     YES.
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1           Q     AND IT WAS YOUR UNDERSTANDING THAT BILL HAWKINS HAD

2     TOLD HIM YOU HAD LEFT EXXON, RIGHT?

3           A     CORRECT.

4           Q     AND DR. LAVESPERE WAS ON YOUR INTERVIEW PANEL WHEN

5     YOU INTERVIEWED FOR THE JOB, RIGHT?

6           A     YES.

7           Q     WHEN YOU STARTED AT LSP YOU WEREN'T MADE AWARE OF

8     ANY LSP SPECIFIC HEALTH CARE POLICIES, CORRECT?

9           A     NOT REALLY.

10          Q     AND AT THE TIME OF YOUR DEPOSITION YOU WEREN'T

11    FAMILIAR WITH LSP DIRECTIVES, CHAPTER 13, ON HEALTH CARE

12    SERVICES, RIGHT?

13          A     NO.

14          Q     YOU MENTIONED THAT DR. TOCE IS YOUR SUPERVISOR,

15    RIGHT?

16          A     YES.

17          Q     BUT DR. LAVESPERE IS YOUR COLLABORATING PHYSICIAN?

18          A     CORRECT.

19          Q     YOU DON'T HAVE REGULARLY SCHEDULED ONE-ON-ONE

20    MEETINGS WITH EITHER OF THEM?

21          A     REGULARLY SCHEDULED ONE-ON-ONE MEETINGS?         WE HAVE

22    ACCESS EVERY DAY ALL DAY TO WHOEVER WE NEED TO SPEAK TO.

23          Q     BUT YOU CALL THEM WHEN YOU NEED TO?

24          A     RIGHT.

25          Q     BUT YOU DON'T HAVE PRESET ONE-ON-ONE MEETINGS WITH
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1     THEM?

2           A     NO.

3           Q     AND YOU TESTIFIED ON DIRECT THAT DR. TOCE REVIEWS

4     YOUR CHARTS?

5           A     YES.

6           Q     BUT HE IS NOT GIVING YOU FEEDBACK ON YOUR CLINICAL

7     NOTES?

8           A     HE DOES AT TIMES, YES.

9           Q     AT THE TIME OF YOUR DEPOSITION, HE HAD NOT GIVEN YOU

10    FEEDBACK ON YOUR CLINICAL NOTES?

11          A     HE HAS SINCE THEN.

12          Q     BUT DR. LAVESPERE DOESN'T REVIEW YOUR CHARTS?

13          A     NOT TO MY KNOWLEDGE, NO.

14          Q     DR. LAVESPERE HAS CONDUCTED YOUR FORMAL EVALUATION,

15    THOUGH?

16          A     RIGHT.

17          Q     AND THE ONLY SUGGESTION HE GAVE ON HOW TO IMPROVE AT

18    YOUR JOB WAS TO BE AWARE OF POLICY TYPE STUFF, RIGHT?

19          A     AS FAR AS I CAN REMEMBER, YES.

20          Q     BUT HE GAVE NO SPECIFICS REGARDING WHICH POLICIES,

21    RIGHT?

22          A     HE MAY HAVE.    I DON'T REMEMBER THE SPECIFICS.

23          Q     WHEN YOU CONSULT WITH DR. LAVESPERE ABOUT A CASE,

24    YOU DON'T ALWAYS DOCUMENT THAT CONSULTATION IN THE MEDICAL

25    RECORD, RIGHT?
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1           A     NO.

2           Q     YOUR COLLABORATIVE PRACTICE AGREEMENT REQUIRES THAT

3     DR. LAVESPERE REVIEW A SET PERCENTAGE OF YOUR CHARTS?

4           A     OKAY.

5           Q     SO DID YOU REALIZE YOU WERE IN VIOLATION OF YOUR

6     COLLABORATIVE PRACTICE AGREEMENT?

7           A     NO.

8           Q     YOUR COLLABORATIVE PRACTICE AGREEMENT ALSO REQUIRES

9     YOU TO NOTE EACH CONSULTATION WITH YOUR COLLABORATING

10    PHYSICIAN, RIGHT?

11          A     EACH WHAT?

12          Q     EACH CONSULTATION WITH YOUR COLLABORATING PHYSICIAN.

13          A     I'M NOT SURE WHAT YOU MEAN.

14                MS. BOSALAVAGE:    AT THIS TIME I'M MARKING

15    PLAINTIFF'S EXHIBIT 66.

16    BY MS. BOSALAVAGE:

17          Q     DO YOU RECOGNIZE THIS?

18          A     YES.

19          Q     WHAT IS IT?

20          A     STATE BOARD OF NURSING -- ATTESTATION OF APRN

21    COLLABORATIVE PRACTICE.

22          Q     IS IT YOUR COLLABORATIVE PRACTICE AGREEMENT?

23          A     YES.

24          Q     CAN WE TURN TO PAGE 4?

25                CAN YOU PLEASE READ THE HIGHLIGHTED PORTION ON PAGE
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1     4 BEGINNING WITH "WHENEVER A PHYSICIAN" OUT LOUD.

2           A     "WHENEVER A PHYSICIAN IS CONSULTED, A NOTATION TO

3     THAT EFFECT, INCLUDING PHYSICIAN'S NAME, MUST BE RECORDED IN

4     THE INMATE'S MEDICAL CHART."

5           Q     CAN YOU READ THE NEXT HIGHLIGHTED PORTION?

6           A     "EVALUATION OF THE NURSE PRACTITIONER(S) WILL BE

7     PROVIDED IN THE FOLLOWING:        REVIEWING THE CHARTS OF AT LEAST

8     20 PERCENT OF THE PATIENTS SEEN BY THE NURSE PRACTITIONER FOR

9     THE FIRST THREE MONTHS AND THEN TEN PERCENT THEREAFTER."

10                MS. BOSALAVAGE:     WE MOVE PLAINTIFFS' EXHIBIT 66 INTO

11    EVIDENCE.

12                MR. CODY:    NO OBJECTION.

13                THE COURT:      ADMITTED.

14    BY MS. BOSALAVAGE:

15          Q     THE MORTALITY REVIEWS ARE A PLACE FOR ONGOING

16    TRAINING, RIGHT?

17          A     CORRECT.

18          Q     AND THOSE HAVE BEEN HAPPENING FOR LESS THAN A YEAR?

19                MR. CODY:    YOUR HONOR, I JUST OBJECT.        I DIDN'T ASK

20    ANYTHING ABOUT MORTALITY REVIEW.

21                THE COURT:      OVERRULED.   IT'S ON CROSS.

22    BY MS. BOSALAVAGE:

23          Q     AND THOSE HAVE BEEN HAPPENING FOR LESS THAN A YEAR?

24          A     SINCE PROBABLY LAST SEPTEMBER OR SO, YES.

25          Q     YOU MOSTLY FOCUS ON NONCOMPLIANCE AND DRUG USE?
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1           A     NO.

2           Q     THAT WAS A NO?

3           A     THAT'S A NO.

4           Q     YOU GAVE A DEPOSITION IN THIS MATTER ON MARCH 23RD,

5     2022?

6           A     OKAY.

7           Q     AND YOU WERE UNDER OATH?

8           A     OKAY.

9           Q     AND YOU TOLD THE TRUTH?

10          A     YES.    IT ISN'T JUST THAT.

11          Q     AND IN THAT DEPOSITION YOU SAID THAT YOU MOSTLY

12    FOCUS ON NONCOMPLIANCE AND DRUG USE?

13          A     NO.    WE FIND THAT THE MAJORITY OF THE CASES THAT WE

14    HAVE ARE BASED ON THAT.      I DIDN'T SAY THAT'S ALL WE FOCUS ON.

15          Q     BUT IN THE DEPOSITION YOU DID SAY THAT YOU --

16          A     OKAY.

17          Q     OKAY.   YOU CAN'T HELP IF THE PATIENT CONTINUES TO

18    REFUSE OR CHOOSES TO USE DRUGS?

19          A     I CAN'T WHAT?

20          Q     YOU CAN'T HELP IF THE PATIENT CHOOSES TO REFUSE CARE

21    OR USE DRUGS?

22          A     NO, I CAN'T; YOU'RE RIGHT.

23          Q     SO FAR NO RED FLAGS HAVE COME UP DURING THOSE

24    MEETINGS, RIGHT?

25          A     NO.
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1           Q     AND IF A PATIENT DIED WHILE IN HOSPICE CARE, THERE

2     ISN'T MUCH TO LOOK INTO SINCE IT WAS AN EXPECTED DEATH, RIGHT?

3           A     IT ISN'T AS IN DEPTH IF IT'S AN UNEXPECTED DEATH.

4           Q     YOU DON'T LOOK BACK AT THE CIRCUMSTANCES OF THE

5     INITIAL DIAGNOSIS FOR PEOPLE WHO DIE IN HOSPICE CARE, RIGHT?

6           A     SURE WE DO.

7           Q     IT'S YOUR TESTIMONY TODAY THAT YOU DO?

8           A     IT IS.   WE LOOK AT THE WHOLE SITUATION.

9           Q     SO IT'S YOUR TESTIMONY TODAY THAT DURING A MORTALITY

10    REVIEW YOU DO LOOK BACK AT THE INITIAL DIAGNOSIS OF HOSPICE

11    CARE PATIENTS?

12          A     WE LOOK AT THE ENTIRE PICTURE.

13                MS. BOSALAVAGE:    RACHAEL, CAN YOU PLEASE PULL UP THE

14    DEPOSITION FOR MR. BORDELON.      PAGE 53.     CAN YOU HIGHLIGHT

15    LINES 1 THROUGH 4?

16                THE WITNESS:    YOU WANT ME TO READ IT OUT LOUD?

17    BY MS. BOSALAVAGE:

18          Q     YES, PLEASE.

19          A     "FOR THE PEOPLE WHO DIE IN HOSPICE, DO YOU EVER LOOK

20    BACK AT THE CIRCUMSTANCES?      NOT REALLY.     I DON'T."

21          Q     YOU HAVEN'T CHANGED THE WAY YOU ADMINISTER CARE

22    BASED ON MORTALITY REVIEWS?

23          A     NO, NOT REALLY.    NOT YET.

24          Q     THERE HAVEN'T BEEN ANY CHANGES BECAUSE YOU TREAT

25    EVERYONE PERFECTLY?
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1           A     WE TRY TO, YES.

2           Q     YOU SPOKE ABOUT THE NEW ROUTINE SICK CALL PROCEDURE.

3     I'D LIKE TO GO BACK TO THAT FORM THAT WE WERE DISCUSSING.             YOU

4     NOTED THE DIFFERENT ASPECTS THAT YOU FILL OUT.          I JUST WANT TO

5     CONFIRM THERE'S NO NURSE DOCUMENTING ON THAT FORM IN THE

6     TRIAGE YOU DISCUSSED, CORRECT?

7           A     A WHAT?   THERE'S NO NURSE?

8           Q     THERE'S NO NURSE DOCUMENTING THE TRIAGE YOU SPOKE

9     ABOUT ON THAT FORM, CORRECT?

10          A     NO.   THE ASSESSMENT PART --

11          Q     YOU DISCUSSED --

12          A     -- OR ANYWHERE?

13          Q     ANYWHERE.

14          A     NO, NOT REALLY.    THERE SHOULDN'T BE.

15          Q     CAN WE PULL UP PX_21_SSS.

16                CAN YOU TAKE A LOOK AT 2(A)(1), (B), SORRY AND THE

17    FOLLOWING 2(A)(1).      JUST TAKE A MOMENT TO READ IT, PLEASE.

18          A     SO WHAT IS IT THAT I'M READING?

19          Q     (A)(1).   ALL OF THE SUBPARTS.

20                THIS IS THE POLICY ON ROUTINE SICK CALL, CORRECT?

21          A     OKAY.

22          Q     CAN WE JUST FLIP BACK TO THE FIRST PAGE FOR A

23    SECOND?   OR IF YOU KNOW, IS THIS THE ACTIVE SICK CALL POLICY

24    AT LSP?

25          A     I DON'T KNOW IF IT IS OR NOT.
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1           Q     YOU'VE NEVER SEEN THIS DOCUMENT BEFORE?

2           A     YEAH, I'VE SEEN THE DOCUMENT, BUT I DON'T KNOW IF

3     ANY WORDS HAVE CHANGED IN IT.

4           Q     WELL, IN THE SECTION YOU JUST READ, DOES THE WORD

5     TRIAGE APPEAR?

6           A     NOT THAT I SAW.

7           Q     DOES THE WORD NURSE APPEAR?

8           A     NO.

9           Q     AND CAN YOU PULL UP JX_71_D.

10                THESE ARE STATEMENTS THAT DR. LAVESPERE MADE ON

11    BEHALF OF DEFENDANTS IN THIS LITIGATION.

12                IF YOU COULD TAKE A MOMENT TO REVIEW THE RESPONSE TO

13    INTERROGATORY NUMBER 12 HIGHLIGHTED ON THE SCREEN AND LET ME

14    KNOW WHEN YOU'RE DONE.

15                DO YOU NEED MORE TIME?

16          A     NO, I BELIEVE WE'RE GOOD.

17          Q     DOES IT SAY THE WORD TRIAGE ANYWHERE HERE?

18          A     NOT THAT I SAW.

19          Q     DOES IT SAY THE WORD NURSE?

20          A     NOT THAT I SAW.

21          Q     SO THE TRIAGE YOU SPOKE ABOUT ON DIRECT THAT IS

22    HAPPENING BY A NURSE IN THE ATU IS NOT IN ANY OF THE POLICIES,

23    CORRECT?

24          A     IT ISN'T IN THIS ONE.

25          Q     AND IT'S NOT DOCUMENTED ON THE HEALTH CARE REQUEST
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1     FORM?

2           A     I'M NOT SURE WHAT YOU'RE GETTING AT.         WHAT'S THE --

3           Q     JUST ANSWER THE QUESTION.

4           A     WHAT'S THE BIG DEAL?      IT'S A NURSE THAT'S SEEING IT.

5           Q     PLEASE JUST ANSWER THE QUESTION.

6           A     NO, IT'S NOT IN THERE.

7           Q     THANK YOU.      I'D LIKE TO GO THROUGH A COUPLE OF SICK

8     CALL ENCOUNTERS WITH YOU.        CAN WE PLEASE PULL UP JX_56_575.

9                 THIS IS A ROUTINE SICK CALL FOR PATIENT NUMBER 56,

10    RIGHT?    YOU ASSESSED THE PATIENT ON NOVEMBER 3RD, 2021?

11          A     THE SECOND DAY OF IT, YEP.

12          Q     AND THIS IS YOUR SIGNATURE ON THE BOTTOM RIGHT?

13          A     THAT'S IT.

14          Q     THE PORTION THAT SAYS THE INFORMATION OF THE PATIENT

15    AND OFFENDER TO COMPLETE THIS SECTION ONLY COMPLAINT AND/OR

16    REQUEST IS WHERE THE PATIENT FILLS OUT THE INFORMATION, RIGHT?

17          A     CORRECT.

18          Q     AND THIS PATIENT WROTE, "MY SHOULDER AND HIP AND

19    BACK OF MY NECK IS HURTING.        MY HEAD IS HURTING TOO."

20          A     OKAY.

21          Q     AND IMMEDIATELY BELOW THAT YOU EXPLAINED ON DIRECT

22    IS WHERE YOU FILL OUT, CORRECT?

23          A     YES.

24          Q     YOU WROTE THE DATE AND TIME?

25          A     YEP.
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1           Q     AND HERE'S WHERE YOU RECORD THE VITAL SIGNS?

2           A     YEP.

3           Q     THERE'S NO BLOOD PRESSURE RECORDED?

4           A     THERE'S NOT.

5           Q     THERE'S NO PULSE RECORDED?

6           A     NOPE.

7           Q     THERE'S NO TEMPERATURE RECORDED?

8           A     NOPE.

9           Q     NO WEIGHT RECORDED?

10          A     NOPE.

11          Q     CAN WE PULL UP JX_49_288.

12                THIS IS A ROUTINE SICK CALL FORM FOR PATIENT 49,

13    CORRECT?

14          A     YES.

15          Q     YOU ASSESSED THE PATIENT ON NOVEMBER 24TH, 2022?

16          A     YES.

17          Q     ON JANUARY THE 24TH, 2022.      AND THIS IS YOUR

18    SIGNATURE ON THE BOTTOM RIGHT-HAND CORNER?

19          A     YEP.

20          Q     HIS COMPLAINT READS, "KNEE IS HURTING ME.         NEED THE

21    SHOT.     THANK KINDLY," RIGHT?

22          A     UH-HUH.

23          Q     YOU KNOW THAT HE HAD AN ORTHO APPOINTMENT SCHEDULED

24    FOR APRIL 11TH, 2022?

25          A     OKAY.
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1           Q     ALMOST THREE MONTHS LATER.

2           A     OKAY.

3           Q     THERE WAS NO OTHER FOLLOW-UP FOR THIS PATIENT,

4     RIGHT?

5           A     NO.

6           Q     HIS BLOOD PRESSURE IS 180/112?

7           A     OKAY.

8           Q     AND THAT REPRESENTS A HIGH BLOOD PRESSURE?

9           A     IT IS A HIGH BLOOD PRESSURE, BUT I DON'T HAVE HIS

10    CHART TO GO BACK AND LOOK AND SEE WHAT THE REST OF THE STORY

11    IS.   THIS IS JUST ONE PIECE OF PAPER.

12          Q     CAN WE PULL UP JX_42_40?

13                THIS IS A ROUTINE SICK CALL FOR PATIENT 42, RIGHT?

14          A     UH-HUH.

15          Q     YOU ASSESSED THE PATIENT ON JANUARY 25TH, 2022?

16          A     YEP.

17          Q     RIGHT?    AND THAT'S YOUR SIGNATURE ON THE BOTTOM

18    RIGHT?

19          A     YES.

20          Q     YOU NOTED HIS VITALS?

21          A     YEP.

22          Q     BUT NOT HIS TEMPERATURE?

23          A     OKAY.

24          Q     YOU DIDN'T NOTE HIS TEMPERATURE?

25          A     I DID NOT.
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1           Q     YOU NOTE THAT HE HAD NUMEROUS COMPLAINTS?

2           A     YEP.

3           Q     HE WAS VERY DEMANDING ABOUT RECEIVING TESTS?

4           A     YEP.

5           Q     BUT YOU DID NOTE THAT HE HAD A HISTORY OF CAVITARY

6     PNEUMONIA.

7           A     OKAY.   HIS VITAL SIGNS ARE ALL GOOD AND I SET HIM UP

8     WITH A FOLLOW-UP IN TWO WEEKS.

9           Q     I'D LIKE TO TALK ABOUT THE MEDICATION RECORDS YOU

10    HAVE ACCESS TO DURING SICK CALL.       YOU SAID YOU REVIEW THE

11    MEDICATION LIST, RIGHT?

12          A     YES.

13          Q     THAT'S THE DOCUMENT WHICH SHOWS WHEN THE MEDICATIONS

14    WERE ORDERED ORIGINALLY AND THE DATE OF PRESCRIPTION, RIGHT?

15          A     CORRECT.

16          Q     BUT IT'S NOT THE EMAR?

17          A     IT'S NOT THE EMAR.

18          Q     CAN WE PULL UP JX_2_59?

19                IS THIS AN EXAMPLE OF THE MEDICATION LIST YOU HAVE

20    ACCESS TO?

21          A     UH-HUH.

22          Q     AND THIS DOCUMENT DOESN'T SHOW WHETHER THEY RECEIVED

23    THE MEDICATION, RIGHT?

24          A     IT DOES NOT.

25          Q     WHEN PLAINTIFFS' EXPERTS WERE OBSERVING SICK CALL
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1     DURING THE SITE VISIT YOU DIDN'T KNOW HOW TO PULL UP THE

2     EMAR'S, RIGHT?

3            A    I HAD IT, BUT YES.    I DIDN'T HAVE ACCESS TO IT.

4            Q    YOU DIDN'T KNOW YOUR LOGIN?

5            A    YEAH, IT WAS ON MY SCREEN.

6            Q    YOU TRIED TO ACCESS IT BUT YOU COULDN'T, RIGHT?

7            A    I COULDN'T DO IT.

8            Q    YOU ADMITTED YOU DIDN'T USE THAT DURING SICK CALL?

9            A    THAT'S CORRECT.

10           Q    YOU SPOKE ON DIRECT ABOUT COVERAGE OVER THE ATU THAT

11    YOU DO.    I'D LIKE TO GO THROUGH SOME EXAMPLES OF THOSE WITH

12    YOU.

13                CAN WE GO TO JX_55_54?

14                THIS IS AN EMERGENCY MEDICAL REPORT FROM MARCH 17TH,

15    2021, CORRECT?

16           A    YES.

17           Q    HE CAME IN WITH A BP OF 229/151?

18           A    PRETTY HIGH.

19           Q    AND THE TO INDICATES THAT YOU WERE CALLED?

20           A    YES.

21           Q    AND THEN YOU CALLED IN THESE DRUGS?

22           A    I OBVIOUSLY WENT IN AND SAW HIM.

23           Q    THAT WAS MY NEXT QUESTION.      AND THEN YOU WENT IN TO

24    SEE HIM, RIGHT?

25           A    I DON'T KNOW WHAT DAY THAT IS OF THE WEEK OR IF
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1     THAT'S 10:00 A.M. OR 10 P.M., BUT HE WAS OBVIOUSLY SEEN.

2           Q     HE COMPLAINED THAT HE COULDN'T WALK SINCE YESTERDAY.

3           A     YEAH.    HE EVIDENTLY HAD A HISTORY OF A RECENT STROKE

4     AND HIS PRESSURE OR HIS HEALTH CARE ORDER RELEASE STATED THAT

5     THE PATIENT HAD BEEN URINATING ON HIMSELF LATELY?

6           A     OKAY.

7           Q     AND, AGAIN, HIS BP WAS 229/151?

8           A     YEAH.

9           Q     YOU NOTED THERE WERE NO NEW SIGNS OF A CDA?

10          A     RIGHT.

11          Q     AND HE SHOULD KEEP HIS SCHEDULED APPOINTMENT OR KSA?

12          A     CORRECT.   BUT HE ALSO SAID THAT HE DIDN'T TAKE ANY

13    OF HIS HIGH BLOOD PRESSURE MEDICINES ALSO.

14          Q     CAN WE PULL UP JX_6_35?

15                THIS IS AN AMBULANCE RUN FROM MAY 23RD, 2021, RIGHT?

16          A     YEAH.

17          Q     THE PATIENT WAS FOUND SUPINE ON THE BED?

18          A     OKAY.

19          Q     HE STATED BACK LOCKED UP ON ME AND I CAN'T MOVE?

20          A     OKAY.

21          Q     THE PATIENT STATED HE HASN'T BEEN ABLE TO GET OUT OF

22    BED FOR THREE DAYS?

23          A     OKAY.

24          Q     WHEN HE MOVES IT'S LIKE FIRE SHOOTING DOWN HIS LEGS

25    TO HIS TOES?
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1           A     OKAY.

2           Q     EMT A. COWAN CALLED YOU ABOUT THIS PATIENT?

3           A     THAT'S WHAT IT LOOKS LIKE.

4           Q     AND YOU ORDERED TORADOL?

5           A     AND NORFLEX.

6           Q     AND NORFLEX?

7           A     YES.

8           Q     AND YOU PUT IN A NO TRANSPORT ORDER?

9           A     YES.

10          Q     THAT WAS AT 10:24 A.M.?

11          A     OKAY.

12          Q     THAT PATIENT WAS FOUND UNRESPONSIVE NINE HOURS

13    LATER.

14          A     LOOKS LIKE IT.

15          Q     AND HE DIED THAT DAY.

16          A     IT'S NOT RINGING A BELL, BUT IF YOU SAY SO.

17          Q     YOU CAN PULL UP JX_6 AT 34.

18                HERE'S THE AMBULANCE REPORT TRANSPORTING HIS REMAINS

19    THE NEXT DAY, RIGHT?

20          A     THAT IS HIS NAME, YES.

21          Q     CAN WE PULL UP JX_10_153?

22                THIS IS AN EMERGENCY MEDICAL REPORT FROM JULY 23RD,

23    2020, RIGHT?

24          A     YEP.

25          Q     THAT'S YOUR SIGNATURE ON THE BOTTOM RIGHT-HAND
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1     CORNER?

2           A     YES.

3           Q     SECURITY WAS DISPATCHED FOR AN AMS OR ALTERED MENTAL

4     STATUS?

5           A     YES.

6           Q     THE PATIENT HAD STAGGERING GAIT AND SLURRED SPEECH?

7           A     OKAY.

8           Q     YOU HAD HIM TESTED FOR DRUGS?

9           A     OKAY.

10          Q     AND THE DRUG SCREEN WAS NEGATIVE?

11          A     THE MAJORITY OF THEM ARE, YES.

12          Q     HE DENIED ILLICIT SUBSTANCE USE?

13          A     OKAY.

14          Q     HIS BLOOD PRESSURE WAS 148 OVER 95?

15          A     RIGHT.

16          Q     AND THIS RECORD DOES NOT DOCUMENT A PHYSICAL EXAM,

17    CORRECT?

18          A     CORRECT.

19          Q     HE WAS SENT BACK TO HIS HOUSING UNIT?

20          A     EVENTUALLY HE WAS I'M SURE.

21          Q     CAN WE PULL UP JX_10_136?

22                THIS IS AN EMERGENCY MEDICAL REPORT FROM

23    OCTOBER 18TH, 2020 FOR PATIENT 10, RIGHT?         CORRECT?

24          A     YES.

25          Q     AND HERE SECURITY WAS CALLED AGAIN.        THE PATIENT WAS
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1     SHAKING?

2           A     YES.

3           Q     AND COULDN'T STAND UP?

4           A     OKAY.

5           Q     HAD POOR BALANCE?

6           A     THAT'S WHAT IT SAYS, YES.

7           Q     IN THE ATU HE HAD SLURRED SPEECH?

8           A     YEAH.

9           Q     AND A STAGGERED GAIT?

10          A     YEP.

11          Q     AND YOU WERE CONSULTED OVER THE PHONE IT LOOKS LIKE?

12          A     YES.

13          Q     THE PATIENT WAS NEGATIVE FOR A DRUG SCREEN AND YOU

14    DISCHARGED THE PATIENT?

15          A     AFTER THE CHECK -- PHYSICAL WAS COMPLETE, YES.

16          Q     CAN YOU GO TO JX_10_125?

17                THIS IS AN EMERGENCY MEDICAL REPORT FROM

18    DECEMBER 9TH, 2020 FOR THAT SAME PATIENT, RIGHT?

19          A     YES.

20          Q     HERE EMT'S RESPONDED TO AN EMERGENCY WHEN THE

21    PATIENT HAD LEFT-SIDE WEAKNESS FOR FOUR HOURS?

22          A     OKAY.

23          Q     THE PATIENT WAS FOUND ON THE FLOOR AT THE CELL DOOR

24    SAYING THAT HIS LEFT FOOT WAS NUMB.        ONCE HE WAS TAKEN TO THE

25    ATU HIS BLOOD PRESSURE WAS 162 OVER 107, RIGHT?
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1           A     THAT'S WHAT'S DOCUMENTED, YES.

2           Q     AND YOU WERE CALLED?

3           A     (NODDING AFFIRMATIVELY).

4           Q     YES?

5           A     I GUESS.

6           Q     YOU GAVE A VERBAL ORDER FOR AN X-RAY OF THE LEFT

7     WRIST, ANKLE AND FOOT?

8           A     YEP.

9           Q     AND AN EKG?

10          A     YEP.

11          Q     AND A FEW BLOOD TESTS?

12          A     YEP.

13          Q     AND A TORADOL SHOT?

14          A     YEP.

15          Q     SO JUST TO RECAP, THE FIRST ENCOUNTER FOR THIS

16    PATIENT WAS ON JULY 23RD, 2020?       YOU CAN GO BACK TO THAT PAGE

17    IF YOU WANT.

18          A     THAT'S FINE.

19          Q     AND THE SECOND ENCOUNTER WAS OCTOBER 18TH, 2020?

20          A     OKAY.

21          Q     AND THE LAST ENCOUNTER WAS DECEMBER 9TH, 2020?

22          A     OKAY.

23          Q     MANY PATIENTS AT LSP HAVE LONG SENTENCES, RIGHT?

24          A     YES.

25          Q     YOU'VE HEARD THAT THEY REFUSE MEDICAL CARE NOT TO
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1     DRAG IT OUT?

2           A     THAT'S WHAT I'VE BEEN TOLD A GOOD BIT, YES.

3           Q     YOU NOTE REFUSALS AND COUNSELING ON THE SICK CALL

4     FORMS WHEN APPLICABLE?

5           A     YEAH.   I ALWAYS PUT SOMETHING IF I TELL THEM WHAT TO

6     DO.

7           Q     AND IN YOUR EXPERIENCE, PATIENTS INSIDE HAVE A

8     HIGHER RATE OF NONCOMPLIANCE AND REFUSALS THAN IN THE FREE

9     WORLD, RIGHT?

10          A     IT SEEMS TO BE, YES.

11          Q     WHILE YOU OFFER EDUCATIONAL MATERIALS ON THEIR

12    HEALTH CONDITIONS, THE MAJORITY OF THEM DON'T WANT IT, RIGHT?

13          A     THE MAJORITY OF THEM HAVE BEEN OFFERED IT 20 TIMES

14    PRIOR TO THEM EVEN SEEING ME, SO YES.

15          Q     AND YOU THINK THAT PATIENTS LIE?

16          A     OH, ABSOLUTELY.

17          Q     JUST ABOUT EVERY DAY YOU ENCOUNTER THAT PROBLEM,

18    RIGHT?

19          A     I WOULDN'T SAY EVERY DAY, BUT THE MAJORITY OF THE

20    DAYS.     BUT IT'S THE SAME IN THE FREE WORLD.

21          Q     YOU THINK YOUR PATIENTS LIE OUT OF DRUG SEEKING

22    BEHAVIOR?

23          A     YES.

24          Q     THEY LIE TO GET OUT OF WORK?

25          A     YES.
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1           Q     NOBODY AT LSP TOLD YOU ABOUT THIS COURT'S OPINION IN

2     THIS CASE WHEN IT CAME OUT IN MARCH OF 2021, RIGHT?

3           A     NOPE.

4           Q     AND AS OF MARCH 2022 YOU WEREN'T FAMILIAR WITH THE

5     COURT'S OPINION, RIGHT?

6           A     (NODDING NEGATIVELY.)

7                 MS. BOSALAVAGE:     I HAVE NO FURTHER QUESTIONS.

8                 THE COURT:      REDIRECT?

9                 MR. CODY:    JUST BRIEFLY, YOUR HONOR.

10    REDIRECT EXAMINATION

11    BY MR. CODY:

12          Q     ALL RIGHT.      MR. BORDELON, YOU WERE ASKED TO LOOK AT

13    SOME PATIENT ENCOUNTERS, VARIOUS ONES, OVER THE COURSE OF THE

14    LAST THREE YEARS OR MAYBE NOT JUST THREE YEARS, LAST YEAR AND

15    A HALF OR SO, BUT BEFORE COMING TODAY DID YOU HAVE A CHANCE TO

16    LOOK AT THE MEDICAL RECORDS FOR ANY OF THOSE PATIENTS?

17          A     NO.   IT WAS A TOTAL SURPRISE.

18          Q     SO, AGAIN, DID YOU HAVE ANY OPPORTUNITY TO EVEN HAVE

19    ENOUGH INFORMATION IN ORDER TO ADDRESS THE QUESTIONS THAT WERE

20    ASKED TO YOU ABOUT PATIENT CARE IN THOSE SPECIFIC INSTANCES?

21          A     NO.

22          Q     YOU WERE ASKED ABOUT WHETHER YOU COULD ACCESS THE

23    EMAR AND EARLIER WE TALKED ABOUT THIS.          YOU ACCESS MED INFO,

24    CORRECT?

25          A     I ACCESS MED INFO AND ANY INFORMATION THAT I CAN'T
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1     GET THERE I CALL THE PHARMACY AND GET IT.

2           Q     SO BOTTOM LINE, YOU HAVE ACCESS TO THE INFORMATION

3     YOU NEED REGARDING MEDICATIONS FOR THESE PATIENTS?

4           A     RIGHT.   CORRECT.

5           Q     SO EARLIER YOU WERE ASKED ABOUT MORTALITY REVIEW AND

6     YOU WERE SHOWN A PORTION OF YOUR DEPOSITION WHERE YOU

7     RESPONDED TO A QUESTION REGARDING THE SCOPE OF MORTALITY

8     REVIEW.   MORTALITY REVIEW IS CONDUCTED BY WHOM?

9           A     BY THE PROVIDER TEAM.     BY -- DR. TOCE IS THE HEAD OF

10    IT.

11          Q     SO DR. TOCE LEADS THE MORTALITY REVIEW?

12          A     HE LEADS THE MORTALITY REVIEW.

13          Q     SO YOU WERE ASKED SPECIFICALLY ABOUT WHETHER

14    SOMETHING OCCURS AND YOU SAID, "NOT REALLY.          I DON'T."    DO YOU

15    KNOW WHETHER DR. TOCE GOES BACK AND LOOKS AT THE INITIAL

16    ASSESSMENT?

17          A     HE HAS A FULL SUMMARY OF EVERY CASE THAT WE GO OVER.

18          Q     YOU FEEL LIKE DR. TOCE'S MORTALITY REVIEWS ARE

19    THOROUGH?

20          A     YES.

21          Q     YOU FEEL LIKE YOU LOOK AT THE BIG PICTURE FOR THE

22    ENTIRETY OF THE PATIENT'S CARE?

23          A     YES.

24          Q     YOU WERE SHOWN A PATIENT ENCOUNTER FROM A SICK CALL,

25    A TELEMED SICK CALL, YOU HAD.       I WON'T SAY THE PATIENT'S NAME,
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1     BUT IT WAS THE FIRST ONE YOU WERE SHOWN WHERE NO VITALS WERE

2     TAKEN.

3           A     RIGHT.

4           Q     THE DATE ON THAT ONE WAS NOVEMBER 2ND, 2021.           NOW I

5     JUST WANT TO MAKE SURE, THE SICK CALL PROCESS, DOES THAT ALIGN

6     WHEN YOU FIRST STARTED THIS SICK CALL PROCESS THROUGH TELEMED?

7           A     THAT WAS THE SECOND DAY OF THE SICK CALL PROCESS.

8           Q     IS IT FAIR TO SAY THERE WERE SEVERAL KINKS TO WORK

9     OUT IN THE SICK CALL PROCESS?

10          A     YES.

11          Q     AT THIS POINT TODAY, WHERE WE ARE TODAY CURRENTLY,

12    DO YOU FEEL LIKE A LOT OF THOSE KINKS HAVE BEEN WORKED OUT

13    WITH TELEMED SICK CALL?

14          A     IT'S VERY EFFICIENT NOW.

15                MR. CODY:    NO FURTHER QUESTIONS, YOUR HONOR.

16                THANK YOU, MR. BORDELON.

17                HE IS RELEASED.

18                THE COURT:      OKAY.   YOU'RE RELEASED FROM YOUR

19    SUBPOENA, SIR.

20                WE'RE GOING TO TAKE A BREAK FOR LUNCH.          WE'LL BE IN

21    RECESS UNTIL 1:30.

22                                    (RECESS)

23                THE COURT:      NEXT WITNESS.

24                MR. ARCHEY:     YOUR HONOR, WE CALL DR. DAVID MATHIS TO

25    THE STAND.
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1                 (WHEREUPON, DR, DAVID MATHIS, HAVING BEEN DULY

2     SWORN, TESTIFIED AS FOLLOWS.)

3                 THE COURT:      GO AHEAD, MR. ARCHEY.

4                 MR. ARCHEY:     THANK YOU, YOUR HONOR.

5     DIRECT EXAMINATION

6     BY MR. ARCHEY:

7           Q     DR. MATHIS, LET'S GET YOUR EDUCATIONAL BACKGROUND.

8                 THE COURT:      WILL YOU HAVE HIM SPELL HIS NAME FOR THE

9     RECORD FIRST?    I SHOULD HAVE ASKED HER TO DO THAT.

10                MR. ARCHEY:     MY APOLOGIES.

11    BY MR. ARCHEY:

12          Q     DR. MATHIS, COULD YOU SPELL YOUR COMPLETE NAME FOR

13    THE RECORD, PLEASE?

14          A     DAVID, D-A-V-I-D, MICHAEL, M-I-C-H-A-E-L, MATHIS,

15    M-A-T-H-I-S.

16          Q     ALL RIGHT, DOCTOR.      GIVE US YOUR EDUCATIONAL

17    BACKGROUND, PLEASE.

18          A     I WENT TO COLLEGE AT MICHIGAN STATE UNIVERSITY, WENT

19    TO MEDICAL SCHOOL AT WAYNE STATE UNIVERSITY SCHOOL OF MEDICINE

20    AND TOOK A RESIDENCY THROUGH THE MEDICAL COLLEGE OF VIRGINIA

21    IN VIENNA, VIRGINIA.

22          Q     ARE YOU A LICENSED MEDICAL DOCTOR?

23          A     I AM.

24          Q     AND HOW LONG HAVE YOU BEEN A LICENSED MEDICAL

25    DOCTOR?
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1           A     MAYBE SINCE 1970- -- '75, SOMETHING LIKE THAT.

2           Q     DO YOU HOLD ANY BOARD CERTIFICATIONS AS A PHYSICIAN?

3           A     YES.    I'M BOARD CERTIFIED IN FAMILY MEDICINE.

4           Q     OKAY.   LET'S GO THROUGH YOUR -- YOUR PRACTICE

5     EXPERIENCE SINCE YOU BECAME A PHYSICIAN.           WOULD IT HELP IF WE

6     GET YOUR CV ON THE STAND OR SHOWN UP SO IT'LL HELP YOU WALK

7     THROUGH THIS A LITTLE BIT?

8           A     PLEASE.

9           Q     ALL RIGHT.      WE'LL DO THAT.

10                MR. ARCHEY:     BROOKE, CAN YOU PULL UP EXHIBIT DX_35,

11    PLEASE.

12    BY MR. ARCHEY:

13          Q     LET'S -- WE'LL START CURRENT AND WALK BACKWARDS JUST

14    LIKE YOU HAVE IT ON YOUR CV.       SO WHAT DO YOU DO CURRENTLY,

15    DOCTOR?

16          A     WELL, BEFORE THIS CASE COME AROUND I WAS WORKING AS

17    A MEDICAL CONSULTANT FOR THE OFFICE OF LEGAL AFFAIRS FOR

18    CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES IN SACRAMENTO;

19    THAT WAS A JOB AS A RETIRED ANNUITANT AND BASICALLY I WORK

20    WHEN I'VE GOT TIME.      BUT THAT'S CHANGED A LOT SINCE WE STARTED

21    THIS CASE IN THE MIDDLE OF JANUARY.

22          Q     AND WHY DO YOU SAY THAT?

23          A     THIS IS A FULL-TIME CASE.

24                MR. ARCHEY:     YOUR HONOR, THIS CAN BE UNSEALED.           THIS

25    CAN BE ON THE SCREEN FOR THE AUDIENCE IF WE WILL.
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1     BY MR. ARCHEY:

2           Q     DOCTOR, WHAT IS CALIFORNIA CORRECTIONAL HEALTH CARE

3     SERVICES?

4           A     THE DEPARTMENT OF CORRECTIONS HAS A CALIFORNIA

5     DEPARTMENT OF CORRECTIONS AND THE MEDICAL BRANCH IS CCHCS,

6     CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES.

7           Q     OKAY.   SO IS THAT A STATE ENTITY IN CALIFORNIA?

8           A     YES.

9           Q     WHAT DOES IT DO?

10          A     PROVIDES MEDICAL CARE AT, I THINK, 33 PRISONS FOR

11    APPROXIMATELY 125,000 INMATES.

12          Q     ALL RIGHT.      PRIOR TO THAT, FROM NOVEMBER OF 2010 TO

13    NOVEMBER OF 2020, WHAT DID YOU DO?

14          A     I WORKED AT THE CALIFORNIA MEDICAL FACILITY AS A

15    PHYSICIAN AND SURGEON.

16          Q     WHAT IS THE CALIFORNIA MEDICAL FACILITY?

17          A     IT'S A PRISON THAT WAS BUILT IN 1955 AND IT USED TO

18    BE THEIR FLAG-SHIPPED MEDICAL PRISON WITH -- THEY USED TO DO

19    GALLBLADDER SURGERIES AND HERNIAS AND A BUNCH OF THINGS THAT

20    WERE DONE IN-HOUSE AND HAD A WHOLE BUNCH OF MEDICAL

21    SPECIALISTS, AND THEN IT KIND OF MORPHED JUST LIKE HEALTH CARE

22    HAS MORPHED OVER THE PAST COUPLE OF DECADES.           AND NOW WE

23    HAVE -- WE HAD A 17-MAN HOSPICE, IN-PATIENT HOSPICE, WHICH

24    ANGOLA MODELED ITS HOSPICE FROM.        WE'VE HAD PEOPLE THAT WENT

25    THERE -- THAT WENT TO ANGOLA TO TEACH THEM WHEN THEY STARTED
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1     THEIR HOSPICE.

2                 WE HAVE CTC, CORRECTIONAL TREATMENT CENTER, WHICH IS

3     APPROXIMATELY 60 PATIENTS, WHICH ARE HIGH ACUITY CHRONIC

4     PATIENTS, AND THEN WE HAD OUTPATIENT HOUSING UNITS WHERE THE

5     INMATES WOULD STAY IF THEY -- IT WOULD BE SIMILAR TO THE ASH

6     UNITS, MAYBE A LITTLE BIT MORE ACUTE.         AND THEN THERE WAS THE

7     GENERAL POPULATION AND THERE WAS A LARGE MENTAL HEALTH

8     COMPONENT WITH A -- A PSYCH UNIT WHERE WE WOULD BRING IN

9     PEOPLE FROM AROUND THE STATE FOR ACUTE SUICIDAL IDEATION AND

10    ACTING OUT.    AND WE ACTUALLY HAD A LARGE PORTION -- A

11    SIGNIFICANT PORTION OF THE FACILITY WAS ONLY PSYCHIATRIC BEDS.

12    BUT WHEN YOU -- YOU KNOW, SO I WAS EXPOSED TO ALL OF THAT.

13          Q     AT THE VERY BOTTOM OF THE ENTRY ON THAT -- UNDER

14    CALIFORNIA MEDICAL FACILITY THERE'S A REFERENCE TO A SOFTWARE

15    ROLLOUT.    WHAT IS THAT ABOUT, DOCTOR?       DO YOU SEE THAT?

16          A     WHEN I STARTED AT THE CALIFORNIA MEDICAL FACILITY IT

17    WAS JUST LIKE ANGOLA.       WE HAD THESE CHARTS, SOME OF THEM WERE

18    SIX INCHES, SOME OF THEM 18 INCHES THICK AND THERE WAS PAPER

19    FALLING ALL OVER THE PLACE AND YOU HAD TO FIND OUT -- YOU HAD

20    TO KNOW WHAT WAS GOING ON IN THE CHART TO BE ABLE TO FIND

21    SOMETHING.

22                AND THEN CALIFORNIA SUNK ABOUT A BILLION DOLLARS

23    INTO A MEDICAL SOFTWARE PROGRAM AND -- THE HARDWARE AND

24    SOFTWARE.    I PARTICIPATED IN THAT WITH 1,000 HOURS AS A

25    MEDICAL CORRECTIONAL -- AS A MEDICAL EXPERT SO THAT WE COULD
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1     INCORPORATE CERNER, WHICH WAS BASICALLY A HOSPITAL-BASED

2     PROGRAM INTO THE OUTPATIENT -- PRIMARILY OUTPATIENT FACILITY

3     THAT THE CALIFORNIA MEDICAL FACILITY IS.

4           Q     ALL RIGHT, DOCTOR, GOING TO PAGE 2 OF YOUR CV NOW.

5                 YOU HAVE HOSPICE PHYSICIAN.        IT LOOKS LIKE IT'S

6     DURING THAT SAME TIME FRAME OF JANUARY 2012 TO NOVEMBER OF

7     2020.     IS THAT INCORPORATED INTO THE CALIFORNIA MEDICAL

8     FACILITY YOU WERE TELLING US ABOUT?

9           A     YES.   WE HAVE -- IT WAS A 17-PERSON IN-PATIENT

10    HOSPICE, SEPARATE FROM THE REST OF THE FACILITY, WHERE WE

11    WOULD BRING PEOPLE IN FROM AROUND THE STATE OR WE'D BRING THEM

12    FROM THE HOSPITAL INTO THE FACILITY OR BRING THEM FROM OUR CM

13    DIRECTLY INTO THE FACILITY OR ANY PLACE THAT PEOPLE WOULD --

14    OTHER PHYSICIANS WOULD CALL ME AND I WOULD TRIAGE THEM WHETHER

15    THEY WERE APPROPRIATE FOR ADMISSION INTO THE IN-PATIENT

16    HOSPICE.

17          Q     ALL RIGHT.      MOVING ON.   I SEE FROM DECEMBER OF 2006

18    TO NOVEMBER OF 2010 YOU WERE THE MEDICAL DIRECTOR AT EASTERN

19    CORRECTIONAL INSTITUTION IN MARYLAND.

20                WHAT IS THAT ABOUT, DOCTOR?        WHAT WERE YOU DOING

21    THERE?

22          A     MARYLAND HAS SEVERAL PRISONS.        THIS WAS THE LARGEST

23    PRISON.    IT WAS MEDIUM SECURITY OUT ON THE EASTERN SHORE OF

24    MARYLAND AND IT WAS BY A VENDOR, CORRECTIONAL MEDICAL SERVICES

25    PROVIDED MEDICAL CARE THROUGHOUT THE STATE, AND CMS HIRED ME
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1     AS THE MEDICAL DIRECTOR TO WORK THERE.

2           Q     SO YOU RAN -- YOU OPERATED AS THE MEDICAL DIRECTOR

3     AT THAT FACILITY FOR THOSE FOUR YEARS?

4           A     YES.

5           Q     OKAY.   LET'S KEEP GOING.       JANUARY OF 2006 OR IT

6     LOOKS LIKE THROUGH THE YEAR OF 2006.          CALIFORNIA STATE PRISON

7     IN SACRAMENTO, WHAT WERE YOU DOING THERE?

8           A     I WAS WORKING AS A -- WE CALLED IT -- BASICALLY IT

9     WAS A LOCUM TENENS POSITION.       WE CALL IT REGISTRY IN

10    CALIFORNIA.    SO I WORKED AS AN INDEPENDENT CONTRACTOR WORKING

11    AT THAT FACILITY, CSP SACRAMENTO, CALIFORNIA TRADING FACILITY,

12    WHICH IS DOWN IN SOLEDAD.       SO I WAS AT TWO OR THREE DIFFERENT

13    FACILITIES FOR A WHILE.

14          Q     ALL RIGHT.      KEEP IT GOING.    IN THE LATTER HALF OF

15    2005 IT SAYS EMERGENCY MEDICINE PHYSICIAN HOSPITALIST IN A

16    HOSPITAL IN VIRGINIA.        WHAT WERE YOU DOING THERE, DOCTOR?

17          A     I WAS TRYING MY HAND OUT AT GOING BACK TO EMERGENCY

18    MEDICINE AND I THOUGHT THAT IT MIGHT BE SOMETHING I WOULD DO,

19    SO I WAS STILL -- I WAS ALSO WORKING AS A REGISTRY PHYSICIAN

20    THERE.    AND WARM MEMORIAL, I WORKED FOR A FEW MONTHS.            I ALSO

21    WORKED AT THE MEMORIAL HOSPITAL, CUMBERLAND, FOR SEVERAL

22    MONTHS.

23          Q     THEN MOVING DOWN TO THE FAMILY PHYSICIAN FROM 1981

24    TO 2005 IT SAYS YOU WERE A FAMILY PHYSICIAN.            WHAT DOES THAT

25    ENTAIL, DOCTOR?
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1            A    WELL, CRADLE TO GRAVE KIND OF FAMILY DOCTOR; SOLO

2     PRACTICE.    I DELIVERED BABIES FOR 15 YEARS.         I WAS A LACTATION

3     CONSULTANT.    I HANDLED HOSPITAL PATIENTS.        I WAS ON CALL

4     ESSENTIALLY ALL THE TIME.        I WENT TO THE EMERGENCY ROOM TO

5     TAKE CARE OF MY PATIENTS AS WELL AS ON-CALL PATIENTS THAT WE

6     JUST GOT -- WELL, WE WERE JUST RESPONSIBLE FOR.

7                 SO I LEARNED ABOUT MEDICINE BUT ALSO ABOUT HOW TO

8     RUN A PRACTICE, HOW TO RUN SOFTWARE SYSTEMS, WHAT IT WAS LIKE

9     FOR REIMBURSEMENT, HANDLING NEGOTIATIONS WITH THE HEALTH

10    MAINTENANCE ORGANIZATIONS AND THE OTHER THIRD PARTY PAYERS.

11    I -- I DID EVERYTHING.

12           Q    I LOVE THAT YOU HAVE A COUPLE OF PART-TIME

13    POSITIONS.    CAN YOU DESCRIBE THOSE FOR US, PLEASE?

14           A    WHEN I WAS WORKING AT ECI, THE POSITION AS A MEDICAL

15    DIRECTOR, I TOOK ON ANOTHER PART-TIME JOB AT THE SOMERSET

16    COUNTY DETENTION CENTER WHICH IS A JAIL.          IT'S BASICALLY JUST

17    OUTSIDE THE GATES OF ECI, AND SAW PATIENTS THERE.

18           Q    ALL RIGHT.      LET'S GO TO THE NEXT PAGE THEN IF WE

19    CAN.   WE'VE GOT YOUR LICENSURE.       YOU'VE BEEN LICENSED TO

20    PRACTICE MEDICINE IN FOUR DIFFERENT STATES OVER YOUR CAREER;

21    IS THAT RIGHT?

22           A    YES.

23           Q    DESCRIBE YOUR CERTIFICATIONS FOR US BELOW THAT.

24           A    WELL, THE ONE THAT DISTINGUISHES ME FROM

25    DR. VASSALLO IS THE CCHP-PHYSICIAN.         WHAT IT DOES IS IT
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1     REQUIRES SOMEONE TO ACTUALLY WORK IN CORRECTIONS FOR THREE

2     YEARS; IN ADDITION TO TAKING A TEST WHICH INCLUDES THE

3     STANDARDS FOR JAILS AND PRISONS THAT NCCHC PUTS TOGETHER.

4                 THE NEXT ONE IS THE -- LET'S SEE, WHERE IS IT?

5     CERTIFIED CORRECTIONAL HEALTH PROFESSIONAL.          THAT WAS THE EASY

6     ONE.   YOU TOOK A LITTLE BITTY TEST AND THEY LET YOU IN.              AND

7     THERE'S A COMPONENT OF ONGOING EDUCATION IN CORRECTIONS FOR

8     THE PHYSICIAN PART.     I'M NOT SURE ABOUT THE HEALTH

9     PROFESSIONAL PART, WHETHER THERE IS OR NOT.          BUT YOU HAVE TO

10    HAVE, I THINK, 25 CREDITS A YEAR, WHICH YOU CAN GET IF YOU GO

11    TO THE CONFERENCES.

12                SO -- AND THEN THE OTHER THING -- THE NEXT ONE IS

13    THE AMERICAN BOARD OF FAMILY PRACTICE.         AND WHEN I WAS A

14    THIRD-YEAR RESIDENT WHY THEN I PASSED THEIR TEST AND I'VE BEEN

15    CONTINUOUSLY CERTIFIED BY ABFP AND I WILL MAINTAIN THAT

16    CERTIFICATION.    NOW THAT I'M RETIRED FROM ACTIVE PRACTICE IT'S

17    PRETTY EASY, BUT I'M GOING TO MAINTAIN IT.

18           Q    AND YOU'VE GOT A CERTIFICATION OF ADDED

19    QUALIFICATIONS IN HOSPICE AND PALLIATIVE MEDICINE?

20           A    RIGHT.   WHEN I TOOK OVER THE HOSPICE AS MEDICAL

21    DIRECTOR MY BOSS AND I WORKED REALLY CLOSELY TOGETHER,

22    MICHELLE DETHOMAS AND I WAS ABLE TO -- BECAUSE I WAS MEDICAL

23    DIRECTOR I WAS ABLE TO OBTAIN THAT.        THAT WAS ALSO A TESTING.

24    I CONVINCED HER TO DO IT TOO.       SO WE WERE BOTH THEN -- HAD

25    ADDED QUALIFICATIONS TO BE ABLE TO RUN THE HOSPICE, EVEN
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1     THOUGH SHE HAD BEEN DOING IT FOR YEARS, AND THEN I PICKED UP

2     AND KIND OF TOOK OVER FOR HER.

3           Q     AND, FINALLY, UNDER CERTIFICATIONS, ADVANCED CARDIAC

4     LIFE SUPPORT.    CAN YOU JUST VERY BRIEFLY TELL US WHAT THAT

5     ENTAILS?

6           A     ACLS IS WHAT HAPPENS WHEN YOU'VE -- BASIC CPR IS

7     YOU'RE PUMPING ON SOMEBODY'S CHEST AND YOU'RE BREATHING FOR

8     THEM.     ACLS IS WHEN YOU'VE GOT DRUGS AND OTHER INTERVENTION

9     THAT YOU CAN USE.

10          Q     OKAY.   BELOW THAT, DOCTOR, WE HAVE YOUR SPECIALTY

11    AFFILIATIONS.    CAN YOU DESCRIBE WHAT THOSE ARE IN A BRIEF

12    MANNER FOR US?

13          A     I'VE BEEN ASSOCIATED WITH THE AMERICAN CORRECTIONAL

14    ASSOCIATION, AMERICAN ACADEMY OF FAMILY PHYSICIANS AND NCCHC.

15    THAT'S BASICALLY JUST SAYING YOU WANT TO BE ASSOCIATED AND

16    GIVE THEM A COUPLE BUCKS A YEAR.

17          Q     YOU HAVE THE MEDICAL STAFF APPOINTMENTS BELOW THAT.

18    LET'S -- GO AHEAD.

19          A     WELL, THE CALIFORNIA MEDICAL FACILITY, AS I SAID,

20    HAD A LOT OF THINGS HAPPENING AT THE TIME WHEN I CAME ON, AND

21    WE ACTUALLY ADDED MEDICAL STAFF AND I WAS CHIEF OF STAFF FOR A

22    YEAR.

23                BUT THEN WHAT HAPPENED IS THE LEGISLATURE GOT THE

24    IDEA THAT THEY DIDN'T WANT TO HAVE THAT LEVEL OF CARE ANYMORE,

25    SO THEY CUT OUT A BUNCH OF THINGS AND ONE OF THE THINGS THAT
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1     THEY CUT OUT WAS THE MEDICAL STAFF.

2           Q     ALL RIGHT.      AT THIS TIME I'D LIKE TO PULL UP EXHIBIT

3     DX_35_C.

4                 DOCTOR, DO YOU RECOGNIZE THIS AS YOUR EXPERT REPORT?

5           A     YES, SIR.

6           Q     LET'S GO TO PAGE 6, PLEASE, IF WE MAY.          I'M SORRY.

7     IT'S GOING TO BE PAGE 12.        THERE WE GO.

8                 DOCTOR, THIS IS IN A NARRATIVE FORMAT.          WE'RE NOT

9     GOING TO GO THROUGH ALL OF THIS, BUT A FEW I WANT TO CAPTURE

10    IS IN THE PARAGRAPH AT THE -- THE LARGE PARAGRAPH BEGINNING AT

11    THE BOTTOM.    IT SAYS, "I HAVE OVER 20 YEARS OF EXPERIENCE IN

12    CORRECTIONS AS A PROVIDER AND MEDICAL DIRECTOR."            THAT'S PART

13    OF WHAT WE'VE WALKED THROUGH, CORRECT?

14          A     YES.    I THINK YOU SKIPPED OVER THE TEN YEARS I SPENT

15    TAKING CARE OF PRISONERS FOR VIRGINIA.          I STARTED DOING THAT

16    WHEN I OPENED MY PRACTICE AND A COUPLE OF DAYS A WEEK I'D GO

17    OUT TO A VIRGINIA STATE ROAD CAMP AND CARE FOR APPROXIMATELY

18    90 INMATES.

19                I CARRIED -- I CARED FOR THEM IF THEY WERE IN THE

20    HOSPITAL OR IF THEY HAD MINOR SURGICAL PROCEDURES OR

21    ORTHOPAEDIC PROCEDURES, I'D BRING THEM INTO MY OFFICE AND CARE

22    FOR THEM THERE.      SO THAT'S WHERE THE 20 YEARS COMES UP.

23          Q     OKAY.   ALL RIGHT.    I DON'T THINK WE NEED TO GO

24    THROUGH ANY OF THAT IN SOME DETAIL.         BUT I WOULD LIKE TO GO TO

25    PAGE 17 NOW.
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1                 ALL RIGHT, DOCTOR.    THIS IS THE SECOND PARAGRAPH

2     THERE.    IT SAYS, "DURING THE PAST FIVE YEARS"; DO YOU SEE

3     THAT?

4           A     YES.

5           Q     WELL, THAT'S THE WRONG PARAGRAPH.        NO, THAT'S

6     CORRECT.    IT SAYS, "I WORKED AS AN EXPERT IN CORRECTIONAL

7     MEDICINE FOR BOTH THE PLAINTIFF AND THE DEFENSE."           DO YOU HAVE

8     A BREAKDOWN ON HOW OFTEN YOU WERE WORKING FOR PLAINTIFF AND

9     HOW OFTEN YOU WERE WORKING FOR DEFENSE OR CAN YOU ESTIMATE

10    THAT?

11          A     I STARTED WORKING AS AN EXPERT IN 1993 FOR FAMILY

12    MEDICINE AND IN THAT TIME PERIOD I REVIEWED MAYBE 350 CASES

13    AND THE MAJORITY WERE FOR THE PLAINTIFF.         AND THEN I GAVE THAT

14    UP WHEN I GOT INVOLVED AT THE CALIFORNIA MEDICAL FACILITY

15    BECAUSE I WAS ON CALL ALL THE TIME.        AND THEN WHEN THE CALL

16    WENT AWAY, WELL THEN I STARTED UP AGAIN WORKING AS A

17    CORRECTIONAL MEDICAL EXPERT.

18                AND THEN DURING THE PAST FIVE YEARS, THERE HAVE BEEN

19    OVER 100 PRISON AND JAIL CASES AND -- YOU KNOW, IT'S KIND OF

20    VARIED DURING THE PAST YEAR OR TWO.        IT'S MORE DEFENSE CASES.

21    IT'S PROBABLY 55 PERCENT DEFENSE AND 45 PERCENT PLAINTIFF.

22          Q     DOCTOR, I MISSED ONE THING ON YOUR RESUME'.          WHAT IS

23    YOUR EXPERIENCE IN TEACHING MEDICINE?

24          A     WELL, FAMILY MEDICINE IS SOMETHING THEY -- GEORGE

25    WASHINGTON UNIVERSITY SCHOOL OF MEDICINE, THERE WAS A GUY
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1     NAMED RUSTY KALLENBERG AND I THAT WORKED OUT A PROGRAM TO BE

2     ABLE TO GET STUDENTS TO COME OUT TO THE FAMILY PRACTICE

3     OFFICES SO THEY'D KIND OF GET THEIR FEET WET.           IT'S KIND OF

4     LIKE YOU HAVING LAW STUDENTS WORKING IN YOUR OFFICE SO THAT

5     THEY UNDERSTAND WHAT IT'S LIKE.

6                 SO I WOULD HAVE STUDENTS THAT WOULD COME TO THE

7     OFFICE.   THEY'D BE ON SIX OR EIGHT WEEK ROTATIONS, AND I ALSO

8     HAD NURSE PRACTITIONERS THAT CAME AND IT WAS -- IT WAS FUN.            I

9     GOT TO SHOW THEM WHAT IT WAS LIKE.

10                SOME OF THEM WERE FIRST AND SECOND -- ACTUALLY,

11    FIRST AND SECOND YEAR STUDENTS, AND THEN WE'D GET SOME THAT

12    WERE THIRD AND FOURTH YEAR STUDENTS THAT KNEW A BIT MORE AND

13    COULD KIND OF GET INTO WHAT WAS -- NOT JUST WHAT THE PROCESS

14    WAS BUT ALSO THE DIAGNOSIS AND TREATMENT.

15          Q     DOCTOR, TALKING ABOUT LOOKING AT OVERALL CARE IN THE

16    SYSTEM, AS A MEDICAL DIRECTOR IN THE PRISON IN MARYLAND YOU

17    WOULD HAVE HAD THAT KIND OF EXPERIENCE; IS THAT RIGHT?

18          A     I DIDN'T UNDERSTAND YOU.

19          Q     I'M SORRY.      I'M TALKING ABOUT LOOKING AT A WHOLE

20    SYSTEM OF CARE, YOU DID THAT WHEN YOU WERE THE MEDICAL

21    DIRECTOR IN MARYLAND; IS THAT RIGHT?

22          A     YEAH.   THAT INVOLVED MORE ECI, BUT ALSO WHAT WAS

23    GOING ON IN THE STATE BECAUSE WE MET ALL THE TIME WITH THE

24    STATE MEDICAL DIRECTOR FOR -- SHARON BACHMAN THAT RAN THE

25    ENTIRE PROGRAM AND HIRED CMS, AS WELL AS THE OTHER MEDICAL
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1     DIRECTORS FROM THE STATE.

2                 AND THEN I WAS EXPOSED TO A BIT MORE WHEN I WAS

3     GETTING OUT OF THE CMS SYSTEM BECAUSE THEY WANTED ME TO WORK

4     AS A REGIONAL MEDICAL DIRECTOR IN ARIZONA, IDAHO, MICHIGAN,

5     WHATEVER.    BUT IT'S ABOUT CONTRACTS AND ABOUT -- JUST LIKE

6     WHETHER ARMOR CAN GET A CONTRACT OR SOMEPLACE.           YOU'VE GOT TO

7     BID ON THOSE, AND SO THEY KIND OF COME AND GO.

8           Q     IN ADDITION TO THIS CASE, YOU'VE BEEN RETAINED AS AN

9     EXPERT IN A CLASS ACTION LAWSUIT IN TENNESSEE AS WELL, RIGHT?

10          A     RIGHT.

11          Q     DOCTOR, LET'S TALK ABOUT WHICH AREAS YOU'RE GOING TO

12    ADDRESS IN THIS CASE.        YOU'RE GOING TO OFFER OPINIONS ON THE

13    STANDARD OF CARE -- MEDICAL STANDARD OF CARE AS APPLIED TO

14    CLINICAL CARE, SPECIALTY CARE, IN-PATIENT INFIRMARY CARE, SICK

15    CALL AND EMERGENCY ATU.        DID I CAPTURE EVERYTHING THERE,

16    DOCTOR?

17          A     WE'LL SEE AS THE TESTIMONY GOES ON.

18          Q     YOU ALSO PROVIDED OPINIONS ON MEDICAL LEADERSHIP AND

19    ORGANIZATION IN THIS CASE, CORRECT?

20          A     YES.

21                MR. ARCHEY:     YOUR HONOR, AT THIS TIME WE'LL TENDER

22    DR. MATHIS AS AN EXPERT IN CORRECTIONAL MEDICINE.

23                THE COURT:      IS THERE ANY CROSS ON THE TENDER?

24                MR. DUBNER:     JUST VERY BRIEFLY, YOUR HONOR.

25                THE COURT:      GO AHEAD.
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1     CROSS-EXAMINATION ON TENDER

2     BY MR. DUBNER:

3           Q     GOOD AFTERNOON, DR. MATHIS.       AS COUNSEL JUST SAID,

4     THE AREA YOU'RE HOLDING YOURSELF OUT AS HAVING RELEVANT

5     EXPERTISE IN, IN THIS CASE IS CORRECTION MEDICINE; IS THAT

6     CORRECT?

7           A     YES.

8           Q     YOU'RE NOT HOLDING YOURSELF OUT AS AN EXPERT IN

9     STATISTICS, CORRECT?

10          A     NO.

11          Q     YOU'RE NOT HOLDING YOURSELF OUT AS A CUSTODY OR

12    SECURITY EXPERT?

13          A     NO.

14          Q     YOU'RE NOT HOLDING YOURSELF OUT AS AN EXPERT IN

15    PSYCHIATRY OR PSYCHOLOGY?

16          A     ONLY AS IT APPLIES TO WHAT OCCURS IN CORRECTIONAL

17    MEDICINE.    CORRECTIONAL MEDICINE, AS I TOLD YOU IN MY

18    EXPERIENCE AT THE CALIFORNIA MEDICAL FACILITY, WE HAD A LOT OF

19    DIRECT INTERACTIONS WITH -- WE'D REFER PATIENTS TO PSYCHIATRY.

20    WE WOULD COVER THE PATIENTS IN THE SUICIDE UNITS AND CARED FOR

21    THOSE PATIENTS ON THE MAIN LINE WHERE MAYBE 30 PERCENT OF THE

22    PATIENTS WERE ON PSYCHIATRIC DRUGS.        BUT I DON'T THINK THERE'S

23    ANYTHING IN THIS CASE THAT'S GOING TO INVOLVE ME BEING AN

24    EXPERT IN PSYCHIATRY OR PSYCHOLOGY.        IF IT COMES UP WE'LL TALK

25    ABOUT IT.
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1           Q     OKAY.   SO JUST TO BE CLEAR, ARE YOU SAYING YOU ARE

2     OR YOU'RE NOT HOLDING YOURSELF OUT AS AN EXPERT IN PSYCHIATRY

3     OR PSYCHOLOGY?

4           A     I'M NOT HOLDING MYSELF OUT THAT WAY.        ONLY AS IT

5     PERTAINS TO MY CORRECTIONAL MEDICAL EXPERIENCE.

6           Q     SO YOU AREN'T EXCEPT WITH A CAVEAT; IS THAT WHAT YOU

7     ARE SAYING?

8           A     YES.

9           Q     AT YOUR DEPOSITION YOU TOLD ME YOU WERE NOT HOLDING

10    YOURSELF OUT AS AN EXPERT IN PSYCHIATRY AND PSYCHOLOGY; IS

11    THAT CORRECT?

12          A     I JUST CLARIFIED THAT FOR YOU.

13          Q     OKAY.   BUT THAT IS WHAT YOU TESTIFIED TO IN YOUR

14    DEPOSITION?

15          A     IF YOU SAY SO I'M SURE IT IS.

16          Q     AND ALSO YOU'RE NOT HOLDING YOURSELF OUT AS AN

17    EXPERT IN INFORMATION TECHNOLOGY IN THIS CASE, CORRECT?

18          A     WELL, THAT'S -- I INTEND TO OFFER OPINIONS ABOUT HOW

19    LSP WILL CHANGE ONCE THEY HAVE THE ELECTRONIC MEDICAL RECORD.

20    I INTEND TO USE MY EXPERTISE WHEN WE PUT THAT -- WHEN WE PUT

21    THAT ELECTRONIC MEDICAL RECORD IN PLACE IN CALIFORNIA AND AS

22    THEY WERE IMPLEMENTED OVER THE FOLLOWING MONTHS.           I THINK

23    THAT'S REALLY RELEVANT TO WHAT'S HAPPENING AT LSP.

24          Q     SO IF I CAN UNPACK THAT A LITTLE BIT.         ARE YOU

25    SUGGESTING THAT YOU WILL BE GIVING EXPERT OPINIONS AS TO THE
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1     USE OF ELECTRONIC MEDICAL RECORDS IN A FACILITY OR THE

2     INFORMATION TECHNOLOGY ASPECTS OF SETTING UP ELECTRONIC

3     MEDICAL RECORDS?

4           A     I THINK IT DEPENDS ON HOW MR. ARCHEY ASKS ME THE

5     QUESTION.

6                 MR. DUBNER:     SO AT THIS TIME, YOUR HONOR, WE HAVE NO

7     OBJECTION TO THE TENDER IN CORRECTIONAL MEDICINE.            TO THE

8     EXTENT THAT HE TESTIFIES IN AREAS SUCH PSYCHIATRY, PSYCHOLOGY

9     AND INFORMATION TECHNOLOGY WE MAY OBJECT AT THE TIME.

10                THE COURT:      YOU CAN RESERVE YOUR OBJECTIONS.       DR.

11    MATHIS IS ACCEPTED BY THE COURT IN THE FIELD OF CORRECTIONAL

12    MEDICINE AND MAY GIVE OPINION TESTIMONY IN THAT FIELD.

13                MR. DUBNER:     I WOULD ALSO JUST NOTE IT LOOKS LIKE

14    THE WITNESS HAS A COMPUTER AT THE WITNESS STAND?

15                THE COURT:      I WAS GOING TO ASK ABOUT THAT.       WHAT'S

16    GOING ON?

17                MR. ARCHEY:     YOUR HONOR, THERE'S NO CONNECTION TO

18    ANYTHING.    IT'S GOT HIS EXPERT REPORT ON IT.         LIKE ALL OF THE

19    OTHER WITNESSES HAVE BEEN BRINGING THEIR NOTEBOOKS IT'S ON HIS

20    COMPUTER.    THAT'S ALL.

21                THE COURT:      DO YOU NEED TO LOOK AT IT OR DO YOU --

22    ARE YOU SATISFIED THAT THAT'S WHAT'S THERE?

23                MR. DUBNER:     IS THE ONLY DOCUMENT THAT YOU'RE GOING

24    TO BE LOOKING AT ON YOUR LAPTOP THE EXPERT REPORT ITSELF?

25                THE WITNESS:     I THINK WE PLAN TO SHOW PATIENT NUMBER
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1     13 AND THE EFFORT THAT WAS MADE -- MY METHODOLOGY FOR PUTTING

2     TOGETHER MY REPORT.

3                 MR. DUBNER:     SO WHAT DOCUMENTS ON YOUR COMPUTER ARE

4     YOU GOING TO BE USING FOR THAT?

5                 THE WITNESS:     RIGHT NOW WHAT I'VE GOT UP IS MY

6     REPORT AND PATIENT NUMBER 13.

7                 THE COURT:      IT WOULD BE APPROPRIATE, MR. ARCHEY, FOR

8     YOU TO SHOW HIM DOCUMENTS THAT HAVE BEEN OFFERED INTO EVIDENCE

9     OR THAT YOU PLAN TO OFFER INTO EVIDENCE.          BUT FOR HIM TO PULL

10    UP I DON'T KNOW WHAT ON PATIENT 13 IS NOT APPROPRIATE.

11                MR. ARCHEY:     THAT IS WHAT WE INTEND TO DO, YOUR

12    HONOR.

13                THE COURT:      WELL, THEN WHATEVER IS ON HIS COMPUTER

14    IS NOT NECESSARY EXCEPT MAYBE HIS REPORT.          YOU WANT HIS

15    REPORT?   I HAVE IT.     I MEAN I DON'T KNOW -- IF THERE'S AN

16    ISSUE WITH HIM HAVING HIS REPORT ON THE COMPUTER WE'LL GIVE

17    HIM HIS REPORT.

18                MR. DUBNER:     WE WOULD HAVE NO OBJECTION OF COURSE TO

19    HIM HAVING A COPY OF THE REPORT, BUT WE WOULD TO HIM HAVING A

20    WHOLE COMPUTER AT HIS DISPOSAL.

21                MR. ARCHEY:     HERE'S THE ONLY THING I WOULD SAY IN

22    RESPONSE TO THAT.     WE'LL CLOSE EVERYTHING DOWN BUT THE EXPERT

23    REPORT.   BUT HE'S GOT ACTIVE LINKS IN THERE THAT ALLOWS HIM TO

24    JUMP TO THE SUPPORTING DOCUMENT AND BACK THAT'S IN THE REPORT,

25    SO IT'S NOT ANYTHING OUTSIDE THAT REPORT.          IT'S JUST THE WAY
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1     IT OPERATES AND THE WAY HE USES IT.         THAT'S ALL WE'RE DEALING

2     WITH HERE.

3                 MR. DUBNER:     I GATHER -- SORRY, THAT WAS A LITTLE

4     BIT TECHNICAL.    WOULD IT BE ALL RIGHT IF I ADDRESS COUNSEL

5     DIRECTLY FOR THIS?

6                 THE COURT:      YOU MAY.   LET'S TRY TO FIGURE THIS OUT.

7     THIS IS VERY IRREGULAR.

8                 MR. DUBNER:     THE REPORT THAT WAS PRODUCED ORIGINALLY

9     TO US, IT WAS ABOUT 3,000 PAGES, THAT HAD THE REPORT AND THEN

10    SELECTIONS FROM THE MEDICAL RECORD.         ARE YOU SAYING THAT -- SO

11    THE MEDICAL RECORD AND OTHER DOCUMENTS AND THERE WERE

12    HYPERLINKS TO THAT.      ARE YOU SAYING THAT THAT SINGLE DOCUMENT

13    IS THE ONLY THING THAT HE WILL HAVE AVAILABLE?

14                MR. ARCHEY:     YES.

15                MR. DUBNER:     AS LONG AS THE WITNESS TELLS US WHAT

16    HE'S LOOKING AT WHEN HE INTERACTS WITH IT AND WE'RE ABLE TO

17    JUST INSPECT IT AFTERWARDS WE WOULD HAVE NO OBJECTION.

18                MR. ARCHEY:     IT SHOULD BE THE SAME DOCUMENT THAT'S

19    GOING TO BE ON THE SCREEN, YOUR HONOR, SO IT SHOULD BE NO

20    ISSUE.   BUT, YES, THAT IS CORRECT.         IT IS THAT ONE SINGLE

21    DOCUMENT WITH THOSE HYPERLINKS.

22                THE COURT:      OKAY.   IF THERE'S NO OBJECTION THEN I

23    WILL ALLOW IT.    THE POINT IS, IS THAT IF IT'S ALREADY ON THE

24    SCREEN I DON'T KNOW WHY WE HAVE IT MULTIPLE PLACES IT SEEMS TO

25    ME, BUT THERE'S NO OBJECTION SO I'LL ALLOW IT.           IF THERE
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1     BECOMES AN ISSUE AS TO WHAT HE'S LOOKING AT THEN YOU CAN RAISE

2     IT.

3                 MR. DUBNER:     APPRECIATE THAT.

4                 THE CLERK:      BUT IT'S NOT GOING TO SHOW ON ANY OF

5     THESE SCREENS.

6                 MR. ARCHEY:     SHE'LL BE HANDLING IT FROM BACK HERE.

7                 THE COURT:      OKAY.   PROCEED.

8     CONTINUATION OF DIRECT EXAMINATION

9     BY MR. ARCHEY:

10          Q     ALL RIGHT, DOCTOR.       LET'S TALK ABOUT THE WORK YOU

11    DID TO PREPARE YOUR REPORT.

12                DO YOU RECALL APPROXIMATELY WHEN YOU WERE FIRST

13    CONTACTED IN THIS MATTER?

14          A     APPROXIMATELY THE MIDDLE OF JANUARY OF 2022.

15          Q     OKAY.   LET'S GO TO THE REPORT PAGE 7, PLEASE.

16                ALL RIGHT, DOCTOR.       THE MATERIALS REVIEWED, DID YOU

17    MAKE AN EFFORT TO LIST ALL THE DOCUMENTS THAT YOU REVIEWED AS

18    PART OF YOUR EFFORT TO PREPARE YOUR REPORT?

19          A     YES.    I WORKED WITH MY PARALEGAL, WHO'S BETTER AT

20    THAT THAN ME, AND WE PUT EVERYTHING -- EVERYTHING THAT I

21    REVIEWED.

22          Q     IT STARTS WITH THE SECOND AMENDED COMPLAINT AND YOU

23    ALSO LOOKED AT THE COURT'S RULING IN THIS MATTER, THE RULING

24    FROM MARCH OF 2021 I BELIEVE IT IS, CORRECT?

25          A     YES.    CAN YOU MAKE THAT A LITTLE BIGGER?
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1           Q     CERTAINLY.

2           A     THAT'S BETTER.

3           Q     ALL RIGHT, DOCTOR, BELOW THAT WE HAVE MEDICAL

4     RECORDS.    THERE WERE 60 MEDICAL RECORDS IN THIS CASE.          HOW

5     MANY OF THOSE DID YOU REVIEW?

6           A     I THINK THE FINAL TALLY WAS I REVIEWED 13 AND I HAVE

7     THOSE INCLUDED IN MY REPORT -- I MEAN 38 AND I HAVE THOSE

8     INCLUDED IN MY REPORT.

9           Q     WHEN YOU SAY YOU REVIEWED THEM, WHAT DO YOU MEAN

10    WHEN YOU SAY YOU REVIEWED THOSE RECORDS?

11          A     THAT'S WHAT WE WERE GOING TO OPEN UP THIS NUMBER 13

12    CHART ABOUT.

13          Q     JUST DESCRIBE THE PROCESS FIRST.

14          A     WELL, IT STARTED OUT THAT I WAS LOOKING THROUGH

15    EVERY ONE OF THESE RECORDS AND IT WAS HORRIBLE.           I MEAN SOME

16    OF THESE CHARTS ARE HUGE AND WE HAD A TIME RESTRAINT.            SO THEN

17    I INVOLVED MY PARALEGAL AND HAD HER GO THROUGH EVERY PAGE AND

18    TITLE, THE DATE AND WHAT THE HEADING WAS ON THAT PAGE, WHETHER

19    IT WOULD BE LABORATORY OR HOSPITALIZATION.          AND THEN UNDER THE

20    HOSPITALIZATION THE CHILD -- THE BOOKMARKS WHERE THE DISCHARGE

21    SUMMARY, LABORATORY CONSULTATIONS, ET CETERA AND LIKE THAT.

22                SO THEN WHAT I WOULD DO -- BECAUSE THE RECORDS WERE

23    NOT IN ORDER.    I MEAN THIS IS A PAPER CHART.        SO WHAT WE WOULD

24    DO IS THE BOOKMARKS ARE EASY TO MOVE AND THEN YOU CAN ORDER

25    THEM AND THEN YOU CAN PUT THEM INTO CATEGORIES THAT YOU LIKE.
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1     I MEAN I COMMONLY LIKE TO DO THINGS LIKE THE HOSPITALIZATIONS

2     SEPARATELY, THE TRIP RETURNS MAY BE SEPARATELY.           IT REALLY

3     DEPENDS ON WHAT THE -- WHAT PATIENT IT WAS.

4                 THE WAY THAT THE PLAINTIFF CAME UP WITH THESE

5     CHARTS, AT LEAST THE DEATH CHARTS, YOU PRETTY MUCH KNEW IT WAS

6     GOING TO BE -- THE PATIENT DIED.       WHY DID THE PATIENT DIE?

7     WAS LSP TAKING CARE OF THEM OR NOT?        AND THAT'S WHY I -- SO I

8     COULD GO TO THE AUTOPSY AND PUT THAT DOWN AT THE BOTTOM, THE

9     BOOKMARKS, AND THEN KIND OF GO FROM THERE WHEN I WAS LOOKING

10    THROUGH THE PAGES AND -- ANYWAY.

11          Q     AND YOU PERSONALLY DID THAT?

12          A     I PERSONALLY DID THAT.     I MEAN THAT'S MY JOB.          THE

13    PARALEGAL COULD NOT MAKE ANY DECISIONS ABOUT WHAT IT WAS.              SHE

14    COULD ONLY MAKE A DECISION ABOUT WHAT IT SAID ON THAT HEADING

15    AND WHAT THE DATE WAS.

16          Q     DO YOU HAVE AN ESTIMATE OF HOW MANY HOURS YOU SPENT

17    GOING THROUGH THESE MEDICAL CHARTS?

18          A     MAYBE 300.

19          Q     IN ADDITION, AS WE LOOK THROUGH YOUR LIST OF

20    MATERIALS REVIEWED, YOU HAD A WHOLE LIST OF DEPOSITIONS THAT

21    YOU WERE PROVIDED WITH, SOME FROM BEFORE AND SOME FROM -- THAT

22    WERE HAPPENING RIGHT AS THE DEPOSITION -- WHERE THE EXPERT

23    DEADLINE WAS APPROACHING; IS THAT RIGHT?

24          A     YES.

25          Q     DID YOU PERSONALLY REVIEW THOSE DEPOSITIONS, AT
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1     LEAST IN SOME DEGREE?

2           A     YES.

3           Q     BELOW THAT, WE HAVE DOCUMENTS THAT WERE PRODUCED,

4     DISCOVERY RESPONSES, POLICIES.       DID YOU GO THROUGH THOSE

5     DOCUMENTS?

6           A     YES.

7           Q     LET'S TALK ABOUT -- LET'S GO TO PAGE 19 ON THE

8     REPORT NOW, IF WE MAY.

9                 DOWN AT THE BOTTOM, DOCTOR, YOU REFERENCE THE SITE

10    VISIT.    CAN YOU DESCRIBE THE SITE VISIT THAT YOU UNDERTOOK FOR

11    THE COURT, PLEASE?

12          A     MY FIRST SITE VISIT WAS IN MARCH ON 03/14 AND 03/16.

13    I WAS THERE ALL DAY.

14          Q     OKAY.   AND WHAT ALL DID YOU DO WHEN YOU WERE THERE

15    FOR THOSE TWO DAYS?

16          A     THE MOST IMPORTANT THING FOR US TO DO WAS TO GET OUT

17    THERE EARLY SO WE COULD BE AT THAT MORNING MEETING.           AND YOU

18    AND I ATTENDED THE MORNING MEETING ON MONDAY AS WELL AS

19    WEDNESDAY.

20          Q     OKAY.   WHAT ELSE DID YOU DO DURING THE SITE VISIT?

21          A     INTERVIEWED DR. JOHNSON, DR. LAVESPERE, DR. TOCE,

22    THE NURSE PRACTITIONERS, VISITED THE LOCATIONS THAT WERE

23    INVOLVED IN THIS -- IN THIS MATTER AND WENT OUT TO CAMPS, SAW

24    THE SETUPS FOR THE TELEMEDICINE, WENT TO THE ATU.

25                THE WHOLE -- I TOOK -- I WANT YOU TO KNOW THAT I
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1     TOOK ALL THESE PICTURES.      I THOUGHT THAT WAS REALLY IMPORTANT.

2     AND I'M HAPPY THEY'RE BEING USED BECAUSE I THINK IT

3     DEMONSTRATES TO THE COURT, BETTER THAN ANY DESCRIPTION, ABOUT

4     THE CLEANLINESS, ABOUT WHAT THE -- WHAT THE LOCATION IS LIKE.

5                 NOW I UNDERSTAND THAT YOU'VE BEEN THERE ONCE BEFORE,

6     BUT THIS HELPS TO REFRESH YOUR MEMORY.

7           Q     DOCTOR, YOU SAW ALL THE VARIOUS AREAS THAT WE'VE

8     BEEN DISCUSSING FROM GENERAL MEDICINE, THE NURSING UNITS, ASH

9     DORMS, OUTCAMPS; DID YOU GO IN ALL OF THOSE AREAS?

10          A     YES, SIR.

11          Q     YOU MET WITH DR. JACOB?

12          A     I DID.   DR. JOHNSON.

13          Q     OKAY.    DR. JOHNSON, I'M SORRY.     YES.

14                WHAT ABOUT SOME NEW LEADERSHIP THAT WAS COMING ON

15    BOARD?    DID YOU MEET WITH THE NEW LEADERSHIP; DEPUTY WARDEN

16    ASHLI OLIVEAUX?

17          A     YES.

18          Q     WE -- DOCTOR, SINCE YOUR EXPERT REPORT WHAT HAVE YOU

19    DONE?     WHAT KIND OF WORK HAVE YOU DONE SINCE YOUR EXPERT

20    REPORT WAS ISSUED?

21          A     I'M NOT SURE WHAT YOU'RE ASKING.

22          Q     DEPOSITIONS CONTINUED TO COME IN?        YOU WERE PROVIDED

23    WITH ADDITIONAL DOCUMENTATION?

24          A     YES, I WAS DEPOSED AND THE OTHER DEPOSITIONS HAVE

25    SHOWN UP.    I'VE READ THOSE.    AND THEN LAST MONDAY I WENT OUT
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1     TO THE FACILITY AGAIN.

2           Q     ALL RIGHT.      BEFORE WE GO TO THAT -- LAST MONDAY,

3     LET'S -- DID YOU HAVE OPPORTUNITY TO INTERACT WITH THE

4     LEADERSHIP OF LSP AFTER YOUR REPORT WAS ISSUED?

5           A     (INAUDIBLE).

6           Q     YOU TALKED WITH DR. JOHNSON, DEPUTY WARDEN OLIVEAUX

7     SPECIFICALLY ABOUT SELF-DECLARED EMERGENCY POLICIES?

8                 MR. DUBNER:     OBJECTION, YOUR HONOR.      WE WOULD OBJECT

9     TO TESTIMONY ABOUT CONVERSATIONS HE HAD WITH DEFENDANTS AND

10    DEFENSE WITNESSES AFTER HIS REPORT WAS ISSUED.

11                THE COURT:      IT SEEMS REALLY UNFAIR, MR. ARCHEY.        I

12    REALLY DO WANT TO HEAR EVIDENCE OF WHAT THE CURRENT STATE OF

13    AFFAIRS ARE, BUT HOW ARE THEY SUPPOSED TO -- HOW ARE THEY

14    SUPPOSED TO DEFEND THIS?

15                MR. ARCHEY:     YOUR HONOR, I RECOGNIZE THE PROBLEM AND

16    THE ISSUE.

17                THE COURT:      THEN ADDRESS IT.

18                MR. ARCHEY:     YES, MA'AM.     THIS IS THE POLICY THAT

19    WAS PUT IN PLACE THAT WE PROVIDED THEM ONCE THE POLICY WAS IN

20    PLACE.    THEY'VE GOT THAT.

21                THE COURT:      THE QUESTION WAS HAVE YOU TALKED TO

22    LEADERSHIP --

23                MR. ARCHEY:     CORRECT.

24                THE COURT:      -- AFTER YOUR REPORT.

25                MR. ARCHEY:     YES, MA'AM.     AND THAT LEADS TO THIS
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1     POLICY THAT WE PUT IN PLACE.         AND I THINK IT'S IMPORTANT FOR

2     THE COURT TO UNDERSTAND CURRENT CONDITIONS AND WHAT ALL

3     HAPPENED, HOW WE GOT THERE; AND THAT'S WHAT I'M GETTING TO.

4                 THE COURT:      WHAT POLICY IS IT THAT YOU'RE HEADED

5     TOWARD?

6                 MR. ARCHEY:     THE SELF-DECLARED EMERGENCY POLICY

7     THAT'S ALREADY IN EVIDENCE.

8                 THE COURT:      AND WHAT DOES TALKING TO PEOPLE HAVE TO

9     DO WITH THE SELF-DECLARED EMERGENCY POLICY THAT'S IN EVIDENCE?

10                MR. ARCHEY:     HE MADE THE RECOMMENDATIONS AND LSP

11    FOLLOWED THEM AND MADE THOSE CHANGES BASED UPON --

12                THE COURT:      OKAY.   THEN ASK HIM THAT QUESTION.        BUT

13    I'M GOING TO SUSTAIN THE OBJECTION AS TO FACTUAL INQUIRY THAT

14    WAS DONE -- THAT THEY CAN'T TEST AFTER THE REPORT.            BUT IF YOU

15    WANT TO ASK HIM, DID YOU HAVE INPUT INTO THE SELF-DECLARED

16    EMERGENCY POLICY THAT'S PX OR DX OR JX OR WHATEVER IT IS?               ASK

17    THAT ONE.

18                MR. ARCHEY:     YES, YOUR HONOR.

19                THE COURT:      OBJECTION IS SUSTAINED.

20    BY MR. ARCHEY:

21          Q     DR. MATHIS, AS PART OF YOUR WORK -- I DON'T WANT TO

22    GET TOO FAR AHEAD OF US HERE BECAUSE WE'LL ADDRESS THIS LATER

23    AS WELL.    BUT DID YOU HAVE SOME CRITICISMS OF SELF-DECLARED

24    EMERGENCY POLICY AND PRACTICES THAT WERE GOING ON AT LSP AT

25    THE TIME YOU DID YOUR EXPERT REPORT?
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1           A     YES.

2           Q     ALL RIGHT.      DID YOU MAKE RECOMMENDATIONS THAT LSP

3     NEEDED TO CHANGE THAT POLICY?

4           A     STRONGLY.

5           Q     AND DID THAT OCCUR?

6           A     YES.

7           Q     MONDAY MORNING, A WEEK AGO, WE DID NOT HAVE COURT

8     AND YOU HAD FLOWN IN; WHAT DID YOU DO THAT MONDAY MORNING?

9                 MR. DUBNER:     OBJECTION, YOUR HONOR.      RELEVANCE.

10                THE COURT:      AGAIN, I MEAN REALLY.     HE'S GOING TO NOW

11    GO INTO FACTS THAT -- THEY CAN NOT TEST THESE.

12                MR. ARCHEY:     CURRENT CONDITIONS IS ALL I CAN SAY,

13    YOUR HONOR.    BASICALLY ALL I'M GOING TO DO IS GET HIM TO SAY

14    IT LOOKS LIKE IT DID BACK THEN; THAT'S ABOUT ALL I'M REALLY

15    GOING AT.

16                THE COURT:      THEY HAVEN'T COME -- YOU DON'T NEED TO

17    REBUT THAT.    THEY HAVEN'T COME WITH ANYTHING THAT SAID THIS IS

18    ALL HOCUS POCUS AND IT DOESN'T LOOK LIKE THESE PICTURES.

19                MR. ARCHEY:     THERE'S A SECOND ISSUE, IF I MAY?

20                THE COURT:      GO AHEAD.

21                MR. ARCHEY:     THAT THERE WILL BE TESTIMONY ON THIS.

22    IT WAS ALLUDED TO THIS MORNING WITH, I BELIEVE, NURSE

23    PRACTITIONER BORDELON ABOUT THE PHARMACY ELECTRONIC RECORDS

24    HAD BEEN UPDATED, AND WHEN HE WENT OUT THERE MONDAY THIS HAS

25    HAPPENED -- IT MIGHT HAVE BEEN THE WEEK BEFORE THAT -- THERE'S
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1     NOW THAT PIECE THAT'S BEEN UPDATED WHICH IS A STEP TOWARD THE

2     ELECTRONIC RECORDS THAT HAD TO OCCUR, AND HE SAW THAT WHEN HE

3     WENT OUT THERE MONDAY AND THAT'S AS CURRENT CONDITIONS AS IT

4     GET.

5                 THE COURT:      I WOULD SUSTAIN -- I'M NOT GOING TO

6     ALLOW HIM TO TESTIFY TO THAT.         WHAT I WOULD RECOMMEND -- I

7     MEAN WE CAN TALK ABOUT HOW TO ADDRESS THIS, BUT IT SEEMS TO ME

8     THAT IF YOU'VE MADE CHANGES SINCE THIS NICE DOCTOR'S

9     DEPOSITION -- I'M SORRY HIS REPORT -- THAT ARE FACTUAL CHANGES

10    AND YOU WANT CREDIT FOR THAT, AND YOU SHOULD GET CREDIT FOR

11    THAT IF THEY'RE MEANINGFUL CHANGES, AND I HAVE NO REASON TO

12    DOUBT THAT THEY ARE, THEY CAN BE PART OF WHAT ULTIMATELY

13    BECOMES CRAFTED AS A REMEDY IN THIS CASE.

14                I MEAN IT DOESN'T -- WE DON'T HAVE TO -- WE DON'T

15    HAVE TO GO THERE.     YOU CAN SAY WE AGREE TO DO THESE THINGS

16    AND, IN FACT, YOU'VE ALREADY DONE THEM.          THAT CAN BE IN THE

17    NATURE OF A CONSENT REMEDY.

18                MR. ARCHEY:     OUR POSITION IS WE SHOULD NOT GET TO

19    THAT POINT IF WE'VE ALREADY DONE THOSE THINGS.

20                THE COURT:      WELL --

21                MR. ARCHEY:     AND SO THERE SHOULD NOT BE A CONSENT

22    REMEDY.

23                THE COURT:      WELL, WE ALSO SHOULDN'T BE TO THE POINT

24    THAT YOU ARE MAKING CHANGES TWO WEEKS BEFORE TRIAL OR A WEEK

25    BEFORE TRIAL.
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1                 MR. ARCHEY:     VALENTINE AND DOCKERY, THE FIFTH

2     CIRCUIT, THEY TALK ABOUT EVIDENCE THROUGH TRIAL AND EVEN AFTER

3     TRIAL PRIOR TO JUDGMENT.        I RECOGNIZE THE DIFFICULTY OF THE

4     SITUATION.    I'M NOT -- I'M NOT BELITTLING THAT IN ANY WAY.

5     I'M JUST SAYING THAT IS -- THOSE ARE THE KIND OF RULES WE'RE

6     UNDER RIGHT NOW.

7                 THE COURT:      OBJECTION SUSTAINED.

8                 MR. DUBNER:     COULD I JUST ADD ONE THING FOR THE

9     RECORD, YOUR HONOR?      I KNOW THE COURT JUST SUSTAINED THE

10    OBJECTION, BUT JUST FOR THE PURPOSE OF THE RECORD, WE LEARNED

11    ABOUT THIS LAST TUESDAY.        WE ASKED IF WE COULD SEE THIS NEW

12    SYSTEM.   WE ASKED FOR DOCUMENTS ABOUT IT AND THEY'VE KNOWN

13    ABOUT THIS FOR AT LEAST A WEEK AND WE'VE RECEIVED NOTHING.             SO

14    I JUST WANTED TO PUT THAT IN THE RECORD.          IT'S NOT A VALENTINE

15    OR DOCKERY ISSUE.     IT'S A SIMPLE PREJUDICE AND TRIAL

16    MANAGEMENT ISSUE IN OUR VIEW.

17                THE COURT:      BASED ON THE PREJUDICE OF THE PARTIES --

18    OR THE PREJUDICE TO THE PLAINTIFFS IN NOT BEING ABLE TO DEFEND

19    THE INFORMATION AND THE FACTUAL EVIDENCE, THE COURT SUSTAINS

20    THE OBJECTION.

21                MR. ARCHEY:     BROOKE, CAN YOU PULL UP CHART 13 NOW AT

22    THIS TIME.

23                THE COURT:      THIS IS SEALED, CORRECT?

24                MR. ARCHEY:     IT IS.

25                YOUR HONOR, THE PURPOSE OF THIS IS -- AND I WANT THE
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1     WITNESS TO SHOW THE BOOKMARK SYSTEM THAT HE USED THAT HE

2     REFERENCED EARLIER.

3                 THE COURT:      IS THIS PART OF HIS REPORT?

4                 MR. ARCHEY:     IT IS THE DOCUMENTS HE RELIED UPON THAT

5     WERE PRODUCED -- PIECES OF THIS ARE IN HIS REPORT.             THIS

6     ENTIRE RECORD IS NOT, BUT THIS IS TO DEMONSTRATE WHAT HE DID

7     AND HOW HE GOT THERE AND THE DEPTH OF WORK THAT HE DID TO

8     GENERATE HIS REPORT.        THAT'S WHAT I WANT TO ESTABLISH WITH

9     THIS.

10                MR. DUBNER:     PLAINTIFFS WOULD OBJECT.        IT SOUNDS

11    LIKE THIS IS A DEMONSTRATIVE.        WE HAD AN AGREEMENT ABOUT

12    EXCHANGING DEMONSTRATIVES 48 HOURS AHEAD OF TIME.             THEY DIDN'T

13    EXCHANGE THIS.    IT'S NOT THE SAME REPORT.         THIS IS IN EVIDENCE

14    AS JX_13 EXCEPT WITHOUT THE MARKUP THAT THEY ARE TALKING

15    ABOUT.   IF THEY WANTED TO ADD THIS AS A SEPARATE EXHIBIT THEY

16    COULD HAVE DONE THAT.        THEY DIDN'T DO THAT EITHER.

17                MR. ARCHEY:     YOUR HONOR, THEY HAVE THIS AND HE

18    QUESTIONED HIM ABOUT THIS AT HIS DEPOSITION.

19                MR. DUBNER:     THAT IS CORRECT.      WE DID RECEIVE A COPY

20    OF THIS.    IT WAS NEVER DISCLOSED AS A POSSIBLE EXHIBIT.

21                MR. ARCHEY:     I DON'T INTEND TO USE IT AS AN EXHIBIT.

22    I JUST WANTED TO WALK THROUGH IT.           I WANTED TO MAKE SURE THE

23    COURT UNDERSTANDS THE DEPTH OF THE WORK THAT THE DOCTOR

24    UNDERTOOK.    THAT'S ALL I'M DOING.

25                THE COURT:      I'M GOING TO ALLOW IT SHORTLY.
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1                 MR. ARCHEY:     FAIR ENOUGH.

2                 THE COURT:      I'VE ALREADY DENIED A MOTION IN LIMINE

3     AND SAID THAT HIS METHODOLOGY WAS SATISFACTORY UNDER 702, SO

4     WE DON'T NEED A BIG DOG AND PONY SHOW.          HIS STANDARDS AND HIS

5     METH- -- I SHOULDN'T SAY HIS STANDARDS.          HIS METHODS HAVE

6     ALREADY BEEN CHALLENGED SO MOVE FORWARD.

7     BY MR. ARCHEY:

8           Q     DOCTOR, THEN VERY BRIEFLY, WE'VE GOT THIS CHART UP

9     WITH BOOKMARKS AND WE'LL NEED BROOKE TO CLICK ON SOME OF THEM

10    FOR YOU.    JUST EXPLAIN TO US VERY BRIEFLY WHAT THIS REFLECTS

11    AS FAR AS YOUR METHODOLOGY.

12          A     THIS WAS A CHART -- IF YOU REMEMBER THERE WERE TWO

13    CHARTS AND THE PLAINTIFF EXPERT HAD DIFFICULTY PUTTING THEM

14    TOGETHER.    WE RECOGNIZED THAT AND COMBINED THEM INTO ONE CHART

15    AND WENT THROUGH AND HANDLED ANY DUPLICATES.           SO WHAT YOU'RE

16    SEEING IN THIS IS 1325 PAGES OF THE CHART.

17                AND THEN, IF YOU LOOK ON THE LEFT, WE START WITH THE

18    MASTER PROBLEM LIST.        AND THEN WHAT I WOULD DO IS GO DOWN TO

19    THE BOTTOM AND OPEN UP THE 04-20 DEATH DUE TO SEPSIS AND I PUT

20    TOGETHER ANYTHING THAT I -- ANY OF THE RECORDS THAT I THOUGHT

21    WERE PERTINENT TO THE DEATH SO THAT I COULD COME UP WITH AN

22    OPINION THAT I PRESENTED IN MY REPORT.

23          Q     ONE MORE CLICK AND WE'LL BE DONE.

24                MR. ARCHEY:     GO UP TO SPECIALTY CARE AND CLICK ON

25    IT, PLEASE, BROOKE, IF YOU WILL.
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1     BY MR. ARCHEY:

2           Q     WHAT IS THIS PROCESS HERE, DOCTOR?

3           A     THESE ARE THE SPECIALTY CONSULTATIONS THAT LSP

4     ARRANGED FOR THIS -- FOR INMATE 13 AT UMCNO.

5           Q     ALL RIGHT.

6                 MR. ARCHEY:     YOU CAN TAKE THAT DOWN.

7                 YOUR HONOR, AT THIS TIME I WANT TO GO AHEAD AND

8     FORMALLY OFFER EXHIBITS DX-35A WHICH IS THE CV AND DX-35C

9     WHICH IS HIS ACTUAL REPORT.         I'D LIKE TO OFFER BOTH OF THOSE

10    INTO EVIDENCE AT THIS TIME.

11                MR. DUBNER:     NO OBJECTION.

12                THE COURT:      ADMITTED.

13                HOW MANY HOURS DO YOU THINK IT TOOK YOU TO DO

14    PATIENT CHART 13 -- OR CHART 13?

15                THE WITNESS:     WELL, MY PARALEGAL PROBABLY WORKED ON

16    IT FOR FOUR HOURS OR MORE, AND THEN FOR MYSELF PROBABLY

17    ANOTHER FOUR TO SIX HOURS.          I MEAN IT WAS A LOT.

18                THE COURT:      THANKS.   I'VE THROWN THAT IN SO THAT

19    Y'ALL CAN FOLLOW-UP IF YOU WANT TO.         OKAY.    THANK YOU.

20                THE WITNESS:     BUT TO BE TRUTHFUL I DON'T THINK I

21    KEPT TIME BY THE INMATE NUMBER.

22                THE COURT:      YEAH.   I'M JUST KIND OF CURIOUS AS TO

23    WHAT KIND OF AN EFFORT THIS WAS -- THIS PARTICULAR CHART.

24                THE WITNESS:     UH-HUH.

25                THE COURT:      THANKS.
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1     BY MR. ARCHEY:

2           Q     ALL RIGHT, DOCTOR, LET'S GO TO --

3                 THE CLERK:      COULD YOU TELL ME THOSE EXHIBITS AGAIN?

4                 MR. ARCHEY:     I HAVE THEM AS DX-35A AND 35C.         AM I

5     CORRECT, BROOKE?

6                 THE CLERK:      I HAVE 35A AS DR. MORRISON'S EXPERT

7     REPORT.

8                 MR. ARCHEY:     I'M SORRY.      THEY'RE TELLING ME IT'S 35

9     AND 35C; IS THAT CORRECT?        I NEEDED SOME HELP FROM MY FRIENDS,

10    JUDGE.

11                THE COURT:      IT'S YOUR RECORD.

12                MR. ARCHEY:     THANK YOU.

13                THE COURT:      OKAY.   CARRY ON.

14    BY MR. ARCHEY:

15          Q     ALL RIGHT, DOCTOR, NOW I'D LIKE TO GO TO PAGE 18 OF

16    YOUR REPORT.

17                I WANT TO BEGIN WITH THE BACKGROUND WITH LSP

18    DEMOGRAPHICS.    EXPLAIN THAT TO US, SPECIFICALLY FOCUSING ON

19    THE PARAGRAPH ABOUT "INMATES AGE FASTER."           WHAT ARE YOU

20    TELLING US THERE?

21          A     THAT A 50-YEAR OLD INMATE IS MORE LIKE A 60-YEAR OLD

22    PERSON FROM THE STREET.        BEING IN PRISON AGES YOU FASTER.         IN

23    ADDITION TO THE CO-MORBIDITIES AND POSSIBLY POOR MEDICAL CARE

24    THAT YOU'VE BROUGHT IN.        I THINK THAT'S IMPORTANT BECAUSE WE

25    HAD SOME UMC DOCTORS THAT IF YOU LISTENED TO WHAT THEY HAD TO
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1     SAY ABOUT PREVENTION --

2                 MR. DUBNER:     OBJECTION, YOUR HONOR.      THERE'S NOTHING

3     IN HIS REPORT ABOUT THE UMC DOCTORS.

4                 MR. ARCHEY:     THIS GETS TO THE REBUTTAL ASPECT THAT

5     YOU REFERENCED EARLIER THAT WE SHOULD BE GIVEN AN OPPORTUNITY

6     TO REBUT AND WE'RE DOING SO NOW.

7                 THE COURT:      YOU'RE NOT ON REBUTTAL.     YOU'RE IN YOUR

8     CASE IN CHIEF.      SUSTAIN.

9                 MR. ARCHEY:     ISN'T THAT WHAT YOU JUST TOLD ME A

10    SECOND AGO?    I'M NOT ARGUING.       BUT I'M TRYING TO UNDERSTAND

11    IT.

12                THE COURT:      NO.   HE DOESN'T HAVE ANYTHING IN HIS

13    REPORT ABOUT THE UMC DOCTORS.         NOW IN YOUR DEFENSE THAT'S NOT

14    WHAT YOU CALLED FOR.        THAT WASN'T YOUR QUESTION.      BUT

15    OBJECTION SUSTAINED.

16    BY MR. ARCHEY:

17          Q     WITHOUT DISCUSSING THE UMC DOCTORS, CAN YOU GO AHEAD

18    AND FINISH TALKING ABOUT THE AGE?

19          A     INMATES AGE FASTER.       AND AN INMATE WHO'S BEEN AT LSP

20    FOR 30 YEARS IS GOING TO HAVE MORE SERIOUS MEDICAL ISSUES THAN

21    A PERSON LIVING ON THE STREET.

22          Q     OKAY.   ALL RIGHT.      LET'S GO TO PAGE 19 OF YOUR

23    REPORT NOW.    YOU'VE GOT A PARAGRAPH HERE ADDRESSING THE

24    COURT'S OPINION THAT WE'RE HERE ON.         YOU FOLLOWED THE COURT'S

25    OPINION AS YOU DEVELOPED YOUR REPORT; WAS THAT YOUR GOAL?
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1           A     YES.

2           Q     OKAY.   "SITE VISIT," WE'VE ALREADY DISCUSSED.

3                 LET'S GO TO PAGE 20.     ACA ACCREDITATION.      WHAT DID

4     YOU NOTE ABOUT LSP BEING ACA ACCREDITED?

5           A     IT WAS ACCREDITED.

6           Q     LET'S GO TO PAGE 22 NOW.

7                 ALL RIGHT, DOCTOR.    LET'S TALK ABOUT THE GENERAL

8     MEDICINE CLINIC.     WHAT DID YOU OBSERVE ABOUT THE GENERAL

9     MEDICINE CLINIC?

10          A     WELL, AND IT PRETTY MUCH SPEAKS FOR ITSELF, BUT I

11    THOUGHT -- WHEN -- IN ALL OF THE PRISONS I'VE BEEN IN, AND

12    JAILS, I'M COMPARING THAT AND I'M COMPARING THE HOSPITALS THAT

13    I'VE BEEN IN IN MY LIFE AND CLINICS, AND I'M LOOKING AT THESE

14    EXAMINATION ROOMS AND I'M SAYING THEY WERE ADEQUATE.            THEY

15    WERE CLEAN AND ADEQUATELY EQUIPPED.

16                THE MEDICAL RECORDS ROOM WAS CLOSE ENOUGH SO YOU

17    COULD GET A MEDICAL RECORD IF IT'S FILED OR YOU COULD PASS IT

18    FROM ROOM TO ROOM IF YOU NEEDED TO.        AND THERE WAS A CONCERN

19    ABOUT HAVING NO PRIVACY WITH CLOSED DOORS.          AND I THINK I SAID

20    HERE, AND IT'S IMPORTANT, THAT HAVING A CLOSED DOOR IS A

21    LUXURY THAT HAPPENS ON THE STREET BECAUSE THAT PRIVACY IS

22    NECESSARY.

23                BUT AN INMATE CAN'T DEMAND THAT SAME SORT OF PRIVACY

24    DUE TO SECURITY REASONS AND THERE ARE TIMES WHEN, AS A

25    PHYSICIAN PRACTICING IN CORRECTIONS, I THOUGHT IT WAS
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1     IMPORTANT TO CLOSE THE DOOR BECAUSE I DIDN'T WANT ANYBODY

2     LISTENING IN, BUT THAT MEANT THAT I HAD TO BE COMFORTABLE WITH

3     THAT INMATE IN A CLOSED ROOM WITH ME IF I COULDN'T GET OUT AND

4     I WANTED TO HAVE MY CHAIR CLOSER TO THE DOOR AND HAVE HIM BACK

5     IN THE ROOM SO IF I COULD GET OUT IF I HAD TO.

6           Q     ALL RIGHT, DOCTOR, ON THAT PAGE 22, ON THE SECOND

7     PARAGRAPH YOU TALK ABOUT THE PROVIDERS HAVING COMPUTER ACCESS

8     TO CERTAIN INFORMATION.      WHAT DID YOU DO TO VERIFY THAT

9     INFORMATION?

10          A     LARGELY IT WAS LOOKING OVER BORDELON'S SHOULDER AND

11    THOSE PICTURES WE SHOWED EARLIER TODAY AND LISTENING TO HIS

12    TESTIMONY EARLIER TODAY DEMONSTRATED THAT THIS INFORMATION WAS

13    AVAILABLE.    AND THE ECEPTIONIST AND EPIC SOFTWARE LINKING WAS

14    QUESTIONS THAT I PLACED TO NURSE PRACTITIONERS, AS WELL AS

15    MELANIE BENEDICT WHO WAS VERY HELPFUL TO TALK ABOUT

16    ECEPTIONIST.

17                AND THEN I THINK WE ALL AGREE THAT UPTODATE IS A

18    GREAT PEER-REVIEWED SOURCE.      IT'S CONTINUOUSLY UPDATED AND

19    AVAILABLE TO THE NURSE PRACTITIONERS AT LSP, AS WELL AS ALL OF

20    THE MAJOR CORRECTIONAL ORGANIZATIONS IN THE UNITED STATES,

21    CORIZON, WEXFORD, CENTURION, ARMOR.        EVERYBODY CAN LOOK AT

22    THIS.     BECAUSE IT REALLY HELPS US TO DETERMINE WHAT THIS

23    PATIENT IS PRESENTING WITH, WHAT WOULD BE A WAY TO WORK HIM UP

24    FURTHER OR WHAT ONE SHOULD BE THINKING ABOUT.

25                NOW IT'S NOT DIRECTED AT CORRECTIONS, BUT REALLY
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1     STIMULATES YOU TO THINK ABOUT WHAT'S GOING ON FOR THIS PERSON.

2            Q    DID YOU USE UPTODATE AS A REFERENCE FOR YOUR CHART

3     REVIEW PROCESS?

4            A    I DID.   I HAVE UPTODATE AS PART OF MY WORK AND I

5     USED IT AND I HAVE SOME REFERENCES TO IT IN HERE IN MY REPORT.

6            Q    NOW YOU MENTIONED MELANIE BENEDICT.        WE TALKED ABOUT

7     THE SITE VISIT.      YOU HAD TWO DAYS AT LSP.     THERE WAS A THIRD

8     DAY.   WHERE WERE YOU FOR THE THIRD DAY?

9            A    WELL, WE WENT TO HEADQUARTERS AND MET WITH

10    DR. LAVESPERE AND STACYE RODRIGUEZ AND MELANIE BENEDICT AND

11    MR. VINING AND I THINK THAT WAS ABOUT IT.         BUT WE SPENT QUITE

12    A BIT OF TIME TALKING ABOUT THE COURT DECISION AND HOW WE WERE

13    GOING TO PRESENT THIS MATTER TO THE COURT.

14           Q    AND WERE YOU ALSO DOING YOUR INVESTIGATION INTO THE

15    TRIP'S OFFICE AND HOW THAT PROCESS WORKED?

16           A    WELL, I ASKED MELANIE BENEDICT ABOUT THAT, BUT I

17    ALSO -- WHEN I WAS DOING THE SITE VISIT, I WENT TO THE TRIP'S

18    OFFICE.    THEY COORDINATE -- MELANIE BENEDICT AND HER CREW AT

19    HEADQUARTERS HAVE -- I MEAN THEY HAVE THE PRIMARY INPUT I

20    THINK INTO ECEPTIONIST.      THEY'RE THE REAL SPECIALISTS ABOUT

21    IT, ALTHOUGH THE TRIP'S NURSES ARE HELPFUL.          NEVERTHELESS,

22    MELANIE BENEDICT RUNS IT AND YOU'LL BE ABLE TO HEAR FROM HER

23    LATER THIS WEEK OR NEXT WEEK.

24           Q    DOCTOR, LET'S CONTINUE ON IN YOUR REPORT.         WE'VE GOT

25    PICTURES FOR THE NEXT SEVERAL PAGES BEGINNING ON PAGE 23.             WHO
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1     TOOK THESE PHOTOGRAPHS?

2           A     I TOOK THEM AND I JUST WANTED TO SHOW KIND OF WHAT

3     IT LOOKED LIKE.     IT'S GOT A NICE SHINY FLOOR.

4           Q     KEEP GOING, PLEASE, PAGE 24.       AND WE'LL JUST ROLL

5     THROUGH THESE.     THERE MAY NOT BE ANYTHING TO BE SAID ON PAGE

6     25.   PAGE 26, 27, SCROLL UP SO WE CAN SEE THE BOTTOM.

7                 AT THE BOTTOM IS THAT A GENERAL MEDICINE EXAMINATION

8     ROOM THAT WE'RE SEEING THERE?

9           A     YES, IT IS.     AND THE OTHER THING IT DEMONSTRATES, IT

10    DEMONSTRATES -- AND IT ISN'T ALWAYS SHOWN ON THESE MEDICAL

11    RECORDS.    YOU CAN SEE THE PAGE WITH THE RED BORDER AROUND IT.

12    YOU KNOW ONCE YOU GET USED TO THESE MEDICAL RECORDS YOU KNOW

13    HOW TO FIND THINGS.     IT'S LIKE HAVING A CLUTTERED CLOSET, YOU

14    KNOW, YOU CAN FIND THINGS THAT SOMEBODY ELSE WHO COMES IN

15    CAN'T FIND, AND THESE NURSE PRACTITIONERS KNOW HOW TO FIND

16    THINGS IN THAT PAPER RECORD.

17          Q     SO WHAT IS THE COLORED BORDER?       IN THIS CASE I GUESS

18    WE'RE LOOKING AT RED.       WHAT DOES THAT INDICATE?

19          A     I THINK THAT'S A TRIP RETURN.

20          Q     GO BACK TO THAT PAGE THERE.       YOU OBSERVED THE NURSE

21    PRACTITIONERS ACTUALLY LOOKING THROUGH THE CHARTS AS THEY WERE

22    PROVIDING CARE?

23          A     YES.

24          Q     NEXT PAGE, PLEASE, PAGE 28.

25                MORE PHOTOGRAPHS.
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1                 THE ORTHOPEDIST AT THE BOTTOM THAT COMES FROM

2     SPECIALISTS OUTSIDE?

3           A     YES, THAT'S HIM.

4           Q     LET'S KEEP GOING.     PAGE -- MORE PHOTOGRAPHS THERE.

5     KEEP GOING, PLEASE.      OKAY.    KEEP GOING.    STOP RIGHT THERE ON

6     24.

7                 WHAT IS THAT ON THE BOTTOM OF PAGE 24, PLEASE,

8     DOCTOR?

9           A     THAT PICTURE IS THE RADIOLOGY OFFICE.          THIS IS WHERE

10    THEY DO THE PLAIN X-RAYS IF YOU'RE GOING TO HAVE A CHEST X-RAY

11    OR FLATTEN UP THE RIGHT ABDOMEN OR LOOKING AT AN EXTREMITY

12    THAT'S WHERE THIS IS DONE.        THE CT SCAN OR THE MRI AND

13    ULTRASOUND ARE DONE OUT FRONT.

14          Q     ALL RIGHT.      LET'S GO TO THE NEXT PAGE.      NOW WE'RE ON

15    PAGE 31.    SPECIALTY CARE.

16                LET'S TALK GENERICALLY FIRST ABOUT WHAT YOU FOUND

17    OUT ABOUT SPECIALTY CARE.

18          A     WELL, THERE ARE SOME SPECIALISTS ON SITE LIKE

19    DR. PALONE, THE GASTROENTEROLOGIST.         THEY'VE GOT AN

20    OPTOMETRIST AND OTHERS AND THEY CAN -- THEY DO TELEMEDICINE

21    WITH THE SPECIALISTS FROM UMC, FOR INSTANCE, ENDOCRINOLOGY.

22    NO, I THINK THE ENDOCRINOLOGIST COMES OUT THERE NOW.             BUT THEY

23    CAN DO TELEMEDICINE.        AND THEN A LOT OF THE SPECIALTY

24    CONSULTATIONS ARE DRIVING ALL THE WAY TO NEW ORLEANS.

25          Q     SO THERE'S THREE METHODS:       YOU'VE GOT TELEMED ON
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1     SITE AND OFFSITE UMC OR WHEREVER THE FACILITY MAY BE; CORRECT?

2           A     CORRECT.

3           Q     LET'S GO THROUGH A COUPLE OF THESE PHOTOGRAPHS.

4     WE'RE ON PAGE 32.      THE TOP PART OF THAT -- OR BOTH OF THESE

5     PHOTOGRAPHS, WHAT IS THAT SPACE AS YOU RECALL?

6           A     WELL, THIS IS -- I THINK WAY DOWN AT THE END OF THE

7     HALL IS PHYSICAL THERAPY AND DOWN HERE ON THE LEFT IS THE

8     SPECIALTY TELEMEDICINE.        ON THE RIGHT I THINK YOU'VE GOT THE

9     PULMONARY FUNCTION TESTING AND THEN ON THE BOTTOM IT'S PART OF

10    THE ATU.    THE ATU IS DIVIDED INTO AN ACUTE AREA AND -- I'M

11    SORRY.

12          Q     YEAH, LET ME HELP YOU OUT.       COULD WE BE LOOKING AT

13    THE COLONOSCOPY ROOM AT THE BOTTOM OR THE --

14          A     THANK YOU.      THANK YOU.   I PROBABLY WOULD HAVE PICKED

15    UP ON THAT IN A MINUTE BUT, YES, THAT'S THE COLONOSCOPY ROOM.

16          Q     SO ALL PART OF THE NEW MEDICINE BUILDING, RIGHT?

17          A     YES.

18          Q     LET'S GO TO THE NEXT -- NOW WE'RE ON PAGE 33.              OKAY.

19                ALL RIGHT.      LET'S GO TO THE NEXT SECTION WHICH IS ON

20    PAGE 35.

21                ALL RIGHT.      CURRENT ON-SITE SPECIALTY CLINICS.

22    DOCTOR, YOU LISTED THOSE OUT.        THOSE ARE THE CURRENT ON-SITE

23    SPECIALTY CLINICS AS YOU FOUND?

24          A     YES.   I DIDN'T SEE THEM ALL, BUT I TOOK INFORMATION

25    FROM DR. JOHNSON, DR. LAVESPERE AND DR. TOCE, AS WELL AS THE
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1     NURSE PRACTITIONERS, ABOUT WHAT WAS AVAILABLE.          I DID GO IN

2     THE OPTOMETRY ROOM AND THE GI ROOM WE TALKED ABOUT.

3           Q     OKAY.   ALL RIGHT.   LET'S GO TO PAGE 35 NOW.        THE

4     LIST CONTINUES.     AND BELOW THAT YOU'VE GOT TELEMED CLINICS

5     WITH UMC AFFILIATED SPECIALISTS THAT YOU'VE LISTED OUT THERE.

6     WHERE DID YOU GET THAT INFORMATION?

7           A     SAME -- SAME, JOHNSON AND TOCE AND LAVESPERE AND THE

8     NURSE PRACTITIONERS.

9           Q     OKAY.   NOW LET'S GO TO PAGE 36.      ALL RIGHT.

10                THE OFFSITE REFERRALS AND TRIPS, WHAT DID YOU

11    DETERMINE AS TO THAT PROCESS?

12          A     WELL, I THINK YOU'RE STARTING ON LINE 1?

13          Q     YES, SIR.   GO AHEAD.

14          A     OKAY.   SO THIS IS THE OFFSITE REFERRALS TO SEND

15    PEOPLE OUT.    SO THAT MEANS THEY'VE GOT TO BE TAKEN FROM THEIR

16    HOUSE, THEY'VE GOT TO BE CHAINED UP ONE WAY OR THE OTHER AND

17    THEY'VE GOT TO BE TAKEN BY VAN OR A STATE CAR, SOMEWAY, TO AN

18    OFFSITE SPECIALTY REFERRAL.

19                TOCE SCREENS EVERY ONE OF THESE REFERRALS FOR

20    NECESSITY AND SIGNS OFF AND THEN THE TRIP NURSE PUTS THAT INTO

21    ECEPTIONIST AND THEN THEY INTERFACE WITH HEADQUARTERS ABOUT

22    ECEPTIONIST.    ECEPTIONIST IS USED NOT JUST AT LSP -- AND THIS

23    SURPRISED ME -- 120 FACILITIES IN LOUISIANA USE ECEPTIONIST.

24    MELANIE BENEDICT WILL TALK ABOUT THAT.

25                AND THEN, LIKE I SAID, SHE'S GOT PEOPLE THAT WORK
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1     FOR HER, THE RN'S WORKING IN HER DEPARTMENT AT HEADQUARTERS,

2     AND THEY ACTUALLY DO THE SCHEDULING WHICH IS HARD.            TRY AND

3     GET AN APPOINTMENT WITH A SPECIALIST IT'S TOUGH, ESPECIALLY

4     WHEN THEY'RE PRISONERS, AND YOU MAY NOT WANT TO SEE THEM.              BUT

5     ANYWAY, THAT ALL OCCURS.

6                 AND THEN UMCNO WORKS WITH EPIC THEIR SOFTWARE SYSTEM

7     AND THEIR SOFTWARE SYSTEM IS VISIBLE AND THEY CAN SIGN ON TO

8     IT AT LSP.

9           Q     OKAY.   ALL RIGHT.    YOU HAVE A PARAGRAPH OR A

10    REFERENCE HERE TO CONNECT CARE SOFTWARE BY NURSE BENEDICT?

11          A     SHE -- SHE DOES SOMETHING EXTRA AND I THINK IT'S

12    GOING TO BE IMPORTANT TO BE ABLE TO DEPOSE HER ABOUT HOW SHE

13    USES IT.    BUT WHAT THEY DO IS THEY ACTUALLY CUT AND PASTE OR

14    COPY AND PASTE EVERYTHING THAT HAPPENS AT THE HOSPITAL INTO A

15    SEPARATE DATABASE.     SO SHE CAN LOOK BACK ON THAT DATABASE FOR

16    WHAT'S HAPPENED DURING THE HOSPITALIZATION FOR YEARS IN THE

17    PAST.

18          Q     ALL RIGHT.      LET'S GO TO THE NEXT PAGE.      WE'RE ON

19    PAGE 37 NOW.    AFTER THE APPOINTMENT AND THE PATIENT RETURNS

20    WHAT'S THE PROCESS AS FAR AS THE TRIP OFFICE IS INVOLVED?

21          A     THEY HAVE A NURSE THAT SEES THEM IMMEDIATELY AND

22    COPIES INFORMATION ONTO THAT TRIP RETURN AND SETS UP THE

23    FOLLOW-UP VISIT WITH THE NURSE PRACTITIONER FOR THE VISIT, BUT

24    DR. TOCE WILL SIGN OFF ON THOSE ORDERS.          A NURSE DOES THE

25    ORDERS AND HE SIGNS OFF ON THEM IF HE THINKS THEY'RE
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1     APPROPRIATE IN THIS SETTING, BECAUSE THEY'RE NOT ALL

2     APPROPRIATE.    I MEAN YOU'VE GOT -- YOU'VE GOT DOCTORS THAT ARE

3     JUST STARTING OUT THAT ARE WRITING THESE ORDERS.           THEY DON'T

4     KNOW WHAT'S GOING ON IN THE PRISON.

5           Q     LET'S MOVE NOW TO PAGE 39.      39 WE'RE TALKING ABOUT

6     THE INFIRMARIES AND THE NURSING UNITS.         DID YOU OBSERVE THE

7     TWO NURSING UNITS AT LSP?

8           A     I DID.

9           Q     OKAY.    AND WHAT DID YOU FIND ABOUT THE NURSING

10    UNITS, DOCTOR?

11          A     THEY WERE KIND OF LIKE WHAT I WAS USED TO IN

12    CALIFORNIA.    YOU'VE GOT A BUNCH OF SICK MEN AND THE -- THE

13    INFIRMARY OR NURSING UNIT 1 IS THE SICKER MEN.          THIS IS

14    WHERE -- THIS IS AN IMPORTANT THING I THINK AT LSP COMPARED TO

15    OTHER FACILITIES I'VE SEEN.      THEY BRING THEIR TRIP RETURNS

16    BACK AND PUT THEM IN THE INFIRMARY SO THEY'RE OBSERVED AND

17    CARED FOR INITIALLY RATHER THAN JUST SENDING THEM BACK TO

18    THEIR HOUSE, OR MAYBE SOME GO BACK TO THEIR HOUSE.

19                BUT THEY PRIMARILY PUT THEM INTO THE INFIRMARY SO

20    THAT THOSE ORDERS ARE WRITTEN, THE PATIENT'S EVALUATED AND THE

21    PATIENT'S DISCHARGED WITH THE DISCHARGE SUMMARY THAT YOU SEE

22    IN THE MEDICAL RECORD.

23                AND SO IN NURSING UNIT 1 YOU DO HAVE THESE LOCKED

24    ROOMS, WHICH THERE'S BEEN A LOT OF TALK ABOUT AND, YOU KNOW,

25    IT IS A PRISON.      IT DOES NEED TO HAVE SECURITY.
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1                 MR. DUBNER:     OBJECT, YOUR HONOR.      HE'S NOT

2     TESTIFYING AS A SECURITY WITNESS AND ALSO I BELIEVE IT'S

3     OUTSIDE THE SCOPE OF THE REPORT.

4                 MR. ARCHEY:     IT'S CORRECTIONAL MEDICINE, YOUR HONOR.

5     THAT'S EXACTLY WHAT HE'S TALKING ABOUT.          HE'S TALKING ABOUT

6     THE LIKES HERE AND THE REASON FOR THAT.

7                 THE COURT:      OVERRULED.

8                 THE WITNESS:     SO YOU DO NEED TO HAVE PLACES WHERE

9     YOU CAN HAVE PEOPLE LOCKED UP.        EVEN IN THE HOSPICE IN

10    CALIFORNIA, WE DIDN'T HAVE THE LOCKED ROOMS, SO THAT MEANT WE

11    COULDN'T TAKE PEOPLE WHO HAD LIFE SENTENCES FROM SAN QUENTIN.

12    SO THEY COULDN'T COME THERE.       IT'S JUST THE LEVEL OF SECURITY

13    MAKES SO MUCH DIFFERENCE AS FAR AS MEDICAL CARE IS CONCERNED.

14                SO EVERYBODY HAD TO BE SHUT DOWN IF YOU HAD A LIFER

15    COME IN.    AND WE COULDN'T PUT HIM IN THE HOSPICE.          WE HAD TO

16    PUT HIM UP IN ANOTHER UNIT WHERE WE HAD TO HAVE EVERYBODY

17    LOCKED UP IF WE WOULD TAKE THEM.

18                SO IT'S THE COMPLEXITY OF CARING FOR INMATES WITH

19    DIFFERENT SECURITY.      SO THE LOCKED ROOMS ARE, AS WE LEARNED

20    THIS MORNING, SOME OF THEM ARE PRIMARILY FOR SECURITY.

21    THEY'RE THE ONES THAT THEIR BEDS ARE BOLTED TO THE FLOOR AND

22    OTHER TIMES IT'S FOR PEOPLE WHO NEED TO BE THERE FOR ISOLATION

23    OR THEY ALSO USE THE LOCKED ROOMS FOR HOSPICE PATIENTS.                NOW

24    THE HOSPICE PATIENTS' DOORS ARE OPEN SO YOU CAN WALK IN AND

25    OUT, BUT THEY'RE BY THEMSELVES FOR VARIOUS REASONS AT THE END
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1     OF THEIR LIFE.

2     BY MR. ARCHEY:

3           Q     INSTALLATION OF THE CALL LIGHTS THAT WE'VE SEEN.           IS

4     THAT APPROPRIATE?

5           A     THE CALL LIGHTS ARE GOOD.       I LOOKED AT THE CALL

6     LIGHTS SPECIFICALLY.        I ASKED THE NURSES ABOUT THEM.       I ASKED

7     THE OFFICER ABOUT THEM, WHAT SHE DID WITH THE CALL LIGHTS AND

8     I ALSO ASKED A.W. OLIVEAUX ABOUT THE CALL LIGHTS AND WHAT THE

9     POST ORDERS WERE FOR, FOR THE OFFICERS WHEN THEY SAW THAT

10    LIGHT COME ON.

11          Q     ALL RIGHT.      NU-2, VERY BRIEFLY, CAN YOU TALK ABOUT

12    THE NURSING UNIT 2?

13          A     WELL, THERE'S BEEN TESTIMONY, AND IT'S TRUE, YOU'VE

14    GOT SOME SICK CHRONIC PEOPLE THERE.         THERE ARE PARAPLEGICS,

15    QUADRAPLEGICS, ALZHEIMER'S PATIENTS, JUST PLAIN OLD MAN THAT

16    CAN'T LIVE ANYPLACE ELSE BECAUSE THEY NEED A LITTLE SUPPORT OR

17    MAYBE NEED A LOT OF SUPPORT.

18                SO IT'S LIKE A NURSING HOME ON THE STREET.           AND IN A

19    NURSING HOME ON THE STREET, AS YOU KNOW, WHILE YOU MIGHT HAVE,

20    YOU KNOW, A COUPLE HUNDRED PEOPLE IN THE NURSING HOME AND YOU

21    HAVE ONE NURSE'S STATION AND THEN YOU HAVE VARIOUS LEVELS OF

22    NURSES THAT TAKE CARE OF THEM.

23          Q     OKAY.   ALL RIGHT, DOCTOR, LET'S FLIP THROUGH THE

24    NEXT SEVERAL PAGES OF PHOTOGRAPHS.          IF WE GO TO PAGE 40.

25    THESE ARE ALL PHOTOGRAPHS OF THE NURSING UNITS AND I WON'T --
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1     YOU AND I WILL NOT TRY TO DIFFERENTIATE BETWEEN 1 AND 2; I'M

2     NOT SURE WE COULD.

3                 THE TOP OF PAGE 35, WHAT ARE WE LOOKING AT THERE,

4     DOCTOR?

5           A     THAT'S WHERE INMATES SIT AND WATCH THE TELEVISION.

6     THOSE ARE CALLED GERI CHAIRS.        IT'S ONE OF THE THINGS THAT

7     YOU -- IT'S ONE OF THE WAYS THAT YOU GET THEM OUT OF THE BED

8     TO BE ABLE TO SIT SEMI-UPRIGHT ANYWAY AND STILL -- THEY COULD

9     PUSH THOSE GERI CHAIRS AROUND TOO.          BUT AT LEAST THEY'RE AWAY

10    FROM THEIR IMMEDIATE BED AND IN A SPACE WHERE THERE'S A BIT

11    MORE INTERACTION WITH OTHERS.        AND -- SO IT'S JUST KIND OF

12    RECREATIONAL FOR PEOPLE THAT ARE LARGELY CONFINED TO BED.

13          Q     THEY'VE GOT TV AND LIGHT FROM THE WINDOWS AND THAT

14    TYPE OF THING?

15          A     YES.

16          Q     IS THAT IMPORTANT FOR HEALTH?

17          A     YES.   I MEAN THAT MAY BE ALL YOU'VE GOT AT THAT

18    POINT IN YOUR LIFE.

19          Q     LET'S KEEP SCROLLING THROUGH THE PICTURES, PLEASE.

20    THE ONE AT THE BOTTOM ON PAGE 35, WHAT ARE WE LOOKING AT THERE

21    PLEASE, DOCTOR?

22          A     WE'RE LOOKING AT A NURSING STATION.         I TOOK THAT

23    PICTURE FROM OUTSIDE THE NURSE'S STATION.          I DON'T KNOW

24    WHETHER IT'S 1 OR 2.        IT LOOKS LIKE IT'S ONE BECAUSE IT

25    DOESN'T HAVE THAT MANY CHARTS IN IT, SO I JUST TOOK A PICTURE
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1     FOR REFERENCE.

2           Q     OKAY.   LET'S KEEP ROLLING, PLEASE.        KEEP GOING,

3     PLEASE.   ON PAGE 44, WHAT ARE WE LOOKING AT THERE, DOCTOR?

4           A     I THINK THAT'S NURSING UNIT 2.        AS YOU CAN SEE IT'S

5     MORE CHARTS AND -- YOU KNOW, THEY'RE JUST IN A CHART RACK.

6     IMPORTANT THING TO NOTE IS YOU'VE GOT AT LEAST ONE DNR -- A

7     COUPLE OF DNR GUYS THERE -- THREE, FOUR DNR GUYS.            THAT'S

8     IMPORTANT BECAUSE YOU DON'T WANT SOMEBODY TO START DOING CPR

9     ON SOMEBODY THAT WANTS TO PASS AWAY WITHOUT INTERVENTION.

10          Q     DOCTOR, IF I'M UNDERSTANDING, WHEN I LOOK AT THAT

11    PHOTOGRAPH THE RED BOOKS ARE DNR'S?

12          A     WELL, THEY'RE -- I THINK THERE'S A DNR OVER THERE ON

13    THE LEFT TOO.

14          Q     OH, I SEE.      THERE'VE GOT THE STICKERS --

15          A     A COUPLE THERE WITH THE STICKERS, SO BASICALLY

16    THAT'S DNR.    YOU EXPECT THE NURSES TO KNOW WHO THE DNR

17    PATIENTS WERE TOO, BUT IF YOU'RE JUST PULLING THE CHART IT'S

18    LOOKING AT YOU EVERY TIME YOU PULL THE CHART OUT.

19          Q     VERY GOOD.      LET'S GO TO PAGE 45 NOW.     DOCTOR, WHAT

20    HAVE WE GOT HERE?     THESE TWO PHOTOGRAPHS LOOK SIMILAR?

21          A     YEAH.   THESE ARE ONE OF THE LOCKED ROOMS.         WE HAD

22    SOME TESTIMONY AND DISCUSSION THIS MORNING ABOUT WHETHER THERE

23    WERE HOSPITAL BEDS IN ALL THE LOCKED ROOMS.           THIS DEMONSTRATES

24    THAT THE HOSPITAL BEDS ARE IN THE LOCKED ROOMS THAT ARE NOT

25    THE SECURITY ROOMS, AND IT ALSO DEMONSTRATES THE CALL LIGHT ON
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1     THE WALL JUST -- JUST A SWITCH.

2           Q     LET'S GO TO PAGE 46 NOW.        AND THAT'S A CLOSEUP OF

3     THE CALL LIGHT AND THE REMOTE TO OPERATE THE BED; IS THAT

4     RIGHT?

5           A     YES.

6           Q     SO THE LIGHT SWITCH IS THE LIGHT OR THE BUTTON OR

7     THE -- THAT OPERATES THE LIGHT OUTSIDE THE DOOR TO ALERT THE

8     NURSE, RIGHT?

9           A     CORRECT.

10          Q     AND THEN THE OTHER REMOTE IS FOR THE BED UP AND DOWN

11    AND COMFORT?

12          A     YES.

13          Q     ALL RIGHT.      LET'S KEEP GOING TO PAGE 47.       WHAT ARE

14    WE LOOKING AT HERE, DOCTOR?

15          A     THIS IS A HOSPICE ROOM.         THIS IS ONE OF THOSE LOCKED

16    ROOMS THAT'S BEEN MODIFIED A LITTLE BIT TO BE A BIT MORE

17    HOMEY.    SO AN INMATE HAS ALL OF HIS POSSESSIONS HERE AND --

18    YOU KNOW, IDEALLY THIS IS WHERE YOU GET FAMILY MEMBERS TO COME

19    IN AND VISIT.      YOU GET THOSE ORDERLIES THAT ARE TASKED WITH

20    SPENDING THE TIME WITH THE INMATE IN HOSPICE DURING HIS LAST

21    DAYS WHEN THEY'RE SITTING VIGIL.        SO IT NEEDS TO BE -- I MEAN

22    IT'S A BIT MORE HOMEY.

23          Q     LET'S KEEP GOING.     NEXT PAGE -- JUST A PHOTOGRAPH OF

24    WHERE WE ARE.      NEXT PAGE, PLEASE.       THIS IS PAGE NUMBER 49.

25    ALSO A PICTURE OF THE UNIT.
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1                 WHAT ARE WE LOOKING AT AT THE BOTTOM OF PAGE 49,

2     DOCTOR?

3           A     THAT'S CALLED A HOYER.      IT'S A HOYER LIFT.       THOSE --

4     THAT ARM KIND OF GOES BOTH WAYS IN THE CENTER.           YOU CAN PUT A

5     STRAP UNDERNEATH SOMEBODY AND PICK THEM UP.           SAY ONE OF THE

6     INMATES IN THIS MATTER WEIGHS 400-POUNDS AND TRYING TO LIFT A

7     400 POUND PERSON WHO CAN'T HELP HIMSELF NEEDS A HOYER LIFT.

8     THIS ONE ACTUALLY -- THIS ONE LOOKS ELECTRIC.           SOME PLACES

9     THEY ONLY HAVE ONES THAT YOU CRANK, BUT THIS ONE LOOKS LIKE IT

10    PLUGS IN SO YOU CAN GET HIM UP AND OUT OF BED AND ONTO A

11    SHOWER CHAIR OR BASSINET OR SOMETHING IN ORDER TO WASH THEM.

12          Q     ALL RIGHT.      LET'S LOOK ON PAGE 50.     WHAT ARE WE

13    LOOKING AT HERE, DOCTOR?

14          A     OH, THOSE ARE ALL OF THE PAPERS ON THE WINDOWS THERE

15    AND DR. JOHNSON IS ON THE OUTSIDE LOOKING IN.           THE BOTTOM ONE

16    THOUGH -- I WAS WATCHING -- I THINK THIS WAS THE QUADRAPLEGIC

17    PATIENT AND --

18          Q     I'M GOING TO ASK YOU TO -- LET'S PUT A PIN IN THAT

19    AND WE'RE GOING TO COME BACK TO THIS.

20          A     ALL RIGHT.

21          Q     THAT'S THE INMATE ORDERLY RIGHT THERE; IS THAT

22    RIGHT?

23          A     YES.

24          Q     ALL RIGHT.      WE'LL COME BACK TO THAT.     I WANT TO

25    COVER THAT WHEN WE TALK ABOUT THE INMATE ORDERLIES.            WE'LL
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1     COME BACK TO THIS PAGE.

2                 LET'S KEEP GOING.    ALL RIGHT.     ASH UNITS.    YOU WENT

3     INTO THE ASH UNITS.     WHAT ARE THE ASH UNITS, FIRST?

4           A     THEIR BASICALLY THE LONG-TERM CARE MEDICAL UNITS.

5     THEY'RE PLACES THAT PEOPLE CAN'T REALLY LIVE ON -- WITHOUT

6     SOME SORT OF HELP AND IT -- LIKE IN CALIFORNIA WE CALL IT THE

7     OUTPATIENT HOUSING UNIT.      THEY'RE SEEN A BIT MORE BY MEDICAL.

8     THEY NEED SOME HELP WITH THEIR ADL'S.         THEY MAY NEED -- THEY

9     MAY BE IN WHEELCHAIRS OR THEY MAY HAVE A CATHETER OR THEY MAY

10    HAVE JUST OTHER AIDS THAT ARE NECESSARY; A WALKER, THAT SORT

11    OF THING.

12          Q     OKAY.   AND WOULD AIR CONDITIONING IN BOTH OF THE --

13    ALL OF THE ASH UNITS BE A SUBSTANTIAL IMPROVEMENT?

14          A     YOU BETCHA.

15          Q     NOW WE ARE TO THE INMATE ORDERLIES.        LET'S TALK

16    ABOUT THE INMATE ORDERLIES BEGINNING ON PAGE 51 THERE.            WHAT

17    DID YOU FIND OUT ABOUT LSP'S INMATE ORDERLY PROGRAM?

18          A     WELL, I FOUND THAT IT'S INTEGRAL TO THEIR CARE ON

19    THE ASH UNITS, AS WELL AS THE NURSING UNIT 1 AND 2, BECAUSE

20    THE INMATE ORDERLIES PERFORM HELP WITH THE ADL'S THAT THE

21    PATIENTS CAN'T DO BY THEMSELVES AND IT'S REALLY COMMON THINGS;

22    ROLLING OVER, FEEDING, SETTING UP AND THAT SORT OF THING, THAT

23    AN INMATE ORDERLY CAN EASILY DO PARTICULARLY WHEN THEY'VE HAD

24    SOME TRAINING.

25          Q     DID YOU LOOK AT THE TRAINING THAT IS PROVIDED TO THE
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1     INMATE ORDERLIES?

2           A     JENNIFER STICKELLS AND I SPENT SOME TIME TALKING

3     ABOUT THAT, AND UNFORTUNATELY SHE HAD BEEN OUT FOR SIX MONTHS

4     WITH COVID AND WITH FMLA, SO IT WASN'T QUITE UP TO DATE THE

5     WAY I WOULD HAVE LIKED IT TO BE.         BUT WE WENT THROUGH THE

6     TRAINING AND NOW SHE'S TRAINING THEM WITH A NEW DVD FOR

7     TRAINING MEDICAL ASSISTANTS THAT WILL BE A VISUAL

8     DEMONSTRATIVE THAT WILL BE EVEN MORE HELPFUL.

9                 MR. DUBNER:     OBJECTION.      HE'S TESTIFYING ABOUT A

10    DOCUMENT OR DVD THAT'S NEVER BEEN MENTIONED OR PRODUCED TO US.

11                MR. ARCHEY:     HE SAID IT'S GOING TO BE A

12    DEMONSTRATIVE AND IT'LL BE PRODUCED TIMELY TODAY.             WE HAVE AN

13    AGREEMENT ABOUT HOW WE HANDLE DEMONSTRATIVES, JUDGE.

14                THE COURT:      AT THIS POINT IT HASN'T BEEN OFFERED OR

15    SHOWN SO THE OBJECTION IS SUSTAINED.

16    BY MR. ARCHEY:

17          Q     LET'S GO TO -- NOW, I PROMISED, LET'S GO BACK TO

18    PAGE 50 WHICH IS A PHOTOGRAPH OF AN INMATE ORDERLY.             DID YOU

19    OBSERVE THIS ENCOUNTER WITH THIS INMATE ORDERLY?

20          A     YES.

21          Q     WHAT WAS HAPPENING HERE?

22          A     AS I SAID, I THINK THIS IS THE QUADRAPLEGIC MAN;

23    MAYBE HIS NAME IS MARTIN.

24                MR. ARCHEY:     SORRY.

25                THE WITNESS:     I DON'T KNOW WHAT HIS NAME IS.
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1     BY MR. ARCHEY:

2           Q     JUST KEEP NAMES OUT OF IT --

3           A     OKAY.

4           Q     -- JUST TO BE SAFE, PLEASE.

5           A     I THINK THIS IS THE QUADRAPLEGIC FELLOW THAT NEEDS

6     TO HAVE DRESSING CHANGES BECAUSE HE HAS STAGE FOUR DECUBITI

7     AND THAT'S -- IT'S SOMETHING THAT A NURSE DOES, BUT THERE

8     ARE -- SOILED DRESSINGS AND THAT SORT OF THING, SO TO GET

9     THOSE OUT OF THE WAY THE NURSE -- THE ORDERLY HELPS.

10                AND I HAD THIS GUY TURN HIS HEAD SO THAT WE WOULDN'T

11    SEE WHO HE WAS, BUT YOU CAN SEE THAT HE'S WEARING GLOVES AND

12    WEARING A GOWN SO THAT HE WOULD -- AND HE WAS APPROPRIATELY

13    TRAINED TO BE ABLE TO HELP DO WHAT HE WAS DOING, JUST HELPING

14    A NURSE TAKE AWAY THE WASTE-SOILED DRESSINGS.

15          Q     RIGHT.   LET'S MAKE SURE.      WHO WAS ACTUALLY CHANGING

16    THE DRESSING ON THIS PATIENT?

17          A     THE NURSE WAS.

18          Q     AND THEN WHEN SHE WOULD PULL OFF HIS SOILED DRESSING

19    WHAT WOULD SHE DO WITH IT?

20          A     HE WOULD TAKE IT AND PUT IT IN A BAG.

21          Q     SO THAT WAS THE ASSISTANCE HE WAS PROVIDING TO THE

22    NURSE AS SHE CHANGED THE DRESSING FOR THE PATIENT?

23          A     YES.    UNLESS HE MIGHT HAVE BEEN HELPING TO HOLD THE

24    GUY UP ON HIS SIDE.      BECAUSE, YOU KNOW, REMEMBER IF IT'S A

25    SACRAL DECUBITUS HE MIGHT BE LYING ON HIS STOMACH, BUT MORE
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1     THAN LIKELY HE'S LYING ON HIS SIDE AND THE NURSE WOULD BE ON

2     THAT SIDE AND THE ORDERLY WILL BE ON THE OTHER SIDE.            I'VE

3     SEEN THIS SO MANY TIMES IN HOSPICE; I KNOW HOW THAT WORKS.

4           Q     GOING BACK TO PAGE 51.     DID YOU OBSERVE THE

5     ORDERLIES IN THE ASH UNITS AS WELL?

6           A     YES.    THEY'RE LIVING THERE.     AND SO THEY'RE TASKED

7     WITH HELPING SOME OF THE INMATES WITH THEIR ADL'S; GETTING

8     THEM TO THE SHOWER.      AND WE ALSO HAD A CONVERSATION WITH THE

9     ASSISTANT WARDEN, NETTLES, WHO SUPERVISES THE INMATE ORDERLIES

10    THAT WORK ON THESE ASH UNITS.

11          Q     OKAY.   SORRY ABOUT THAT.      YOU HAD A COMMENT ABOUT

12    THE ORDERLIES KNOW CPR.      THIS IS ON PAGE 52 THERE TOWARD THE

13    BOTTOM OF THE FIRST CARRYOVER PARAGRAPH.

14                WHY IS THAT IMPORTANT, DOCTOR?

15          A     WELL, SOMEBODY KNOWS CPR.      AND IF -- IF YOU'VE GOT

16    80 OR SO INMATES IN A DORMITORY AND YOU DON'T HAVE ANY

17    OFFICERS PRESENT YOU'D WANT TO HAVE SOMEBODY WHO CAN START CPR

18    SO YOU CAN POSSIBLY MAKE A DIFFERENCE AS FAR AS THIS PERSON

19    WHO JUST HAD AN ARREST.

20          Q     LET'S GO THROUGH SOME PHOTOGRAPHS YOU HAVE NOW

21    BEGINNING ON PAGE 53.

22                DO YOU KNOW WHERE THESE ARE?

23          A     I THINK THAT THAT BOTTOM ONE IS IN -- I THINK

24    THEY'RE IN THE ASH UNITS.

25          Q     LET'S KEEP GOING.    I DON'T MEAN TO GET YOUR MEMORY
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1     TEST --

2           A     ASH UNIT.   IT'S A TV ROOM.

3           Q     THAT'S ON PAGE 54.    KEEP GOING.     PAGE 55.    WHAT ARE

4     WE LOOKING AT THERE?

5           A     THAT'S A SCALE.    AS WE KNOW IT'S NOT USED AS OFTEN

6     AS IT MIGHT BE AND IT'S AN ELECTRONIC SCALE THAT YOU CAN RIDE

7     UP WITH ON YOUR WHEELCHAIR AND IT SUBTRACTED THE WEIGHT OF THE

8     WHEELCHAIR AND HAD A DIGITAL READOUT.

9           Q     KEEP GOING.     WE HAVE SOME MORE PHOTOGRAPHS OF THE

10    BATHROOMS.    KEEP GOING.

11                DOCTOR, I'LL STOP -- I'LL PAUSE JUST A SECOND ON

12    PAGE 58.    I DON'T KNOW WHICH OF THESE UNITS THIS IS.

13          A     I THINK THIS IS ASH 1.     SO THIS IS THE FIRST UNIT

14    THAT WE WENT INTO AND THAT'S DR. JOHNSON ON THE LEFT.            SO YOU

15    CAN SEE -- AS OPPOSED TO 2012 THROUGH 2016 THESE ARE ALL

16    SINGLE -- SINGLE BUNKED NOW, SO THERE ARE HALF AS MANY INMATES

17    HERE AS THERE WERE AT THAT TIME AND THE AISLES WILL

18    ACCOMMODATE A WHEELCHAIR.       IT'S NOT GOING TO ACCOMMODATE TWO

19    WHEELCHAIRS SIDE BY SIDE.       SOMEBODY IS GOING TO HAVE TO WAIT A

20    MINUTE, BUT THEY'RE WIDE ENOUGH TO GET BY.

21          Q     LET'S KEEP GOING.    AND KEEP GOING, PLEASE.        ALL

22    RIGHT.    LET'S PAUSE ON PAGE 59 AT THE BOTTOM.

23                WHAT ARE WE LOOKING AT THERE, DOCTOR?

24          A     THAT'S THE MONITOR THAT DEMONSTRATES WHO'S GOT

25    CALLOUTS FOR THE DAY.       IT DOESN'T SAY WHERE THEY GO, BUT
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1     THEY'VE GOT A CALLOUT.        THEY'VE GOT AN APPOINTMENT SO THEY CAN

2     HAVE THEIR MEAL OR WHATEVER, GET THEIR CLOTHES TOGETHER, MAKE

3     SURE THEY'VE GOT WHAT THEY NEED TO TAKE ON A TRIP.            THIS

4     REPLACED THE PAPER CALLOUTS THAT WERE USED FOR OTHER SOMETIMES

5     NEFARIOUS REASONS.

6           Q     ON PAGE 60 WE'VE GOT A CLOSEUP OF THAT SAME MONITOR;

7     IS THAT RIGHT?

8           A     I THINK SO.

9           Q     ALL RIGHT.      ON PAGE 60 WE START TALKING ABOUT SICK

10    CALL.     LET'S TALK ABOUT THE SICK CALL PROCESS.        WHAT IS YOUR

11    OPINION ABOUT NURSE PRACTITIONERS CONDUCTING SICK CALL AT LSP?

12          A     I THINK IT'S A HUGE IMPROVEMENT.         I THINK IT EXCEEDS

13    THE STANDARD OF CARE.        IN OTHER FACILITIES INCLUDING THOSE

14    NCCHC FACILITIES YOU'VE GOT RN'S THAT ARE DOING SICK CALL.

15    THESE ARE NURSE PRACTITIONERS WHO CAN DIAGNOSE AND TREAT AND

16    SO I THINK IT'S HUGE.

17          Q     OKAY.   AND WHAT ABOUT THE FACT THAT THE SICK CALL IS

18    CONDUCTED BY TELEMED; WHAT'S YOUR OPINION OF THAT?

19          A     WELL, WE KNOW THAT IT HAS SOME SHORTCOMINGS AND

20    WE'VE DISCUSSED THAT.        YOU KNOW, WHETHER THERE'S AN

21    OPTHALMOSCOPE OR NOT IS ONE OF THE CRITICISMS THAT CAME UP.

22    WHETHER THE OTOSCOPE WAS THERE AND WHETHER THE -- STETHOSCOPE

23    WAS USING.    BUT I THINK WE HAVE TO LOOK TO THE TESTIMONY THIS

24    MORNING FROM --

25                MR. DUBNER:     OBJECTION, YOUR HONOR.      AGAIN, HE'S
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1     TESTIFYING ABOUT TESTIMONY FROM THIS MORNING AS OPPOSED TO THE

2     SCOPE OF HIS EXPERT REPORT.

3                 THE COURT:      I'M GOING TO ALLOW IT.

4                 THE WITNESS:     TESTIMONY THIS MORNING AND HEARSAY

5     FROM THE NURSE PRACTITIONERS AT THE FACILITY, THAT IF THEY

6     WANTED -- WANT TO LOOK AT THIS PATIENT SOME OTHER WAY, IF THEY

7     NEED TO LOOK IN THE EYE OR NEED TO LOOK IN THE EAR AND THE EMT

8     CAN'T DO IT, THEN THEY BRING HIM INTO THE ATU.

9                 AS MR. BORDELON SAID, SEVERAL TIMES A DAY HE BRINGS

10    PEOPLE IN THE ATU TO BE EVALUATED BECAUSE HE DOESN'T FEEL

11    COMFORTABLE WITH WHAT HE CAN SEE ON THE MONITOR.

12    BY MR. ARCHEY:

13          Q     NOW, THE EMT DURING THE SICK CALL PROCESS IS WITH

14    THE PATIENT IN ANOTHER ROOM.        DID YOU SEE THE ROOMS WHERE THE

15    EMT IS WITH THE PATIENT?

16          A     YES.

17          Q     WHERE ARE ALL OF THOSE ROOMS LOCATED?          HOW MANY OF

18    THEM ARE THERE APPROXIMATELY AND WHERE ARE THEY LOCATED?

19          A     THERE'S A FEW.      I WAS AT A COUPLE OF CAMPS.       I

20    LOOKED AT THE ONE ON DEATH ROW.        I LOOKED AT CAMP D I THINK

21    AND THEN THERE'S ALSO ONE THAT'S KIND OF REMOTE IN THE MAIN

22    FACILITY WHERE YOU'VE GOT THE -- ALSO HAVE TELEMEDICINE GOING

23    ON, BUT THERE ARE A FEW.

24          Q     OKAY.   THERE ARE MULTIPLE.      WHEREVER THEY NEED TO

25    CONDUCT -- WHERE THE PATIENTS ARE, THERE'S A ROOM, A PRIVATE
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1     ROOM THERE EQUIPPED TO CONDUCT THE SICK CALL; IS THAT CORRECT?

2           A     YES.

3           Q     ALL RIGHT.      OKAY.    WHEN YOU OBSERVED SICK CALL WITH

4     THE NURSE PRACTITIONER WHERE WAS THE MEDICAL RECORD DURING

5     THAT SICK CALL VISIT?

6           A     THE NURSE PRACTITIONER HAD IT IN FRONT OF HIM AND I

7     SHOWED HIM MY PICTURE AS WELL AS WHAT MR. BORDELON HAD TO SAY

8     THIS MORNING.

9           Q     ALL RIGHT.      BOTTOM OF PAGE 54.    YOU TALK ABOUT

10    SELF-DECLARED EMERGENCIES.

11                WHAT WERE YOUR OPINIONS ABOUT SELF-DECLARED

12    EMERGENCIES THAT YOU SAW AT LSP?

13          A     THAT THE EMT'S WERE PRACTICING MEDICINE WITHOUT A

14    LICENSE.

15          Q     AND WHAT WAS YOUR ADVICE AS TO LSP AS TO THE

16    SELF-DECLARED EMERGENCIES?

17          A     THAT CAN'T HAPPEN ANYMORE.

18          Q     ALL RIGHT.      LET'S LOOK AT SOME PHOTOGRAPHS BEGINNING

19    ON PAGE 55.    ALL RIGHT.      I THINK -- LET'S PAUSE AT THIS

20    COMPUTER SCREEN ON PAGE 62.          I'M SORRY.   THE ONE BEFORE WAS

21    61.

22                WHAT ARE WE LOOKING AT ON PAGE 62 OF THE COMPUTER

23    SCREEN?

24          A     THAT'S UPTODATE.        UPTODATE, IN THIS CIRCUMSTANCE,

25    THEY'RE LOOKING AT A DRUG SPECIFICALLY TO SEE HOW THAT DRUG
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1     CAN BE USED AS OPPOSED TO LOOKING FOR ARTICLES ABOUT

2     ULCERATIVE COLITIS OR ABDOMINAL PAIN OR AORTIC STENOSIS.

3     WE'LL TALK ABOUT THAT LITTER.

4           Q     LET'S KEEP GOING.    THESE ARE SOME OF THE ROOMS WHERE

5     SICK CALL TAKES PLACE, THE PHOTOGRAPHS THAT YOU'VE TAKEN; IS

6     THAT RIGHT?

7           A     YES.   THIS IS ONE -- I THINK THIS IS AT -- THE

8     BOTTOM ONE THESE ARE THE CAMPS.       THEN WE GO TO THE OFFENDER

9     RESTROOM, SECURITY RESTROOM, AND THEN THE ONE BELOW ON PAGE

10    57, THAT'S AT ONE OF THE NEW UNITS --

11          Q     PAGE 63.   LET'S BE CAREFUL.

12          A     SIXTY-THREE.    I USED THE PDF NUMBER.

13                I DON'T KNOW WHAT BORDELON CALLED THAT THIS MORNING,

14    BUT THAT'S ONE OF THE UNITS THEY PUT UP.         THEY KIND OF BROUGHT

15    IT IN ON A TRAILER.

16          Q     A COJEN I THINK WAS THE WORD HE USED --

17          A     WHAT IS IT?

18          Q     A COJEN.   A TRAILER IS WHAT THAT IS.       LET'S KEEP

19    GOING.    ON PAGE 64 WE'VE GOT SOME MORE OF THESE SPACES; IS

20    THAT CORRECT?

21          A     YES.

22          Q     SIXTY-FIVE YOU'VE GOT -- YOU'RE NOW AT CAMP F.            66,

23    KEEP GOING.    67.   AND I'M NOTICING YOU'RE TAKING PICTURES OF

24    THE AIR CONDITION UNIT.      ALL OF THESE SPACES ARE AIR

25    CONDITIONED AS WELL, CORRECT?
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1           A     CORRECT.

2           Q     NOW WE'RE ON PAGE 68.     MORE OF THE INFRASTRUCTURE

3     FOR SICK CALL IN THE FACILITY; IS THAT RIGHT?

4           A     YES.    THAT'S AN INMATE BATHROOM.

5           Q     OKAY.   KEEP GOING ON PAGE -- NOW WE'RE ON PAGE 70.

6     THIS IS THE MAIN PRISON CLINIC ROOMS.         DESCRIBE THAT SPACE FOR

7     US, PLEASE.

8           A     WELL, IT'S AN AREA THAT'S OUT IN THE HOUSING UNITS

9     WHERE INMATES CAN GO FOR THEIR SICK CALLS.          AND SO THEY'RE --

10    I THINK THERE ARE THREE ROOMS THERE AND YOU'VE GOT AN EMT

11    THAT'S SIGNING THEM IN AND DOING VITAL SIGNS AND THEY CAN SIT

12    IN FRONT OF THE CAMERA AND TALK TO MR. BORDELON OR WHOEVER

13    ELSE IS DOING SICK CALL.

14          Q     THE THREE ROOMS THAT YOU DESCRIBED, THESE ARE

15    PRIVATE ROOMS, RIGHT?

16          A     YES.

17          Q     KEEP GOING.     LET'S MOVE ON.    MORE OF THAT SAME SPACE

18    ON PAGE 71.    NOW PAGE 72, WE'RE UP TO DEATH ROW NOW, RIGHT?

19          A     YES.

20          Q     SO LET'S -- A COUPLE OF THOSE PHOTOGRAPHS.          ON PAGE

21    73.   PAGE 74, WHAT ARE WE LOOKING AT THERE, PLEASE?

22          A     THAT'S THE DEATH ROW MEDICAL AREA AND THAT'S

23    THEIR -- THEIR TELEMEDICINE SETUP.

24          Q     OKAY.   LET'S GO TO PAGE 69 -- I'M SORRY.        75 IS

25    STILL DEATH ROW?
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1           A     RIGHT.

2           Q     OKAY.    ALL RIGHT.   I THINK WE'RE READY TO MOVE ON

3     TO -- PAGE 76, THAT'S PICTURES DOWN DEATH ROW; IS THAT RIGHT?

4           A     CORRECT.

5           Q     OKAY.    ALL RIGHT.   NOW WE'RE ON PAGE 76.       WE'RE

6     TALKING ABOUT EMERGENCY CARE ASSESSMENT AND TRIAGE UNIT.

7                 ALL RIGHT.      WHAT ARE SOME OF YOUR OPINIONS AS TO THE

8     ATU, THE ASSESSMENT AND TRIAGE UNIT?

9           A     THE MOST IMPORTANT THING IS THAT THE ATU CANNOT BE

10    JUDGED AS AN EMERGENCY ROOM.

11                IN THIS -- IN THIS MATTER WE'VE GOT A HIGHLY

12    QUALIFIED EMERGENCY ROOM PHYSICIAN WHO'S MAKING COMPARISONS TO

13    AN IVORY TOWERED EMERGENCY ROOM WITH AN ATU IN LSP.

14          Q     WHAT ARE SOME OF THE DIFFERENCES BETWEEN AN

15    EMERGENCY ROOM AND ATU THAT IS AT LSP?

16          A     THE ATU IS MANNED BY AN RN, OCCASIONALLY AN LPN, EMT

17    AND NURSE PRACTITIONER.        AND THE EMERGENCY ROOM THAT THE

18    PLAINTIFF WAS TALKING ABOUT IS MANNED BY MULTIPLE BOARD

19    CERTIFIED EMERGENCY ROOM PHYSICIANS WITH MULTIPLE LEVELS OF

20    CARE, AS WELL AS BACKUP BY RESIDENTS AND HOSPITALISTS AND

21    SPECIALISTS IN-HOUSE WITH IN-HOUSE CT SCAN, IN-HOUSE

22    ISOLATION, AND IF ANYTHING NEEDS TO BE DONE THEY CAN WHEEL

23    THAT PATIENT RIGHT ON DOWN THE HALL SO THEY CAN GO TO THE

24    OPERATING ROOM.      IT'S AN ENTIRELY DIFFERENT CIRCUMSTANCE AND

25    TO COMPARE THE TWO IS INAPPROPRIATE.
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1           Q     LET'S GO NOW TO PAGE 77.       YOU HAVE A COMMENT ABOUT

2     ACLS.     WHY IS THAT SIGNIFICANT TO YOU?

3           A     WELL, ADVANCED CARDIAC LIFE SUPPORT IS THE METHOD WE

4     USE THAT, AS I SAID EARLIER, WITH SOME INVASIVE TREATMENTS,

5     INTUBATION, YOU KNOW POSSIBLY PARACENTESIS, TAKING FLUID OUT

6     OF THE ABDOMEN, AND PERICARDIOCENTESIS WHERE YOU TAKE FLUID OR

7     BLOOD AWAY FROM THE HEART WITH A NEEDLE.

8                 THESE ARE REALLY SPECIALIZED THINGS THAT CAN BE DONE

9     IN AN EMERGENCY SITUATION BY PEOPLE THAT HAVE CONTINUAL

10    UPDATE -- ACLS HAS TO BE RE-UPPED EVERY TWO YEARS SO THAT

11    PEOPLE ARE CURRENT AND UNDERSTAND WHAT HAPPENS.           I MEAN IT'S

12    CHANGED.    OVER THE PAST 30 YEARS ACLS HAS CHANGED THE DRUGS

13    AGAIN AND AGAIN AND THEY GO BACK TO SOME OF THE SAME

14    PROCEDURES WE STARTED OUT WITH WHEN I WAS WORKING IN THE

15    EMERGENCY ROOM.

16          Q     WHAT IS YOUR UNDERSTANDING OF THE STAFFING LEVEL

17    INSIDE THE ATU?

18          A     THE ATU IS MANNED BY AN RN 24 HOURS A DAY EXCEPT IN

19    THOSE CIRCUMSTANCES WHEN THEY CAN'T FILL IT WITH AN RN THEY

20    HAVE AN LPN.    THEY HAVE A NURSE PRACTITIONER WHO IS ON CALL

21    BUT WITHIN A FEW MINUTES AWAY DURING THE WEEK AND YOU'VE GOT A

22    NURSE PRACTITIONER WHO IS ON SITE IN THE ATU OR ALSO WITHIN

23    CLOSE PROXIMITY ON THE WEEKENDS.

24          Q     LET'S TALK ABOUT SOME OF THE DIAGNOSTICS THAT ARE

25    AVAILABLE TO THE ATU.       THE PARAGRAPH ABOUT EKG'S.      WHAT OTHER
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1     TYPES OF DIAGNOSTICS DO THEY HAVE AVAILABLE?

2            A    WELL, THEY CAN DO PLAIN X-RAYS.        I'M NOT CERTAIN

3     ABOUT WHETHER THEY CAN GET ACUTE CT SCANS.           I KNOW WE'VE GOT

4     THE MACHINE OUTSIDE, BUT THAT'S PROBABLY NOT AVAILABLE EVERY

5     DAY.    THEY COULD ALSO DO TELEMEDICINE IF THEY WANTED TO DO IT

6     WITH SOME SPECIALIST SOMEPLACE.

7                 THE OTHER THING THAT THEY DO THAT'S INTERESTING IS

8     THEY'VE GOT A PROCESS WHERE THEY CALL AND TRY AND FIND OUT

9     SPECIFIC HOSPITALS THAT ARE AVAILABLE TO CARE FOR PATIENTS

10    WITH DIFFERENT INJURIES OR MEDICAL ISSUES.           SOME OF THE

11    HOSPITALS ARE GOOD AT, YOU KNOW, FOR -- FOR HEART ATTACKS.             I

12    DON'T KNOW WHERE THEY'D GO IF SOMEBODY GOT STABBED IN THE

13    NECK.

14                LSP IS WAY OUT -- I MEAN IT'S A HALF AN HOUR JUST TO

15    GET TO CIVILIZATION.        THEY'D HAVE TO GO INTO ST. FRANCISVILLE

16    WHICH IS -- DOESN'T HAVE THE TRAUMA UNIT.          YOU'D HAVE TO GO TO

17    OLOL THAT'S AN HOUR AWAY.        IT'S REALLY AT A DISADVANTAGE

18    BECAUSE OF ITS LOCATION.

19           Q    ALL RIGHT.      AND THEN LET'S GO TO PAGE 78 WHERE YOU

20    HAVE THE DISCUSSION OF EMS RESPONSE TIME.          WHAT ARE YOU TRYING

21    TO CONVEY TO THE COURT THERE?

22           A    THERE'S BEEN A LOT THAT'S BEEN SAID ABOUT A

23    FOUR-MINUTE RESPONSE TIME.        WELL, THAT'S GREAT.      YOU WANT TO

24    GET TO SOMEBODY WITHIN FOUR MINUTES TO DO CPR AND HOSPITALS

25    HAVE TEAMS THAT CAN RUN DOWN THE HALLWAY.          THEY HAVE
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1     RESPIRATORY THERAPY AND NURSES AND AN ENTIRE GROUP THAT'S

2     TRAINED TO DO THAT.     BUT AT LSP WHERE THERE'S 18,000-ACRES AND

3     YOU'VE GOT -- AND IT'S SO SPREAD OUT, YOU NEED TO HAVE AN

4     AMBULANCE TO RUN TO THE HOUSING UNITS AS WELL AS THE CAMPS.             I

5     MEAN THAT'S JUST -- IT'S NOT POSSIBLE AT LSP UNLESS YOU CHANGE

6     THE ENTIRE -- MAKE IT INTO ONE BUILDING, THEN YOU MIGHT BE

7     ABLE TO DO IT.

8           Q     WHEN YOU COME TO ONE OF THESE CAMPS THERE'S

9     SECURITY, SALLYPORT.        YOU'VE GOT TO GET INTO THE PLACE AND GET

10    THERE --

11          A     YOU KNOW, THAT'S WHERE -- THAT'S WHERE PEOPLE WHO

12    HAVE NEVER PRACTICED IN A PRISON OR A JAIL THEY HAVE NO IDEA

13    WHAT SECURITY IS LIKE.       WHAT IT'S LIKE TO WAIT FOR SOMEBODY TO

14    OPEN THAT GATE WHEN YOU WANT TO GET THROUGH.           WHEN YOU GO IN

15    CONTROL AND ONE GATE CLOSES BEHIND YOU AND ANOTHER GATE OPENS

16    IN FRONT OF YOU AND THEN YOU CAN GO AHEAD.           OR IF YOU HAVE TO

17    BE SEARCHED ON THE WAY IN AND THE WAY OUT.           AND IF YOU'VE GOT

18    AN INMATE THAT'S GOING TO AN OFF-SITE VISIT THEY'VE GOT TO BE

19    STRIPPED AND YOU'VE GOT TO PUT THEM IN A JUMPSUIT, AND YOU'VE

20    GOT TO CHAIN HIM UP AND YOU'VE GOT TO MAKE SURE THAT EVERYBODY

21    KNOWS.    I MEAN IT TAKES A LONG TIME TO DO THAT SORT OF THING.

22          Q     NOW, THIS FOUR-MINUTE RESPONSE TIME, THE

23    CORRECTIONAL OFFICER RESPONDING IS PART OF THAT FOUR MINUTES;

24    IS THAT YOUR UNDERSTANDING?

25          A     YES.
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1           Q     OKAY.   AT LSP CORRECTIONAL OFFICERS ARE ALSO TRAINED

2     IN CPR; THAT'S YOUR UNDERSTANDING?

3           A     YES.

4           Q     OKAY.   ALL RIGHT.   THERE'S A MENTION OF NARCAN AT

5     THE BOTTOM ON PAGE 78.      I THINK WE'LL BE TALKING ABOUT THIS

6     MORE, BUT WHAT IS NARCAN AND WHY IS IT SIGNIFICANT?

7           A     NARCAN ITS CURRENT FORM AND CURRENT USAGE IS A NASAL

8     SPRAY.    IT'S THIS LITTLE SPRAY LIKE AN AFRIN OR NASACORT OR

9     SOMETHING LIKE THAT, AND YOU SHOOT IT UP SOMEBODY'S NOSE AND

10    IT'S ABSORBED THROUGH THE NOSE TO BE ABLE TO COUNTERACT

11    OPIOIDS; OPIOIDS LIKE HEROIN, FENTANYL, MORPHINE, THOSE SORTS

12    OF OVERDOSAGES.     NOW YOU DON'T KNOW NECESSARILY WHAT THE

13    OVERDOSE WAS, BUT IT'S NOT GOING TO HURT TO GIVE THEM THAT

14    NARCAN RIGHT OFF THE BAT BECAUSE IT'S ONE OF THE THINGS THAT

15    YOU CAN TURN AROUND.

16          Q     LET'S GO THROUGH YOUR PHOTOGRAPHS HERE NOW, PLEASE.

17    WE'RE ON PAGE 79.     WHAT ARE THESE OF?

18          A     THIS IS THE ATU.

19          Q     DESCRIBE THE ATU.    WERE THERE TWO PARTS OF IT; A

20    LEFT AND A RIGHT?

21          A     YEAH.   I THINK THERE'S AN ACUTE AREA AND THERE'S

22    MORE OF AN AREA WHERE BORDELON IS SENDING THESE PEOPLE IN FROM

23    THE CAMPS TO BE EVALUATED BY ANOTHER NP, AND I THINK I'VE GOT

24    SOME PICTURES OF THAT LEFT.

25                BUT WHAT YOU'RE SEEING HERE IN THESE TWO PICTURES IS
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1     THE MORE ACUTE AREA WHERE YOU'VE GOT THE LIFEPACK WHERE YOU

2     CAN SHOCK PEOPLE OR YOU CAN DO THE RHYTHM STRIPS YOU'VE GOT UP

3     ABOVE.    IN THAT TOP PICTURE YOU CAN SEE WHAT'S GOING ON IN

4     THAT RHYTHM STRIP.

5                 YOU CAN -- YOU KNOW YOU BASICALLY GET PEOPLE

6     STABILIZED TO DECIDE IF YOU'RE GOING TO SEND THEM OUT OR NOT

7     AND EVALUATE THEM.     YOU'VE GOT MEDICATIONS LOCKED UP IN THAT

8     CABINET WITH THE BAR DOWN IN THE FRONT.          AND EACH OF THOSE

9     BAGS -- THOSE RED BAGS BECAUSE YOU GET -- WHO KNOWS WHAT YOU

10    PUT IN THOSE BUCKETS, BUT IT'S ALL GOING TO GO INTO MEDICAL

11    TRASH.    AND ON THE LEFT YOU'VE GOT ALSO LOCKED DRAWERS THAT

12    YOU CAN TAKE OUT MORE SUPPLIES.        THAT BLUE THING ON THE LEFT

13    IS WHERE YOU'VE GOT LINENS WHERE YOU CHANGE THE BED.

14          Q     ALL RIGHT.      LET'S KEEP MOVING.    ON PAGE 80 WE'VE GOT

15    A COUPLE OF PHOTOGRAPHS.        WHAT ARE WE LOOKING AT, AT THE

16    BOTTOM PARTICULARLY?

17          A     THAT'S THE NONACUTE AREA AND THAT'S ONE OF THE NP'S

18    WHO'S EVALUATING THE GUY WHO'S TAKING HIS JACKET OFF AND

19    DR. JOHNSON IN THE BACKGROUND.        I THINK THAT'S ANOTHER NP WITH

20    HIS CAP ON AND ON THE LEFT IT'S ONE OF THE NURSES, I BELIEVE.

21          Q     OKAY.   LET'S GO TO PAGE 81.       IT'S MORE OF THE SAME I

22    BELIEVE.    LET'S JUST ROLL THROUGH THESE.        82.

23          A     WHAT YOU'VE GOT -- ON THAT TOP ONE --

24          Q     YES.

25          A     -- YOU'VE GOT ACLS PROTOCOLS FOR BRACHYCARDIA.
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1     IT'LL ALSO HAVE SUPRAVENTRICULAR TACHYCARDIA.           IT'S WHAT YOU

2     PUT IN THE EMERGENCY ROOM -- IN THE EMERGENCY ROOM SOMEPLACE

3     OR IN THE ATU TO REMIND PEOPLE OF WHAT THE CURRENT STEPS ARE

4     FOR CARING FOR THOSE TYPES OF ARRHYTHMIAS.

5           Q     OKAY.   AT THE BOTTOM OF PAGE 82.       GO BACK UP,

6     PLEASE.    WHAT ARE WE LOOKING AT THERE?

7           A     THESE ARE TO TAKE TEMPERATURES WITH.        THEY'VE GOT

8     LITTLE PLASTIC COVERS THAT YOU PUT ON THEM AND THEN PUT THEM

9     IN THE MOUTH.    ON THE RIGHT ARE -- WE'VE SEEN WAY TOO MANY OF

10    THESE DURING COVID, BUT THOSE ARE THE PADS, THE ALCOHOL WIPES

11    THAT YOU USE AND ON THE LEFT ARE MEDICATION CUPS AND WATER

12    CUPS FOR GIVING MEDICATION.       IN THE BACK YOU SEE AN OTOSCOPE.

13    YOU DON'T SEE AN OPTHALMOSCOPE, BUT YOU DO SEE AN OTOSCOPE.

14          Q     KEEP GOING.     LET'S GO TO PAGE 83.      JUST A MEDICINE

15    CABINET?

16          A     YEAH, IT'S LOCKED.    THAT'S WHERE THE ACLS DRUGS ARE,

17    SO YOU'VE GOT THE BAR AND THE PADLOCK.

18          Q     OKAY.   LET'S KEEP GOING.      PAGE 84.   THIS IS MORE

19    STORAGE OF SUPPLIES AND MEDICATIONS?

20          A     I THINK THAT'S LIKE IV SUPPLIES, THAT SORT OF THING.

21    SO THAT YOU HAVE HOOKUPS FOR THE -- FOR THE IV'S, VALVES, THAT

22    SORT OF THING.

23          Q     OKAY.   KEEP GOING TO PAGE 85, PLEASE.        WHAT ARE WE

24    LOOKING AT HERE?

25          A     MEDICATION ROOM WITH -- I DON'T KNOW WHAT'S THERE
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1     EXACTLY BUT PROBABLY ROUTINE MEDICATIONS AS OPPOSED TO MORE

2     SPECIFIC MEDICATIONS.

3            Q    OKAY.   PAGE 86 IS -- WHAT IS THE PURPOSE OF THAT?

4            A    THAT'S -- YOU KNOW, IT DEPENDS ON WHAT COUNTRY

5     YOU'RE IN.    IT MIGHT BE TO KEEP THE FLIES OUT.          BUT IT ALSO

6     KEEPS -- IT HELPS TO DIMINISH AIRFLOW AND ISOLATES THE ROOM A

7     BIT WITHOUT HAVING A CLOSED DOOR.           YOU CAN ALSO SEE WHAT'S

8     GOING ON.

9            Q    LET'S GO TO PAGE 87 FINALLY.         IN THE PHOTOGRAPH AT

10    THE TOP IS THERE ANYTHING THERE WE NEED TO TALK ABOUT?

11           A    I'M NOT EXACTLY SURE WHAT THOSE TUBULAR STRUCTURES

12    ARE.   THEY MIGHT BE THUMPERS WHICH ARE WHAT YOU USE WHEN THE

13    PEOPLE ARE GETTING TOO TIRED FROM DOING CPR, SO YOU CAN ATTACH

14    THAT TO A PERSON.      THE THING ON THE RIGHT LOOKS LIKE FOR A 12

15    LEAD EKG.    UP ABOVE YOU'VE GOT DIFFERENT HEARTS IN DIFFERENT

16    POSITIONS AND HOW THE EKG CORRELATES WITH THE INJURY TO THAT

17    PART OF THE HEART.     AND OF COURSE ON THE LEFT YOU'VE GOT THE

18    IV BAG -- IV BAGS AND THE MACHINE THAT PUMPS, THE IV PUMPS.

19    ON THE LEFT TWO -- YOU'VE GOT TWO E-TANKS.            THESE ARE SMALL

20    OXYGEN TANKS FOR SHORT-TERM USE, THE GREEN ONES.

21           Q    ALL RIGHT.      THEN WE'VE GOT THE BREEZEWAY DOWN AT THE

22    BOTTOM ON PAGE 87.     PAGE 88 ONE OF THE PHOTOGRAPHS OF ONE OF

23    THE AMBULANCES, RIGHT?

24           A    CORRECT.

25           Q    OKAY.   LET'S NOW TALK ABOUT MEDICAL LEADERSHIP AND
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1     THEN FROM THERE WE'LL BE GETTING INTO THE CHARTS VERY SOON.

2                 WHAT ARE -- SO WHAT WAS YOUR OPINION AS TO MEDICAL

3     LEADERSHIP AS REFLECTED IN THESE PAGES?          WE'LL GET TO THE BIG

4     OPINIONS AT THE END.        RIGHT HERE WHAT ARE YOU CONVEYING TO THE

5     COURT?

6            A    I THINK THAT -- WHAT I WAS TOLD IS THE REASON THAT

7     DR. JOHNSON HAS THIS TITLE LONGTERM CARE HOSPITAL

8     ADMINISTRATOR IS THAT THAT WAS A SLOT THAT THEY COULD PUT HIM

9     IN AS FAR AS THE CIVIL SERVICE IS CONCERNED.

10                FOR THE PURPOSES OF THIS CASE AND WITH EVERYONE

11    WHO'S INVOLVED IN NCCHC, WE NEED TO CALL HIM THE HEALTH

12    SERVICES ADMINISTRATOR BECAUSE HE'S THE OPERATIONAL PERSON WHO

13    HANDLES ALL OF THE NURSING AND OVERSEES THE DEPARTMENTS.               SO

14    LET'S JUST START CALLING HIM THE HSA OR HEALTH SERVICES

15    ADMINISTRATOR, BECAUSE THAT'S REALLY MORE IN KEEPING WITH THE

16    WAY THAT THE PLAINTIFF IS PRESENTING THEIR CASE.

17                I HAD A LONG CONVERSATION WITH HIM, A COUPLE OF

18    CONVERSATIONS, AND I THINK HE'S VERY CAPABLE.

19           Q    OKAY.   AND NEXT YOU TALK ABOUT -- WE CALL HER THE

20    ASSISTANT WARDEN, BUT I THINK IT'S ACTUALLY DEPUTY WARDEN

21    ASHLI OLIVEAUX.     WHAT ARE YOUR IMPRESSIONS AFTER VISITING WITH

22    HER?

23           A    WELL, I MET HER AT WARDEN HOOPER'S OFFICE AND WE

24    HAD -- WE HAD A LONG CONVERSATION.          YOU AND I AND MR. MCMUNN

25    WERE THERE FOR A COUPLE OF HOURS TALKING TO THE WARDEN ABOUT
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1     HIS PRISON AND HOW HE HANDLED THINGS AND HOW HE HANDLED

2     MEDICAL AND SHE WAS JUST GETTING STARTED AT THAT TIME.             BUT HE

3     WAS REALLY MAKING A COMMITMENT TO HER AS -- IN HER POSITION

4     AND WAS HAPPY ABOUT HER EXPERIENCE AS AN LPN IN CORRECTIONS

5     NOT JUST AN LPN ON THE STREET, BUT IN CORRECTIONS.

6           Q     OKAY.   ALL RIGHT.    AND YOU REFERENCED SOME OF THE --

7     ON FIVE MORTALITY CONFERENCES THAT BEGAN IN SEPTEMBER OF 2021.

8     YOU TALK ABOUT THE WARDEN ATTENDED THOSE.          WHAT'S THE

9     SIGNIFICANCE OF THAT TO YOU?

10          A     I'M IMPRESSED THAT THE WARDEN WENT.         I'VE NEVER BEEN

11    IN ANOTHER PRISON WHERE THE WARDEN ATTENDED, BUT IT JUST SHOWS

12    THE INVOLVEMENT.     I EXPERIENCED THAT IN OUR LONG CONVERSATION

13    WITH HIM.    IF HE'S SHOWING UP AT A MORTALITY CONFERENCE HE'S

14    COMMITTED TO WHAT'S GOING ON AT THIS PRISON.

15          Q     YOU'VE GOT SOME COMMENTS ABOUT PEER REVIEW AND QI.

16    I WANT TO KIND OF GLOSS OVER THOSE AT THE MOMENT.            WE'LL COME

17    BACK TO THAT.    I WANT TO TALK ABOUT THE -- ON PAGE 89 THE

18    CURRENT MEDICAL RECORDS AND THE FUTURE ELECTRONIC MEDICAL

19    RECORDS.

20                ALL RIGHT.      WE'VE GOT THE PAPER RECORDS THAT YOU'VE

21    REFERRED TO ALREADY.        YOU TALK ABOUT A CONVERSATION WITH

22    STACYE RODRIGUEZ.     TELL THE COURT ABOUT THAT PLEASE.

23          A     SHE SAYS IT'S GOING TO GET DONE.         HOOPER SAYS IT'S

24    GOING TO GET DONE.     IT'S BEEN DONE AT SIX OUT OF THE EIGHT

25    PRISONS ALREADY.     AND HOOPER TOLD ME THAT THEY WERE CHECKING
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1     OUT THOSE INTERNET CONNECTIONS AND THEY'D HAVE TWO INPUTS; ONE

2     FROM ACROSS THE RIVER AND ONE BY CABLE WHICH IS NECESSARY IN

3     CASE ONE BREAKS DOWN.        BECAUSE WHEN YOUR EMR IS DOWN THEN YOU

4     HAVE TO GO BACK TO PAPER, AND AFTER YOU'RE IN AN EMR AND GOING

5     BACK TO PAPER IT'S -- IT'S A MESS.          SO ANYWAY THEY'RE WORKING

6     ON IT.

7                 BUT IT'S A STATE FACILITY AND YOU'VE GOT A

8     CONTRACTOR WHO'S TRYING TO BRING IT IN AND YOU'VE GOT THE DOC

9     THAT'S TRYING TO COORDINATE IT AND THEN YOU'VE GOT THIS NEW

10    MEDICAL SOFTWARE SYSTEM GE FUSION, WHICH APPARENTLY WAS CHOSEN

11    BY ONE OF THE STATE AGENCIES.        THEY DIDN'T, YOU KNOW, BID IT

12    OUT.    THEY JUST -- TO MY KNOWLEDGE THEY JUST SAID THIS IS --

13    WE'RE GOING TO USE GE FUSION.        I HAVEN'T SEEN IT IN OPERATION

14    YET, BUT ANYTHING IS GOING TO BE AN IMPROVEMENT IN CHANGE OF

15    CARE.

16           Q    WE'VE GOT EVIDENCE OF SIX OF THE EIGHT PRISONS

17    WITHIN THE STATE NOW ARE OPERATING UNDER THAT SYSTEM, THAT GE

18    FUSION SYSTEM, RIGHT?

19           A    CORRECT.

20           Q    ALL RIGHT.      I WANT TO TALK ABOUT ONE MORE AREA AND

21    THEN WE'LL BE READY TO BEGIN TO TACKLE THE CHARTS.

22                COVID 19 DELAYS HERE ON PAGE 90 OF THE CHART.              WHY

23    DID YOU ADDRESS THE DELAYS FROM COVID?

24           A    BECAUSE THE CARE IN LOUISIANA, AS WELL AS THROUGHOUT

25    THE UNITED STATES, WAS SEVERELY IMPACTED BY THE COVID
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1     PANDEMIC.    IT AFFECTED THE ROUTINE CARE, URGENT CARE.           AND THE

2     ONLY TYPE OF CARE THAT WERE BEING OFFERED WERE EMERGENCY CARE

3     BECAUSE THE HOSPITALS WERE FULL AND THE ICU'S WERE FULL AND SO

4     THE HOSPITALS HAD TO BACK DOWN FROM TAKING THE MORE ROUTINE

5     CARE.     AND THEY WEREN'T EVEN TAKING PEOPLE THAT WANTED TO HAVE

6     THEIR -- YOU KNOW THEIR ORTHOPAEDIC SURGERY OR THEIR ROUTINE

7     GENERAL SURGERY IF IT COULD BE AVOIDED.          THEY JUST HAD -- IT

8     WAS AN EMERGENCY.

9           Q     IN FACT, THERE WAS A PERIOD OF TIME WHERE LOUISIANA

10    DEPARTMENT OF HEALTH AND HOSPITALS SHUT DOWN ALL NONEMERGENCY

11    CARE AT THE HOSPITALS?

12          A     EXACTLY, AND THAT'S WHAT I WROTE ABOUT IN THIS

13    PORTION.

14          Q     OKAY.

15                MR. ARCHEY:     YOUR HONOR, I WILL GLADLY KEEP GOING,

16    BUT I'M AT A BREAKING POINT.

17                THE COURT:      WE'RE GOING TO TAKE A 15 MINUTE RECESS.

18                                    (RECESS)

19                THE COURT:      GO HEAD, MR. ARCHEY.

20                MR. ARCHEY:     THANK YOU, YOUR HONOR.

21    BY MR. ARCHEY:

22          Q     AT THIS TIME I'D LIKE TO TURN TO PATIENT NUMBER 54.

23    JX_54 PAGE 796.     SEALED.

24                THE COURT:      SO REALLY ALL OF THESE PATIENTS WILL BE

25    SEALED, RIGHT?      IF THEY'RE NOT TELL US, IF IT'S A PARTY OR
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1     SOMETHING LIKE THAT.

2                 MR. ARCHEY:     THAT'S CORRECT, YOUR HONOR.

3     BY MR. ARCHEY:

4           Q     ALL RIGHT.      ON PATIENT 54, DOCTOR, LET'S BEGIN ON

5     JUNE 22, 2020.      THIS IS A NOTE FROM LANE REGIONAL MEDICAL

6     CENTER.   THIS PATIENT WAS DIAGNOSED WITH ANGINA; IS THAT

7     RIGHT?

8           A     CORRECT.

9           Q     WHAT IS ANGINA?

10          A     ANGINA IS THE PAIN ONE EXPERIENCES WHEN YOU'RE

11    HAVING ISCHEMIC CHANGES IN YOUR HEART.          SO IT'S ANERGIA

12    PECTORIS; PAIN IN THE CHEST OR PAIN IN THE HEART.

13          Q     LET'S GO FORWARD TO JX_54.0739. THIS IS ON

14    SEPTEMBER 5, 2020, A CARDIOLOGY VISIT.          WHAT ARE THE FINDINGS

15    ON THE LEFT AS TO THE CHEST PAIN?

16          A     STILL HAS OCCASIONAL CHEST TIGHTNESS WITH SHORTNESS

17    OF BREATH.    NO -- ENLARGE THAT A LITTLE BIT FOR ME, PLEASE.

18    THERE YOU GO.

19                STILL HAS OCCASIONAL CHEST TIGHTNESS WITH SHORTNESS

20    OF BREATH AND NO NAUSEA AND NO SWEATS AND HOUSED IN UNIT 1.

21          Q     OKAY.   LET'S GO DOWN TO THE PLAN ON THE RIGHT THERE.

22    WHAT DO WE HAVE THERE, PLEASE?

23          A     HE WANTS A COPY OF THE MEDICAL RECORD FOR THE CATH

24    REPORT FROM LANE ON 05-20 AND IT LOOKS LIKE 06-20, AND THE

25    CABG FROM UMC IN NOVEMBER 2017.        HE WANTS TO STOP OMEGA 3
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1     FATTY ACIDS, CHANGE TO IMDUR 120 MILLIGRAMS OR RANEXA

2     500 MILLIGRAMS BID.     IMDUR IS A LONG-ACTING NITROGLYCERIN

3     THAT'S TAKEN ONCE A DAY.      120 MILLIGRAMS IS A PRETTY HIGH

4     DOSAGE.    AND RANEXA IS ANOTHER MEDICATION THAT CAN BE USED FOR

5     ANGINA BUT ALSO FOR CONGESTIVE HEART FAILURE.

6           Q     ON THE LEFT UNDER ASSESSMENT, NUMBER 1, WHAT IS

7     THAT?

8           A     ANGINA.

9           Q     LET'S GO TO NOW PAGE NUMBER JX_54.0726.         THIS IS

10    DECEMBER 5, 2020.     IF WE GO DOWN A LITTLE BIT ON THE LEFT

11    THERE WHAT WERE THE COMPLAINTS AS RELATED TO THE HEART --

12    CHEST PAIN I MEAN?

13          A     THIS IS THE CARDIOLOGY CONSULTATION ON SITE ONCE

14    MORE BY DR. PALONE AND HE'S FOLLOWING HIM UP FOR HEART

15    DISEASE, MYOCARDIAL INFARCTION AND LISTS THE THINGS THAT HAD

16    HAPPENED.    HE HAD A STINT PLACED IN 03-19.        HE HAD CORONARY

17    BYPASS SURGERY IN -- THREE VESSEL CORONARY BYPASS SURGERY IN

18    NOVEMBER 2017.      HE HAD -- IN 05-20 HE HAD THREE MORE STINTS

19    PLACED.    06-20 HE HAD A CATH -- A CATHETERIZATION WHICH

20    DEMONSTRATED THAT HIS LIMA, THE BLOOD VESSEL THEY HAD TAKEN

21    FROM INSIDE THE CHEST TO OXYGENATE THE HEART, AND DURING THAT

22    CABG THE BYPASS SURGERY WAS PATENT AND THE STINTS WERE

23    WORKING.

24          Q     OKAY.   AND WE HAVE ON THE LEFT IT SAYS, "COMPLAINTS

25    OF CHEST PAIN, RELIEVED WITH NTG."         WHAT IS NTG?
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1           A     THAT MEANS NITROGLYCERIN.       THIS GUY IS HAVING

2     RECURRENT CHRONIC ANGINA AND HE'S USING NITROGLYCERIN FOR HIS

3     CHRONIC STABLE ANGINA.

4           Q     AND HOW OFTEN?

5                 MR. DUBNER:     OBJECTION, YOUR HONOR.      OUTSIDE THE

6     SCOPE OF THE REPORT OR NOT FAIRLY EXPOSING THE REPORT.

7     THERE'S LITERALLY ONE PARAGRAPH OF DESCRIPTION OF THIS PATIENT

8     WHICH DOESN'T TALK ABOUT ANY OF THE THINGS THAT WE'RE TALKING

9     ABOUT HERE WITH THIS PATIENT.        IT'S PAGE 197 -- SORRY, THAT

10    DOESN'T HAVE MORE THAN, YOU KNOW, A SENTENCE THAT THESE THINGS

11    HAPPENED.    NO EVALUATION OF THEM AS WE'RE SEEING HERE.           IT'S

12    PAGE 197 --

13                THE CLERK:      SIR, COME UP TO THIS -- IF IT'S GOING TO

14    BE LONG --

15                MR. DUBNER:     SORRY ABOUT THAT.     ANYWAY, OUTSIDE THE

16    SCOPE OF THE REPORT.        PAGE 197, THERE'S VIRTUALLY NO

17    DISCUSSION OF THIS PATIENT AND THAT'S THE ENTIRETY OF THE

18    CHART REVIEW.

19                THE COURT:      PATIENT 54, IS IT OUTSIDE THE SCOPE OF

20    HIS REPORT?

21                MR. ARCHEY:     NO, YOUR HONOR.     HE WENT THROUGH THE

22    CHART.    THAT'S ACTUALLY WHAT WE SHOWED WITH ALL THE BOOKMARKS.

23    HE DID IT BY DETAIL.        I WILL SAY THAT DR. VASSALLO, SHE'S THE

24    ONE THAT DID 54.     ALL SHE HAS IS A CHRONOLOGY AND I OBJECTED,

25    AND SHE WAS ALLOWED TO TALK ABOUT IT.          SHE'S GOT NO CRITICISMS
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1     HERE.      NOTHING ABOUT WHAT WE'RE GOING TO GET TO ON THIS MAY 01

2     DATE, SO THAT'S WHAT WE'RE RESPONDING TO.

3                   THE COURT:    OBJECTION IS OVERRULED.     ARE WE GOING TO

4     GO THROUGH EVERY CHART IN GLORIOUS DETAIL?           BECAUSE IT'S NOT

5     NECESSARY.

6                   MR. ARCHEY:    WE'RE NOT, YOUR HONOR.     WE'RE GOING TO

7     ADDRESS SEVERAL OF THE ONES THAT HAVE BEEN EMPHASIZED, THAT'S

8     WHAT WE'RE GOING TO ADDRESS.        WE'RE NOT GOING THROUGH THEM

9     ALL.    NO.

10                  THE COURT:    OBJECTION IS OVERRULED.

11                  THE WITNESS:   THE ANSWER WAS HE'S HAVING ANGINA A

12    FEW TIMES A WEEK WITH HIS CHEST PAIN RELIEVED WITH

13    NITROGLYCERIN.      HE ALSO REPORTS SOME PAIN IN HIS LEGS AND

14    FEET.

15    BY MR. ARCHEY:

16           Q      LET'S MOVE ON THEN TO JX_54.0716.       THIS IS AN

17    AMBULANCE RUN.      IT LOOKS LIKE HE HAD CHEST PAIN AND -- UPON

18    ARRIVAL.      THERE'S A NOTE THAT HE'S TAKEN THREE NITRO TABS.

19    WHAT IS THAT ABOUT, DOCTOR?

20           A      WELL, HE'S GOT CHRONIC STABLE ANGINA.        HE'S TAKEN

21    THREE NITROGLYCERIN AND HIS CHEST DISCOMFORT HASN'T GONE AWAY,

22    SO THAT'S KIND OF THE TURNING POINT WHERE YOU'RE GOING TO BE

23    LOOKING FOR MORE HELP AND THAT'S WHAT'S HAPPENING HERE.

24    THEY'RE TAKING HIM INTO THE ATU.

25           Q      LET'S MOVE ON JX_54.0715.     THIS IS JANUARY 14, 2021.
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1     ANOTHER CARDIOLOGY VISIT.       HE ACTUALLY SAYS HERE HE'S FEELING

2     BETTER AT THIS TIME WITH NO NEW C --

3           A     COMPLAINTS.

4           Q     COMPLAINTS, OKAY.     DOES THAT MEAN HIS ANGINA HAS

5     GONE AWAY?

6           A     IT HAS DIMINISHED IN FREQUENCY LIKELY.

7           Q     OKAY.   LET'S GO TO JX_54.0704.       THIS IS AN ATU VISIT

8     ON APRIL 02, 2021.      HE PRESENTED WITH CHEST PAIN WHICH WAS NOT

9     RELIEVED BY THE NITROGLYCERIN, RIGHT?

10          A     YES.    MAKE IT A LITTLE BIGGER, PLEASE.

11          Q     SURE.

12          A     ONCE MORE.      THANK YOU.   YES.   IT STATES PRESSURE IN

13    CHEST.    IT WAS NOT RELIEVED BY NITROGLYCERIN.

14          Q     AND THERE IS A NURSE PRACTITIONER IN THE UNIT AT

15    THIS TIME AS INDICATED ON THIS NOTE, CORRECT?

16          A     SLIDE DOWN, PLEASE.      YES.

17          Q     OKAY.   AND HIS VERY LAST -- HIS PLAN, "TO ADMIT TO

18    NU 1 FOR SERIAL TROPONIN."       WHAT IS SERIAL TROPONIN, DOCTOR?

19          A     WHEN YOU'VE GOT SOMEBODY WHO HAS CHRONIC ANGINA,

20    RECURRENT ANGINA, YOU WANT TO KNOW IF THERE'S ACTUALLY BEEN

21    ANY DAMAGE TO THE HEART.       TROPONINS ARE A VERY SENSITIVE TEST

22    TO DETERMINE WHETHER OR NOT THERE'S BEEN ANY DAMAGE TO THE

23    HEART WHICH WOULD REQUIRE MORE EVALUATION AND TREATMENT.

24    SERIAL TROPONINS ARE DONE BECAUSE THAT CAN HAPPEN OVER A

25    PERIOD OF TIME AND MIGHT BE DONE EVERY TWO TO FOUR HOURS
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1     BECAUSE TROPONINS RESPOND PRETTY RAPIDLY AND GIVES YOU A

2     LITTLE BETTER IDEA ABOUT WHAT'S GOING ON AND MAY BE NECESSARY

3     FOR INTERVENTION.

4           Q     THE SERIAL TROPONIN, IS THAT WITHIN THE STANDARD OF

5     CARE?

6           A     OH, YES.

7           Q     OKAY.   NOW ON THAT VISIT THERE WERE A NUMBER OF EKG

8     STRIPS RUN THAT ARE PART OF THE RECORD; ARE YOU FAMILIAR WITH

9     THOSE?

10          A     CORRECT.   YES.

11          Q     OKAY.   LET'S GO TO JX_54.0415.       LET'S START THERE.

12                ALL RIGHT, DOCTOR.    WE'VE GOT -- THERE WAS SOME

13    DISCUSSION ABOUT THE LANGUAGE AT THE TOP.          IF I'M

14    UNDERSTANDING THAT'S PROBABLY NOT THE THING TO BE MOST FOCUSED

15    ON, YOU NEED TO READ THIS; IS THAT BETTER STATED?

16          A     WELL, YOU'RE DOING BOTH.       AND THE IMPORTANT THING

17    ABOUT THIS EKG IT'S GOT THESE BIG FAT Q WAVES IN II, III AND F

18    THAT SUGGESTED INFERIOR MYOCARDIAL INFARCTION AND THAT'S WHAT

19    IT DEMONSTRATES ABOVE; PROBABLE INFERIOR MYOCARDIAL

20    INFARCTION.    PROBABLY OLD.    THEY DON'T KNOW FOR SURE.         IT

21    STILL HAS TO BE USED IN A CLINICAL CONTEXT.            BUT UNDER ANY

22    CIRCUMSTANCE IT'S AN ABNORMAL EKG.

23          Q     LET'S GO TO JX_54.0701.        APRIL 12.   WE HAVE 10 DAYS

24    LATER HE'S SEEING THE CARDIOLOGIST YET AGAIN.           0701.    OKAY.

25                ALL RIGHT, DOCTOR.    HERE HE'S PRESENTING WITH CHEST
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1     PAINS STILL.    IT SAYS, "HISTORY OF RECURRING CHEST PAINS BUT

2     NO SHORTNESS OF BREATH."

3                 SO WHAT'S YOUR TAKEAWAY ON THIS NOTE, DOCTOR?

4           A     AT THE MOMENT HE'S STABLE AND AS A PRIMARY CARE

5     DOCTOR YOU SEND HIM BACK TO THE CARDIOLOGIST BECAUSE HE'S THE

6     ONE THAT'S REALLY MANAGING WHAT'S GOING ON FOR THIS GUY.

7           Q     LET'S GO JX_54.0697.     THIS IS APRIL 24, 2021.          YOU

8     CAN TALK ABOUT WHATEVER YOU'D LIKE, BUT I'D LIKE TO DISCUSS

9     THE NOTE ON THE LEFT WHERE HE COMPLAINS OF -- I'M HAVING A

10    LITTLE TROUBLE READING THAT.      "CHEST PAIN TIGHTNESS"?

11          A     "CHEST PAIN WITH TIGHTNESS RELIEVED BY TIME."             AND

12    "LEFT UPPER CHEST SHARP, INCREASED RESPIRATIONS, MOVEMENT

13    TENDER TO PALPATION, INITIAL PRESENTATION SUBSTERNAL CHEST

14    PAIN" -- I CAN'T READ THAT ONE.       I CAN'T READ AFTER THAT.

15    SUB -- SSCP IS SUBSTERNAL CHEST PAIN.         I CAN'T READ WHAT --

16    "WITH ASSOCIATED SYMPTOMS."

17          Q     OKAY.    UNDER ASSESSMENT WE'VE STILL GOT THE CHEST

18    PAIN.     NOW HE'S CALLING IT ATYPICAL AT THIS POINT?

19          A     RIGHT.   BECAUSE IT'S UNUSUAL TO HAVE CHEST WALL PAIN

20    WITH ANGINA, CHEST WALL TENDERNESS.        AND THE CARDIOLOGIST IS

21    RECOGNIZING THAT AND THAT'S WHY HE'S CALLING IT ATYPICAL.

22          Q     OKAY.    SO AFTER APRIL 24 LET'S GO TO JX_54.0666.

23    THIS IS THE APRIL -- I'M SORRY, THIS IS THE MAY 01, 2021

24    AMBULANCE RUN WHEN HE PRESENTED WITH CHEST PAIN.           AGAIN, HE

25    HAD TAKEN HIS TWO NITRO TABLETS, RIGHT?
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1                 MR. ARCHEY:     GO DOWN A LITTLE BIT FOR HIM, BROOKE.

2     THERE YOU GO.

3                 THE WITNESS:     RIGHT.   HE -- HE WALKED TO THE

4     AMBULANCE AND SAT ON THE STRETCHER AND HE HAD BEEN HAVING

5     CHEST PAIN FOR ABOUT 30 MINUTES WITH A HISTORY OF ANGINA, TOOK

6     NITROGLYCERIN AND -- TOOK TWO NITROGLYCERIN TABLETS AND

7     DECIDED THAT NOW'S THE TIME TO GO TO THE ATU.

8     BY MR. ARCHEY:

9           Q     LET'S GO TO THE ATU.      THAT'S JX_54.0407.      LET'S TALK

10    ABOUT WHAT THE PROVIDER DOES IN THE ATU.          WHAT ALL DO THEY

11    UNDERTAKE HERE?

12          A     WELL, S-L MEANS SUBLINGUAL NITROGLYCERIN PRIOR TO

13    ARRIVAL AND THEY PUT IN AN IV.        DID THE EKG AT 18:32, 6:32 AT

14    NIGHT.    GAVE HIM A GI COCKTAIL AND AT 18:50 HE STATES, "I'M

15    FEELING BETTER."     THEY DID A TROPONIN LEVEL AT 18:45 AND THAT

16    HADN'T RETURNED YET, SO THEY PUT HIM IN NURSING UNIT 1 FOR

17    FURTHER OBSERVATION AND SERIAL TROPONINS.

18          Q     ALL RIGHT.      LET'S TALK ABOUT EACH OF THOSE.       THE EKG

19    IS JX_54.0409.    SO WHAT ARE THE FINDINGS ON THIS EKG AS

20    COMPARED TO THE PREVIOUS EKG'S CONSIDERING THIS PATIENT'S

21    CONDITION?

22          A     WELL, IT'S STILL GOT THOSE Q WAVES THAT ARE

23    CONSISTENT WITH THE MYOCARDIAL INFARCTION, BUT IT'S ALSO GOT

24    ST ELEVATION IN II, III AND F THAT ARE CONSISTENT WITH

25    MYOCARDIAL INFARCTION.        AND AS IT SAYS UP ABOVE "OF
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1     INDETERMINATE AGE."     SO IF YOU LOOK AT IT BY ITSELF YOU CAN'T

2     TELL.

3           Q     LET'S GO TO JX_54.0119.        THIS IS THE TROPONIN

4     RESULTS.    THEY CAME BACK NEGATIVE ORIGINALLY, RIGHT?

5           A     THE FIRST ONE CAME BACK NEGATIVE; 0.01.

6           Q     LET'S GO TO JX_54.0408.        NOW IT'S A FEW MINUTES --

7     OR ALMOST 1 A.M. THE NEXT MORNING.          THIS EKG, WHAT DO WE SEE

8     ON THIS EKG?

9           A     WELL, IT SHOWS THE Q WAVES THAT WE TALKED ABOUT BACK

10    IN APRIL, AS WELL AS SHOWS THAT ST EVALUATION, ALTHOUGH IT MAY

11    NOT BE QUITE AS HIGH, BUT THOSE ARE THE PREDOMINANT EKG

12    FINDINGS.    AND IT SAYS UP ABOVE, "SUSPECT INFERIOR MYOCARDIAL

13    INFARCTION."

14          Q     OKAY.   LET'S GO TO JX_54.0120.       ALL RIGHT.     WHAT DO

15    WE SEE HERE, DOCTOR?

16          A     THE TROPONINS CAME UP.     IT'S 0.10 AND YOU CAN SEE

17    THE REFERENCE RANGE IS UP TO 0.04, SO THIS IS TWO AND A HALF

18    TIMES WHAT WOULD BE NORMAL.

19          Q     SO WHAT DOES THAT MEAN?

20          A     WELL, IT MEANS THAT THERE'S BEEN A LITTLE SOMETHING

21    HAPPENING.    AS YOU CAN SEE HERE CRITICAL IS GREATER THAN 0.48

22    WHICH WOULD BE FIVE TIMES AS HIGH, BUT THERE'S A LITTLE

23    SOMETHING THAT'S HAPPENING IN THE HEART.

24          Q     WHAT IS THE APPROPRIATE THING TO DO WITH THIS

25    INFORMATION?
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1           A     SEND HIM OUT.

2           Q     WHICH IS WHAT OCCURRED, RIGHT?

3           A     YES.

4           Q     OKAY.   NOW THE DECISION TO NOT SEND HIM OUT PRIOR TO

5     THIS, WAS THAT A REASONABLE DECISION IN LIGHT OF THIS

6     PATIENT'S HISTORY AND PRESENTATION WITH ANGINA AND WHERE HE

7     WAS WITH THE OLD INFARCTION?

8           A     IT WAS A PRIMARY CARE DECISION BASED ON THE

9     CONSULTATION WITH THE CARDIOLOGIST FOR RECURRENT ANGINA.              AND

10    WITHOUT EVIDENCE OF NEW DAMAGE TO THE HEART THE PRIMARY CARE

11    CORRECTIONAL PEOPLE KEPT HIM THERE UNTIL THE SERIAL TROPONINS

12    SHOWED A BUMP.

13          Q     WHEN HE WENT TO LANE AFTER THEY SENT HIM OUT DO YOU

14    KNOW WHAT HAPPENED -- WHAT LANE DID TO HIM THERE?

15          A     I THINK THEY DID ANOTHER EKG WHICH DEMONSTRATED

16    WASN'T THE SAME OR DIDN'T SHOW MUCH IN THE WAY OF CHANGE.             I

17    THINK THEY CATH'D HIM AND I DON'T THINK THEY FOUND ANYTHING.

18          Q     SENT HIM BACK THE NEXT DAY?

19          A     EXACTLY.

20          Q     LET'S MOVE ON NOW TO PATIENT NUMBER 25.         PATIENT

21    NUMBER 25.    LET'S BEGIN AT JX_25.033.       THIS IS OUR SYNCOPE

22    PATIENT WHERE HE HAS -- HE PASSES OUT.         IT'S FOUND THAT HE

23    PASSED OUT IN HIS DORM.      CAN YOU EXPLAIN WHAT YOU'RE SEEING

24    HERE?

25          A     IT'S SYNCOPE.
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1           Q     THANK YOU, DOCTOR.

2           A     THIS IS A GUY WHO STOOD UP AND FELT DIZZY AND SAT

3     DOWN AND WOKE UP ON THE FLOOR.

4           Q     AND HOW WERE HIS VITAL SIGNS WHEN THEY CAME TO HIM?

5           A     PRETTY GOOD 143/86, PULSE RATE OF 88, RESPIRATION

6     16.   THEY REALLY DIDN'T FIND ANYTHING.

7           Q     DID HE HAVE ANY OTHER COMPLAINTS SUCH AS CHEST PAIN,

8     SHORTNESS OF BREATH, ANYTHING LIKE THAT?

9           A     NOPE.   NO CHEST PAIN, NO SHORTNESS OF BREATH, BOWEL

10    SOUNDS ARE OKAY, BILATERAL BREATH SOUNDS ARE OKAY, CLEAR TO

11    AUSCULTATION.    VITAL SIGNS WERE STABLE AND THEY DID

12    ORTHOSTATICS WHICH MEANS THEY CHECKED HIS BLOOD PRESSURE

13    SITTING, STANDING AND LAYING DOWN AND THEY SAID THEY WERE

14    NORMAL.   THEY FOUND ONE PVC, ONE PREMATURE VENTRICULAR

15    CONTRACTION ON THEIR RHYTHM STRIP THAT THEY RAN FOR 60

16    SECONDS, BUT HE DENIED FEELING ANY HEART PALPITATIONS AND HE

17    SAID I DON'T WANT TO GO ANY PLACE.          HE REFUSED TRANSPORT.

18          Q     ALL RIGHT.      LET'S GO TO JX_25.0034.     OKAY.    IS THAT

19    A GOOD REFUSAL NOTE THERE?

20          A     THIS IS ONE OF THE BETTER ONES.        BECAUSE IT WROTE

21    OUT WHAT -- HE REFUSED TRANSPORT BECAUSE HE HAD SYNCOPE.               THEY

22    TOLD HIM WHAT WAS GOING ON AND THE POSSIBLE RESULTS OF REFUSAL

23    INCLUDING INFECTION, DISEASE, COMA AND/OR DEATH.            I MEAN THIS

24    IS ONE OF THOSE EMT DOCTORS -- WELL EMT DOCTORS -- EMS PEOPLE

25    THAT IS WRITING UP HIS REFUSAL AND HE SIGNED IT.
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1           Q     LET'S GO TO JX_25.0032.        THIS IS A COUPLE OF WEEKS

2     LATER ON OCTOBER 27, 2020.      HE IS SEEN IN GENERAL MEDICINE

3     FOLLOWING UP ON THIS CONDITION.       WHAT DID THEY FIND AT THAT

4     TIME?

5           A     WELL, THEY TALKED ABOUT HIS SYNCOPAL EPISODE A MONTH

6     AGO AND THE EKG WAS NORMAL AND HIS BLOOD GLYCOSE WAS NORMAL.

7     THAT'S IMPORTANT.     BECAUSE THE TWO THINGS THAT CAN HAPPEN

8     WITH -- WE TALKED ABOUT USING NARCAN EARLIER FOR ALTERED LEVEL

9     OF CONSCIOUSNESS AND GOING DOWN IF YOU WILL.           THE OTHER ONE IS

10    BLOOD GLUCOSE FOR HYPOGLYCEMIA AND HE HASN'T HAD ANYTHING

11    GOING ON WITH HIM SINCE THEN.       NO PROBLEM SINCE THEN.

12                SO THE BLOOD PRESSURE, VITAL SIGNS ARE NORMAL AND

13    THE NURSE PRACTITIONER AND WHOEVER ELSE SAW HIM -- I GUESS

14    IT'S BORDELON.      IT LOOKS LIKE BORDELON.      SAID HE HAD A

15    SYNCOPAL EPISODE AND DOESN'T LOOK INTO IT ANY FURTHER.

16          Q     ARE YOU CRITICAL OF THE DECISION OF -- OR HIS

17    CONCLUSION THAT NO FURTHER WORKUP WAS NECESSARY?

18          A     I'M NOT CRITICAL AND I WROTE ABOUT THIS IN MY REPORT

19    AND I'D LIKE TO SPEAK TO IT.

20          Q     OKAY.   I WILL LET YOU SPEAK TO IT, BUT FIRST OFF

21    LET'S GO AND GET THE REST OF THE STORY.          WE KNOW ON -- GO TO

22    JX_25.0029.    HE HAS AN INSTANCE WHERE HE FALLS OUT AND HE ENDS

23    UP DYING, RIGHT?

24          A     YES.

25          Q     NOW SPEAK TO THE DECISION TO NOT HAVE NO FOLLOW-UP
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1     PREVIOUSLY THAT YOU WERE REFERRING TO.

2           A     LET'S GO TO MY REPORT.

3           Q     THAT SHOULD BE PAGE 173 OF EXHIBIT TWENTY -- 35.

4     I'M SORRY.    ALL RIGHT, DOCTOR.      WE'VE GOT YOU THERE.

5           A     OKAY.   SO WHAT I DID WAS I REVIEWED THIS CHART

6     MYSELF AND I WROTE THINGS THAT I THOUGHT WERE IMPORTANT AND

7     THAT IS THAT HE STOOD UP.       HE WASN'T EXERTING HIMSELF.        HE

8     SAID HE STOOD UP, BECAUSE THAT'S IMPORTANT IN YOUR HISTORY.

9     HE FELT DIZZY.      HE SAT DOWN AND THEN WOKE UP ON THE FLOOR AND

10    THEN WE KNOW THE REST.       AND THEN WE KNOW ABOUT THE FOLLOW-UP.

11                LET'S GO DOWN IN THE OPINION A LITTLE BIT MORE.             I

12    WROTE OUT ABOUT THIS.       IN PRIMARY CARE THE GREAT MAJORITY OF

13    EPISODES OF SYNCOPE, ESPECIALLY IN A 15-YEAR OLD, OTHERWISE

14    ASYMPTOMATIC MAN, ARE BENIGN, MOST LIKELY VASOVAGAL SYNCOPE.

15          Q     YOU SAID 15-YEAR OLD.      I THINK YOU MEANT --

16          A     52-YEAR OLD.     I'M SORRY.

17          Q     AND WHERE DID YOU GET THE INFORMATION THAT YOU -- IN

18    THAT BULLET POINT THAT YOU JUST READ?

19          A     I'M GOING ON IN THE NEXT BULLET.         IN RETROSPECT, OR

20    POSSIBLY WITHIN A HOSPITAL EMERGENCY ROOM, A SYNCOPAL EPISODE

21    COULD HAVE BEEN EVALUATED WITH AN ECHOCARDIOGRAM AND THE

22    DIAGNOSIS WOULD HAVE BEEN MADE.        HOWEVER, THE CLASSIC CLINICAL

23    MANIFESTATIONS OF AORTIC STENOSIS ARE HEART FAILURE, SYNCOPE

24    AND ANGINA.    THE FOLLOWING, HOWEVER, ARE THE MOST COMMON

25    PRESENTING SYMPTOMS:        SHORTNESS OF BREATH ON EXERTION OR
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1     DECREASED EXERCISE TOLERANCE, EXERTIONAL DIZZINESS, FEELING

2     LIKE YOU'RE GOING TO PASS OUT, OR EXERTIONAL SYNCOPE OR

3     EXERTIONAL ANGINA.

4                 AND I WROTE, "HIS SYNCOPAL EPISODE WAS NOT

5     EXERTIONAL.    IT WAS UPON RISING FROM A CHAIR."         AND THEN I

6     TOOK -- I UNDERLINED -- THIS IS FROM UPTODATE.           "THESE THREE

7     EARLY SYMPTOMS ARE NONSPECIFIC.       CARE MUST BE TAKEN IN

8     ATTRIBUTING THESE SYMPTOMS TO AORTIC STENOSIS SINCE MOST

9     PATIENTS WITH THESE SYMPTOMS DO NOT HAVE AORTIC STENOSIS."             WE

10    CAN GO TO -- HIT 197 AND GO TO THE FOOTNOTE.           AND GO TO THE

11    FOOTNOTE AND GO ON.     GO UP ABOVE.       GO UP ABOVE AND HIT THAT.

12                OKAY.   HERE WE HAVE THE ENTIRE WRITE-UP ABOUT AORTIC

13    STENOSIS.    THIS WAS IMPORTANT.     OBVIOUSLY THIS FELLOW, HE DIED

14    OF AORTIC STENOSIS.     AND THE QUESTION IS WHETHER OR NOT THERE

15    WAS GOOD REASON TO BE LOOKING INTO IT FURTHER.           MY OPINION,

16    SUPPORTED BY UPTODATE, IS THAT THE SINGLE EPISODE OF SYNCOPE

17    WAS NOT COMPATIBLE WITH AORTIC STENOSIS AS IT OCCURRED AND AS

18    DESCRIBED.

19          Q     PARTICULARLY WITH NONE OF THE OTHER SYMPTOMS THAT

20    THEY REFERRED TO; CHEST PAIN, ANGINA, SHORTNESS OF BREATH, ET

21    CETERA, RIGHT?

22          A     YES.

23          Q     OKAY.   LET'S MOVE ON TO PATIENT NUMBER 38 AT THIS

24    TIME.     LET'S GO TO JX_38.0054.

25                I JUST WANT TO KIND OF ESTABLISH THE -- STRIKE THAT.
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1     GO DOWN TO THE BOTTOM UNDER PATIENT INSTRUCTIONS.             IT LOOKS

2     LIKE HE'S GETTING READY TO GO IN FOR CATARACT SURGERY.              SEE

3     THAT ON THE PRISON INSTRUCTIONS THERE?

4           A     YES.

5           Q     IT MAY NOT BE A BIG POINT, BUT DR. VASSALLO THOUGHT

6     IT WAS DENTAL.     I DON'T KNOW THAT IT MATTERS, BUT IT'S

7     CATARACT ACCORDING TO THE RECORDS, RIGHT?           OKAY.

8                 SO WITH THAT THEY WANT HIM TO DO LEVENOX BRIDGE;

9     WHAT IS THAT?

10          A     WARFARIN IS A DRUG THAT -- ALSO CALLED COUMADIN.

11    IT'S AN ORAL PILL.     IT TAKES A COUPLE OF DAYS TO WASH OUT OR

12    TO CHANGE THE INR, WHICH IS HOW WE MEASURE IT, BUT LEVENOX IS

13    GIVEN IN A ONCE OR TWICE DAILY INJECTION AND IT GOES AWAY

14    QUICKLY SO IT'S MUCH EASIER TO REVERSE THE EFFECTS.

15          Q     LET'S GO TO JX_38.0072.         THIS SHOWS WHERE HE WAS

16    ADMITTED INTO THE NURSING UNIT FOR THE LEVENOX BRIDGE THAT YOU

17    DESCRIBED?

18          A     CORRECT.

19          Q     ALL RIGHT.      LET'S GO TO JX_38.0094.      HE DEVELOPS A

20    FEVER WHEN HE FIRST GETS IN -- LET'S GO TO JX_38.0074 FIRST.

21    THIS IS SHOWING A FEVER OF 99.3 AT THE TOP; DO YOU SEE THAT?

22          A     YES.

23          Q     LET'S GO BACK TO 94 AT THIS TIME.

24                DOCTOR, DOWN AT THE BOTTOM, THE FIRST ENTRY

25    INDICATES THAT THERE WAS WHEEZING TO BOTH LUNGS.             WHAT IS THE
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1     SIGNIFICANCE OF THAT AS TO HIS PRESENTATION?

2           A     WELL, I DON'T REMEMBER WHETHER OR NOT HE HAD COPD OR

3     ASTHMA, BUT IT'S SOMETHING THAT'S HAPPENING ON BOTH SIDES.

4     YOU CAN HAVE ASTHMATIC BRONCHITIS WHICH IS A MANIFESTATION OF

5     A VIRAL BRONCHITIS.     BUT, YOU KNOW, IN THIS CIRCUMSTANCE

6     WHAT'S IMPORTANT, AS WE'LL SEE, IS THAT IT WAS ON BOTH SIDES

7     AS OPPOSED TO ONE SIDE AND THAT HIS OXYGEN SATURATION WAS

8     96 PERCENT AND THAT WAS ON ROOM AIR, SO THAT'S PRETTY GOOD.

9           Q     LET'S GO TO JX_38.0071.        WHERE -- I'M AT THE ENTRY

10    ON MARCH 4, 2019 AT 19:30, 7:30 IN THE EVENING.

11                WHAT IS THE TREATMENT FOR THE PATIENT AT THAT TIME?

12          A     DR. BUNCH THINKS HE'S GOT INFLUENZA TYPE A AND MOVES

13    HIM TO AN ISOLATION ROOM, A LOCKED ROOM, GIVES HIM TYLENOL FOR

14    ANY TEMPERATURE ELEVATION AND, AMANTADINE WHICH IS STILL USED

15    FOR TYPE A INFLUENZA, FOR FIVE DAYS, WHICH IS THE PRESCRIBED

16    COURSE.

17          Q     WHY WOULD SHE MOVE HIM TO A LOCKED ROOM FOR

18    ISOLATION?

19          A     BECAUSE SHE DOESN'T WANT INFLUENZA MOVING AROUND THE

20    ROOM.

21          Q     LET'S GO TO JX_38.0097.        WHAT ARE HIS FEVER READS

22    THEREAFTER -- OR HIS TEMPERATURE READS, I'M SORRY, THEREAFTER?

23          A     99.3, 98.8, 98.7, 98.7.

24          Q     GENERALLY IN THE NORMAL RANGE, IS THAT FAIR?

25          A     TEMPERATURE ELEVATION ESSENTIALLY IS AT 100.5 OR
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1     HIGHER.

2           Q     ALL RIGHT.      LET'S GO TO JX_38.0090.      I WANT TO TALK

3     ABOUT THE NOTE AT THE BOTTOM ON 03/05 WHERE BLOOD-TINGED

4     SPUTUM IS NOTED.     TALK ABOUT THAT, DOCTOR, PLEASE.

5           A     NOW I REMEMBER.     BECAUSE THIS GUY DOES HAVE COPD AND

6     IN MY REPORT I DOCUMENTED THAT HAVING A BLOOD-TINGED SPUTUM

7     WITH COUGHING ASSOCIATED WITH COPD IS NOT A DANGER SIGNAL.

8     IT'S CERTAINLY NOT LIFE THREATENING.           HE'S STILL MAINTAINING

9     HIS WHEEZES -- BILATERAL WHEEZES, AND HE WAS GIVEN A DUO NEB

10    TREATMENT, WHICH WE'VE ALREADY DISCUSSED IS APPROPRIATE FOR

11    WHEEZING, AND HIS OXYGEN SATURATIONS WERE STILL AT 96 PERCENT

12    AND HIS TEMPERATURE WAS 98.8

13          Q     LET'S GO TO JX_38.0025.         WE HAVE SOME LABS RUN HERE.

14    CAN YOU EXPLAIN THE SIGNIFICANCE OF THESE LABS TO US PLEASE?

15          A     YOU KNOW, I REALLY LOOK AT THESE LABS AS BEING

16    NONSIGNIFICANT.     HE DOES HAVE A WHITE BLOOD CELL COUNT WHICH

17    IS VERY MUCH IN THE NORMAL RANGE OF 6500.           LOW IS 4500.        HIGH

18    IS 10,500.    NOW, HE'S GOT 95 PERCENT NEUTROPHILS, THAT "H"

19    DOWN BELOW, AND HE DOES HAVE -- WHEN YOU PUT IT TOGETHER WITH

20    THE -- LOOK OVER IN THE RIGHT COLUMN YOU SEE 89 PERCENT SEG'S,

21    4 PERCENT BANDS.     SO THAT'S A SHIFT TO THE LEFT, BUT IT'S NOT

22    REALLY ALL THAT CONCERNING.

23                IN INFLUENZA, AS I DOCUMENTED IN MY REPORT, IT'S NOT

24    CONSISTENT WITH A SECONDARY PNEUMONIA.           SECONDARY PNEUMONIA,

25    AT LEAST ACCORDING TO UPTODATE, MIGHT BE SUSPECTED IF YOU'VE
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1     GOT SOMEBODY, THREE, FIVE DAYS AFTER THE INFLUENZA THAT'S GOT

2     A WHITE COUNT OF 15,000.        THAT'S NOT WHAT WE SEE HERE.

3           Q     ALL RIGHT.      AS I APPRECIATED DR. VASSALLO'S

4     TESTIMONY, SHE THINKS THAT THIS WAS IN ERROR TO TREAT THIS

5     PATIENT FOR INFLUENZA.        IT SHOULD HAVE BEEN DIAGNOSED AS

6     PNEUMONIA AND SENT OUT.

7                 MR. DUBNER:     OBJECTION, YOUR HONOR.      RESPONSES TO

8     WHAT THE PLAINTIFFS' EXPERT TESTIFIED TO IS BEYOND THE SCOPE

9     OF THE REPORT.    COUNSEL -- OR DEFENDANT SAID IN THEIR RESPONSE

10    TO OUR MOTION FOR REQUEST ON NEW FACTUAL EVIDENCE THAT THE

11    EXPERTS SHOULD NOT BE ALLOWED TO RESPOND TO EACH OTHER.                THIS

12    GOES BEYOND ANYTHING THAT HE HAS TESTIFIED TO PREVIOUSLY, SO

13    TO RESPOND DIRECTED AT DR. VASSALLO --

14                THE COURT:      OVERRULED.

15    BY MR. ARCHEY:

16          Q     SO, DOCTOR, THE INFLUENZA VERSUS PNEUMONIA DIAGNOSIS

17    HERE, ARE YOU CRITICAL OR DO YOU FIND THERE WAS AN ERROR IN

18    THAT THIS WAS A PNEUMONIA DIAGNOSIS SOONER -- OR AT ALL?

19          A     IN MY OPINION THIS WHITE BLOOD CELL COUNT IS NOT

20    CONSISTENT WITH A LOW BAR PNEUMONIA.         IT'S FAR MORE CONSISTENT

21    WITH THE WORKING DIAGNOSIS OF INFLUENZA TYPE A FOR WHICH HE

22    WAS BEING TREATED.

23          Q     AND THE WHEEZING IN BOTH LUNGS, WHAT IS THAT

24    CONSISTENT WITH?

25          A     IT'S CONSISTENT WITH THE COUGHING ASSOCIATED WITH
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1     INFLUENZA.

2           Q     IF WE GO TO JX_38.0037 THE PATHOLOGIST, THE OUTSIDE

3     PATHOLOGIST, FOUND THAT THE PATIENT HAD FLU-LIKE SYMPTOMS FOR

4     TWO DAYS, CORRECT?

5           A     YES.

6           Q     DOCTOR, DO YOU FIND ANY BREACH IN THE STANDARD OF

7     CARE OF TREATMENT OF PATIENT NUMBER 38?

8           A     NO.

9           Q     LET'S MOVE ON TO PATIENT NUMBER 29 NOW.          WE HAVE

10    JUST A COUPLE OF RECORDS HERE.        LET'S GO TO JX_29.0037.

11                ALL RIGHT.      THIS IS WHERE THIS PATIENT IS FOUND IN

12    HIS CELL WITH A VERY HIGH TEMPERATURE.          ARE YOU WITH ME ON

13    THIS?

14          A     YES.

15          Q     OKAY.   LET'S GO TO JX_29.0035.

16                WHAT DID THE EMT'S FIND WHEN THEY ARRIVED?

17          A     HE WAS DEAD.

18          Q     WHAT WAS GOING ON WHEN THE EMT'S ARRIVED?

19          A     HE HAD NO RESPIRATIONS, NO HEARTBEAT, HIS PUPILS

20    WERE UNREACTIVE AND A GLASGOW COMA SCALE OF 1, 1, 1 IS AS LOW

21    AS YOU'RE GOING TO GET.        SO HIS HEART WASN'T BEATING.       HIS

22    OXYGEN SATURATION, THE FIRST TIME THEY CHECKED IT, WAS

23    77 PERCENT.    THIS WAS ESSENTIALLY A DEAD MAN.

24          Q     THE CORRECTIONAL OFFICERS WERE DOING CPR ON HIM WHEN

25    THE EMT'S ARRIVED, RIGHT?
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1           A     YES.

2           Q     AND THE EMT'S, THEY DID THEIR BEST; THEY ENGAGED ALL

3     THEIR ACLS STEPS, RIGHT?

4           A     YES.

5           Q     AND THEY BROUGHT HIM TO THE ATU AND PRESENTED HIM TO

6     DR. CROOK, CORRECT?

7           A     YES.

8           Q     AND DR. CROOK IS AN EMERGENCY TRAINED BOARD

9     CERTIFIED PHYSICIAN?

10          A     THAT'S MY UNDERSTANDING.

11          Q     IF WE GO TO JX_29.0034, HERE'S SOME OF THE NOTES OF

12    ALL OF THE VARIOUS TREATMENTS THAT WERE UNDERTAKEN FOR THIS

13    PATIENT.

14                WHEN HE ARRIVED AT THE ATU HE WAS PULSELESS STILL AT

15    THAT TIME, RIGHT?

16          A     YES.   HIS HEART WAS NOT BEATING WHEN HE ARRIVED AND

17    HE WASN'T BREATHING ON HIS OWN.       HE WAS BASICALLY A DEAD MAN.

18          Q     HOW LONG HAD HE BEEN PULSELESS BY THAT TIME; 20

19    SOMETHING MINUTES?

20          A     NO.    WE'RE LOOKING AT ABOUT A HALF AN HOUR BY THE

21    TIME THEY CALLED IT.

22          Q     NOW DR. VASSALLO IS CRITICAL OF THE COOLING EFFORTS.

23    I WANT TO SHOW YOU A RECORD JX_51.0157.         0157?

24                MR. DUBNER:     OBJECTION, YOUR HONOR.      THIS ISN'T A

25    PATIENT DR. MATHIS TALKED ABOUT IN HIS REPORT AT ALL.            THIS IS
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1     ONE OF DR. MCMUNN'S PATIENTS.

2                 THE COURT:      IS THIS THE RIGHT PATIENT?

3                 MR. ARCHEY:     THERE IS ONE -- ONE REASON FOR BRINGING

4     THIS UP, JUDGE.     IT IS A DIFFERENT PATIENT, BUT I HAVE ONE

5     REASON FOR THIS.

6                 THE COURT:      OKAY.   WHAT IS YOUR OBJECTION?

7                 MR. DUBNER:     OUTSIDE THE SCOPE OF THE REPORT.           DR.

8     MATHIS DIDN'T OPINE OR DISCUSS THIS PATIENT IN ANY WAY AT ANY

9     POINT IN HIS REPORT.

10                THE COURT:      WHAT IS YOUR RESPONSE?

11                MR. ARCHEY:     I ACTUALLY WASN'T SURE WHICH ONE HAD

12    OPINED ON THIS, BUT MY RESPONSE IS IT'S RELEVANT TO WHAT WE'RE

13    TALKING ABOUT HERE AND IT GOES TO HIS OPINION ON 29.

14                THE COURT:      NO.   A DIFFERENT PATIENT.     SUSTAINED.

15    BY MR. ARCHEY:

16          Q     DOCTOR, DID YOU FIND ANY VIOLATION IN THE BREACH OF

17    CARE IN PATIENT NUMBER 29?

18          A     YOU KNOW, YOU CAN ONLY DO SO MUCH WHEN SOMEBODY IS

19    NOT BREATHING AND NOT -- DOESN'T HAVE A HEARTBEAT AND YOU PICK

20    HIM UP OUT IN THE CAMP AND YOU BRING HIM BACK AND YOU CAN'T

21    RESUSCITATE HIM, WHATEVER THE CAUSE IS.

22          Q     ALL RIGHT.      LET'S GO TO PATIENT NUMBER 36 NOW.

23                I'D LIKE TO BEGIN WITH JX_36.0137.

24                DOCTOR, I JUST WANT TO SORT OF GET THIS PATIENT'S

25    BASELINE AT THIS TIME.
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1                 MR. DUBNER:     AGAIN, OBJECTION FOR THE REASONS THAT

2     WE STATED IN OUR DAUBERT MOTION.        LITERALLY THE ENTIRETY OF

3     DR. MATHIS'S DESCRIPTION OF THIS PATIENT IS I REVIEWED THE

4     ENTIRE CHART OF PATIENT NUMBER 36 AND FOUND THE LSP DEATH

5     REVIEW TO BE SUBSTANTIALLY ACCURATE.          IT IS MY OPINION THAT

6     THERE ARE NO STANDARD OF CARE VIOLATIONS BY LSP IN THEIR CARE

7     OF PATIENT NUMBER 36.        THERE'S NOTHING WHATSOEVER THAT'S

8     DISCLOSED ABOUT THE CONTENT OF HIS OPINION.           THERE'S NO WAY

9     FOR US TO PREPARE TO RESPOND SO WE OBJECT ON THE BASIS OF IT

10    NOT BEING FAIRLY DISCLOSED UNDER RULE 26.

11                MR. ARCHEY:     I HAD THE SAME OBJECTION AS TO

12    DR. VASSALLO ON SEVERAL OF HER CHART REVIEWS AND SHE WAS

13    ALLOWED TO GO INTO THEM.

14                THE COURT:      EXCEPT THAT HER CHART REVIEWS WERE

15    ATTACHED TO HER REPORT.        ARE THERE CHART REVIEWS?      DID YOU

16    PRODUCE CHART REVIEWS FOR PATIENT 36?

17                MR. ARCHEY:     YES.

18                THE COURT:      DO YOU HAVE THEM?

19                MR. DUBNER:     THEY PRODUCED THE BOOKMARKS.       THEY

20    DIDN'T PRODUCE AN ANALYSIS WHATSOEVER OF THE BOOKMARKS.                THEY

21    JUST PRODUCED A COPY OF THE MEDICAL RECORDS WITH TITLES ADDED

22    BY DR. MATHIS'S PARALEGAL.

23                THE COURT:      THAT WAS THE ANALYSIS?     THAT WAS THE

24    CHART REVIEW, A PAGE OF BOOKMARKS?

25                MR. ARCHEY:     SOME OF IT.     AND THEN HE ALSO HAS A
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1     WRITE-UP ON THIS.

2                  THE COURT:     THAT HE JUST READ ME THAT WAS TWO

3     SENTENCES.

4                  MR. ARCHEY:    THAT'S NOT ALL THERE IS TO IT.

5                  THE COURT:     OKAY.   SHOW ME SOMETHING THAT PUT THEM

6     ON NOTICE THAT HE WAS GOING TO GIVE OPINION TESTIMONY BEYOND

7     ONE SENTENCE -- ANALYSIS TESTIMONY -- AS TO THE CARE GIVEN TO

8     PATIENT 36.

9                  MR. ARCHEY:    YES, MA'AM.     LET ME GET TO THE RIGHT

10    PAGE.      MA'AM, HIS WRITE-UP IS FOUR PAGES ON THIS BEGINNING ON

11    PAGE 100 OF HIS REPORT AND GOES TO PAGE 104.

12                 MR. DUBNER:    YOUR HONOR, IF I CAN RESPOND, PAGES 101

13    TO 103 ARE VERBATIM RECITATIONS OF THE MEDICAL SUMMARY REPORT.

14    THEY ARE NOT DR. MATHIS'S ANALYSIS.          IT'S JUST A COPY/PASTE

15    BUT WITH THE NAMES CHANGED TO ANONYMIZE THEM.

16                 MR. ARCHEY:    YOUR HONOR --

17                 THE COURT:     I DON'T KNOW IF IT'S CUT AND PASTE OR

18    NOT.    YOU CAN CROSS-EXAMINE HIM ON WHETHER OR NOT IT'S CUT AND

19    PASTE IN HIS ANALYSIS, BUT HE'S GOT A WHOLE BUNCH OF STUFF IN

20    HIS REPORT ON PATIENT 36.        OVERRULED.

21    BY MR. ARCHEY:

22           Q     OKAY, DOCTOR.     ON PATIENT NUMBER 36, BACK TO

23    JX_36.0137, I JUST WANT TO ESTABLISH HIS BASELINE CONDITION AS

24    WE BEGIN THIS UNDERTAKING.

25                 WHAT WAS HIS CONDITION, REALLY DOWN AT THE BOTTOM OF
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1     THAT PAGE AND INTO THE NEXT PAGE?

2           A     THIS IS A 65-YEAR OLD GUY WITH COPD AND

3     CYSTIC-BULLOUS EMPHYSEMA WHICH MEANS HIS -- IF YOU THINK ABOUT

4     A LUNG, IT KIND OF LOOKS LIKE A STORE BOUGHT SPONGE, AS

5     OPPOSED TO CYSTIC-BULLOUS EMPHYSEMA WHICH KIND OF LOOKS LIKE

6     ONE OF THOSE SPONGES THAT SPONGE DIVERS PICK UP; IT'S GOT BIG

7     HOLES IN IT.    AND IT DOESN'T HAVE AS MUCH CAPACITY TO BE ABLE

8     TO PUT OXYGEN IN THE BLOOD.        AND WHAT HAPPENS WHEN YOU TRY AND

9     EXPEL AIR IS THAT THE PASSAGES COLLAPSE ON THEMSELVES, SO IT'S

10    OBSTRUCTIVE PULMONARY DISEASE.

11                SO HE CAME IN WITH -- HE WAS SHORT OF BREATH AND HE

12    HAD HAD IT PRETTY MUCH AT BASELINE FOR THE LAST SIX YEARS, BUT

13    HE WAS WORSENING FOR THE PAST TWO OR THREE YEARS.            THEN THEY

14    DID A LUNG WASHING THREE YEARS AGO FOR BULLOUS DISEASE.

15    THAT'S JUST -- THE PULMONOLOGIST WENT IN THERE AND TRIED TO

16    TAKE CARE SOME OF THE MUCK THAT FILLS UP THOSE LARGE CAVITIES

17    AND THEN HE WORSENED AND NOW HE'S SHORT OF BREATH AT REST.

18    AND HE WASN'T TAKING OXYGEN BACK IN THE PRISON, AND HE'S

19    BRINGING UP WHITE SPUTUM, BUT NO BLOOD AND -- BUT HE HASN'T

20    HAD ANY FEVER, CHILLS, CHEST PAIN OR LEG SWELLING.

21          Q     ALL RIGHT.      AND, DOCTOR, I WANT TO TRY TO DO THIS IN

22    A SUMMARY FORMAT.     IT LOOKS LIKE THE PATIENT WAS SEEN IN

23    CLINIC A ON JANUARY 23, WHICH IS PAGE NUMBER 0134.            HE WAS

24    SEEN AGAIN ON FEBRUARY 13, WHICH IS PAGE 0127, AND HE WAS SEEN

25    YET AGAIN ON APRIL 17, WHICH IS 0126.          SO HE WAS BEING
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1     FOLLOWED FOR HIS CONDITION, IS THAT FAIR?

2           A     YES.

3           Q     ALL RIGHT.      LET'S GO TO THE DATE IN ISSUE WHICH IS

4     JX_36.0106.

5                 ALL RIGHT.      HOW DID HE PRESENT THIS DAY TO THE ATU?

6           A     WELL, HE'S SHORT OF BREATH.        HE WALKED IN THOUGH AND

7     HE SAID HE'S BEEN SHORT OF BREATH THE LAST TWO DAYS AND HE'S

8     WORKING HARD -- HE'S SUCKING AIR AND HAS DIMINISHED BREATH

9     SOUNDS IN BOTH LUNGS WHICH IS CONSISTENT WITH CHRONIC

10    OBSTRUCTIVE PULMONARY DISEASE.        AND HE SPEAKS IN BROKEN

11    SENTENCES, WHICH MEANS HE CAN'T FINISH A SENTENCE WITHOUT

12    TAKING A BREATH.

13          Q     HOW WAS HE TREATED INITIALLY?

14          A     WELL, THEY TOOK HIS VITAL SIGNS SEVERAL TIMES.             HE

15    WAS VERY HYPERTENSIVE WITH 203/115 AND HIS RESPIRATORY RATE

16    WAS 32, BUT HE IMPROVED SOME.        HIS RESPIRATORY RATE COMES DOWN

17    TO 24.    STILL FAST.    HIS BLOOD PRESSURE COMES DOWN A BIT,

18    184/99.   HIGH BUT STILL NOT AS HIGH.        AND YOU SEE WAY OVER

19    THERE ON THE RIGHT WHAT'S GOING ON WITH O2 STATS.            THEY'RE

20    ABLE TO GIVE HIM SOME OXYGEN, USE ROOM AIR, AND THEY'RE

21    STAYING IN THE HIGH 90'S.

22                SO THE FIRST THING THAT HAPPENS IS DR. CROOK ORDERS

23    A DUO NEB, DOWN ON THE LEFT, AND THEN HE GIVES HIM AN IV DOES

24    OF SOLU-MEDROL, WHICH IS INTRAVENOUS STEROIDS WHICH IS ONE OF

25    THE FIRST THINGS THAT YOU DO FOR EXACERBATION OF CHRONIC
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1     OBSTRUCTIVE PULMONARY DISEASE.       HE ADDS ROCEPHIN AND

2     ZITHROMAX, WHICH ARE ANTIBIOTICS THAT ARE USED TO HOPEFULLY

3     HELP AMELIORATE WHAT'S GOING ON WITH THIS ACUTE EXACERBATION

4     AND DRAW SOME BLOOD, ORDERS A CHEST X-RAY AND FOLLOWS THE O2

5     STATS.

6           Q     OKAY.   THE DUO NEB; WHAT IS THAT?

7           A     DUO NEB IS TWO DIFFERENT MEDICATIONS USED.           ONE IS

8     USED TO HELP DECREASE SECRETIONS.          THE OTHER ONE IS USED TO

9     HELP DIMINISH THE BRONCHOSPASM.

10          Q     THEY SECURED LABS.    WERE THERE ANY SIGNIFICANT

11    FINDINGS ON ANY OF THE LABS?

12          A     YOU'D HAVE TO SHOW ME THE LABS.

13          Q     SURELY.   JX_36.0118.

14          A     WELL, HE'S CREATIN MEANS A LITTLE ELEVATED.           NORMAL

15    IS UP TO 1.2 AND HE'S AT 1.24.       HIS SODIUM IS 146, NORMAL IS

16    UP TO 145, SO THERE'S NOTHING HERE THAT'S IMPORTANT.

17          Q     AND LSP ALSO SECURED A CHEST X-RAY.         LET'S GO TO

18    JX_36.0078.    IS THERE ANYTHING SIGNIFICANT THERE, DOCTOR?

19          A     WELL, LET'S JUST GO DOWN TO THE IMPRESSION.           MILDLY

20    PROGRESSIVE INTERSTITIAL CHANGES THROUGHOUT THE LUNGS.

21                OKAY.   SO WE TALKED ABOUT A COUPLE OF DIFFERENT

22    TYPE -- KINDS OF SPONGES.      COPD IS ASSOCIATED WITH THAT SPONGE

23    THAT SOMEBODY DIES FOR.      INTERSTITIAL CHANGES ARE STIFFNESS OF

24    THE STROMA, THE PARTS OF THE SPONGE THAT ARE THERE HOLDING

25    THOSE BIG OLE' HOLES TOGETHER, BUT IT'S STIFF AND IT
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1     DEMONSTRATES THAT IT'S FIBROTIC; INTERSTITIAL CHANGES.            AND

2     THEY SAID IT COULD BE UNDERLYING INTERSTITIAL LUNG DISEASE

3     VERSUS THE POSSIBILITY OF AN INFECTIOUS PROCESS VERSUS

4     INTERSTITIAL PULMONARY EDEMA, WHICH MEANS THAT HEART FAILURE

5     THAT'S BACKING UP.     THEY THEN SAY CHECK IT OUT.

6           Q     AFTER ALL THIS WORKUP AT 11:30 THAT MORNING THE

7     DECISION IS MADE TO ADMIT HIM INTO THE NURSING UNIT.            ARE YOU

8     CRITICAL OF THAT DECISION?

9           A     WELL, ONE OF THE ADVANTAGES OF HAVING AN ATU VERSUS

10    AN EMERGENCY ROOM IS YOU'VE GOT A PLACE TO HOLD SOMEBODY WHERE

11    YOU DON'T THINK THEY REALLY NEED TO BE ADMITTED BUT THEY NEED

12    TO BE AT A HIGHER LEVEL OF CARE AS POSSIBLE RATHER THAN IN

13    THEIR HOUSING UNIT.     YOU CAN WRITE ORDERS AND FOLLOW-UP WHAT

14    HAPPENED WITH THE SOLU-MEDROL, THE DUO NEB, ZITHROMAX AND THE

15    ROCEPHIN.

16          Q     OKAY.   AND THEN AS HE HAS -- WELL, HE DETERIORATES

17    IN THE NURSING UNIT AND HE COMES BACK AND THIS IS JX_36.0107.

18    DO YOU HAVE ANY CRITICISMS OF THE EFFORTS TO RESUSCITATE HIM

19    AT THAT TIME?

20          A     NO.

21          Q     LET'S GO TO PATIENT NUMBER 48 NOW.        LET'S BEGIN ON

22    JX_48.0050.    OKAY.

23                THIS PATIENT PRESENTED WITH INTERMITTENT CHEST PAIN

24    TIMES -- FOR TWO DAYS, AND HE IS SEEN BY A NURSE PRACTITIONER

25    IN THE ATU UPON THAT PRESENTATION, CORRECT?
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1           A     YES.    ON THE LEFT MIKE WALLIS SAW HIM.

2           Q     OKAY.   AND NURSE PRACTITIONER WALLIS REFERS HIM TO

3     CARDIOLOGY, CORRECT?

4           A     YES.

5           Q     WE GO TO JX_48.0049 AND THERE'S YOUR REFERRAL.

6           A     YES.

7           Q     IS THAT GOOD?

8           A     HE WRITES OUT WHAT -- WHAT NEEDS TO BE TRANSMITTED,

9     TELLS THE CARDIOLOGIST, HELP ME OUT THIS IS -- HE NEEDS YOUR

10    INPUT.

11          Q     OKAY.   LET'S GO TO JX_48.0053.

12                PATIENT FAILED TO SHOW FOR AN APPOINTMENT HE HAD ON

13    JANUARY 5, SO A FEW DAYS LATER.        DO YOU SEE THAT?

14          A     I DO.

15          Q     OKAY.   NOW WE GO TO JX_48.0052.

16                ALL RIGHT.      SELF-DECLARED EMERGENCY.     HE PRESENTS

17    AGAIN WITH CHEST PAIN, RIGHT?

18          A     CORRECT.

19          Q     OKAY.   AND HE IS SEEN -- THE NOTE SAYS HE WAS SEEN

20    IN THE ATU BY NURSE PRACTITIONER WALLIS PREVIOUSLY, RIGHT?

21          A     CORRECT.

22          Q     DOCTOR, IS THIS ONE OF THE RECORDS THAT LED YOU TO

23    SAY THAT THE SELF-DECLARED EMERGENCY POLICY NEEDS TO BE

24    RE-EXAMINED?

25          A     YES.
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1           Q     THIS PATIENT HAD JUST BEEN SEEN BY NURSE

2     PRACTITIONER ANN AND PROVIDED AN APPOINTMENT WHICH HE FAILED

3     TO MAKE, CORRECT?

4           A     YES.

5           Q     I'M GOING TO MOVE ON NOW TO PATIENT NUMBER 2.

6                 DOCTOR, THERE'S A REFERRAL TO -- STRIKE THAT.              LET'S

7     BEGIN ON JX_02.0115.

8                 OKAY.   THIS IS A LITTLE LIGHT, BUT HE PRESENTS AND

9     ONE OF THE PLANS IS TO GET AN ULTRASOUND OF HIS THYROID; IS

10    THAT RIGHT?

11          A     YES.

12          Q     OKAY.   LET'S GO TO JX_02.0063.

13                ALL RIGHT.      HERE IS A PROVIDER NOTE DESCRIBING THE

14    RESULTS OF THE ULTRASOUND OF THE THYROID; IS THAT RIGHT?

15          A     CORRECT.

16          Q     INCLUDING THERE'S A REFERRAL TO ENDOCRINOLOGY,

17    CORRECT?

18          A     CORRECT.

19          Q     GO TO JX_02.0117.     HE HAD A FOLLOW-UP A FEW DAYS

20    LATER ON MARCH 9, 2020, AND HE IS TO KEEP HIS SCHEDULED

21    APPOINTMENT KSA WITH ENDOCRINOLOGY AND THYROID ULTRASOUND,

22    RIGHT?

23          A     CORRECT.

24          Q     DOCTOR, DID HE KEEP THE APPOINTMENT?

25          A     I DON'T THINK SO.
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                                                                        254

1           Q     COVID.   IT GOT CANCELED BECAUSE OF THE COVID

2     RESTRICTIONS, RIGHT?

3           A     YES.

4           Q     ALL RIGHT.      I WANT TO COVER ONE MORE POINT WITH THIS

5     PATIENT.    LET'S GO TO JX_02.0052.         THIS UMC PROVIDER NOTES,

6     THIS IS THREE LINES DOWN, THERE'S A WEIGHT LOSS OF ABOUT

7     40 POUNDS OVER THE LAST SIX MONTHS.          I WANT TO ADDRESS THAT,

8     OKAY?

9           A     YES.

10          Q     LET'S GET THE DATE OF THIS.         THIS IS APRIL OF 2020,

11    RIGHT?

12          A     IT SAYS APRIL 13TH, 2021.

13          Q     2021.    THANK YOU.   ALL RIGHT.

14                LET'S GO BACK SIX MONTHS BEFORE.          LET'S SEE WHAT THE

15    WEIGHTS SHOW.      IF I GO TO JX_02.0097 -- WELL, BEFORE THAT,

16    BEFORE WE LEAVE THIS, WHAT'S HIS WEIGHT ON APRIL 13TH, 2021?

17          A     140 POUNDS.

18          Q     LET'S GO BACK TO SEPTEMBER 30TH, 2020.           JX_02.0097.

19                WHAT'S HIS WEIGHT SHOWN AT THE TOP OF THIS

20    ENCOUNTER?

21          A     144 POUNDS.

22          Q     LET'S GO TO THE NEXT MONTH -- OR TWO MONTHS LATER,

23    ON JX_02.0071.      THIS IS NOVEMBER 25, 2020.

24                WHAT'S HIS WEIGHT SHOWN AT THE TOP OF THAT FORM?

25          A     150 POUNDS.
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1           Q     IS THERE ANY INDICATION OF A 40-POUND WEIGHT LOSS AS

2     THE UMC PROVIDERS SEEM TO THINK?

3           A     NOT FROM THESE WEIGHTS.

4           Q     ALL RIGHT.      THERE IS A REFERENCE TO HOARSENESS.        IF

5     I GO BACK TO JX_02.0050.        THERE'S A REFERENCE TO HOARSENESS

6     AND IT SAYS NEW ONSET.

7                 WHAT IS THE SIGNIFICANCE OF THE NEW ONSET OF

8     HOARSENESS WITH THIS PATIENT?

9           A     WELL, NEW ONSET OF HOARSENESS, IF IT'S NOT FROM A

10    COLD OR SINUSITIS YOU NEED TO LOOK AT THE LARYNX TO SEE

11    WHETHER OR NOT THERE'S SOMETHING GOING ON THERE, ESPECIALLY IF

12    IT'S A SMOKER.

13          Q     OKAY.   CONSIDERING COVID RESTRICTIONS AND WHAT WE

14    HAVE IN THIS RECORD, DO YOU FIND LSP BREACHED ANY STANDARD OF

15    CARE TO THIS GENTLEMEN?

16          A     THE IMPORTANT THING IS THAT LSP HAD NO KNOWLEDGE

17    THAT HE HAD HOARSENESS AND NO KNOWLEDGE THAT HE HAD -- IT'S

18    ALSO SAID HAD DIFFICULTY FOLLOWING SOLID FOOD.           THERE WAS NO

19    INFORMATION IN THE CHART ABOUT THAT.

20          Q     LET'S MOVE ON.     PATIENT NUMBER 5.      I WANT TO TALK

21    ABOUT PROBABLY WITHOUT A RECORD.        THIS IS THE CRITICISMS OF

22    THE CARDIOLOGY CARE WHERE DR. PALONE IS APPARENTLY MISREADING

23    THE INJECTION RATE.      DO YOU FIND ANY VIOLATION OF STANDARD OF

24    CARE BY LSP?

25          A     NO.
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                                                                        254

1            Q    WHY NOT?

2            A    BECAUSE LSP -- NURSE PRACTITIONERS, UNLESS THEY'RE

3     SPECIFICALLY CARDIOLOGY NURSE PRACTITIONERS IN A CARDIOLOGY

4     OFFICE, DON'T HAVE THE EXPERTISE TO BE ABLE TO EVALUATE A

5     PATIENT THE SAME AS A BOARD CERTIFIED CARDIOLOGIST.

6                 IN THIS CIRCUMSTANCE, THE BOARD CERTIFIED

7     CARDIOLOGIST VIOLATED THE STANDARD OF CARE BECAUSE HE COULDN'T

8     KEEP TRACK OF WHAT THE INJECTION FRACTION WAS SO HE SET THE

9     STAGE FOR THE NURSE PRACTITIONERS DURING THOSE SUBSEQUENT

10    MONTHS.

11           Q    OKAY.   THE PROVIDERS AT LSP ARE ENTITLED TO RELY

12    UPON THE BOARD CERTIFIED CARDIOLOGISTS IN HIS DETERMINATION AS

13    TO WHETHER THAT CARE IS APPROPRIATE OR NOT?

14           A    JUST LIKE WHAT WOULD HAPPEN IF YOUR FAMILY

15    DOCTOR SENT YOU TO A HEART DOCTOR.           WHO WOULD YOU ASK ABOUT

16    YOUR HEART PROBLEMS; YOUR FAMILY DOCTOR OR YOUR HEART DOCTOR?

17           Q    ALL RIGHT.      ONE MORE DISCUSSION ABOUT SPECIALTY CARE

18    AND WE'RE GOING TO WRAP UP.        DID YOU SEE ANY INDICATIONS OF

19    PROBLEMS WITH SPECIALTY CARE IN THE CHART REVIEWS THAT YOU

20    DID?

21           A    I WAS PRETTY IMPRESSED.         YOU KNOW, CONSIDERING THE

22    DIFFICULTY TO GET THESE PEOPLE IN AND OUT OF NEW ORLEANS WITH

23    THE LONG RIDES AND, YOU KNOW, THE WAITING AND THE COORDINATION

24    WITH ECEPTIONIST AND TRIP RETURNS, I THOUGHT THEY DID A PRETTY

25    GOOD JOB.
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1           Q     YOU REFERENCED A COUPLE OF CHARTS UNDER YOUR

2     OPINION -- BASIS FOR YOUR OPINION.          ONE WAS NUMBER 13 --

3     PATIENT NUMBER 13.      I'M JUST HOLDING UP SOME OF THE PRINTOUTS

4     OF SOME OF THE SPECIALTY CARE FOR PATIENT NUMBER 13.             DID YOU

5     FIND A WEALTH OF SPECIALIST APPOINTMENTS FOR HIM?

6           A     IT WAS AMAZING.     YES.

7           Q     ANOTHER ONE IS NUMBER 12 THAT NO ONE HAS ANY

8     CRITICISMS OF AND HE GOT A LOT OF SPECIALTY CARE AS WELL,

9     CORRECT?

10          A     YES.

11          Q     ALL RIGHT.      NOW, LET ME SHIFT GEARS JUST A TOUCH.

12    YOU DID FIND SOME PROBLEMS IN SOME PLACES, RIGHT?

13          A     I DID.

14          Q     WE'VE TALKED ABOUT THE SELF-DECLARED EMERGENCY

15    ALREADY, RIGHT?

16          A     YES, A LITTLE.

17          Q     A LITTLE BIT THAT'S RIGHT.       PATIENT 32 WAS ONE OF

18    THE PLACES WHERE YOU LOOKED AT IT AND SAW SOME RECORDS OF

19    SELF-DECLARED EMERGENCIES AND SAID THAT CAN'T HAPPEN, RIGHT?

20          A     RIGHT.

21          Q     AND LSP HAS RESPONDED?

22          A     YES.

23          Q     OKAY.    PATIENT NUMBER 7, LET'S TALK ABOUT HIM.

24    THAT'S WHERE THE GENTLEMAN HAD THE THREE BLOOD STOOLS -- BLOOD

25    IN THE STOOLS ON THREE TESTS?
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1           A     YES.

2           Q     AND DR. TOCE TESTIFIED HE REFUSED THE COLONOSCOPY;

3     IS THAT RIGHT?

4           A     HE SWORE UNDER OATH THAT HE REFUSED THE COLONOSCOPY.

5           Q     WAS THERE A VIOLATION OF THE STANDARD OF CARE

6     NEVERTHELESS?

7           A     YES.

8           Q     WHY?

9           A     BECAUSE TOCE SHOULD HAVE WRITTEN THAT DOWN.            THIS

10    WAS AN IMPORTANT THING AND TOCE KNEW IT, BUT HE DIDN'T WRITE

11    IT DOWN.

12          Q     AND THERE WERE RECORDS IN THE FILE INDICATING THAT

13    HE HAD REFUSED THE COLONOSCOPY PREVIOUSLY, RIGHT?

14                MR. DUBNER:     OBJECTION.      THIS IS SOME OF THE

15    EVIDENCE THAT THE COURT EXCLUDED LAST WEEK BECAUSE IT WAS

16    PRODUCED BEFORE -- IT WAS NOT PRODUCED AND IT WAS BEFORE 2019.

17                THE COURT:      WAS IT BEFORE 2019?

18                MR. ARCHEY:     IT WAS.

19                THE COURT:      SUSTAINED.

20                MR. ARCHEY:     THEN I WOULD PROFFER THOSE DOCUMENTS,

21    YOUR HONOR.

22                THE COURT:      OKAY.   PROFFER THEM.

23                MR. ARCHEY:     I'LL GET BACK WITH EXACTLY WHERE THEY

24    ARE IN A SECOND, YOUR HONOR.

25    BY MR. ARCHEY:
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1           Q     PATIENT 35.     THIS IS ANOTHER ONE WHERE YOU HAVE A

2     CRITICISM.    THE PATIENT PRESENTS ON APRIL 13 OF 2019 TO THE

3     NU, NURSING UNIT -- I'M SORRY, THE ATU.         DR. BUNCH ELECTS TO

4     SEND THE PATIENT TO THE NURSING UNIT FOR A 23-HOUR

5     OBSERVATION.    PATIENT HAS FEVER AND ALTERED MENTAL STATUS.

6                 DID YOU FIND THAT TO BE A VIOLATION OF STANDARD

7     MEDICAL CARE.

8           A     YES.

9           Q     OKAY.   WHY?

10          A     THIS GUY HAD A HISTORY OF SEIZURES AND IT WOULD BE

11    ALTERED AFTERWARDS, BUT IT WAS NEVER ASSOCIATED WITH A

12    TEMPERATURE EVALUATION OF 103.2.       AND SHE ADMITTED HIM WITHOUT

13    THE POSSIBILITY OF HAVING BLOOD CULTURES, A SPINAL TAP, CT

14    SCAN, CHEST X-RAY AND CLOSE OBSERVATION AND STARTING HIM ON

15    PROPHYLACTIC ANTIBIOTICS ONCE THOSE THINGS WERE ALL DONE.             HE

16    NEEDED TO BE IN THE HOSPITAL.

17          Q     OF COURSE THIS IS IN EARLY 2019 AND DR. BUNCH IS NO

18    LONGER AT LSP, CORRECT?

19          A     CORRECT.

20          Q     PATIENT NUMBER 20 THERE WAS ONE ENCOUNTER THAT YOU

21    WERE CRITICAL OF.      WHEN THE PATIENT PRESENTED TO THE ATU HAD

22    JAUNDICE EYES AND WAS SEEN BY THE NURSE IN THE ATU.

23                YOU FOUND THAT TO BE A VIOLATION?

24          A     YES.

25          Q     AND WHAT HAPPENED THEREAFTER?       THREE WEEKS LATER HE
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1     WAS SEEN BY A PROVIDER AND WAS TREATED?

2           A     YES.    HE WAS FURTHER EVALUATED AFTER THAT.

3           Q     OKAY.   ONE MORE YOU NOTED, AND THIS IS THE FINAL

4     ONE, WAS PATIENT 47.        NEEDED A URINALYSIS FOR FOLLOW-UP ON

5     HEMATURIA, RIGHT?

6           A     YES.

7           Q     ALL RIGHT, DOCTOR.     NOW, WITH THOSE DINGS, IF YOU

8     WILL, DID YOU FIND ANY SYSTEMATIC FAILURES OF LSP TO PROVIDE

9     CARE?

10          A     I THINK THE CLINICAL CARE THAT WE LOOKED AT BASED ON

11    THE CHARTS THAT THE PLAINTIFF OFFERED WAS SIMILAR, CONSISTENT

12    WITH OTHER CORRECTIONAL SYSTEMS AND OTHER HOSPITALS AND JAILS

13    THROUGHOUT THE UNITED STATES.

14          Q     THERE ARE THOUSANDS OF ENCOUNTERS IN THESE RECORDS

15    THAT YOU LOOKED THROUGH; IS THAT RIGHT?

16          A     THOUSANDS, YES.

17          Q     OKAY.   ALL RIGHT.    LET'S TURN NOW TO YOUR OPINIONS.

18    I WANT TO BEGIN ON PAGE 213 OF D_35 -- 35-C.           GO ALL THE WAY

19    UP, BROOKE, PLEASE.      THERE YOU GO RIGHT THERE.

20                OPINION NUMBER ONE YOU SAID, IT'S YOUR OPINION THAT

21    THE MEDICAL PROVIDERS COMPORTED WITH THE STANDARD OF CARE AND

22    THE DESIGNATED MEDICAL CHARTS BETWEEN JANUARY 1, 2019 AND

23    PRESENT.

24                WHAT'S THE BASIS FOR YOUR OPINION?

25          A     MY TRAINING AND EXPERIENCE.
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1           Q     AND YOUR REVIEW OF THE 39 CHARTS?

2           A     WELL, OF COURSE I LOOKED AT THE 39 CHARTS IN DETAIL,

3     PAGE BY PAGE.

4           Q     AND THE SECOND BULLET YOU NOTED THE FEW VIOLATIONS

5     YOU FOUND AND WE WENT THROUGH IT AND LAID IT BEFORE THE COURT,

6     RIGHT?

7           A     CORRECT.

8           Q     OKAY.   ALL RIGHT.      YOU'RE OF THE OPINION THAT A

9     RANDOM SAMPLING WOULD BE A MORE FAIR PRESENTATION OF THE CARE

10    TO LSP THAN THE SELECTING OF THESE CHARTS BY THE PLAINTIFFS,

11    THAT'S YOUR OPINION?

12                MR. DUBNER:     OBJECTION.      THE WITNESS HAS ALREADY

13    SAID HE'S NOT AN EXPERT IN STATISTICS.

14                THE COURT:      WHAT ARE YOU CALLING FOR?

15                MR. ARCHEY:     YOUR HONOR, HE HAS AN OPINION THAT THE

16    MANNER IN WHICH THE PLAINTIFFS SELECTED THE CHARTS IS NOT THE

17    WAY IT SHOULD BE DONE.        HE THINKS IT SHOULD BE A RANDOM

18    SELECTION AND THAT'S WHAT I ASKED HIM.

19                THE COURT:      OKAY.   HE'S NOT BEEN TENDERED AS AN

20    EXPERT IN THAT, BUT THE COURT HAS MADE CLEAR THAT HE CAN

21    CERTAINLY CRITICIZE THE WAY THEY CHOSE THE CHARTS, SO I'M

22    GOING TO LET YOU ASK THE QUESTION.           OVERRULED.

23                MR. ARCHEY:     THANK YOU, YOUR HONOR.

24    BY MR. ARCHEY:

25          Q     DOCTOR, IS THAT YOUR OPINION THAT A RANDOM SAMPLING
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1     WOULD BE MORE APPROPRIATE?

2           A     YES.

3           Q     WHY?

4           A     WELL, THE WAY I READ THE COURT'S OPINION, THIS WAS

5     BASED ON PATIENTS FROM JANUARY 1ST, 2019 IN PERPETUITY.                SO TO

6     LOOK AT THE UNLIMITED NUMBER OF CHARTS THAT THE PLAINTIFF

7     SELECTED DOESN'T DEMONSTRATE THE PREPONDERANCE OF CARE AT LSP

8     NOW OR IN THE FUTURE.

9           Q     ALL RIGHT, DOCTOR.     GO TO THE NEXT PAGE.       I'M ON

10    PAGE 213 OF YOUR REPORT.        YOU MAKE A BULLET THERE THAT SAYS,

11    "LSP MEDICAL PROVIDERS ARE NOT SPECIALISTS.           INSTEAD LSP

12    MEDICAL PROVIDERS ARE PRIMARY CARE PROVIDERS."

13                WHAT'S SIGNIFICANT ABOUT THAT?

14          A     LSP MEDICAL PROVIDERS CAN'T BE HELD TO THE SAME

15    STANDARD AS HOSPITALISTS, EMERGENCY ROOM PHYSICIANS OR

16    SPECIALISTS.

17          Q     THE NEXT BULLET YOU SAID, "CORRECTIONS IS A FIELD OF

18    MEDICINE DIFFERENT FROM FAMILY MEDICINE, INTERNAL MEDICINE OR

19    EMERGENCY MEDICINE."

20                WHAT ARE YOU TRYING TO CONVEY THERE?

21          A     ONCE YOU WALK IN THAT GATE EVERYTHING CHANGES.

22    PEOPLE THAT JUST COME OFF THE STREET AND THEY'VE PRACTICED IN

23    FAMILY MEDICINE ALL THEIR LIFE, IT TAKES THEM A LONG TIME TO

24    UNDERSTAND WHAT'S GOING ON.

25          Q     ALL RIGHT.      I THINK SEVERAL OF THESE BULLETS ARE
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1     RELATED.    I WANT TO GO DOWN TO THE ONE WHERE YOU SAY,

2     "OPINIONS BY EXPERTS WHO HAVE NEVER PRACTICED IN CORRECTIONS

3     ARE NOT COGNIZANT OF --" AND THEN YOU HAVE A NUMBER OF ITEMS

4     LISTED THERE.      EXPLAIN TO THE COURT YOUR OPINION ON THAT

5     BULLET PLEASE.

6            A    PRACTICING IN AN EMERGENCY ROOM WHERE YOU SEE

7     PATIENTS FROM RIKERS ISLAND IS NOT THE SAME AS PRACTICING AT

8     RIKERS ISLAND.

9            Q    WHY?

10           A    JAIL MEDICINE IS DIFFERENT THAN EMERGENCY MEDICINE.

11           Q    YOU LIST A NUMBER OF THINGS THAT YOU NEED TO BE

12    AWARE OF AS A CORRECTIONAL MEDICINE PHYSICIAN, CORRECT?

13           A    YES.

14           Q    SUCH AS SECURITY, INMATE BEHAVIOR -- CAN YOU EXPOUND

15    ON SOME OF THOSE?

16           A    WELL, YOU KNOW, YOU'VE GOT TO MEET SECURITY AROUND

17    EVERY TIME YOU SEE SOMEBODY.      REMEMBER EARLIER I TALKED ABOUT

18    BEING ABLE TO GET OUT THE DOOR BEFORE THE INMATE GETS AHOLD OF

19    YOU?   IN THE PRISON GENERALLY YOU KNOW WHAT'S GOING ON WITH

20    THE INMATES, BUT YOU NEVER KNOW WHAT'S GOING TO HAPPEN.               AND

21    THERE'S NO OFFICER WHO'S STANDING THERE AND THE INMATE IS NOT

22    CHAINED WHEN HE'S SEEING YOU IN THE ROOM.

23                INMATE BEHAVIOR, IT'S HARD TO TELL WHAT'S GOING ON

24    WITH AN INMATE.     THERE ARE A LOT OF MENTALLY ILL INMATES

25    PARTICULARLY WITH THOSE THAT HAVE BEEN IN THERE FOR A LONG
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1     TIME.   AND THEN BEHAVIOR IS ALSO INFLUENCED BY THE HIGH

2     LIKELIHOOD OF CONTRABAND INGESTION WHICH WE'VE TALKED ABOUT.

3                 DORMITORY SITUATIONS CHANGES EVERYTHING.         WE'VE

4     TALKED ABOUT ISOLATION FOR INFLUENZA.         WE KNOW THEY USED CAMP

5     J FOR COVID.    THAT'S NOT WHAT HAPPENS IN THE EMERGENCY ROOM OR

6     IN THE HOSPITALS.     IT'S ENTIRELY DIFFERENT.

7                 TRANSPORTATION, I'VE ALLUDED TO THAT SEVERAL TIMES

8     ABOUT HOW LONG IT TAKES TO GET SOMEBODY, WHAT THE RESTRAINTS

9     ARE LIKE AND HOW THAT CAN AFFECT AN INMATE'S WILLINGNESS TO GO

10    TO THE OUTSIDE HOSPITAL.      LIKE IN THE -- ON THE STREET,

11    FORMULARIES CAN BE LIMITED AND THAT'S BECAUSE IT IS ABOUT

12    COST.   WE'RE NOT GOING TO BE USING THE LATEST, GREATEST DRUG

13    THAT'S SHOWN ON THE 7:00 NEWS.       WE'RE GOING TO BE SHOWING

14    SOMETHING THAT'S SHOWN TO BE MEDICALLY ACCEPTABLE AND

15    EFFECTIVE OVER THE PAST FEW YEARS OR DECADES.

16                PILL CALL LINES, THEY ALSO AFFECT WHAT GOES ON AS

17    FAR AS INMATES BEING WILLING TO TAKE MEDICATIONS, TAKING

18    MEDICATIONS.    WE'VE SPENT A LOT OF TIME ABOUT WHO DISTRIBUTES

19    THE MEDICATIONS.     THE LONG-TERM CARE FOR THESE CHRONIC

20    INMATES.    A LOT OF WHOM KNOW THEY'RE NEVER GOING TO GET OUT,

21    SO THEY MAY NOT CARE AT ALL ABOUT WHETHER THEIR BLOOD PRESSURE

22    IS TAKEN CARE OF OR THEIR OBESITY OR THEIR DIABETES.            THEY

23    DECIDE THAT FOR THEMSELVES AND THERE ARE LOTS OF OTHER THINGS.

24    BUT PRACTICING BEHIND THE WALL IS DIFFERENT THAN PRACTICING

25    OUTSIDE THE WALL.
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1           Q     LET'S GO TO PAGE 214 NOW.       YOUR SECOND OPINION,

2     MAJOR OPINION, IS THAT, "THE LSP FACILITIES CURRENTLY COMPORT

3     WITH THE STANDARD OF CARE FOR CLEANLINESS, HYGIENE,

4     APPROPRIATE EQUIPMENT, FACILITY STRUCTURE AND DEMONSTRATES

5     ORGANIZED AND ORDERLY TREATMENT, HOUSING AND PROGRAMMING

6     AREAS."

7                 I THINK WE'VE WALKED THROUGH ALL OF THAT PREVIOUSLY

8     WITH THE PHOTOGRAPHS IN THE EARLIER PART OF YOUR TESTIMONY.            I

9     DON'T THINK THERE'S MUCH MORE TO ADD THERE; IS THAT FAIR?

10          A     YES.

11          Q     LET'S GO TO YOUR NEXT OPINION, WHICH IS ON PAGE 215.

12    YOU SAY THAT IT IS YOUR OPINION, "THAT THE CURRENT SPECIALTY

13    CONSULTATION SYSTEM AT LSP COMPORTS WITH THE STANDARD OF

14    CARE."

15                ALL RIGHT.      WHAT IS THE BASIS OF THAT OPINION?

16          A     THE CHART REVIEWS.     I THOUGHT INMATES GOT WHAT THEY

17    NEEDED.   I THOUGHT THEY GOT IT IN A REASONABLY TIMELY FASHION

18    CONSISTENT WITH WHAT HAPPENS IN CORRECTIONS AROUND THE UNITED

19    STATES AND THAT THEY WERE HAMPERED BY THE DISTANCES INVOLVED

20    FOR UMCNO, THE TRANSPORTATION PROBLEMS, COVID, BUT IT WAS

21    SUPPORTED BY THE TELEMEDICINE THAT GOES ON AND THE SPECIALISTS

22    THAT COME OUT TO THE FACILITY.        I THOUGHT THEY HAD A PRETTY

23    GOOD SPECIALTY CARE.

24          Q     LET'S GO TO THE NEXT OPINION ON PAGE 216 WHICH IS --

25    HAS TO DO WITH INFIRMARY AND IN-PATIENT CARE.           YOU FOUND THAT
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1     COMPORTS WITH THE STANDARD OF CARE.         WHAT'S THE BASIS FOR THAT

2     OPINION PLEASE?

3           A     MY TRAINING AND EXPERIENCE, PLACES I'VE WORKED, THE

4     SITE VISIT, I DEMONSTRATED PICTURES IN MY REPORT, CHART

5     REVIEWS AND I WAS -- I WAS -- I WAS TRYING TO LOOK FOR WHETHER

6     SOMETHING WAS INDIFFERENT, EGREGIOUS OR IT WAS STANDARD OF

7     CARE AND IT WAS MY OPINION THAT IT ACHIEVED THE STANDARD OF

8     CARE.

9           Q     LET'S TALK ABOUT YOUR INMATE ORDERLY OPINIONS AT

10    THIS POINT.    NOW THERE'S A DISCUSSION OF THE DIFFERENT

11    STANDARDS BETWEEN NCCHC AND HCA.        WHAT IS YOUR OPINION ON THE

12    INMATE ORDERLIES AT LSP?

13          A     I THINK THEY'RE HELPFUL AND NECESSARY UNDER THE

14    CURRENT STAFFING.     I THINK IT GIVES THESE -- THESE PEOPLE A

15    CHANCE TO KIND OF PAY BACK OR PAY FORWARD AS FAR AS TAKING

16    CARE OF SICK PEOPLE.        I'VE HAD A LOT OF EXPERIENCE OVER THE

17    YEARS WITH THE INMATE ORDERLIES AND I THOUGHT -- I THINK IT'S

18    SOMETHING THAT IS IMPORTANT AND COULD HAVE OTHER ADDITIONS AS

19    FAR AS TRAINING.     AND I THINK THAT OLIVEAUX, ASHLI OLIVEAUX

20    AND DR. JOHNSON NEED TO TAKE THE BULL BY THE HORNS ON THESE --

21    OVERSEEING THESE GUYS, BECAUSE I KNOW THAT THIS PROGRAM'S IN

22    JEOPARDY DEPENDING UPON WHAT HAPPENS WITH THE COURT.             BUT I

23    THINK IT'S A GOOD PROGRAM AND I'D LIKE TO SEE IT CONTINUE.

24          Q     LET'S GO TO THE NEXT OPINION REGARDING SICK CALL.

25    WHAT WAS YOUR OPINION ABOUT THE SICK CALL PROCESS AT LSP?
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1           A     I THINK THE CURRENT INCARNATION OF THE SICK CALL

2     WITH THE NURSE PRACTITIONERS IS EFFECTIVE.          IT EXCEEDS THE

3     STANDARD OF CARE AS FAR AS NCCHC IS CONCERNED WHERE THEY USE

4     RN'S.     AND IN SOME JAILS THEY USE LPN'S FOR THE SICK CALL.         SO

5     IT'S DEFINITELY AN ORDER OF MAGNITUDE BETTER THAN WHAT MANY

6     OTHER FACILITIES DO.

7           Q     OKAY.   YOUR NEXT OPINION AS IT PERTAINS TO EMERGENCY

8     CARE IN THE ATU GENERALLY SPEAKING OR WHAT IS YOUR OPINION AS

9     TO THE EMERGENCY CARE IN THE ATU AT LSP?

10          A     REASONABLE AND APPROPRIATE COMPLYING WITH THE

11    STANDARD OF CARE.

12          Q     AND BASED UPON THE CHART REVIEWS THAT YOU PERFORMED

13    IN THIS CASE?

14          A     YES.

15          Q     AND BACKED BY YOUR EXPERIENCE?

16          A     CORRECT.

17          Q     OKAY.   LET'S GO TO THE NEXT OPINION WHICH IS THAT

18    EMT'S AND PARAMEDICS WHO TRIAGE SELF-DECLARED EMERGENCIES AT

19    LSP SHOULD SPEAK DIRECTLY TO THE RN OR NP IN THE ATU IF THAT

20    INMATE IS NOT IMMEDIATELY TRANSPORTED.

21                YOU WERE DISCUSSING THE OLD SELF-DECLARED EMERGENCY

22    POLICY IN THIS OPINION, RIGHT?

23          A     CORRECT.

24          Q     THE NEW SELF-DECLARED EMERGENCY POLICY, WOULD IT

25    COMPLY WITH YOUR OPINION OR YOUR GUIDANCE HERE?
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1           A     IT'S HUGELY BETTER.     I STILL HAVE SOME CONSIDERATION

2     ABOUT THE ITO'S.     I THINK THOSE NEED TO BE REWORKED AT

3     HEADQUARTERS.    BUT IT'S INCUMBENT ON THE EMT'S TO GET IN TOUCH

4     WITH THE NURSE PRACTITIONER IN THE ATU AND EVEN TO USE THEIR

5     PHONES AND ACTUALLY TRANSMIT PICTURES IF NECESSARY WHEN

6     THERE'S ANYTHING OUTSIDE OF THE ITU'S -- ITO'S RATHER.

7           Q     LET'S GO TO YOUR OPINION REGARDING MEDICAL

8     LEADERSHIP/ORGANIZATIONAL STRUCTURE.        LET'S TALK ABOUT THE

9     MORTALITY REVIEWS.     WHAT WAS YOUR OPINION ON THE MORTALITY

10    REVIEWS THAT YOU LOOKED AT?

11          A     THEY WERE CONSISTENT WITH THE STANDARD OF CARE OF

12    WHAT'S GOING ON IN THE UNITED STATES.         THEY'RE NOT THE SAME AS

13    PROMULGATED BY THE LEADERSHIP AT ARMOR OR SOME OF THE

14    ORGANIZATIONS THAT HAVE TESTIFIED IN THIS CASE.

15          Q     YOUR NEXT OPINION PERTAINS TO THE UPCOMING AND

16    ELECTRONIC MEDICAL RECORDS, AND YOU SAY THAT WOULD IMPROVE THE

17    CARE AT LSP.    WHY IS THAT?

18          A     WELL, YOU'D BE ABLE TO LOOK AT ALL OF THE LABORATORY

19    IN ONE PLACE.    YOU'D BE ABLE TO HAVE A GRAPH THAT SHOWS THE

20    LABORATORY.    YOU'D BE ABLE TO LOOK AT THE WEIGHTS ON A SINGLE

21    PAGE.     YOU'D BE ABLE TO GRAPH WHAT THE WEIGHTS LOOK LIKE, THE

22    TEMPERATURES.    THE NURSE COULDN'T EVEN GET BY, HOPEFULLY,

23    WITHOUT ENTERING A WEIGHT.      AT THE SAME TIME SHE PUTS IN THE

24    VITAL SIGNS.    THE CONSULTATIONS WOULD ALL BE IN ONE PLACE SO

25    THEY WOULD BE READILY AVAILABLE.       THEN YOU CAN REFER TO THAT.
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1                 YOU CAN DO THE FOOTNOTES TO THAT CONSULTATION

2     INCLUDED IN YOUR CHART.       SOME OF THE BUSY WORK THAT YOU DON'T

3     DO WITH THE PAPER CHARTS BECAUSE IT'S SO ONEROUS TO BE ABLE TO

4     WRITE THINGS OVER AND OVER WHEN IT'S ALREADY IN THE CHART

5     WOULD BE -- WOULDN'T BE NECESSARY WHEN YOU'VE GOT A

6     FUNCTIONING ELECTRONIC MEDICAL RECORD.

7                 YOU'D HAVE RED FLAGS THAT GO UP LIKE THIS FECAL --

8     THIS HEMOCCULT.     THEIR REFUSALS, YOU'D SIGN THOSE AND SCAN

9     THOSE IN SO THEY'D ALL BE IN ONE TAB.          I MEAN IT'S JUST A HUGE

10    DIFFERENCE AS FAR AS WHAT HAPPENS.          BUT IT'S NOT STANDARD OF

11    CARE TO HAVE AN ELECTRONIC MEDICAL RECORD.           IT'S NICE, BUT NOT

12    EVERY PRISON OR JAIL HAS AN ELECTRONIC MEDICAL RECORD, AND YET

13    LSP AND LA DOC ARE PUTTING IT IN, WHICH I THINK IS THE RIGHT

14    THING TO DO AS SOON AS THEY CAN.

15          Q     DOCTOR, AS I WRAP UP, WHAT'S YOUR OPINION OF THE

16    NURSE PRACTITIONERS AT LSP THAT ARE PROVIDING THEM PRIMARY

17    CARE AT THIS MOMENT?

18          A     I'M PRETTY IMPRESSED.     I MEAN THEY EACH HAVE AREAS

19    OF EXPERTISE.    I'VE SEEN THEM WORK TOGETHER.         AND THE WAY

20    THEY'VE GOT IT ORGANIZED RIGHT NOW IT'S PRETTY EFFECTIVE.              NOW

21    IF THEY DO GET THE DOCTORS THAT THEY'VE BEEN MARKETING FOR

22    THAT THEY'RE TRYING TO GET THE OPENINGS FOR IT -- AND I'VE

23    LOOKED INTO IT, THEY'RE PAYING THEM PRETTY WELL, THE DOCTORS.

24                MR. DUBNER:     OBJECTION.     THERE'S NOTHING ABOUT PAY

25    OR RECRUITMENT OF DOCTORS IN HIS OPINION.
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1                 MR. ARCHEY:     THAT'S TRUE.

2                 THE COURT:      SUSTAINED.

3     BY MR. ARCHEY:

4           Q     SO, DOCTOR, FINAL QUESTION.        AFTER ALL THE HUNDREDS

5     OF HOURS OF WORK THAT YOU DID IN THESE CHARTS AND LOOKING AT

6     LSP, DOES LSP COMPORT WITH THE STANDARD OF CARE FOR A

7     CORRECTIONAL FACILITY?

8           A     YES, IN MY OPINION.

9                 MR. ARCHEY:     YOUR HONOR, THOSE ARE MY QUESTIONS.

10    THANK YOU.

11                THE COURT:      OKAY, MR. DUBNER, YOU HAVE HIM ON CROSS.

12    I ASSUME THAT MAYBE THIS IS A GOOD TIME TO TAKE A BREAK?

13                MR. DUBNER:     I'M HAPPY TO GET STARTED OR TO TAKE A

14    BREAK, WHATEVER YOUR HONOR PREFERS.

15                THE COURT:      IT'S QUARTER TO FIVE.     WE'VE BEEN AT IT

16    A LONG TIME.    LET'S BREAK UNTIL 9:00 A.M.

17          (AT WHICH TIME COURT WAS ADJOURNED UNTIL 9:00 A.M.)

18                             C E R T I F I C A T E

19                I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT

20    FROM THE RECORD OF THE PROCEEDINGS IN THE ABOVE-ENTITLED

21    NUMBERED MATTER.

22    S:/GINA DELATTE-RICHARD

23    GINA DELATTE-RICHARD, CCR

24    OFFICIAL COURT REPORTER

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